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18                                UNITED STATES DISTRICT COURT

19                             NORTHERN DISTRICT OF CALIFORNIA

20                                       SAN FRANCISCO DIVISION

21
      SURGICAL INSTRUMENT SERVICE                          Case No. 3:21-cv-03496-AMO
22    COMPANY, INC.,
                                                           DEFENDANT’S NOTICE OF MOTION
23                        Plaintiff,                       AND MOTION IN LIMINE NO. 1 TO
              v.                                           EXCLUDE OUT-OF-COURT
24                                                         HOSPITAL STATEMENTS
      INTUITIVE SURGICAL, INC.,
25                                                         Date: November 25, 2024
                         Defendant.                        Time: 11:00 a.m.
26                                                         Courtroom: 10

27
                                                           The Honorable Araceli Martínez-Olguín
28
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1                                NOTICE OF MOTION AND MOTION

2            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

3            PLEASE TAKE NOTICE that on November 25, 2024 at 11:00 a.m., or as soon thereafter

4     as this matter may be heard before the Honorable Araceli Martínez-Olguín, District Judge in the

5     United States District Court for the Northern District of California, at 450 Golden Gate Avenue,

6     Courtroom 10, 19th Floor, San Francisco, CA 94102, Defendant Intuitive Surgical, Inc.

7     (“Intuitive”) will and hereby does move the Court for an order prohibiting Plaintiff Surgical

8     Instrument Service Co., Inc. (“SIS”) from introducing into evidence any: (1) testimony from live

9     witnesses referencing or purporting to repeat or convey out-of-court statements made by

10    representatives of hospitals or group purchasing organizations (“hospital declarants”);

11    (2) deposition testimony from non-party witnesses referencing or purporting to repeat or convey

12    out-of-court statements made by hospital declarants; or (3) documents containing out-of-court

13    written statements by hospital declarants or written statements referencing or purporting to convey

14    out-of-court statements made by hospital declarants.

15           The relief Intuitive seeks through this Motion is authorized by the Federal Rules of

16    Evidence, including but not limited to Rules 403, 701, 801, 802, and 805, and by applicable case

17    law.   This Motion is based upon this Notice of Motion and Motion, the accompanying

18    Memorandum of Points and Authorities in support thereof, the accompanying Declaration of Paul

19    D. Brachman and attached exhibits, other filings in this matter, and the oral argument of counsel.

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             Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1                                       PRELIMINARY STATEMENT

2             SIS disclosed in written discovery 54 representatives of non-party hospitals and group

3     purchasing organizations (together, “hospitals”) that purportedly refused to work with SIS due to

4     Intuitive’s allegedly anticompetitive conduct. Ex. 1, Response to Interrogatory Nos. 2 & 3, at 5–

5     9. 1 Only one of those individuals was deposed, 2 and SIS has made the strategic choice to put none

6     on its witness list for trial.

7             Instead, it appears that SIS will attempt to build its case at trial using several categories of

8     inadmissible hearsay: (1) testimony from SIS witnesses Greg Posdal and Keith Johnson purporting

9     to convey what they were told in out-of-court statements by hospital declarants; (2) deposition

10    testimony from non-party witnesses purporting to relay out-of-court statements made by hospital

11    declarants; and (3) documents containing out-of-court written statements by hospitals or surgeons

12    or written statements purporting to convey what hospital employees or surgeons said to someone

13    else. Such statements, a non-exhaustive list of which are compiled in Appendix A hereto, are

14    inadmissible hearsay without exception and should be excluded. Fed. R. Evid. 801, 802, 805. To

15    promote the orderly and efficient presentation of evidence at trial, the Court should make clear

16    before trial that SIS cannot attempt to portray the supposed views of hospitals through out-of-court

17    statements that will not be tested through cross-examination.

18                                                ARGUMENT

19    I.      SIS WITNESSES CANNOT TESTIFY ABOUT OUT-OF-COURT STATEMENTS
              PURPORTEDLY MADE BY HOSPITAL REPRESENTATIVES
20
              SIS will not present at trial any testimony from a single hospital to which it sold modified
21
      EndoWrist instruments. Instead, it appears that SIS will try to present the views of its customers,
22
      or would-be customers, by having its own fact witnesses, Posdal and Johnson, testify about what
23
      they were supposedly told by hospital representatives. For example, Johnson testified in his
24
      deposition that all or nearly all of the hospital representatives he met with told him that they
25
      “hemorrhage money to Intuitive Surgical” and were “looking for ways to reduce costs.” Ex. 2 at
26

27    1
        All references to “Ex.” refer to exhibits to the Declaration of Paul D. Brachman in Support of
      Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements.
28    2
        Cairo Wasfy of Ardent Health was deposed in Restore Robotics LLC v. Intuitive Surgical, Inc.,
      No. 5:19-cv-00055 (N.D. Fla.), but was asked no questions about Ardent’s dealings with SIS.
                                                      -1-
              Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1     50:19–51:24. Johnson likewise testified about feedback from customers indicating that there was

2     great demand for modified EndoWrists, Ex. 3 at 44:7-45:22, but that he was told by hospitals that

3     they would not do business with SIS because of Intuitive, Ex. 4 at 53:21-54:5. Posdal’s testimony

4     was even one or two layers further removed. He testified, for example, that “customers said they

5     were concerned about moving forward [with modified EndoWrists] because of what they were

6     told by Intuitive.” Ex. 5 at 19:5–25. But Posdal did not speak to these customers himself about

7     this issue—he based his testimony either on what Johnson purportedly told him or what he saw in

8     documents (hearsay) about what hospitals purportedly said (double hearsay) about what Intuitive

9     purportedly told hospitals (triple hearsay), id. at 20:2–21:2. Such out-of-court statements are not

10    admissible at trial to prove that hospitals were in fact losing money on robotic surgery or looking

11    for ways to reduce costs, nor are those statements admissible to prove that hospitals would have

12    purchased modified EndoWrists from SIS but-for Intuitive. Fed. R. Evid. 801, 802. And Posdal’s

13    testimony would be doubly inadmissible because it contains multiple levels of hearsay. Fed. R.

14    Evid. 805. If SIS wanted to present such evidence to the jury, it should have deposed the hospitals

15    it marketed to or identified them as trial witnesses. SIS did neither. The Court should not permit

16    Johnson or Posdal to turn this trial into a game of telephone about what hospitals supposedly told

17    them.

18            SIS bears the burden of `establishing an exception to the hearsay rule. See Los Angeles

19    News Serv. v. CBS Broad., Inc., 305 F.3d 924, 934 (9th Cir. 2002). SIS may argue, for example,

20    that second-hand accounts of hospital statements are admissible under Rule 803(3) as statements

21    of hospitals’ motives for not dealing with a supplier. Herman Schwabe, Inc. v. United Shoe Mach.

22    Corp., 297 F.2d 906, 914 (2d Cir. 1962); Consol. Credit Agency v. Equifax, Inc., 2005 WL

23    6218038, at *2 (C.D. Cal. Jan. 26, 2005). That exception does not apply. 3 Some out-of-court

24    statements may be admissible under certain circumstances to prove what a customer said about its

25    motives for not dealing with a supplier, but such statements are not admissible “as evidence of the

26    facts recited as furnishing the motives.” Schwabe, 297 F.2d at 914; 4 Equifax, Inc., 2005 WL

27

28    3
        Intuitive reserves the right to respond to any other exception SIS may argue is applicable here.
      4
       Unless otherwise indicated, all citations are omitted and all emphasis is added.
                                                      -2-
            Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1     6218038, at *2 (same). In other words, SIS cannot use what hospital declarants supposedly told

2     Johnson or Posdal (if Posdal talked to hospitals) to prove there was demand for SIS’s modified

3     EndoWrists or that Intuitive squelched that demand. Schwabe, 297 F.2d at 913 n.9, 914 (letters

4     stating that customers did not purchase plaintiff’s product due to lease agreement with defendant

5     inadmissible); see also Buckeye Powder Co. v. E.I. Dupont de Nemours Powder Co., 248 U.S. 55,

6     65 (1918) (customer statements properly excluded when offered “not as evidence of the motives

7     of the speakers but as evidence of the facts recited as furnishing the motives”); Stelwagon Mfg.

8     Co. v. Tarmac Roofing Sys., Inc., 63 F.3d 1267, 1274–75 (3d Cir. 1995) (out-of-court customer

9     statements inadmissible to prove “antitrust damages, in the form of lost sales”); Amerisource Corp.

10    v. RxUSA Int’l Inc., 2009 WL 235648, at *2 (E.D.N.Y. Jan. 30, 2009) (customer statements

11    inadmissible to prove injury or damages).

12           Further, out-of-court statements of customer motive are only potentially admissible under

13    limited conditions.   For starters, the offering party must make a proffer of independently

14    admissible evidence sufficient to show the reliability of the customer statement. SIS must proffer

15    (among other things) evidence showing that the out-of-court statement was a “contemporaneous

16    reaction to the alleged event that gave rise to the sentiment,” Amerisource, 2009 WL 235648, at

17    *2, and that it was made by a declarant who had sufficient control over the customer’s purchasing

18    decisions. AngioDynamics, Inc. `v. C.R. Bard, Inc., 2022 WL 4333555, at *3–5 (N.D.N.Y. Sept.

19    19, 2022); see also Discover Fin. Servs. v. Visa U.S.A. Inc., 2008 WL 4560707, at *1 (S.D.N.Y.

20    Oct. 9, 2008) (requiring “a proffer of the otherwise admissible proof that business was lost”). We

21    respectfully submit that SIS cannot make these necessary proffers.

22           Even if SIS could do so, the Court should nevertheless exclude out-of-court hospital

23    statements relayed through Johnson or Posdal because they are unreliable on their face. The Court

24    has discretion to exclude evidence of customer motive “in view of the risk of insincerity in a

25    potential customer’s statement why products were not being ordered.” Herman Schwabe, 297 F.2d

26    at 914 n.10. That risk is acute here because the supposed hospital statements are not contained in

27    contemporaneous written statements, but instead would be relayed by, and filtered through, SIS

28    witnesses—each of whom has an interest in attributing SIS’s failures to Intuitive. AngioDynamics,

                                                  -3-
             Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1     Inc. v. C.R. Bard, Inc. is instructive. There, as here, the plaintiff sought to present testimony about

2     out-of-court statements made by hospital customers to plaintiff’s sales representatives, in which

3     the out-of-court declarants purportedly said they would have purchased plaintiff’s product but-for

4     the defendant’s allegedly anticompetitive conduct. 2022 WL 4333555, at *4. The court held that

5     such testimony was “not sufficiently reliable for admission under” Rule 803(3) because it was

6     “self-serving” and the defendant “had no opportunity to cross-examine any of the relevant

7     [declarants].” Id.; see also Amerisource, 2009 WL235648, at *2–3 (excluding “particularly

8     troublesome” statements “offered to prove the elements of the” claim because opposing party

9     would have “no way of cross-examining the declarants or their sources”). For the same reasons,

10    the Court should bar Johnson and Posdal from relaying or referencing in their trial testimony out-

11    of-court statements by hospital declarants who have not been, and will not be, cross-examined.

12    II.    NON-PARTY DEPONENTS CANNOT TESTIFY ABOUT OUT-OF-COURT
             STATEMENTS MADE BY OTHER HOSPITAL REPRESENTATIVES
13
             SIS likewise should not be permitted to play deposition testimony from non-party
14
      witnesses relaying out-of-court statements purportedly made by hospital representatives who were
15
      not deposed.
16
             For example, SIS has indicated on its trial witness list that it will call by deposition Edward
17
      Harrich, a representative from Pullman Regional Hospital who was deposed in Rebotix Repair
18                                      `
      LLC v. Intuitive Surgical, Inc., No. 20-cv-02274 (M.D. Fla.). The parties have not yet exchanged
19
      deposition designations. But we are concerned that SIS will attempt to play statements in which
20
      Harrich claimed that remanufactured EndoWrists “worked just like the nonrepaired ones” based
21
      on “interview[s] [he indicated he conducted with] surgeons and the technicians . . . involved in [a]
22
      trial of the Rebotix-repaired EndoWrists.” Ex. 6 at 39:24-40:8.
23
             Such testimony referencing or relaying out-of-court statements allegedly made by surgeons
24
      and technicians at Pullman will not be offered to show the hospital’s state of mind or motive for
25
      doing, or not doing, business with SIS. Pullman was not a hospital that SIS tried to do business
26
      with. Ex. 1, Response to Interrogatory No. 2, at 5–9. Rather, it appears that SIS will attempt to
27
      use Harrich’s testimony about what he was purportedly told by unidentified surgeons and
28

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             Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1     technicians—who were themselves not disclosed as fact or expert witnesses—to prove the truth of

2     what those other individuals supposedly told Harrich—i.e., that modified EndoWrists function just

3     like Intuitive EndoWrists. Such out-of-court statements are inadmissible hearsay.

4     III.   OUT-OF-COURT STATEMENTS MADE BY OR ATTRIBUTED TO HOSPITAL
             REPRESENTATIVES IN DOCUMENTS ARE INADMISSBILE HEARSAY
5
             It appears that SIS also intends to place before the jury out-of-court statements of hospital
6
      declarants contained or recounted in documents, even though the declarants will not testify at trial.
7
      These statements, too, constitute hearsay that does not fall within any exception.
8
             For example, the document identified as Trial Ex. No. 510 on the parties’ Joint Exhibit
9
      List, Dkt. 278-2, Ex. 7, is an email chain containing an email from a hospital declarant, Dawn
10
      Watkins, to Intuitive asking Intuitive whether allowing SIS to modify its EndoWrist instruments
11
      would void the instrument warranty. Ms. Watkins’ email forwards another out-of-court statement
12
      by Manuela Cassidy, a representative from the GPO Vizient, stating that Kaiser Permanente and
13
      Legacy Health System were “capturing savings” by purchasing SIS’s modified EndoWrists.
14
      Neither statement falls under the Rule 803(3) exception.
15
             SIS cannot use Ms. Watkins’ question to insinuate that the hospital did not do business
16
      with SIS because of concerns over voiding Intuitive’s warranty. Her out-of-court statement is not
17
      admissible under Rule 803(3) because it does not include any statement of the hospital’s reasons
18                                    `
      for refusing to deal with SIS. Even if it did, the statement would not be admissible because SIS
19
      will not be able to “lay a foundation at trial regarding [her] role in the decision” whether to do
20
      business with SIS. AngioDynamics, 2022 WL 4333555, at *5 (statements of motive must be
21
      “made by a declarant with a sufficient role in the hospital’s [] purchasing decision-making
22
      process”). For the same reasons, Ms. Cassidy’s statement is inadmissible to prove that Kaiser or
23
      Legacy did business with SIS because of “savings” described in her email. Ms. Cassidy is
24
      associated with Vizient, not the hospitals in question, and SIS has not established that Ms. Cassidy
25
      was a decisionmaker for either hospital. Moreover, out-of-court statements written by sales
26
      intermediaries (like Vizient) are “not reliable statements of [a] customer’s then-existing state of
27
      mind.” Alarm Fin. Enterprises, LP v. Alarm Prot. Tech., LLC, 743 F. App’x 786, 788 (9th Cir.
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             Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1     2018).

2              Other documents likewise contain no statement of customers’ motives for refusing to deal

3     with SIS, but do contain multiple levels of hearsay on various subjects:

4        •     Ex. 8 (Trial Ex. No. 355) is an op-ed by a non-testifying surgeon stating that: “Intuitive
5              reps often encourage trainees to switch out instruments and select higher-cost instruments,”

6              id. at 5, and referencing yet another surgeon’s out-of-court statement describing the da

7              Vinci as “driving a Ferrari versus the laparoscopic ‘57 Chevy,” id. at 3.

8        •     Ex. 9 (Trial Ex. No. 844) is a presentation by a non-testifying surgeon referencing “the [da
9              Vinci] ‘monopoly’ issue.”

10       •     Exs. 10-12 (Trial Ex. No. 343; Trial Ex. No. 535; and Trial Ex. No. 717) are articles and
11             reports quoting hospital executives and surgeons.

12                    These statements are not statements of hospital motive for dealing, or not dealing,

13    with SIS, so they cannot be admitted under Rule 803(3). Nor are they admissible under the

14    business records exception. That “exception applies only if the person furnishing the information

15    to be recorded is ‘acting routinely, under a duty of accuracy, with employer reliance on the result.’”

16    United States v. Pazsint, 703 F.2d 420, 424 (9th Cir. 1983) (citation omitted). SIS has not—and

17    cannot—establish that any of the out-of-court statements identified above were made under any

18    duty of accuracy. See In re Cypress
                                     `    Semiconductor Sec. Litig., 891 F. Supp. 1369, 1374 (N.D.

19    Cal. 1995) (newspaper articles inadmissible hearsay), aff’d sub nom. Eisenstadt v. Allen, 113 F.3d

20    1240 (9th Cir. 1997); Shimozono v. May Dep’t Stores Co., 2002 WL 34373490, at *13 (C.D. Cal.

21    Nov. 20, 2002) (excluding survey responses); Low v. Trump Univ., LLC, 2016 WL 6647793, at *9

22    (S.D. Cal. Nov. 10, 2016) (customer evaluations not business records). And finally, even if the

23    types of documents described above were business records, they contain inadmissible hearsay-

24    within-hearsay for which there is no independent exception. United States v. Holmes, 2021 WL

25    2044470, at *25 (N.D. Cal. May 22, 2021) (“Articles that feature quotations from people other

26    than their authors constitute hearsay within hearsay.”).

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               Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1     IV.    OUT-OF-COURT HOSPITAL STATEMENTS ARE INADMISSIBLE FOR
             ADDITIONAL REASONS
2
             Many of the examples of out-of-court statements identified above are inadmissible for
3
      additional reasons. For example, statements by out-of-court declarants describing Intuitive as a
4
      “monopolist,” e.g., Ex. 9, Trial Ex. No. 844, are improper lay opinion, Fed. R. Evid. 701, and any
5
      (slight) probative value such statements may have is substantially outweighed by the undue
6
      prejudice Intuitive would suffer if SIS were permitted to use out-of-court statements of non-
7
      witnesses to address a central legal issue in this case, Fed. R. Evid. 403.
8
             Nor should SIS’s experts be permitted to use Rule 703 as a backdoor to testify about these
9
      otherwise inadmissible hearsay statements. “Rule 703 does not authorize admitting hearsay on the
10
      pretense that it is the basis for expert opinion when, in fact, the expert adds nothing to the out-of-
11
      court statements other than transmitting them to the jury.” Charles Alan Wright & Arthur R.
12
      Miller, 29 Fed. Prac. & Proc. Evid. § 6273 (2d ed. 2024).
13
                                                CONCLUSION
14
             For the foregoing reasons, Intuitive respectfully requests that the Court grant this motion.
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             Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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          Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital Statements
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1                                    CERTIFICATE OF SERVICE

2           On October 28, 2024, I caused a copy of Intuitive’s Motion in Limine No. 1 to Exclude
3    Out-of-Court Hospital Statements to be electronically served via email on counsel of record for
4    Surgical Instrument Service Company, Inc.
5
      Dated: October 28, 2024                        By: /s/ Kenneth A. Gallo
6                                                        Kenneth A. Gallo

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1                                              APPENDIX A 1

2
         Category                     Relevant Documents and Deposition Testimony
3
4        Examples of Anticipated      •   Ex. 2, 10/27/2022 Keith Johnson 30(b)(1) Dep. Tr., at
5        Testimony from SIS               51:14-24 (hospital representatives stated that they
6        Witnesses Relaying Out-          “hemorrhage money to Intuitive Surgical” and were
7        of-Court Hospital                “looking for ways to reduce costs”)
8        Statements                   •   Ex. 3, 10/27/2022 Keith Johnson 30(b)(6) Dep. Tr., at
9                                         44:7-45:22 (hospital representatives stated they were
10                                        interested in SIS’s modified EndoWrist)
11                                    •   Ex. 4, 10/27/2022 Keith Johnson 30(b)(6) Dep. Tr., at
12                                        50:25-51:22 (hospital representatives stated they feared
13                                        “retaliation” from Intuitive); id. at 53:21-54:5 (hospital
14                                        representatives stated they would not do business with SIS
15                                        because of Intuitive)
16                                    •   Ex. 5, 5/10/2021 Greg Posdal Dep. Tr. at 19:21-25
17                                        (“customers said they were concerned about moving
18                                        forward [with modified EndoWrists] because of what they
19                                        were told by Intuitive”)
20

21       Examples of Anticipated      •   Ex. 6, Edward Harrich (Pullman Hospital) Dep. Tr., at
22       Non-Party Deposition             39:24-40:8 (“surgeons and the technicians . . . involved in
23       Testimony Relaying Out-          [a] trial of the Rebotix-repaired EndoWrists” stated
24
     1
       This is a non-exhaustive list of testimony and documents that SIS has indicated it intends to
25   offer at trial, see Joint Proposed Final Pretrial Order, App. E, Parties’ Witness Lists, Dkt. 278-3;
26   id., App. D, Joint Exhibit List, Dkt. 278-2, and that includes hearsay by hospital declarants of the
     type discussed in this motion in limine. Intuitive reserves all rights to object to any and all
27   hearsay statements in SIS’s forthcoming deposition designations and that may be presented at
     trial.
28                                                      i
            Appendix A to Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital
                                                   Statements
                                              3:21-cv-03496-AMO
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1     of-Court Hospital            “repaired” EndoWrists “worked just like the nonrepaired
2     Statements                   ones”)
3                              •   Ex. 13, Mike Madewell (Panama City Surgical Center)
4                                  Dep. Tr., at 24:16-25:3 (surgeons said that if Restore’s
5                                  modified EndoWrists “worked fine” then they were
6                                  “happy with it”)
7                              •   Ex. 14, 5/4/2021 Clif Parker (Restore) Dep. Tr., at 99:22-
8                                  104:1 (distributors that dealt with numerous potential
9                                  customers, including Indiana University and West
10                                 Virginia University, indicated that those customers were
11                                 interested in EndoWrist “repair”); 150:4-151:2 (surgeons
12                                 and other hospital personnel said that “EndoWrist scissor
13                                 blades can become too dull to operate effectively before
14                                 their 10th use”);
15                             •   Ex. 15, 10/25/2022 Clif Parker Dep. Tr. at 139:23-140:23
16                                 (prospective customers using X/Xi da Vinci systems said
17                                 “they would sign contracts with [Restore] tomorrow and
18                                 do business with [Restore] tomorrow” if Restore could
19                                 “repair” X/Xi EndoWrists)
20                             •   Ex. 16, 11/03/2022 Kevin May (Restore) Dep. Tr. 74:10-
21                                 75:16, 140:6-142:10 (hospital representatives and/or sales
22                                 representatives that spoke to hospital representatives
23                                 stated that hospitals that had been interested would not use
24                                 modified EndoWrists after receiving “cease and desist”
25                                 letters from Intuitive)
26                             •   Ex. 17, Chris Gibson (Rebotix) Tr. 159:24-161:17 (SIS
27                                 stated that several large potential customers in Arizona
28                                             ii
       Appendix A to Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital
                                          Statements
                                    3:21-cv-03496-AMO
 Case 3:21-cv-03496-AMO        Document 408        Filed 01/08/25      Page 15 of 1000




1                                    would not move forward with SIS or Rebotix modified
2                                    EndoWrists because Intuitive had “threaten[ed]” to stop
3                                    servicing their da Vinci robot)
4                                •   Ex. 18, Jake Colletti (Medline) Tr. 10:14-12:18, 19:12-17,
5                                    20:3-16 (potential customers pitched on modified
6                                    EndoWrists expressed concerns about contractual
7                                    obligations and Intuitive interference as well as clinical
8                                    objections)
9     Examples of Documents      Ex. 7 (Trial Ex. No. 510); Ex. 8 (Trial Ex. No. 355);
10    Containing Out-of-Court    Ex. 9 (Trial Ex. No. 844); Ex. 10 (Trial Ex. No. 343);
11    Statements by or           Ex. 11 (Trial Ex. No. 535); Ex. 12 (Trial Ex. No. 717) at 6-9;
12    Attributed to Hospital     Ex. 19 (Trial Ex. No. 136); Ex. 20 (Trial Ex. No. 430);
13    Representatives            Ex. 21 (Trial Ex. No. 470); Ex. 22 (Trial Ex. No. 479);
14                               Ex. 23 (Trial Ex. No. 509); Ex. 24 (Trial Ex. No. 517);
15                               Ex. 25 (Trial Ex. No. 519); Ex. 26 (Trial Ex. No. 528);
16                               Ex. 27 (Trial Ex. No. 539), at -8204, -8220-21;
17                               Ex. 28 (Trial Ex. No. 390) at 2-4; Ex. 29 (Trial Ex. No. 840).
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       Appendix A to Defendant’s Motion in Limine No. 1 to Exclude Out-of-Court Hospital
                                          Statements
                                    3:21-cv-03496-AMO
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1                                   CERTIFICATE OF SERVICE

2
                   On October 28, 2024, I caused a copy of Appendix A to Intuitive’s Motion in
3
     Limine No. 1 to Exclude Out-of-Court Hospital Statements to be electronically served via email
4
     on counsel of record for Surgical Instrument Service Company, Inc.
5

6     Dated: October 28, 2024                       By: /s/ Kenneth A. Gallo
                                                        Kenneth A. Gallo
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 Case 3:21-cv-03496-AMO           Document 408          Filed 01/08/25   Page 17 of 1000



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1    Paul D. Brachman (pro hac vice)
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14   Facsimile: (628) 232-3101
     Email: jhill@paulweiss.com
15
     Attorneys for Defendant Intuitive Surgical, Inc.
16
                                 UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                     SAN FRANCISCO DIVISION
19

20   SURGICAL INSTRUMENT SERVICE                              Case No. 3:21-cv-03496-AMO
     COMPANY, INC.,
21                  Plaintiff,
           v.
22                                                            DECLARATION OF PAUL D.
     INTUITIVE SURGICAL, INC.,                                BRACHMAN IN SUPPORT OF
23                Defendant.                                  DEFENDANT’S MOTION IN
                                                              LIMINE NO. 1 TO EXCLUDE OUT-
24                                                            OF-COURT HOSPITAL
                                                              STATEMENTS
25

26                                                            The Honorable Araceli Martínez-Olguín
27

28
      Brachman Declaration in Support of Defendant’s Motion In Limine No. 1 To Exclude Out-Of-
                                      Court Hospital Statements
                                         3:21-cv-03496-AMO
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1    I, PAUL D. BRACHMAN, declare as follows:

2            1.     I am an attorney licensed to practice in New York and the District of Columbia,

3    and am admitted pro hac vice to practice before this Court. I am a partner with the law firm of

4    Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”), counsel for Intuitive Surgical,

5    Inc. (“Intuitive”) in this matter. I have personal knowledge of the facts set forth herein, and if

6    called to testify, I could and would testify competently hereto.

7            2.     Attached to this declaration as Exhibit 1 is a true and correct copy of Plaintiff

8    Surgical Instrument Service Company, Inc.’s Answers and Objections to Defendant’s

9    Interrogatories First Set – Nos. 1-3 dated May 20, 2022.

10           3.     Attached to this declaration as Exhibit 2 is a true and correct copy of excerpts of

11   the transcript of the 30(b)(1) deposition of Keith Johnson taken in this matter, on October 27,

12   2022, which was previously filed on the docket at Dkt. 127-20.

13           4.     Attached to this declaration as Exhibit 3 is a true and correct copy of excerpts of

14   the transcript of the 30(b)(6) deposition of Keith Johnson taken in this matter, on October 27,

15   2022, which was previously filed on the docket in this matter at Dkt. 127-21.

16           5.     Attached to this declaration as Exhibit 4 is a true and correct copy of excerpts of

17   the transcript of the 30(b)(6) deposition of Keith Johnson taken in this matter on October 27,

18   2022.

19           6.     Attached to this declaration as Exhibit 5 is a true and correct copy of excerpts of

20   the transcript of the 30(b)(6) deposition of Greg Posdal taken in Restore Robotics LLC v.

21   Intuitive Surgical, Inc., No. 19-cv-00055 (N.D. Fla.) on May 10, 2021.

22           7.     Attached to this declaration as Exhibit 6 is a true and correct copy of excerpts of

23   the transcript of the 30(b)(6) deposition of Edward Harrich taken in Rebotix Repair LLC v.

24   Intuitive Surgical, Inc., No. 20-cv-02274 (M.D. Fla.) on May 24, 2021.

25           8.     Attached to this declaration as Exhibit 7 is a true and correct copy of an email

26   thread identified on the Joint Proposed Final Pretrial Order, App. D, Joint Exhibit List, Dkt.

27   278-2, as Trial Ex. No. 510 and produced at Intuitive-00110255-58.

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      Brachman Declaration in Support of Defendant’s Motion In Limine No. 1 To Exclude Out-Of-
                                      Court Hospital Statements
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1           9.      Attached to this declaration as Exhibit 8 is a true and correct copy of an article

2    titled “Op-Ed: Addressing Our Da Vinci Addiction” identified on the Parties’ Joint Exhibit List

3    as Trial Ex. No. 355. The article is available at

4    https://www.medpagetoday.com/surgery/generalsurgery/89175.

5           10.     Attached to this declaration as Exhibit 9 is a true and correct copy of a screenshot

6    of a presentation titled “Robotic Surgical Systems in Urology” identified on the Parties’ Joint

7    Exhibit List as Trial Ex. No. 844.

8           11.     Attached to this declaration as Exhibit 10 is a true and correct copy of an article

9    titled “Technology Widens Care Options for Rural Hospitals” identified on the Parties’ Joint

10   Exhibit List as Trial Ex. No. 343. The article is available at

11   https://www.ruralhealthinfo.org/rural-monitor/technology-widens-care-

12   options#:~:text=In%20Washington%20state%2C%20medical%20robots,Lincoln%20Hospital%

13   20in%20Davenport%2C%20Wash.

14          12.     Attached to this declaration as Exhibit 11 is a true and correct copy of a report

15   titled “Surgical Needs Exploration: Qualitative IDI Research Report” identified on the Parties’

16   Joint Exhibit List as Trial Ex. No. 535 and produced at Intuitive-00246469-91.

17          13.     Attached to this declaration as Exhibit 12 is a true and correct copy of a report

18   titled “Digital Health: Robotic Surgery and the OR of the Future” identified on the Parties’ Joint

19   Exhibit List as Trial Ex. No. 717.

20          14.     Attached to this declaration as Exhibit 13 is a true and correct copy of excerpts of

21   the transcript of the deposition of Mike Madewell taken in Restore Robotics LLC v. Intuitive

22   Surgical, Inc., No. 19-cv-00055 (N.D. Fla.) on June 11, 2021.

23          15.     Attached to this declaration as Exhibit 14 is a true and correct copy of excerpts of

24   the transcript of the deposition of Clif Parker taken in Restore Robotics LLC v. Intuitive Surgical,

25   Inc., No. 19-cv-00055 (N.D. Fla.) on May 4, 2021.

26          16.     Attached to this declaration as Exhibit 15 is a true and correct copy of excerpts of

27   the transcript of the deposition of Clif Parker taken in this matter on October 25, 2022.

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      Brachman Declaration in Support of Defendant’s Motion In Limine No. 1 To Exclude Out-Of-
                                      Court Hospital Statements
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1           17.     Attached to this declaration as Exhibit 16 is a true and correct copy of excerpts of

2    the transcript of the deposition of Kevin May taken in this matter on November 3, 2022.

3           18.     Attached to this declaration as Exhibit 17 is a true and correct copy of excerpts of

4    the transcript of the deposition of Chris Gibson taken in Rebotix Repair LLC v. Intuitive

5    Surgical, Inc., No. 20-cv-02274 (M.D. Fla.) on June 22, 2021.

6           19.     Attached to this declaration as Exhibit 18 is a true and correct copy of excerpts of

7    the transcript of the deposition of Jake Colletti taken in Restore Robotics LLC v. Intuitive

8    Surgical, Inc., No. 5:19-cv-00055 (N.D. Fla.) on May 7, 2021.

9           20.     Attached to this declaration as Exhibit 19 is a true and correct copy of an email

10   thread identified on the Parties’ Joint Exhibit List as Trial Ex. No. 136 and produced at

11   SIS095115-39.

12          21.     Attached to this declaration as Exhibit 20 is a true and correct copy of an email

13   thread identified on the Parties’ Joint Exhibit List as Trial Ex. No. 430 and produced at Intuitive-

14   00214231-34.

15          22.     Attached to this declaration as Exhibit 21 is a true and correct copy of an email

16   identified on the Parties’ Joint Exhibit List as Trial Ex. No. 470 and produced at Intuitive-

17   00011487.

18          23.     Attached to this declaration as Exhibit 22 is a true and correct copy of an email

19   thread identified on the Parties’ Joint Exhibit List as Trial Ex. No. 479 and produced at

20   Intuitive-00029346-47.

21          24.     Attached to this declaration as Exhibit 23 is a true and correct copy of an email

22   thread identified on the Parties’ Joint Exhibit List as Trial Ex. No. 509 and produced at Intuitive-

23   00110252-54.

24          25.     Attached to this declaration as Exhibit 24 is a true and correct copy of an email

25   identified on the Parties’ Joint Exhibit List as Trial Ex. No. 517 and produced at Intuitive-

26   00133628-30.

27

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      Brachman Declaration in Support of Defendant’s Motion In Limine No. 1 To Exclude Out-Of-
                                      Court Hospital Statements
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1           26.     Attached to this declaration as Exhibit 25 is a true and correct copy of a

2    document identified on the Parties’ Joint Exhibit List as Trial Ex. No. 519 and produced at

3    Intuitive-00141567-68.

4           27.     Attached to this declaration as Exhibit 26 is a true and correct copy of an email

5    thread identified on the Parties’ Joint Exhibit List as Trial Ex. No. 528 and produced at Intuitive-

6    00214231-34.

7           28.     Attached to this declaration as Exhibit 27 is a true and correct copy of an article

8    titled “Intuitive Surgical: What do experts think about J&J’s new surgical robot?” identified on

9    the Parties’ Joint Exhibit List as Trial Ex. No. 539 and produced at Intuitive-00278203-34.

10          29.     Attached to this declaration as Exhibit 28 is a true and correct copy of an article

11   titled “Surgical-robot costs put small hospitals in a bind” identified on the Parties’ Joint Exhibit

12   List as Trial Ex. No. 390.

13          30.     Attached to this declaration as Exhibit 29 is a true and correct copy of an email

14   thread identified as Trial Ex. No. 840 and produced at Restore-00030379-84.

15          I declare under the penalty of perjury under the laws of the United States that the

16   foregoing is true and correct.

17

18
      Dated: October 28, 2024                           By: /s/ Paul D. Brachman
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20                                                      PAUL D. BRACHMAN

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                                                 -4-
      Brachman Declaration in Support of Defendant’s Motion In Limine No. 1 To Exclude Out-Of-
                                      Court Hospital Statements
                                         3:21-cv-03496-AMO
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                                        FILER’S ATTESTATION
1

2           I, Kenneth A. Gallo, am the ECF User whose ID and password are being used to file this

3    document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the signatory

4    identified above has concurred in this filing.

5     Dated: October 28, 2024                         By: /s/ Kenneth A. Gallo
                                                          Kenneth A. Gallo
6
                                                      Kenneth A. Gallo (pro hac vice)
7                                                     PAUL, WEISS, RIFKIND, WHARTON &
                                                      GARRISON LLP
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9                                                     Telephone: (202) 223-7300
                                                      Facsimile: (202) 223-7420
10                                                    Email: kgallo@paulweiss.com
11                                                    Attorney for Defendant
                                                      Intuitive Surgical, Inc.
12

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      Brachman Declaration in Support of Defendant’s Motion In Limine No. 1 To Exclude Out-Of-
                                      Court Hospital Statements
                                         3:21-cv-03496-AMO
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                             EXHIBIT 1

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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 Attorneys for Plaintiff,
 SURGICAL INSTRUMENT SERVICE COMPANY, INC.

                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


 SURGICAL INSTRUMENT SERVICE                      CASE NO. 3:21-cv-03496-VC

 COMPANY, INC.,

                    Plaintiff,                    Honorable Vince Chhabria

         vs.
                                                  PLAINTIFF SURGICAL INSTRUMENT
 INTUITIVE SURGICAL, INC.,                        SERVICE COMPANY, INC.’S
                    Defendant.                    ANSWERS AND OBJECTIONS TO
                                                  DEFENDANT’S INTERROGATORIES
                                                  FIRST SET - NOS. 1-3




           PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANT’S
                            INTERROGATORIES

       Plaintiff Surgical Instrument Service Company, Inc. ("SIS"), by and through its attorneys,

and pursuant to Rule 33 of the Federal Rules of Civil Procedure and the Local Rules of this
    Case 3:21-cv-03496-AMO            Document 408         Filed 01/08/25       Page 25 of 1000




Court, answers and objects to Defendant Intuitive Surgical, Inc.'s ("Intuitive") First Set of

Interrogatories as follows:

                                   PRELIMINARY STATEMENT

        1. Plaintiff’s investigation and development of all facts and circumstances relating to this

action is ongoing. These answers and objections are made without prejudice to, and are not a

waiver of, Plaintiff’s right to rely on other facts or documents at trial.

        2. By making the accompanying answers and objections to Defendant’s interrogatories,

Plaintiff does not waive, and hereby expressly reserves, its right to assert any and all objections

as to the admissibility of such responses into evidence in this action, or in any other proceedings,

on any and all grounds including, but not limited to, competency, relevancy, materiality, and

privilege. Further, Plaintiff makes the answers and objections herein without in any way

implying that it considers the interrogatories, and answers to the interrogatories, to be relevant or

material to the subject matter of this action.

        3. A response to an interrogatory stating that objections and/or indicating that documents

will be produced shall not be deemed or construed that there are, in fact, responsive documents,

that Plaintiff performed any of the acts described in the interrogatory, or definitions and/or

instructions applicable to the interrogatory, or that Plaintiff acquiesces in the characterization of

the conduct or activities contained in the interrogatory, or definitions and/or instructions

applicable to the interrogatory.

        4. Plaintiff expressly reserves the right to supplement, clarify, revise, or correct any or all

of the responses and objections herein, and to assert additional objections or privileges, in one or

more subsequent supplemental response(s).
    Case 3:21-cv-03496-AMO            Document 408         Filed 01/08/25       Page 26 of 1000




       5. Plaintiff will make available for inspection at Plaintiff's offices responsive documents.

Alternatively, Plaintiff will produce copies of the documents.

                                    GENERAL OBJECTIONS

       1. Plaintiff objects to each instruction, definition, and interrogatory to the extent that it

purports to impose any requirement or discovery obligation greater than or different from those

under the Federal Rules of Civil Procedure and the applicable Rules and Orders of the Court.

       2. Plaintiff objects to each interrogatory that is overly broad, unduly burdensome, or not

reasonably calculated to lead to the discovery of admissible evidence.

       3. Plaintiff objects to each instruction, definition, and interrogatory to the extent that it

seeks information protected from disclosure by the attorney- client privilege, deliberative process

privilege, attorney work product doctrine, or any other applicable privilege. Should any such

disclosure by Plaintiff occur, it is inadvertent and shall not constitute a waiver of any privilege.

       4. To the extent any of Defendant’s interrogatories seek answers that include expert

material, including but not limited to survey materials, Plaintiff objects to any such

interrogatories as premature and expressly reserves the right to supplement, clarify, revise, or

correct any or all answers to such interrogatories, and to assert additional objections or

privileges, in one or more subsequent supplemental response(s) in accordance with the time

period for exchanging expert reports set by the Court.

       5. Plaintiff incorporates by reference every general objection set forth above into

each specific response set forth below. A specific response may repeat a general objection for

emphasis or some other reason. The failure to include any general objection in any specific

response does not waive any general objection to that request. Moreover, Plaintiff does not waive

its right to amend its responses.
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                 ANSWERS AND OBJECTIONS TO INTERROGATORIES

INTERROGATORY NO.1

        Identify, and describe the role of, all of Your Personnel involved in decisions regarding
or evaluations or analyses of the repair or replacement of da Vinci Surgical Systems, EndoWrist
Instruments, or any other robotic-assisted surgical technology, including with respect to the
following areas: research and development, regulatory clearance, pricing, business strategy,
marketing, sales, maintenance, testing, safety, efficacy or any other area in which You evaluated
or analyzed the repair or replacement of da Vinci Surgical Systems, EndoWrist Instruments, or
any other robotic-assisted surgical technology.

RESPONSE TO INTERROGATORY NO. 1

       Plaintiff objects to this interrogatory as vague and ambiguous to the extent that it relies

on the terms "role," "involved in," "decisions regarding," "evaluations," or "analyses," none of

which are defined in Defendant's First Set of Interrogatories. Further, Plaintiff objects to this

interrogatory as vague, ambiguous, and/or overbroad to the extent that it calls for information

about "any other robotic-assisted surgical technology." Plaintiff also objects to this interrogatory

as vague, ambiguous, overbroad and/or burdensome to the extent it calls for information with

respect to the general categories of: "research and development, regulatory clearance, pricing,

business strategy, marketing, sales, maintenance, testing, safety, efficacy or any other area."

Providing such information in answering this interrogatory would be oppressive, unduly

burdensome and unnecessarily expensive.

       Subject to and without waiver of the foregoing objections, Plaintiff responds as follows to

this interrogatory: Keith Johnson, Executive Vice President, Sales and Clinical Programs

Greg Posdal, President and CEO.



INTERRROGATORY NO. 2

       Identify all persons and/or entities You have contacted to sell or promote Your purported
da Vinci and EndoWrist repair and refurbishment offering.
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RESPONSE TO INTERROGATORY NO. 2

       Plaintiff objects to this interrogatory as overbroad and burdensome to the extent it calls

for the "identity" of persons and/or entities as that term is defined in Definition No. 6 of

Defendant's First Set of Interrogatories. Plaintiff also objects to this interrogatory as vague,

ambiguous, overbroad and/or burdensome to the extent it calls for information about persons or

entities "contacted" to "sell" or "promote" services offered by Plaintiff. Providing such

information in answering this interrogatory would be oppressive, unduly burdensome and

unnecessarily expensive.

       Subject to and without waiver of the foregoing objections, Plaintiff responds as follows to

this interrogatory:

1.     Banner Health System (33 hospitals)

       a.      Perry Kirwan, VP of Clinical Engineering

       b.      Tim Brooks, System Director Sterile Processing

2.     Legacy Health (6 hospitals)

       a.      Raymond Mackay, Director of Supply Chain

       b.      Jerry Hutchison, Clinical Director

3.     Providence Health System (53 hospitals)

       a.      Christopher Phan, Client Executive

       b.      John Harper, System Director Sterile Processing

4.     MarinHealth

       a.      John Ayers, Peri-Operative Business Manager

       b.      Johanna Torres, SPD Manager
      Case 3:21-cv-03496-AMO          Document 408     Filed 01/08/25   Page 29 of 1000




5.      Honor Health (6 hospitals)

        a.     Tim Miller, VP of Supply Chain

        b.     Mark Dozier, Associate VP of Supply Chain

6.      Methodist Hospital of Southern California

        a.     Daniel Shay, Director of Materials

        b.     Roxanne Contreras, SPD Manager

7.      Memorial Care (3 Hospitals)

        a.     Becky Klungrester, Clinical Director

        b.     Mary Beth Joiner, Clinical Manager

8.      University Medical Center Irvine

        a.     Charles Adams, Director of Clinical Management

        b.     Gene Abad, Director of Sourcing/Contracting

9.      Kaiser Permanente (50+ hospitals)

        a.     Nestor Jarquin, System Sourcing Director

        b.     Donald Cabrera, System SPD

10.     USC Medical Center

        a.     Jesse Lopez, Director Clinical Engineering

11.     University of Illinois Medical Center

        a.     Kendra Pitts, Director Value Analysis

        b.     Maggie Popek, SPD Manager

12.     Johns Hopkins MC

        a.     Jennifer Stevens, Clinical Support

        b.     Rudy Martinez, Clinical Support
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13.     Advocate Aurora Health System (24 hospitals)

        a.     Brian Mirsburger, Clinical Sourcing Manager

        b.     Thomas Lubotsky, Chief Supply Chain Officer

14.     Ardent Health (33 hospitals)

        a.     Cairo Wasfy, VP of Supply Chain

        b.     William Manning, Sourcing Manager

15.     University of Michigan Medical Center

        a.     Paul Helm, Client Support

16.     Duke University Medical Center

        a.     Kevin Strong, Senior Client Manager

        b.     Jennifer Stickler, Senior Client Manager

17.     Piedmont Healthcare (17 hospitals)

        a.     Ben Haygood, Sourcing Manager

        b.     Matt Lee, Manager Materials Management

18.     Salinas Valley Medical Center

        a.     Melissa Aylard, Operations Manager

        b.     Juan Gomez, SPD Manager

19.     Pomona Valley Medical Center

        a.     Michelle Medel, Director of Materials Management

        b.     Rich Santala, Director of Supply Chain

20.     UHS (33 hospitals)

        a.     Christopher Nowak, Senior Director Technology Management

21.     SSM (23 hospitals)
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        a.     Brad Forth, VP of Supply Chain

        b.     Serina Seward, Senior Director

22.     Redland Community Hospital

        a.     Bo Aceto, Director of Perioperative Services

        b.     Danny Avina, Materials Management

23.     Northside Health (6 hospitals)

        a.     Randy Eccleston, SPD Director

        b.     Latasha Hall, Materials Management

24.      Northeast Georgia Health (6 hospitals)

        a.     Barry Bryant, SPD Manager

25.     Mayo Clinic

        a.     Kyle Shonley, Clinical Operations Administrator

26.     Beth Israel Lahey Health (13 hospitals)

        a.     Ryan Furtado, Director SPD

        b.     Ralph Gibbs, Director SPD

27.     Boston Children’s Medical Center

        a.     Christine L’Heureux, Director of Supply Chain

        b.     Scott McLeod, Sourcing Manager

28.     Indiana University Health

        a.     Andrew Rago, Senior Manager

29.      Northwestern Memorial Healthcare

        a.     Kyle Shulfer, Strategic Sourcing Manager

30.     Yankee Alliance (200+ facilities)
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        a.      Tom Kennedy, Contracting Manager

31.      Vizient, Inc. (2,000+ facilities)

        a.      Rand Ballard, Chief Customer Officer

        b.      Ryan Gay, Contracting



INTERROGATORY NO. 3

       Identify all persons that refused to work with You due to Intuitive’s purportedly
anticompetitive conduct, including all persons You referred to in paragraphs 36 and 92 of the
Complaint.

RESPONSE TO INTERROGATORY NO. 3

        Plaintiff objects to this interrogatory as overbroad and burdensome to the extent it calls

for the "identity" of persons and/or entities as that term is defined in Definition No. 6 of

Defendant's First Set of Interrogatories.

        Subject to and without waiver of the foregoing objections, Plaintiff responds to this

interrogatory as follows: The requested persons are listed above in response to Interrogatory No.

2. Plaintiff believes no customer would work with it because of Intuitive’s anticompetitive

conduct.
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Dated: May 20, 2022             HALEY GUILIANO LLP

                                By: /s/ Richard T. McCaulley

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                                Attorneys for Plaintiff
                                SURGICAL INSTRUMENT SERVICE
                                COMPANY, INC.
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                                CERTIFICATE OF SERVICE



       I hereby certify that on May 20, 2022, I caused a copy of the foregoing PLAINTIFF

SURGICAL        INSTRUMENT          SERVICE        COMPANY,          INC.’S     ANSWERS      AND

OBJECTIONS TO DEFENDANT’S INTERROGATORIES FIRST SET - NOS. 1-3 to be

served via electronic mail to counsel of record:




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 Karen Hoffman Lent                                Kathryn Elizabeth Cahoy
 Michael Menitove                                  Matthew Erik Delgado
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Attorneys for Defendant,
INTUITIVE SURGICAL, INC.

                                             By: /s/ Karleigh Nguyen
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                             EXHIBIT 2

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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1                          UNITED STATES DISTRICT COURT
2                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                             SAN FRANCISCO DIVISION
4
          SURGICAL INSTRUMENT SERVICE    )
5         COMPANY, INC.,                 ) Case No.:
                                         ) 3:21-cv-03496-VC
6                     Plaintiff,         )
                                         ) Lead Case No.:
7               vs.                      ) 3:21-cv-03825-VC
                                         )
8         INTUITIVE SURGICAL, INC.,      ) Pages 1 to 65
                                         )
9                     Defendant          )
          ______________________________ )
10        IN RE: DA VINCI SURGICAL ROBOT )
          ANTITRUST LITIGATION           )
11        ______________________________ )
          THIS DOCUMENT RELATES TO:      )
12        ALL ACTIONS                    )
          _______________________________)
13
14                   *** CONFIDENTIAL ATTORNEYS EYES ONLY ***
15                                 DEPOSITION OF:
16                             KEITH ROBERT JOHNSON
17                           IN HIS PERSONAL CAPACITY
18                          THURSDAY, OCTOBER 27, 2022
19                                   1:27 p.m.
20
21        REPORTED BY:
22        Vickie Blair
23        CSR No. 8940, RPR-CRR
24        JOB NO. 5539883
25        PAGES 1 - 68

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1         Deposition of KEITH ROBERT JOHNSON, the witness, taken
2         on behalf of the Defendant, on Thursday,
3         October 27, 2022, 1:27 p.m., before VICKIE BLAIR,
4         CSR No. 8940, RPR-CRR.
5
6         APPEARANCES OF COUNSEL VIA ZOOM:
7
8         FOR PLAINTIFF/COUNTER-DEFENDANT SURGICAL INSTRUMENT
          SERVICE CO. INC.:
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1         APPEARANCES OF COUNSEL VIA ZOOM: (Continued)
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6                       jsnyder@bonizack.com
7         ALSO PRESENT:
8                       RAMON A. PERAZA, Videographer
9
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1                                        I N D E X

2

3         WITNESS                  EXAMINATION                        PAGE

4          KEITH ROBERT JOHNSON

5                                  (MR. CHAPUT)                          6

6                                  (MR. SNYDER)                        47

7                                  (MR. CHAPUT)                        58

8

9                                INFORMATION REQUESTED

10                                          None

11              QUESTIONS INSTRUCTED BY COUNSEL NOT TO ANSWER

12                                          None

13

14                                  E X H I B I T S

15        EXHIBIT NO.    PAGE      DESCRIPTION

16       Exhibit 141        25    Email chain, Bates numbers

17                                SIS000366 and SIS000367

18       Exhibit 142        27    Spreadsheet, Bates number

19                                SIS000167

20       Exhibit 143        35    Si Recycling Program form, Bates

21                                number SIS196367

22       Exhibit 144        40    EndoWrist Recycling Program form,

23                                Bates numbers SIS146976 through

24                                SIS146978

25

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1               Q     And what is SIS's annual net profit?             13:31:44

2               A     I'm not privy to that number.                    13:31:54

3               Q     Who owns SIS?                                    13:31:58

4               A     Greg Posdal.                                     13:32:07

5               Q     You mentioned also earlier that SIS is one       13:32:07

6       of three main competitors in its business.              Am I   13:32:19

7       recalling that correctly?                                      13:32:23

8               A     Yes.                                             13:32:24

9               Q     Who are SIS's main competitors?                  13:32:24

10              A     STERIS IMS and AgilityHealth.                    13:32:30

11              Q     And are both STERIS and Agility national         13:32:38

12      ISOs?                                                          13:32:50

13              A     The IMS division of STERIS is an ISO, but        13:32:51

14      STERIS is an $8 billion global sterilization company.          13:32:58

15              Q     Do any of SIS's customers also have              13:33:03

16      contracts at the same time with either STERIS IMS or           13:33:16

17      Agility or do customers typically contract only with           13:33:23

18      one of the three organizations?                                13:33:25

19              A     I think typically -- typically it would be       13:33:26

20      one, but there is a lot of scenarios where two or three        13:33:30

21      organizations work with a -- any given hospital or             13:33:36

22      hospital system.                                               13:33:38

23              Q     Does SIS compete at all with companies           13:33:38

24      like Benjamin Biomedical or Restore Robotics or                13:33:47

25      MediVision?                                                    13:33:56

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1       your answers about that timeline be roughly the same?            14:52:00

2                     MR. CHAPUT:     Object to the form.                14:52:06

3                     THE WITNESS:     Yes, I'm -- I'm -- I'm a          14:52:09

4       sales guy, I'm looking for opportunities to sell.         This   14:52:11

5       robotic program created an opportunity for SIS to                14:52:15

6       substantially increase the revenue of our organization,          14:52:18

7       a great opportunity, and that was what I -- I was -- I           14:52:20

8       was pumped about the opportunity.                                14:52:24

9       BY MR. SNYDER:                                                   14:52:25

10            Q       Let's -- let's go -- let's go there next.          14:52:29

11      I just have a few questions.                                     14:52:33

12                    This morning I believe you used the word           14:52:35

13      "monumental" in connection with the level of interest            14:52:41

14      in EndoWrist repair.                                             14:52:43

15                    Is that a word that you used in that               14:52:44

16      context, Mr. Johnson?                                            14:52:46

17            A       I believe I did, and I don't use that word         14:52:48

18      very often.                                                      14:52:50

19            Q       And are -- are there -- are there key --           14:52:53

20      key moments or key events that you have in mind when             14:53:01

21      you refer to the monumental level of interest in                 14:53:05

22      EndoWrist repair?                                                14:53:08

23                    MR. CHAPUT:     Object to the form.                14:53:11

24                    THE WITNESS:     Yeah, there's -- there's a        14:53:12

25      couple very distinct meetings that stick out in my               14:53:16

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1       head, yes.                                                       14:53:18

2       BY MR. SNYDER:                                                   14:53:20

3             Q        And what -- what are those -- those               14:53:20

4       meetings that stick out?                                         14:53:26

5             A        One of the biggest ones was the meeting           14:53:27

6       that we had with Advocate Aurora in Wisconsin.            I'll   14:53:35

7       just say this, in -- in -- in every meeting that I had,          14:53:46

8       and I'm not saying some of them, I'm saying all of               14:53:50

9       them, the -- the level of interest from the people that          14:53:52

10      I met with, which was always usually the C-suite, VP of          14:53:58

11      supply chain, VP of perioperative services, chief                14:54:02

12      robotic surgeon, one of those groups, every single one           14:54:07

13      of them was absolutely excited about this program.               14:54:10

14                     Every one of them used the word                   14:54:15

15      "hemorrhage;" almost all -- I won't say every one, a             14:54:17

16      majority of the people I meet with said "We hemorrhage           14:54:23

17      money to Intuitive Surgical.      We are looking for ways        14:54:28

18      to reduce costs."                                                14:54:30

19                     They love the robot.    They do.       They all   14:54:31

20      love it.     They understand what it does.                       14:54:34

21                     It's -- it's the -- the lack of being able        14:54:36

22      to bring these other services that we were offering to           14:54:37

23      the table to help them reduce their costs, and that was          14:54:41

24      what they were excited about.                                    14:54:44

25            Q        A couple other names that came up earlier         14:54:51

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1       today I wanted to ask about.                              14:54:54

2                    You testified about Vizient.                 14:54:56

3                    Do you recall that?                          14:54:57

4             A      Uh-huh.                                      14:54:58

5             Q      And what -- what is Vizient?                 14:54:58

6             A      So Vizient is the largest health care GPO    14:55:01

7       in the country.                                           14:55:09

8             Q      What was Vizient's level of interest in      14:55:10

9       EndoWrist repair?                                         14:55:12

10            A      I have met with the CEO of Vizient, the      14:55:18

11      chief customer officer of Vizient, in fact, the chief     14:55:21

12      customer officer of Vizient scheduled a meeting with      14:55:26

13      his six high level people that run the entire country     14:55:28

14      because that's how excited they were about this           14:55:32

15      program.                                                  14:55:35

16                   They don't -- Vizient doesn't get any        14:55:36

17      value from Intuitive Surgical, they don't get admin       14:55:38

18      fees from Intuitive Surgical, they don't get anything     14:55:43

19      from Intuitive Surgical.                                  14:55:47

20                   So the fact that SIS had a program that      14:55:50

21      could reduce costs to health care, help the hospitals     14:55:52

22      reduce their cost for robotic surgery, and they could     14:55:55

23      bring value to their customers in the robotic space was   14:55:58

24      an absolute home run for them.                            14:56:01

25            Q      And could -- can you describe generally      14:56:05

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                      *** CONFIDENTIAL ATTORNEYS EYES ONLY ***

1       how large Vizient is?   I mean, you said they're the      14:56:11

2       largest, but what does that mean?                         14:56:15

3                A   Yeah, they represent, don't quote me         14:56:16

4       specifically, but they represent somewhere between        14:56:19

5       2,500 and 3,000 hospitals.                                14:56:22

6                Q   And what -- what's Vizient's geographic      14:56:24

7       scope?                                                    14:56:29

8                A   National, every state in the union.          14:56:29

9                Q   Another -- another name that I believe       14:56:36

10      came up earlier today was Johns Hopkins.                  14:56:37

11                   Did you mention Johns Hopkins?               14:56:41

12               A   Yes.                                         14:56:43

13               Q   What do you recall about -- did you meet     14:56:43

14      with Johns Hopkins at any point?                          14:56:45

15               A   Yes.                                         14:56:48

16               Q   What do you recall about that meeting?       14:56:48

17               A   I could describe the gentleman to you        14:56:56

18      because I remember specifically what he looked like, I    14:56:57

19      believe he was the director of sourcing or the VP of      14:57:00

20      supply chain, and forgive me for not remembering his      14:57:04

21      title specifically, that meeting was teed up by the       14:57:08

22      Vizient director that -- the client executor that         14:57:13

23      managed that relationship with Johns Hopkins, and they    14:57:17

24      told them that they had a vendor that had a cost          14:57:19

25      savings program around robotic surgery.                   14:57:21

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1                     So me and one of my people spent an hour       14:57:24

2       on the phone with him, he was all about it, he loved         14:57:26

3       it, he -- we ended that call with him saying, "Keith,        14:57:32

4       let me talk to legal and supply chain, we'll look over       14:57:37

5       our contract, and we'll get back with you."                  14:57:40

6             Q       Now, you -- you've been in the -- in the       14:57:45

7       industry about 25 years or so.                               14:57:48

8                     Do I have that about right?                    14:57:50

9             A       Yes, since about late '99.                     14:57:52

10            Q       Okay.   So since -- since '99, you've          14:57:54

11      gained a lot of experience.                                  14:58:01

12                    Is that fair to say?                           14:58:02

13                    MR. CHAPUT:     Objection to form.             14:58:04

14      BY MR. SNYDER:                                               14:58:08

15            Q       Is it fair to say you're experienced in        14:58:08

16      the industry, Mr. Johnson?                                   14:58:10

17            A       I would say yes.                               14:58:11

18            Q       And what's your view of Johns Hopkins'         14:58:12

19      level of sophisticated when it comes to patient safety?      14:58:17

20                    MR. CHAPUT:     Object to the form.            14:58:21

21                    THE WITNESS:     I don't think you would get   14:58:25

22      any higher.                                                  14:58:26

23      BY MR. SNYDER:                                               14:58:30

24            Q       Move on to another name.                       14:58:32

25                    Another one I believe that came up is Mayo     14:58:33

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1       Clinic.                                                              14:58:33

2                    Did I get that right?                                   14:58:37

3             A      Yes, sir.                                               14:58:38

4             Q      And did you ever talk with or meet with                 14:58:39

5       the Mayo -- representatives of the Mayo Clinic?                      14:58:41

6             A      Yes.                                                    14:58:44

7             Q      And what -- was it an in-person meeting?                14:58:44

8             A      They all took place over Zoom.                          14:58:50

9             Q      Okay.    This is during the -- during the               14:58:52

10      pandemic?                                                            14:58:54

11            A      Yes, sir.                                               14:58:54

12            Q      And what -- what do you recall about that               14:58:56

13      Zoom meeting with the Mayo Clinic?                                   14:58:58

14            A      The meetings have all gone the same, and I              14:59:07

15      say that with all honestly, they -- they have a vested               14:59:09

16      interest in finding ways to reduce costs on their                    14:59:14

17      robotic surgery.     We explained to them the program,               14:59:17

18      they're excited about it.                                            14:59:21

19                   And I didn't finish my statement before                 14:59:22

20      about Johns Hopkins.                                                 14:59:24

21                   "Keith, this sounds great, let us do our                14:59:28

22      due diligence and we'll get back to you."             Every single   14:59:31

23      one of those groups have come back, either via email or              14:59:35

24      a phone call saying, "Keith, Intuitive does not allow                14:59:39

25      us, they will not allow us to do your program, our                   14:59:44

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1       contracts won't allow us to do it.         We're being told     14:59:47

2       that this is void our warranty, we're being told this           14:59:51

3       will void our service agreement.        As much as we want to   14:59:53

4       do it, we -- we can't take the risk of being penalized          14:59:55

5       or "being" -- I'm trying to think of the word they              14:59:58

6       always use -- or -- "or the pressure we would get from          15:00:02

7       Intuitive Surgical."                                            15:00:05

8             Q      Okay.   And I want to come back to that in         15:00:08

9       a -- in the next question, the question after this one.         15:00:11

10                   But my first question is:        What, given       15:00:14

11      your several decades of experience in this industry,            15:00:17

12      what's your view of the Mayo Clinic's level of                  15:00:22

13      sophistication when it comes to patient safety?                 15:00:26

14                   MR. CHAPUT:     Object to the form.                15:00:28

15                   THE WITNESS:     I would say there's four          15:00:29

16      hospital systems in the U.S. that kind of standalone,           15:00:34

17      and I think if you asked anybody in health care, they           15:00:38

18      would say the Mayo Clinic, the Cleveland clinic, Johns          15:00:41

19      Hopkins, and Cedars-Sinai are probably the four most            15:00:46

20      renowned teaching, quality of care, standard of care            15:00:54

21      organizations in the U.S.                                       15:00:59

22      BY MR. SNYDER:                                                  15:01:07

23            Q      And it's fair to say the Mayo Clinic               15:01:07

24      was -- was interested in EndoWrist repair?                      15:01:10

25                   MR. CHAPUT:     Object to the form.                15:01:13

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                             EXHIBIT 3

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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1                          UNITED STATES DISTRICT COURT
2                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                             SAN FRANCISCO DIVISION
4
          SURGICAL INSTRUMENT SERVICE    )
5         COMPANY, INC.,                 ) Case No.:
                                         ) 3:21-cv-03496-VC
6                     Plaintiff,         )
                                         ) Lead Case No.:
7               vs.                      ) 3:21-cv-03825-VC
                                         )
8         INTUITIVE SURGICAL, INC.,      )
                                         )
9                     Defendant          )
          ______________________________ )
10        IN RE: DA VINCI SURGICAL ROBOT )
          ANTITRUST LITIGATION           )
11        ______________________________ )
          THIS DOCUMENT RELATES TO:      )
12        ALL ACTIONS                    )
          _______________________________)
13
14
15                   *** CONFIDENTIAL ATTORNEYS EYES ONLY ***
16                            30(b)(6) DEPOSITION OF:
17                             KEITH ROBERT JOHNSON
18                           THURSDAY, OCTOBER 27, 2022
19                       9:06 a.m. Mountain Standard Time
20
21        REPORTED BY:
22        Vickie Blair
23        CSR No. 8940, RPR-CRR
24        JOB NO. 5539883
25        PAGES 1 - 122

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1         Deposition of KEITH ROBERT JOHNSON, the witness, taken
2         on behalf of the Defendant, on Thursday,
3         October 27, 2022, 9:06 a.m. Mountain Standard Time,
4         before VICKIE BLAIR, CSR No. 8940, RPR-CRR.
5
6         APPEARANCES OF COUNSEL VIA ZOOM:
7
8         FOR PLAINTIFF/COUNTER-DEFENDANT SURGICAL INSTRUMENT
          SERVICE CO. INC.:
9
                     HALEY GUILIANO LLP
10                   BY JOSHUA VAN HOVEN, Partner
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13
14        FOR DEFENDANT INTUITIVE SURGICAL, INC.:
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15                 BY ISAAC D. CHAPUT, Associate
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25

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1         APPEARANCES OF COUNSEL VIA ZOOM: (Continued)
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3                       BONI, ZACK & SNYDER LLC
                        BY JOSHUA D. SNYDER, Partner
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                        Bala Cynwyd, Pennsylvania                19004
5                       (610) 822-0203
                        (610) 822-0206
6                       jsnyder@bonizack.com
7
8         ALSO PRESENT:
9                       RAMON A. PERAZA, Videographer
10
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1                                        I N D E X

2

3         WITNESS                  EXAMINATION                        PAGE

4          KEITH ROBERT JOHNSON

5                                  (MR. CHAPUT)                          7

6

7

8                                INFORMATION REQUESTED

9                                           None

10

11

12              QUESTIONS INSTRUCTED BY COUNSEL NOT TO ANSWER

13                                          None

14

15                                  E X H I B I T S

16        EXHIBIT NO.    PAGE      DESCRIPTION

17       Exhibit 135        10    Defendant Intuitive Surgical,

18                                Inc.’s Notice of Deposition of

19                                Plaintiff Surgical Instrument

20                                Service Company, Inc., Pursuant to

21                                Fed. R. CIV. P. 30(b)(6)

22       Exhibit 136        57    Email chain with attachments,

23                                Bates numbers SIS095115 through

24                                SIS095139

25

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1       information did SIS have about Rebotix's capabilities     09:29:34

2       when SIS started its relationship with Rebotix?           09:29:41

3                    MR. VAN HOVEN:     Objection to form.        09:29:45

4                    THE WITNESS:     Can you ask that again, I   09:29:46

5       apologize.                                                09:29:51

6       BY MR. CHAPUT?                                            09:29:52

7             Q      Sure.   Maybe I can make it a little more    09:29:52

8       straightforward.                                          09:29:56

9                    What did SIS know about Rebotix's            09:29:57

10      capabilities when it entered into the EndoWrist repair    09:29:59

11      business?                                                 09:30:05

12                   MR. VAN HOVEN:     Objection to form.        09:30:05

13                   THE WITNESS:     So, based on our            09:30:05

14      longstanding relationship with Benjamin Biomedical, and   09:30:11

15      the quality products that they had been providing to us   09:30:16

16      for, like I said, over 25 years, we had every belief      09:30:19

17      that the products and services they were providing were   09:30:24

18      quality, and we went down, visited the lab, made sure     09:30:27

19      that we understood and saw the product that they were     09:30:32

20      developing and the service that they were providing,      09:30:36

21      felt really good about it, and were excited about it,     09:30:39

22      and learned everything we could about their testing       09:30:42

23      practices and what they were doing, and really pretty     09:30:45

24      much everything inside and out about that program         09:30:49

25      before we took it to market.                              09:30:52

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1       BY MR. CHAPUT:                                            09:30:52

2             Q      Have you ever observed the entirety of       09:30:56

3       what Rebotix calls a repair of an EndoWrist?              09:31:01

4             A      Yes.                                         09:31:07

5                    MR. VAN HOVEN:     Object to form.           09:31:08

6                    THE WITNESS:     Yes.                        09:31:08

7       BY MR. CHAPUT:                                            09:31:09

8             Q      When did you observe that repair?            09:31:11

9             A      I don't remember the specific dates, but     09:31:15

10      if I remember correctly, it was in the fall of '19.       09:31:24

11            Q      And would you describe for me the repair     09:31:30

12      process that Rebotix performed that you observed?         09:31:42

13            A      We observed the complete incoming            09:31:48

14      inspection process; we observed the chip replacement      09:31:55

15      process; and we also observed the complete outgoing       09:32:03

16      safety and function test of those devices.                09:32:08

17            Q      Starting with the complete incoming          09:32:12

18      inspection that you observed, what steps were involved    09:32:24

19      in that incoming inspection?                              09:32:27

20            A      Being that that device is a very simple      09:32:33

21      laparoscopic instrument, we observed the functionality    09:32:39

22      of that device, the strength of the pulleys, the          09:32:43

23      sharpness of the scissors, the -- the grasping strength   09:32:48

24      of the forceps, all of those safety and function to       09:32:53

25      make sure that those devices met the original intended    09:32:57

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1       did not take any other steps to confirm that the chip     09:44:47

2       replacement process did not impact the EndoWrist's        09:44:51

3       safety?                                                   09:44:53

4              A     Not that I'm aware of.                       09:45:01

5              Q     Did SIS ever enter into a written            09:45:06

6       agreement with Rebotix regarding this EndoWrist           09:45:09

7       service?                                                  09:45:12

8              A     I believe that we did.                       09:45:21

9              Q     And when -- when would that have happened?   09:45:22

10             A     If I remember correctly, it was October of   09:45:30

11      '19.                                                      09:45:32

12             Q     Apart from the EndoWrist business that       09:45:50

13      you've been describing, has SIS had any other business    09:45:53

14      relationship with Rebotix specifically?                   09:45:55

15             A     Not that I know of.                          09:46:01

16             Q     Can you -- can you walk me through how the   09:46:04

17      Rebotix Repair service worked from the SIS customer's     09:46:14

18      perspective, please.                                      09:46:18

19             A     Can -- can you elaborate what you mean?      09:46:19

20             Q     Sure.                                        09:46:26

21                   So how did a customer go about having a --   09:46:26

22      an EndoWrist repaired through this SIS Rebotix program    09:46:30

23      that you've described?                                    09:46:36

24             A     So the nature of our business, we're a       09:46:36

25      national company, so we work in all the regions around    09:46:44

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1       the country, so we have team members and reps on the        09:46:48

2       ground, and we work with hospitals on a daily basis         09:46:51

3       picking up items and devices in need of service,            09:46:54

4       getting those to one of our labs, they are serviced and     09:46:57

5       then returned to the facility.                              09:47:02

6                    So this Rebotix program that we were           09:47:03

7       providing fell right in line with what we were doing        09:47:05

8       every day.                                                  09:47:10

9               Q    Was the service performed at one of SIS's      09:47:10

10      labs?                                                       09:47:16

11                   MR. VAN HOVEN:     Objection to form.          09:47:18

12                   THE WITNESS:     We were -- every discussion   09:47:19

13      we had was about bringing it in-house and doing it          09:47:27

14      ourselves.   In fact, a couple members of their team        09:47:29

15      came to Chicago and worked in our lab with us, and          09:47:37

16      our -- some of our technicians that were going to be        09:47:41

17      involved in this program were part of that, so we were      09:47:44

18      absolutely going to be doing this service in-house.         09:47:48

19      BY MR. CHAPUT:                                              09:47:51

20              Q    Okay.   So you said that you were "going to    09:47:51

21      be doing it in-house."                                      09:47:53

22                   My question was:      Did SIS ever actually    09:47:54

23      perform the service in-house?                               09:47:57

24              A    No.                                            09:47:58

25              Q    So for all of the EndoWrist repairs that       09:48:00

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1       testing process?                                          10:06:18

2             A      I'm not involved in the engineering and      10:06:18

3       the technical side of that, so what I'm personally        10:06:26

4       providing is more of a customer feedback, customer        10:06:29

5       thoughts, customer interest in that program, and what     10:06:35

6       it would mean to health care.                             10:06:38

7             Q      Describe for me the customer feedback and    10:06:39

8       customer thoughts, customer interests in that program,    10:06:47

9       please.                                                   10:06:50

10            A      How much time do we have?                    10:06:50

11            Q      Describe it at a high level to start with,   10:06:54

12      and we can --                                             10:06:58

13            A      Since this program started, the interest     10:07:01

14      from the hospital is monumental, through the roof.        10:07:03

15      The -- the interest in saving and reducing costs on       10:07:11

16      robotic surgery in the industry is something I've never   10:07:15

17      seen before in my 25 years of being in the surgical       10:07:17

18      business.                                                 10:07:22

19            Q      What hospitals have you spoken with about    10:07:23

20      the Xi program?                                           10:07:27

21            A      Would you like me to list them?              10:07:29

22            Q      Yes, please.                                 10:07:35

23            A      This will be from the top of my head, so     10:07:36

24      I'll do the best I can, but well over -- the meetings     10:07:40

25      that we've had represent well over a thousand             10:07:46

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1       hospitals, probably.                                      10:07:48

2                    Facility level, I'll just start to kind of   10:07:53

3       name them off regionally.    Legacy Health system in      10:07:56

4       Portland, Oregon; Providence health system in the West    10:08:00

5       Coast; Sutter Health; Kaiser Permanente; memorial care;   10:08:04

6       the UC system in California; Banner Health System;        10:08:16

7       Honor Health; Baylor Scott & White in Texas; the          10:08:21

8       university health systems across the country, from        10:08:31

9       Michigan to Duke to North Carolina; Mayo Clinic;          10:08:35

10      Cleveland Clinic; Advocate Aurora; Lahey Health System;   10:08:50

11      Boston Children's Medical Center.                         10:08:55

12                   I can't believe I'm remembering all this     10:08:57

13      off the top of my head.                                   10:09:00

14                   Piedmont health system, Grady in Atlanta,    10:09:02

15      Johns Hopkins.                                            10:09:13

16                   That's the bulk of the direct hospitals      10:09:14

17      that I can recall having direct conversations with;       10:09:25

18      there's obviously much more than that.                    10:09:27

19                   And then, in addition to that, all the       10:09:29

20      Vizient conversations we've had, I've presented to all    10:09:33

21      four regions of Vizient, which basically covers well      10:09:41

22      over 2,000 hospitals in the United States.                10:09:45

23            Q      Have you spoken with any of those            10:09:48

24      hospitals about the need for an EndoWrist repair          10:10:09

25      program to have FDA clearance?                            10:10:11

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1               A    I don't know if I understand what you're      10:10:20

2       asking me.                                                 10:10:21

3               Q    Have any of those hospitals told you that     10:10:22

4       they would be willing to purchase EndoWrist repair         10:10:29

5       services that were not cleared by the FT -- FDA?           10:10:33

6                    MR. VAN HOVEN:     Objection to form.         10:10:40

7                    MR. SNYDER:     Objection to form.            10:10:42

8                    THE WITNESS:     So I've been in the repair   10:10:42

9       business for well over 20 years, repairs don't require     10:10:44

10      FDA clearance, and to my recollection, nobody in any of    10:10:49

11      my conversations every brought up FDA clearance on the     10:10:58

12      repair.                                                    10:11:01

13      BY MR. CHAPUT:                                             10:11:02

14              Q    Does the Xi -- maybe let's -- let's step      10:11:02

15      back.                                                      10:11:05

16                   Does the Xi repair business that SIS is       10:11:06

17      exploring with Restore involve extending the number of     10:11:12

18      lives that an EndoWrist can be used for?                   10:11:18

19              A    We are currently working on developing a      10:11:20

20      program to extend the life of Xi instruments.              10:11:31

21              Q    And is that the program that you have         10:11:34

22      spoken with hospitals about?                               10:11:36

23              A    The initial conversations we had with         10:11:47

24      hospitals was around the repair program of Si.             10:11:49

25                   We then went to our recovery program,         10:11:57

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1       BY MR. CHAPUT:                                            11:47:09

2             Q       And this is an email from you to a couple   11:47:09

3       folks at Vizient; is that right?                          11:47:13

4             A       Yes.                                        11:47:16

5             Q       And what is Vizient?                        11:47:21

6             A       The largest GPO in the United States.       11:47:26

7             Q       SIS has a relationship with Vizient; is     11:47:28

8       that right?                                               11:47:33

9             A       Correct.                                    11:47:33

10            Q       How does that -- how does the Vizient       11:47:33

11      relationship work for SIS?                                11:47:42

12            A       What -- what do you mean?                   11:47:46

13            Q       So what I'm trying to get at is how does    11:47:47

14      SIS end up performing services for specific customers     11:47:55

15      in the -- who -- who rely on Vizient for -- as a GPO?     11:48:02

16            A       So Vizient -- Vizient contracts with        11:48:07

17      vendors from all aspects in a hospital, from toilet       11:48:12

18      paper to X-ray machines and security, they vet their      11:48:16

19      vendors, they go through a huge vetting process.          11:48:23

20                    We are one of three vendors on Vizient      11:48:25

21      national contract in the instrument repair space, and     11:48:29

22      what they basically do is work with hospitals to find     11:48:35

23      ways to streamline services, reduce costs, and a lot of   11:48:38

24      other things, but that's really their main goal.          11:48:45

25            Q       Okay.   So a Vizient member can choose to   11:48:49

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1       enter into a contract with SIS for repair services or       11:48:51

2       it could choose another one of the Vizient service          11:48:55

3       providers; is that right?                                   11:48:59

4                      MR. VAN HOVEN:     Objection to form.        11:49:00

5                      THE WITNESS:     As far as I understand,     11:49:00

6       correct.                                                    11:49:05

7       BY MR. CHAPUT:                                              11:49:06

8             Q        What was the -- what was the reason for      11:49:10

9       your June 2020 email to Vizient that we're seeing in        11:49:13

10      Exhibit 137?                                                11:49:19

11            A        I was given the opportunity present to the   11:49:20

12      national committee -- if I remember correctly, this was     11:50:00

13      a presentation to the national Vizient consultants that     11:50:05

14      bring cost savings opportunities to their members.          11:50:13

15            Q        Got it.                                      11:50:19

16                     If you would turn, please, to the first      11:50:20

17      attachment to the email, which is the -- a one-page         11:50:21

18      document ending 140, and this has the title "Beyond         11:50:25

19      Repair Double Check."                                       11:50:25

20                     Do you recognize this document?              11:50:34

21            A        Yes.                                         11:50:39

22            Q        Does the beyond repair double check          11:50:39

23      program have anything to do with either da Vinci            11:50:41

24      surgical systems or EndoWrists?                             11:50:44

25            A        No.                                          11:50:50

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1                      for identification and is attached           12:24:02

2                      hereto.)                                     12:24:02

3       BY MR. CHAPUT:                                              12:24:02

4             Q        And this is an email chain between you and   12:24:06

5       John Ayers and others at MarinHealth; is that right?        12:24:09

6             A        Yes.                                         12:24:13

7             Q        Who is John Ayers?                           12:24:13

8             A        John Ayers is the OR business manager at     12:24:16

9       MarinHealth.                                                12:24:24

10            Q        Did SIS market its ability to perform        12:24:28

11      endo -- repairs on EndoWrist instruments to                 12:24:31

12      MarinHealth?                                                12:24:35

13            A        Yes.                                         12:24:36

14            Q        Did MarinHealth and Mr. Ayers ultimately     12:24:37

15      agree to use SIS to perform repairs on EndoWrist            12:24:44

16      instruments?                                                12:24:48

17            A        Yes, we did a lot of EndoWrists for          12:24:49

18      MarinHealth.                                                12:24:53

19            Q        Over what period?                            12:24:53

20            A        I don't remember specifically, but I would   12:24:55

21      say 90 days-ish.                                            12:25:02

22            Q        And how many instruments did you service     12:25:05

23      for MarinHealth?                                            12:25:07

24            A        I would guess in the range of 50 to 60.      12:25:08

25            Q        Did you have a signed agreement with Marin   12:25:15

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1       for that business?                                        12:25:21

2             A      Not initially, no, it was kind of a trial,   12:25:21

3       we were doing a trial to make sure they liked it.         12:25:25

4             Q      And you said "not initially."                12:25:28

5                    Was there an agreement for that business     12:25:30

6       that you entered into with MarinHealth later?             12:25:32

7             A      There would have absolutely been an          12:25:35

8       agreement in place until Intuitive shut us down.          12:25:37

9             Q      If you would turn to the page ending 545,    12:25:40

10      there's an email in the middle of this page from you to   12:26:05

11      Mr. Ayers dated November 19, 2019.                        12:26:07

12            A      Okay.                                        12:26:16

13            Q      And in the middle of that email, you say     12:26:16

14      (as read):                                                12:26:16

15                           We are working with a large -- a     12:26:20

16                   number of the largest health care            12:26:22

17                   organizations in the U.S.                    12:26:23

18                   And then you list Banner Health, Kaiser      12:26:24

19      Permanente, Legacy Health, Advocate Aurora Health, and    12:26:28

20      Piedmont Healthcare.                                      12:26:32

21                   As of November 2019, was SIS providing       12:26:33

22      services to any of those organizations relating to        12:26:37

23      EndoWrist instruments?                                    12:26:43

24            A      All of them.                                 12:26:50

25            Q      And, in response, on Monday, November 25,    12:26:51

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1       2019, Mr. Ayers wrote to you -- oh, I apologize, I was         12:27:06

2       looking at the wrong email.                                    12:27:16

3                    If you would turn to page ending 544, I'm         12:27:18

4       looking at the email from Mr. Ayers on November 25,            12:27:22

5       2019, at 1:43 p.m. where he asks (as read):                    12:27:26

6                            Keith, how do the other hospitals         12:27:30

7                    get past the Intuitive contract language          12:27:32

8                    regarding proprietary instruments?                12:27:34

9                    Do you see that question?                         12:27:37

10             A     What page was that again?                         12:27:38

11             Q     544.                                              12:27:47

12             A     Okay, yes, I see it.                              12:27:50

13             Q     And you responded in an email that same           12:27:53

14      day at 1:07 p.m. (as read):                                    12:27:57

15                           Our service is, quote, repairing,         12:28:01

16                   unquote, an Intuitive instrument.        We are   12:28:04

17                   not changing the instrument in any way            12:28:06

18                   from its intended use or designed                 12:28:09

19                   functionality.                                    12:28:11

20                   Do you see that statement?        This is on      12:28:13

21      543.                                                           12:28:19

22             A     Okay.    I was going the wrong direction.         12:28:20

23                   Yes, I see it.                                    12:28:23

24             Q     Okay.    And what was the basis for your          12:28:24

25      statement that SIS was not changing the instrument in          12:28:27

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1             Q      Did SIS ever facilitate any EndoWrist              12:34:41

2       repair services for Vizient members?                            12:34:45

3             A      Absolutely.                                        12:34:47

4             Q      Which -- which Vizient members were those?         12:34:47

5             A      Legacy, Legacy Health, Kaiser Permanente,          12:34:52

6       Piedmont, most of the our other big clients are                 12:35:06

7       Premiere, they're not Vizient, so -- if you want -- if          12:35:20

8       you're asking me actual repairs done, I think those are         12:35:24

9       the three big ones.                                             12:35:28

10                   MR. CHAPUT:    Okay.    So, Mr. Johnson, I         12:35:39

11      don't have any more questions at this point on the              12:35:41

12      30(b)(6) notice.   We are going continue with your              12:35:42

13      deposition in your personal capacity, but we can go             12:35:45

14      ahead and take a break before we do that.                       12:35:48

15                   MR. SNYDER:    Isaac, Josh Snyder, I do have       12:35:55

16      a few questions, very few, but I'm happy to save them           12:35:58

17      all till the end in the interest of efficiency.        You      12:36:01

18      may cover them in the next part anyway.                         12:36:06

19                   MR. CHAPUT:    Sure, that's fine, Josh.            12:36:08

20                   MR. SNYDER:    Thank you.                          12:36:11

21                   VIDEOGRAPHER PERAZA:      This is the end of       12:36:12

22      today's deposition of SIS by Mr. Keith Johnson.        We are   12:36:14

23      off the record at 12:36 p.m.                                    12:36:17

24                   The total number of media used was four,           12:36:21

25      and will be retained by Veritext.                               12:36:25

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                             EXHIBIT 4

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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 1                       UNITED STATES DISTRICT COURT
 2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                          SAN FRANCISCO DIVISION
 4
          SURGICAL INSTRUMENT SERVICE    )
 5        COMPANY, INC.,                 ) Case No.:
                                         ) 3:21-cv-03496-VC
 6                    Plaintiff,         )
                                         ) Lead Case No.:
 7              vs.                      ) 3:21-cv-03825-VC
                                         )
 8        INTUITIVE SURGICAL, INC.,      )
                                         )
 9                    Defendant          )
          ______________________________ )
10        IN RE: DA VINCI SURGICAL ROBOT )
          ANTITRUST LITIGATION           )
11        ______________________________ )
          THIS DOCUMENT RELATES TO:      )
12        ALL ACTIONS                    )
          _______________________________)
13
14
15                 *** CONFIDENTIAL ATTORNEYS EYES ONLY ***
16                          30(b)(6) DEPOSITION OF:
17                           KEITH ROBERT JOHNSON
18                         THURSDAY, OCTOBER 27, 2022
19                     9:06 a.m. Mountain Standard Time
20
21        REPORTED BY:
22        Vickie Blair
23        CSR No. 8940, RPR-CRR
24        JOB NO. 5539883
25        PAGES 1 - 122

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                *** CONFIDENTIAL ATTORNEYS EYES ONLY ***
 1   Deposition of KEITH ROBERT JOHNSON, the witness, taken
                                                                        1                  INDEX
 2   on behalf of the Defendant, on Thursday,
 3   October 27, 2022, 9:06 a.m. Mountain Standard Time,                2
 4   before VICKIE BLAIR, CSR No. 8940, RPR-CRR.                        3   WITNESS            EXAMINATION                   PAGE
 5
                                                                        4   KEITH ROBERT JOHNSON
 6   APPEARANCES OF COUNSEL VIA ZOOM:
 7                                                                      5               (MR. CHAPUT)                     7
 8   FOR PLAINTIFF/COUNTER-DEFENDANT SURGICAL INSTRUMENT
                                                                        6
     SERVICE CO. INC.:
 9                                                                      7
         HALEY GUILIANO LLP                                             8               INFORMATION REQUESTED
10       BY JOSHUA VAN HOVEN, Partner
                                                                        9                   None
         111 North Market Street, Suite 900
11       San Jose, California 95113                                    10
         +1 669 213 1061
                                                                       11
12       joshua.vanhoven@hglaw.com
13                                                                     12     QUESTIONS INSTRUCTED BY COUNSEL NOT TO ANSWER
14 FOR DEFENDANT INTUITIVE SURGICAL, INC.:                             13                   None
       COVINGTON & BURLING LLP
                                                                       14
15     BY ISAAC D. CHAPUT, Associate
       415 Mission Street                                              15                EXHIBITS
16     Suite 5400
                                                                       16   EXHIBIT NO. PAGE DESCRIPTION
       San Francisco, California 94105-2533
17     +1 415 591 7020                                                 17 Exhibit 135     10 Defendant Intuitive Surgical,
18     ichaput@cov.com                                                 18               Inc.’s Notice of Deposition of
       COVINGTON & BURLING LLP
                                                                       19               Plaintiff Surgical Instrument
19     BY AUSTIN S. MARTIN, Associate
       One CityCenter                                                  20               Service Company, Inc., Pursuant to
20     850 Tenth Street, NW
                                                                       21               Fed. R. CIV. P. 30(b)(6)
       Washington, D.C. 20001-4956
21     +1 202 662 5094                                                 22 Exhibit 136     57 Email chain with attachments,
22     amartin@cov.com                                                 23               Bates numbers SIS095115 through
23
                                                                       24               SIS095139
24
25                                                                     25
                                                              Page 2                                                                    Page 4

 1 APPEARANCES OF COUNSEL VIA ZOOM: (Continued) 1                                     E X H I B I T S (Continued)
 2 FOR THE PROPOSED CLASS:                      2                           EXHIBIT NO. PAGE DESCRIPTION
 3     BONI, ZACK & SNYDER LLC                  3                           Exhibit 137 86 Email with attachments, Bates
       BY JOSHUA D. SNYDER, Partner
                                                4                                       numbers SIS097139 through
 4     15 St. Asaphs Road
       Bala Cynwyd, Pennsylvania 19004
                                                5                                       SIS097187
 5     (610) 822-0203                           6                           Exhibit 138 100 Si EndoWrist Inspection and
       (610) 822-0206                           7                                       Recovery Program, Bates number
 6     jsnyder@bonizack.com                     8                                       SIS003937
 7                                              9                           Exhibit 139 106 Email, Bates number SIS096568
 8 ALSO PRESENT:                               10                           Exhibit 140 108 Email chain, Bates numbers
 9     RAMON A. PERAZA, Videographer           11                                       SIS000542 through SIS000547
10
                                               12
11
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13                                             14
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 1 the Rebotix EndoWrist repair business?                             09:55:02          1          THE WITNESS: Not that I'm aware of.               09:58:37
 2       A     We had, I'm sure, some box -- some costs                09:55:06         2 BY MR. CHAPUT:                                     09:58:38
 3 for boxes for shipping materials and things like that. 09:55:25                      3      Q    Does any aspect of SIS's relationship with 09:58:38
 4       Q     Anything else apart from boxes and                     09:55:28          4 Benjamin Biomedical relate to robotic surgeries?             09:58:41
 5 shipping materials?                                     09:55:32                     5      A    Not that I'm aware of.                 09:58:51
 6       A     Not that I recall.                     09:55:39                          6      Q    I'd like to focus next on Restore          09:58:53
 7       Q     So you mentioned a few times SIS's                     09:55:40          7 Robotics, LLC.                                09:59:04
 8 long-standing business relationship with Benjamin                      09:55:44      8          Does SIS currently have a business           09:59:05
 9 Biomedical, so I'd like to turn next and talk a little 09:55:48                      9 relationship with Restore?                        09:59:07
10 bit about that company.                                  09:55:51                   10      A    Yes.                            09:59:11
11            What -- what is the nature of SIS's              09:55:57                11      Q    And what's the nature of that              09:59:11
12 relationship with Benjamin Biomedical?                             09:56:03         12 relationship?                              09:59:16
13       A     We purchase a number of different items                 09:56:07        13      A    Our robotic program.                    09:59:23
14 from them; they manufacture them for us.                            09:56:11        14      Q    What is your robotic program?               09:59:25
15       Q     Does SIS ever outsource services to                09:56:13             15          MR. VAN HOVEN: Objection to form.                   09:59:31
16 Benjamin Biomedical?                                      09:56:24                  16          THE WITNESS: We currently are providing a 09:59:31
17       A     Yes.                               09:56:31                             17 recovery program through Restore Robotics.                  09:59:41
18       Q     What types of services does SIS outsource                09:56:31       18 BY MR. CHAPUT:                                     09:59:45
19 to Benjamin Biomedical?                                    09:56:34                 19      Q    What is SIS's recovery program?                09:59:45
20       A     The repair of Phaco handpieces and                     09:56:35         20      A    We're helping hospitals find dollars that      09:59:48
21 harmonic scalpels.                                  09:56:41                        21 are being thrown away on robotic devices.                 09:59:57
22       Q     What are Phaco handpieces?                        09:56:43              22      Q    How do you do that?                     10:00:01
23       A     It is a medical device used in cataract           09:56:45              23      A    We work with the hospitals to stop             10:00:04
24 surgery.                                       09:56:57                             24 throwing away and disposing of EndoWrists. We collect 10:00:13
25       Q     Does Benjamin Biomedical manufacturer --                   09:56:57   25 those EndoWrists for them, we test them, and help them 10:00:18
                                                                             Page 38                                                           Page 40

 1 excuse me, does Benjamin Biomedical manufacture Phaco               09:57:03         1 understand that they've thrown away perfectly               10:00:23
 2 handpieces and harmonic scalpels or are those              09:57:09                  2 functioning EndoWrists, and we return those EndoWrists 10:00:27
 3 manufactured by other companies?                        09:57:12                     3 back to the hospital so that they can collect and         10:00:30
 4           MR. VAN HOVEN: Objection to form.                 09:57:16                 4 ultili- -- and get that money that they've paid for       10:00:34
 5           THE WITNESS: They are manufactured by              09:57:16                5 those devices that was not captured.                  10:00:36
 6 other companies.                             09:57:18                                6      Q    Does any aspect of the recovery program           10:00:38
 7 BY MR. CHAPUT:                                    09:57:19                           7 involve circumventing the usage counter on the              10:00:47
 8      Q     Apart from repair of Phaco handpieces and       09:57:19                  8 EndoWrist?                                    10:00:51
 9 harmonic scalpels, does SIS outsource any other             09:57:25                 9      A    No.                             10:00:52
10 services to Benjamin Biomedical?                        09:57:31                    10      Q    Does SIS have the ability to check the         10:00:52
11      A     Not that I'm aware of.               09:57:32                            11 remaining lives on an EndoWrist without attaching it to 10:00:58
12      Q     Does SIS have any relationship with           09:57:35                   12 a da Vinci surgical system?                       10:01:02
13 Benjamin Biomedical apart from purchasing devices              09:57:44             13      A    Yes.                            10:01:05
14 manufactured by Benjamin Biomedical and outsourcing the 09:57:47                    14      Q    How does SIS do that?                   10:01:09
15 services we just discussed to Benjamin Biomedical?            09:57:50              15      A    In a partnership with Restore Robotics,         10:01:11
16           MR. VAN HOVEN: Objection to form.                 09:57:56                16 we've created a counter that allows us to test and         10:01:18
17           THE WITNESS: I'm sure there's some other          09:58:05                17 check those arms for remaining lives.                  10:01:27
18 things they do for us, for SIS, on the repair side, I    09:58:07                   18      Q    You've mentioned that SIS is providing           10:01:29
19 just am not familiar with what they would be.             09:58:11                  19 this recovery program through Restore Robotics.              10:01:32
20 BY MR. CHAPUT:                                    09:58:13                          20          What did you mean by that?                  10:01:35
21      Q     Who would be familiar?                 09:58:13                          21      A    Currently Restore Robotics is providing         10:01:36
22      A     Greg Posdal.                      09:58:15                               22 the technical aspect of that service.               10:01:43
23      Q     Does any aspect of Benjamin Biomedical's         09:58:18                23      Q    What is the technical aspect of that        10:01:48
24 business relate to robotic surgeries?              09:58:29                         24 service? Is that checking the lives or -- or is there 10:01:51
25           MR. VAN HOVEN: Object to form.                   09:58:33                 25 more involved in that?                           10:01:54
                                                                             Page 39                                                                       Page 41

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                *** CONFIDENTIAL ATTORNEYS EYES ONLY ***
 1      A    They are doing the three steps, they are     10:01:58             1 testing process?                                      10:06:18
 2 checking the EndoWrists for remaining lives, they were 10:02:01             2       A     I'm not involved in the engineering and                 10:06:18
 3 function testing, and safety testing those devices.      10:02:04           3 the technical side of that, so what I'm personally                   10:06:26
 4      Q    Prior to entering into this recovery       10:02:08               4 providing is more of a customer feedback, customer                         10:06:29
 5 program relationship with Restore, did SIS have any          10:02:18       5 thoughts, customer interest in that program, and what                      10:06:35
 6 previous relationship with Restore?                   10:02:26              6 it would mean to health care.                                 10:06:38
 7      A    Yes.                           10:02:35                           7       Q     Describe for me the customer feedback and                    10:06:39
 8      Q    What was the previous relationship with        10:02:37           8 customer thoughts, customer interests in that program, 10:06:47
 9 Restore?                                  10:02:40                          9 please.                                            10:06:50
10      A    We were involved with Restore in             10:02:40            10       A     How much time do we have?                             10:06:50
11 developing their repair program.                     10:02:46              11       Q     Describe it at a high level to start with, 10:06:54
12      Q    What is Restore's repair program?           10:02:51             12 and we can --                                        10:06:58
13      A    Restore has the capability to extend the     10:03:05            13       A     Since this program started, the interest              10:07:01
14 lives of EndoWrists on Si EndoWrists.                  10:03:07            14 from the hospital is monumental, through the roof.                       10:07:03
15      Q    Does SIS play any role in offering that      10:03:15            15 The -- the interest in saving and reducing costs on                   10:07:11
16 repair program to customers?                        10:03:20               16 robotic surgery in the industry is something I've never 10:07:15
17      A    Based on the practices, like we spoke        10:03:22            17 seen before in my 25 years of being in the surgical                      10:07:17
18 about before, of Intuitive Surgical, we are no longer       10:03:34       18 business.                                           10:07:22
19 providing or offering the Si repair program in the        10:03:39         19       Q     What hospitals have you spoken with about                    10:07:23
20 United States.                             10:03:42                        20 the Xi program?                                        10:07:27
21      Q    Was SIS previously offering an EndoWrist          10:03:42       21       A     Would you like me to list them?                      10:07:29
22 repair program in partnership with Restore?              10:03:50          22       Q     Yes, please.                              10:07:35
23      A    Our relationship with Restore started        10:03:57            23       A     This will be from the top of my head, so                10:07:36
24 after we had already stopped doing the repair program          10:04:03    24 I'll do the best I can, but well over -- the meetings               10:07:40
25 in the U.S.                               10:04:05                         25 that we've had represent well over a thousand                        10:07:46
                                                                    Page 42                                                                                Page 44

 1      Q    Does SIS have plans to work with Restore        10:04:06          1 hospitals, probably.                            10:07:48
 2 on a repair program in the future?                   10:04:13               2           Facility level, I'll just start to kind of 10:07:53
 3      A    Yes.                           10:04:15                           3 name them off regionally. Legacy Health system in                10:07:56
 4      Q    Under what circumstances does SIS plan to         10:04:17        4 Portland, Oregon; Providence health system in the West 10:08:00
 5 work with Restore program -- excuse me.                  10:04:25           5 Coast; Sutter Health; Kaiser Permanente; memorial care; 10:08:04
 6          Under what circumstances does SIS plan to        10:04:27          6 the UC system in California; Banner Health System;               10:08:16
 7 work with Restore on a repair program in the future?         10:04:30       7 Honor Health; Baylor Scott & White in Texas; the                 10:08:21
 8      A    We are working with Restore to develop a        10:04:34          8 university health systems across the country, from             10:08:31
 9 repair program for the Xi instruments.                10:04:41              9 Michigan to Duke to North Carolina; Mayo Clinic;                 10:08:35
10      Q    Does SIS plan to work with Restore on a         10:04:45         10 Cleveland Clinic; Advocate Aurora; Lahey Health System; 10:08:50
11 repair program for Si instruments at any point in time? 10:04:50           11 Boston Children's Medical Center.                      10:08:55
12      A    Based on the current status of Si robots     10:05:04            12           I can't believe I'm remembering all this     10:08:57
13 in the United States, we don't see a huge value in        10:05:06         13 off the top of my head.                            10:09:00
14 continuing that endeavor.                        10:05:09                  14           Piedmont health system, Grady in Atlanta,        10:09:02
15      Q    And, when you say "the current status,"        10:05:10          15 Johns Hopkins.                                 10:09:13
16 are you referring to the number of Si robots that are     10:05:18         16           That's the bulk of the direct hospitals     10:09:14
17 currently in service?                         10:05:21                     17 that I can recall having direct conversations with;           10:09:25
18      A    Correct.                        10:05:24                         18 there's obviously much more than that.                  10:09:27
19      Q    What role does SIS play in developing a        10:05:24          19           And then, in addition to that, all the      10:09:29
20 repair program for Xi instruments with Restore?             10:05:38       20 Vizient conversations we've had, I've presented to all 10:09:33
21      A    We are providing financial support in the      10:05:51          21 four regions of Vizient, which basically covers well            10:09:41
22 R&D, we are also providing help in the testing process, 10:05:53           22 over 2,000 hospitals in the United States.              10:09:45
23 bringing customer opinions and expertise to help in         10:06:07       23      Q     Have you spoken with any of those              10:09:48
24 that process.                             10:06:13                         24 hospitals about the need for an EndoWrist repair              10:10:09
25      Q    What sort of help is SIS providing in the     10:06:14      25 program to have FDA clearance?                               10:10:11
                                                                 Page 43                                                                                      Page 45

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                *** CONFIDENTIAL ATTORNEYS EYES ONLY ***
 1      A     I don't know if I understand what you're       10:10:20           1 specific date. I will say that we feel good about it, 10:13:51
 2 asking me.                                  10:10:21                         2 and we feel we are close.                          10:13:54
 3      Q     Have any of those hospitals told you that      10:10:22           3 BY MR. CHAPUT:                                      10:13:55
 4 they would be willing to purchase EndoWrist repair               10:10:29    4      Q     And what does "close" mean from your             10:13:55
 5 services that were not cleared by the FT -- FDA?            10:10:33         5 perspective?                                 10:13:57
 6           MR. VAN HOVEN: Objection to form.                  10:10:40        6      A     Based off doing it for the Si, based off     10:14:04
 7           MR. SNYDER: Objection to form.                  10:10:42           7 what that time took and what it took to do it, we feel 10:14:11
 8           THE WITNESS: So I've been in the repair           10:10:42         8 that we're close on developing that technology.             10:14:16
 9 business for well over 20 years, repairs don't require 10:10:44              9      Q     Right, but what -- my question is what        10:14:19
10 FDA clearance, and to my recollection, nobody in any of 10:10:49 10 does "close" mean to you? Does that mean within the                         10:14:25
11 my conversations every brought up FDA clearance on the 10:10:58 11 next few months? Does that mean within the next few                           10:14:31
12 repair.                                  10:11:01                           12 years?                                   10:14:33
13 BY MR. CHAPUT:                                        10:11:02              13      A     I don't know that I -- I don't know that I 10:14:34
14      Q     Does the Xi -- maybe let's -- let's step     10:11:02            14 can answer that question, but I'll tell you I don't      10:14:37
15 back.                                     10:11:05                          15 think it's years.                           10:14:38
16           Does the Xi repair business that SIS is       10:11:06            16      Q     You mentioned that this is based off doing 10:14:39
17 exploring with Restore involve extending the number of 10:11:12 17 it for the Si.                                        10:14:47
18 lives that an EndoWrist can be used for?                 10:11:18           18          Was SIS involved in developing a -- an          10:14:48
19      A     We are currently working on developing a         10:11:20        19 EndoWrist life extension program for Si instruments?             10:14:54
20 program to extend the life of Xi instruments.             10:11:31          20      A     No.                            10:15:05
21      Q     And is that the program that you have          10:11:34          21      Q     Apart from the Xi initiative you've          10:15:06
22 spoken with hospitals about?                          10:11:36              22 described and the recovery business, does SIS have any 10:15:18
23      A     The initial conversations we had with         10:11:47           23 other services or programs that it offers with Restore? 10:15:23
24 hospitals was around the repair program of Si.             10:11:49         24      A     Outside of the EndoWrist programs, no.           10:15:31
25           We then went to our recovery program,           10:11:57      25          Q     And those two EndoWrist programs that I            10:15:34
                                                                   Page 46                                                                          Page 48

 1 which does not extend the life of the device, and we         10:12:00        1 just mentioned, those are the only EndoWrist programs             10:15:41
 2 have not talked about the Xi repair program because we 10:12:03              2 that SIS has with Restore?                         10:15:44
 3 do not have those capabilities as of today.              10:12:08            3      A     And you're referring to the Si repair        10:15:46
 4      Q     So when you're describing the               10:12:10              4 program and the Xi recovery program?                      10:15:49
 5 conversations that you've had with that -- that long        10:12:12         5      Q     So I thought that you had told me that        10:15:57
 6 list of hospitals, were those conversations specific to 10:12:15             6 Si -- that SIS didn't have any involvement in Restore's 10:15:59
 7 the Si repair program or the recovery program?              10:12:20         7 Si repair program, that it was only involved in the         10:16:02
 8      A     A little of both. Over the last 18 months 10:12:26                8 recovery program and the Xi program, so those are --             10:16:05
 9 or so, all the conversations are around recovery and,        10:12:31        9      A     You're correct.                    10:16:12
10 like we had said, before there's not a lot of Si robots 10:12:38            10      Q     Okay. And so apart from the recovery           10:16:12
11 in the U.S., as you know, so that conversation is          10:12:42         11 program and the Xi program, is there anything else that 10:16:16
12 pretty much expired.                            10:12:45                    12 SIS is working on Restore with for EndoWrist                  10:16:19
13           MR. VAN HOVEN: Counsel, we're at about a               10:13:00   13 instruments?                                 10:16:24
14 little over an hour, maybe a break in the -- now or the 10:13:03            14      A     Not that I know of.                   10:16:25
15 next a few minutes.                            10:13:08                     15      Q     Does SIS have any written agreements with          10:16:32
16           MR. CHAPUT: Yeah, a few minutes we should 10:13:09 16 Restore?                                                   10:16:36
17 be able to take one.                           10:13:13                     17      A     We have an Si agreement with Restore, and          10:16:43
18 BY MR. CHAPUT:                                        10:13:14              18 we do not currently have a signed agreement for Xi with 10:16:49
19      Q     So, Mr. Johnson, with respect to SIS's        10:13:19           19 Restore.                                  10:16:54
20 efforts with Restore to develop this Xi extended life       10:13:28        20      Q     Is the Si agreement for the recovery         10:16:54
21 program, what is the timeline on that effort? When           10:13:32       21 program or something else?                            10:17:00
22 does SIS expect for that to be available to provide to 10:13:37             22      A     Let me step back for a second.              10:17:01
23 customers?                                   10:13:41                       23          To my recollection, we have an -- we have        10:17:13
24           MR. VAN HOVEN: Objection to form.                  10:13:43       24 an Si agreement -- this has been so long ago that this 10:17:18
25           THE WITNESS: I don't know that I have a           10:13:49    25 stuff was signed -- with Rebotix, and I do believe, to 10:17:23
                                                                   Page 47                                                               Page 49

                                                                                                                              13 (Pages 46 - 49)
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 1 my best recollection, we have an Si repair agreement          10:17:26               1      A     Do you mean hospitals that we actually        10:30:30
 2 with Restore, even though we haven't necessarily done          10:17:31              2 generated revenue from by repairing instruments, is           10:30:35
 3 any business with that program because of what we said 10:17:37                      3 that what you're asking?                          10:30:39
 4 before.                                10:17:47                                      4      Q     Maybe I can -- I can make it a little more 10:30:40
 5           MR. CHAPUT: We can go ahead and take a              10:17:47               5 precise.                                 10:30:44
 6 short break now. We can go off the record.             10:17:48                      6          For how many customers did SIS facilitate       10:30:44
 7           VIDEOGRAPHER PERAZA: We are off the                   10:17:52             7 EndoWrist repairs in 2019?                          10:30:47
 8 record at 10:17 a.m.                        10:17:53                                 8      A     From my recollection, I would say           10:31:12
 9              (Recess taken.)              10:17:54                                   9 somewhere between 25 and 50.                          10:31:19
10           VIDEOGRAPHER PERAZA: We are back on the                  10:27:18         10      Q     So the -- the number of customers who         10:31:30
11 record at 10:27 a.m.                        10:27:23                                11 actually participated in that program is far less than 10:31:32
12 BY MR. CHAPUT:                                     10:27:26                         12 the number of customers who -- who you are saying are            10:31:34
13      Q    Mr. Johnson, focusing specifically on the     10:27:29                    13 afraid of retaliation from Intuitive around the         10:31:37
14 EndoWrist recovery business, does SIS think that          10:27:33                  14 recovery program; isn't that right?                  10:31:40
15 Intuitive has done anything to in any way hinder the      10:27:39                  15          MR. VAN HOVEN: Objection to form.                    10:31:42
16 EndoWrist recovery business?                        10:27:44                        16          THE WITNESS: Can you phrase that again               10:31:53
17      A    My opinion is that Intuitive may not have     10:27:47                    17 one time, I'm sorry?                          10:31:54
18 specifically threatened the recovery business, but       10:27:59                   18 BY MR. CHAPUT:                                      10:31:55
19 based on previous practices around the repair program, 10:28:04                     19      Q     Sure.                         10:31:56
20 there definitely is some fear and hesitation from       10:28:11                    20          I'm trying to understand the number of        10:31:58
21 hospitals that Intuitive would retaliate and do some     10:28:14                   21 customers who actually participated in SIS's EndoWrist 10:32:00
22 things, so, because of that, it sometimes makes those     10:28:18                  22 repair program seems a lot smaller than the number of           10:32:04
23 conversations difficult because of things that have      10:28:22                   23 customers who you claim have been deterred from                 10:32:08
24 happened previously.                         10:28:27                               24 participating in the recovery program, and I just want 10:32:11
25      Q    Has any hospital declined to use SIS's      10:28:28                      25 to make sure I'm perceiving that difference correctly. 10:32:14
                                                                             Page 50                                                                Page 52

 1 EndoWrist recovery business based on those fears or                      10:28:36    1          MR. VAN HOVEN: Objection to form.                    10:32:20
 2 hesitations?                                   10:28:42                              2          THE WITNESS: So when we started having                10:32:20
 3      A      Yes.                              10:28:42                               3 conversations around the Si repair program, that had          10:32:23
 4      Q      Which hospitals?                          10:28:42                       4 just got rolling, we started to have conversations, we 10:32:29
 5      A      All of them.                           10:28:43                          5 got the Vizient contract in place, started having those 10:32:31
 6      Q      So --                            10:28:47                                6 conversations, and then people's and hospital's focuses 10:32:35
 7      A      In -- in all honesty -- I take that back.         10:28:48               7 went in other directions.                         10:32:44
 8            We -- we have -- we probably have 30,                10:28:50             8          As we got the -- the conversations back       10:32:47
 9 30-ish hospitals right now fully engaged in the                   10:29:02           9 up, we just have a much broader reach, we're having            10:32:50
10 recovery program, but to answer your question                       10:29:06        10 much more conversations with people about this program, 10:32:52
11 specifically, over 95 percent of the conversations                 10:29:09         11 but if we still -- if there were still a good amount of 10:33:00
12 we've had, the reason they are not currently in that               10:29:11         12 Si robots in the United States, we would be having            10:33:04
13 program is because of the fear of retaliation from                 10:29:15         13 repair conversations about Si EndoWrists.                10:33:07
14 in- -- from Intuitive.                              10:29:21                        14 BY MR. CHAPUT:                                      10:33:16
15      Q      Has any customer expressed that opinion in 10:29:22                     15      Q     So perhaps I can -- I can frame this       10:33:17
16 an email or in writing in any way or are those only                 10:29:35        16 question a little bit differently.                10:33:19
17 oral communications?                                   10:29:38                     17          Is it the case that many of the customers     10:33:21
18      A      Both. I'm trying to remember some                   10:29:50            18 who have declined to participate in SIS's recovery           10:33:24
19 specific emails, but I -- there have been emails with              10:29:53         19 program never sought out Si repair services from SIS?           10:33:30
20 customers saying that, because of contract restrictions 10:29:58                    20          MR. VAN HOVEN: Objection to form.                    10:33:36
21 or because of the fear of -- of Intuitive retaliating, 10:30:02                     21          THE WITNESS: I don't think I agree with             10:33:46
22 they are -- they're not able to do the program.                 10:30:10            22 that statement because I think what I understand is          10:33:47
23      Q      How many customers did SIS have who                     10:30:13        23 there's some clauses in the Intuitive agreements that        10:33:49
24 actually participated in the EndoWrist repair program                10:30:20       24 forbid hospitals from utilizing any companies to repair 10:33:52
25 back in 2019?                                      10:30:25                         25 their instruments or devices.                      10:33:56
                                                                             Page 51                                                                       Page 53

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 1            So there were a number of original                    10:34:01              1      Q    -- any aspect of the MediVision            10:37:37
 2 conversations that people would say, "We are not                      10:34:04         2 relationship have anything to do with robotic assisted 10:37:40
 3 allowed to repair our instruments, Intuitive does not                 10:34:08         3 surgeries?                                10:37:43
 4 allow us to do that, even though we own the devices,                   10:34:11        4      A    No.                            10:37:43
 5 our contract does not allow us to repair them."                     10:34:13           5      Q    Okay. Does SIS have any business                10:37:43
 6            So we were working through a lot of that                10:34:20            6 relationship with Clif Parker Robotics, LLC?                10:37:53
 7 with legal and risk at a lot of these big                     10:34:22                 7      A    Not that I know of.                    10:38:00
 8 organizations.                                        10:34:24                         8      Q    We've been talking about Restore Robotics. 10:38:07
 9            The recovery program, people are willing                 10:34:24           9          Does SIS have any relationship with             10:38:10
10 to talk about because it doesn't -- like, it doesn't               10:34:27           10 Restore Robotics Repairs, LLC?                           10:38:12
11 affect -- it's not a repair.                           10:34:31                       11      A    Not that I know of.                    10:38:14
12 BY MR. CHAPUT:                                              10:34:42                  12      Q    So I'd like to move on to topic number          10:38:19
13       Q     And even though the recovery program is                   10:34:43        13 two, which is (as read):                         10:38:32
14 not a repair, there are still customers who have                    10:34:46          14              SIS's advertising, promotional,        10:38:34
15 decided not to use that program; is that -- is that                10:34:50           15          marketing, and other informational              10:38:36
16 correct? Am I understanding that correctly?                         10:34:55          16          materials and communications relating to          10:38:38
17       A     I would say that's correct.                   10:34:57                    17          the services, SIS markets, or performs on        10:38:41
18       Q     Is SIS seeking damages for its recovery                 10:35:07          18          or in connection with EndoWrist             10:38:43
19 program in this case?                                   10:35:15                      19          instruments.                         10:38:45
20       A     I don't know the specifics of the damages, 10:35:26                       20          And I'd like to mark as Exhibit 136 tab         10:38:48
21 but I would say that our interest is -- is the lack of 10:35:30                       21 three, Austin, this is SIS095115, which is an email          10:38:55
22 business across all of our robotic programs against                   10:35:36        22 dated September 25, 2019, from Keith Johnson, and this 10:39:04
23 Intuitive.                                        10:35:43                            23 has four attachments to the email, as well.               10:39:10
24       Q     Does SIS have any robotic programs, other                 10:35:47        24          That should be available for you now on           10:39:41
25 than those that we've already discussed today?                       10:35:53     25 Exhibit Share, Mr. Johnson.                            10:39:44
                                                                             Page 54                                                                            Page 56

 1      A     No.                             10:35:59                                    1          MR. VAN HOVEN: I don't see it.                   10:39:45
 2      Q     Does SIS have any sort of business            10:35:59                      2          THE WITNESS: I got it. It's up.             10:39:46
 3 relationship with MediVision, Inc.?                     10:36:09                       3          MR. VAN HOVEN: Is it?                       10:39:48
 4      A     We did.                           10:36:15                                  4              (Deposition Exhibit 136 was marked           10:39:52
 5      Q     What was SIS's with MediVision?                10:36:16                     5          for identification and is attached        10:39:52
 6      A     MediVision is owned -- the ownership of         10:36:20                    6          hereto.)                        10:39:52
 7 MediVision is the same ownership of Restore, MediVision 10:36:31                       7 BY MR. CHAPUT:                                     10:39:52
 8 is a repair company, so they did some work for us on          10:36:35                 8      Q    Mr. Johnson, do you recognize Exhibit 136? 10:39:53
 9 our core business on the repair of flexible and rigid      10:36:38                    9      A    Yes.                           10:40:01
10 endoscopes.                                  10:36:43                                 10      Q    And this is an email exchange between you          10:40:05
11      Q     Did that work have anything to do with         10:36:44                    11 and a number of folks from Banner Health; is that            10:40:08
12 da Vinci assisted surgeries?                       10:36:50                           12 right?                                  10:40:12
13      A     Just to clarify, did our -- does our       10:36:59                        13      A    Yes.                           10:40:12
14 MediVision relationship have anything to do a with            10:37:04                14      Q    Is Banner Health an SIS customer?               10:40:12
15 robots?                                    10:37:06                                   15      A    Yes.                           10:40:19
16      Q     Yes, I can make the question more clear.       10:37:06                    16      Q    Was Banner Health an SIS customer prior to 10:40:20
17           Did SIS's work with MediVision have             10:37:11                    17 SIS starting its robotics business?                 10:40:28
18 anything to do with robotic assisted surgeries?           10:37:14                    18      A    Yes.                           10:40:30
19      A     Outside of the relationship? I think, if     10:37:19                      19      Q    How long has SIS been working with Banner            10:40:30
20 I understand your question correctly, the answer would 10:37:23                       20 Health?                                   10:40:39
21 be no.                                     10:37:25                                   21      A    Over 20 years.                        10:40:39
22      Q     Right. So setting aside SIS's           10:37:25                           22      Q    If you would turn forward to the -- the         10:40:41
23 relationship with Restore, and it's just focused          10:37:31                    23 third page of the document, this has the number in the 10:40:50
24 exclusively on MediVision --                          10:37:35                        24 bottom right-hand corner ending 117, there's an email          10:40:52
25      A     Okay.                            10:37:35                                  25 in the bottom of that page from Perry Kirwan to Timothy 10:40:55
                                                                               Page 55                                                              Page 57

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                             EXHIBIT 5

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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                             Deposition of:
                            Greg Posdal
                             May 10, 2021


                            In the Matter of:

           Restore Robotics LLC v Intuitive
                      Surgical




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                                       Greg Posdal                 May 10, 2021
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 1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF FLORIDA
 2                             PANAMA CITY DIVISION
 3             RESTORE ROBOTICS LLC,      )
               RESTORE ROBOTICS REPAIRS   )
 4             LLC, and CLIF PARKER       )
               ROBOTICS LLC,              )
 5                                        )
                Plaintiffs,               )
 6                                        )
               vs.                        )    CIVIL ACTION NO.
 7                                        )
               INTUITIVE SURGICAL, INC., )     5:19-CV-55-TKW-MJF
 8                                        )
                Defendant.                )
 9
               INTUITIVE SURGICAL, INC.,         )
10                                               )
                Counterclaimant,                 )
11                                               )
               vs.                               )
12                                               )
               RESTORE ROBOTICS LLC,             )
13             RESTORE ROBOTICS REPAIRS          )
               LLC,                              )
14                                               )
                Counterclaim Defendants.         )
15
16
17
18                     VIDEOTAPED DEPOSITION OF GREG POSDAL
19                             (Taken by Defendant)
20                                 May 10, 2021
21                                  10:00 a.m.
22
23
24
25              Reported by:    Debra M. Druzisky, CCR-B-1848

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                                                        Greg Posdal                 May 10, 2021
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 1         APPEARANCES OF COUNSEL
 2 On behalf of the Plaintiffs/Counterclaim
                                                                   1       THE VIDEOGRAPHER: We're on the
   Defendants:                                                     2    record. The time is now 10:01 a.m. Today
 3
    JEFFREY L. BERHOLD, Esq.                                       3    is Monday, May 10th of 2021. We're here
 4 Jeffrey L. Berhold, P.C.                                        4    today in Glendale Heights, Illinois at
    1230 Peachtree Street, Suite 1050
 5 Atlanta, Georgia 30309                                          5    Surgical Instrument Service Company for
    (404) 872-3080                                                 6    the video recorded deposition of Greg
 6 jeff@berhold.com
 7                                                                 7    Posdal in the matter of Restore Robotics,
   On behalf of the Defendant/Counterclaimant:                     8    L.L.C.; Restore Robotics Repairs, L.L.C.;
 8
    MICHAEL S. BAILEY, Esq.                                        9    and Clif Parker Robotics, L.L.C., versus
 9 TAYLOR DOW, Esq.
    Skadden, Arps, Slate, Meagher & FLom
                                                                  10    Intuitive Surgical, Incorporated;
10 One Manhattan West                                             11    Intuitive Surgical, Incorporated as
    New York, New York 10001
11 (202) 371-7391                                                 12    counterclaimant versus Restore Robotics,
    michael.bailey@skadden.com                                    13    L.L.C. and Restore Robotics Repairs,
12
13 On behalf of the Deponent:                                     14    L.L.C., Civil Case Number
14 RICHARD T. MCCAULLEY, Esq.                                     15    5:19-CV-55-TKW-MJF, to be heard before the
    Haley Guiliano
15 111 North Market Street, Suite 900                             16    United States District Court for the
    San Jose, California 95113                                    17    Northern District of Florida, Panama City
16 (669) 213-1050
    richard.mccaulley@hglaw.com                                   18    Division.
17
18 Also Present:
                                                                  19       I'm Alan Pokotilow, a legal
19 Alan Pokotilow, videographer                                   20    videographer, here today on behalf of
    Chris McMillan, concierge
20                                                                21    Veritext Legal Solutions. Our court
                --oOo--                                           22    reporter today is Debra Druzisky, also
21
22                                                                23    here today on behalf of Veritext Legal
23                                                                24    Solutions.
24
25                                                                25       Will counsel please state your name
                                                         Page 3                                                Page 5
 1           INDEX TO EXAMINATION                                  1    and affiliation for the record, after
 2 Witness Name:                       Page
 3 GREG POSDAL
                                                                   2    which our court reporter will swear the
 4   By Mr. Berhold                     5                          3    witness and we can proceed?
 5   By Mr. Bailey                     27                          4        MR. BERHOLD: Jeff Berhold for
 6                                                                 5    plaintiffs Restore Robotics, L.L.C.,
 7
 8                                                                 6    Restore Robotics Repairs, L.L.C., and Clif
 9         INDEX TO POSDAL EXHIBITS                                7    Parker Robotics, L.L.C.
10 No.             Description        Page                         8        THE CONCIERGE: Mr. Bailey, you're
11 Exhibit 1 SIS 205 thru 208, Spreadsheet     7
                                                                   9    muted.
           re: Instruments and sums.
12                                                                10        MR. BAILEY: My apologies. My name
   Exhibit 2 SIS 47 thru 49, 9-15-19,       16                    11    is Michael Bailey. I am here on behalf of
13         Amendment to Agreement between                         12    Intuitive Surgical, Inc. I'm here with my
           Vizient Supply and Surgical
14         Instrument Service Company.
                                                                  13    colleague Taylor Dow.
15 Exhibit 3 SIS 167, 11-14-18 thru 12-10-19, 25                  14        MR. MCCAULLEY: Richard McCaulley on
           Spreadsheet re: Equipment                              15    behalf of the witness.
16         serviced.
                                                                  16               GREG POSDAL,
17 Exhibit 4 SIS 35 thru 46, 8-22-19, E-mail 52
           from Chris Gibson to Greg Posdal                       17 having been first duly sworn, was examined and
18         re: Agreement, attached.                               18 testified as follows:
19 Exhibit 5 Restore 58241 thru 248, 8-26-20, 55                  19               EXAMINATION
           E-mail from Greg Posdal to Clif
20         Parker re: Revised NDA attached.
                                                                  20 BY MR. BERHOLD:
21 Exhibit 6 Restore 57179 thru 182, 9-14-20, 68                  21    Q. Good morning, Mr. Posdal.
           E-mail from Clif Parker to Keith                       22    A. Morning.
22         Johnson re: NDA attached.                              23    Q. Are you currently employed?
23                  ---
24                                                                24    A. I am.
25                                                                25    Q. Where are you employed?

                                                                                                     2 (Pages 2 - 5)
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                                                Page 14                                                 Page 16
 1      Q. Do you have any sense of the size of            1        THE CONCIERGE: Sure. Please stand
 2   Vizient or the -- let me ask it a different way.      2    by.
 3          Do you have a sense of how many members or     3              (Whereupon, Posdal Exhibit 2
 4   how many -- do you have a sense of how many           4               was marked for
 5   hospitals participate in the group purchasing         5               identification.)
 6   organization at Vizient?                              6        MR. MCCAULLEY: And Greg, I'll just
 7      A. I believe it's somewhere in the                 7    note, maybe pause a heartbeat before you
 8   neighborhood of 2,500 acute care facilities. And      8    answer, give Mike a chance to interpose
 9   that -- they have tens of thousands of group          9    objections.
10   members, but a lot of them are not acute centers,    10        THE WITNESS: Okay.
11   so hos -- doctors' offices and a whole host of       11        MR. MCCAULLEY: It just makes it very
12   other things that don't touch on the services that   12    hard for Debra if we talk at the same
13   we provide. So.                                      13    time.
14          But I think about 2,500 that would have       14        THE WITNESS: Perfect.
15   the instrumentation and needs that would use our     15        THE CONCIERGE: SIS 47 has been
16   services.                                            16    introduced as Posdal Exhibit 2 and is now
17      Q. Let me ask a different question. Let me        17    on the screen.
18   go back. You testified earlier that you had          18 BY MR. BERHOLD:
19   entered a contracting relationship with a third      19    Q. Mr. Posdal, do you want to take a minute
20   party for the repair of da Vinci instruments; is     20 to review Exhibit 2?
21   that right?                                          21    A. Sure. I'm aware of the agreement.
22      A. Yes.                                           22    Q. So you recognize Exhibit 2, Mr. Posdal?
23      Q. Who was that company?                          23    A. Yes.
24      A. That was Rebotix, R-E-B-O-T-I-X.               24    Q. And what is Exhibit 2?
25      Q. And was there an agreement in place for        25    A. An agreement to work with Vizient and all
                                                Page 15                                                 Page 17
 1 Rebotix to conduct the repairs of da Vinci         1       of their hospitals -- all of their members,
 2 instruments on behalf of S.I.S.?                   2       basically, but obviously it would be limited to
 3    A. We had been working with them. There was     3       those acute care facilities that I mentioned
 4 no formally signed agreement. We were working on 4         earlier, to provide them service for the da Vinci
 5 putting together the negotiation for pricing,      5       EndoWrist instrumentation.
 6 et cetera, but were -- had already begun working   6             MR. BERHOLD: Chris, can we scroll to
 7 with them on an agreed-on price list.              7          the last page?
 8    Q. At some point did S.I.S. reach an            8             THE CONCIERGE: Sure.
 9 agreement with Rebotix?                            9       BY MR. BERHOLD:
10    A. Not a signed agreement. We had just         10          Q. And is that your signature on the last
11 started -- in terms of an agreement, we were      11       page of Exhibit 2?
12 working with them. So if that qualifies as        12          A. It is.
13 reaching an agreement or understanding, then yes. 13          Q. Did S.I.S. undertake any informal or
14    Q. Okay. Now, at some point did S.I.S. enter   14       formal analysis of the potential for sales under
15 discussions with Vizient about offering da Vinci  15       this agreement before signing the agreement?
16 instrument repair services to Vizient members?    16             MR. BAILEY: Objection to the form.
17    A. We did.                                     17             THE WITNESS: I guess informal. I
18       MR. BAILEY: Objection to the form.          18          mean, we knew that, especially with access
19 BY MR. BERHOLD:                                   19          and help and assistance of Vizient staff,
20    Q. At some point did S.I.S. reach an           20          that this could be a huge opportunity and
21 agreement with Vizient?                           21          undertaking for us here.
22    A. Yes.                                        22             The size and the scale of what was
23       MR. BAILEY: Objection to the form.          23          out there and the number of member
24       MR. BERHOLD: Chris, can we get SIS          24          hospitals and the excitement of everyone
25    47, please?                                    25          that we had spoken to with regard to these
                                                                                            5 (Pages 14 - 17)
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 1     certainly pointed us in the direction of           1      BY MR. BERHOLD:
 2     this being an enormous opportunity.                2         Q. Do you recall what any of the customers
 3   BY MR. BERHOLD:                                      3      said was specifically a concern coming from
 4     Q. What did "huge" mean to you?                    4      Intuitive?
 5     A. Huge to us was tens of millions or even         5         A. Yes. I'll -- their main concerns were
 6   hundreds of millions of dollars over the course of   6      that Intuitive had sent letters -- it was a
 7   probably just a couple of years.                     7      combination, that their representatives were saying
 8     Q. Did S.I.S. also have conversations with         8      to them specifically that they should be not --
 9   specific hospital systems or hospital facilities     9      should not be using a third party to repair the
10   about providing da Vinci instrument repair?         10      instruments, that there is specific language in
11         MR. BAILEY: Objection to form.                11      their agreements that prohibit them sending any of
12         THE WITNESS: We did.                          12      these instruments out to third parties for repair,
13   BY MR. BERHOLD:                                     13      and that there was the threat that they would stop
14     Q. Do you recall the names of any of those        14      selling them new equipment or servicing the
15   hospitals or hospital systems?                      15      existing robotics for these pieces of equipment.
16         MR. BAILEY: Objection to form.                16         Q. Do you personally recall hearing from any
17         THE WITNESS: I do.                            17      of your hospital customers that Intuitive referred
18   BY MR. BERHOLD:                                     18      to contractual restrictions?
19     Q. And could you run through those names,         19            MR. BAILEY: Objection to --
20   Mr. Posdal?                                         20            THE WITNESS: I --
21     A. Off the top of my head, we spoke to Banner 21                MR. BAILEY: -- form.
22   Health Systems; Kaiser; Legacy; Advocate Aurora, it 22            THE WITNESS: I did not have those
23   was just Advocate at the time, but now it's         23         conversations personally. Again, that
24   Advocate Aurora; Marin General; I mean, and then 24            would be a Keith Johnson question.
25   probably some more that I'm not thinking of right   25            But I was privy to the E-mails going
                                                  Page 19                                                     Page 21
 1   now, but.                                               1     back and forth with notes directed at
 2          And Keith Johnson had most of those              2     that, specifically from the customers
 3   conversations. He could probably fill in whoever        3     saying, yeah, Intuitive gave us a letter,
 4   else he had talked to regarding Intuitive repair.       4     the hospital is spooked by this, and
 5      Q. So what happened with this huge business          5     they're not sure if they can move on
 6   opportunity for S.I.S.?                                 6     regardless of whether they wanted to or
 7          MR. BAILEY: Objection to form.                   7     not.
 8          THE WITNESS: It started very well,               8   BY MR. BERHOLD:
 9      and it was very well received at all the             9     Q. How unusual is it for S.I.S. to see those
10      places that we had contacted.                       10   kinds of communications from original equipment
11          Most had actually given us                      11   manufacturers regarding third-party service?
12      instruments, and we had actually gone               12         MR. BAILEY: Objection to form.
13      through the process and reprogrammed and            13         THE WITNESS: It's unusual now, but
14      sent these instruments back to these                14     historically not. We've been through it
15      facilities, a handful, probably 30 or 40.           15     before with other manufacturers of rigid
16      I think there's a form in evidence here             16     endoscopes, flexible endoscopes,
17      that kind of explains who we did that               17     et cetera.
18      service to.                                         18         It's kind of been a time tested way
19          But either it was quickly put down,             19     of the manufacturing kind of -- the
20      or before we even got started the                   20     manufacturer steering their customers away
21      customers said they were concerned about            21     from third parties. But it's largely died
22      moving forward because of what they were            22     down because it's such an accepted
23      told by Intuitive about using third                 23     practice in our -- across our field.
24      parties for repairing or having any other           24   BY MR. BERHOLD:
25      effect on their instruments.                        25     Q. Mr. Posdal, did you observe any difference

                                                                                                 6 (Pages 18 - 21)
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 1   in the -- well, let me think for a second.           1      where they may no longer have been able to
 2         Mr. Posdal, did you notice any -- did you      2      provide robotic surgeries for their
 3   observe any difference in the ability of Intuitive   3      patients.
 4   to persuade its customers to stop using third-party  4         So we never stopped offering it, but
 5   service compared with prior experiences with         5      we were kind of trying to work through the
 6   original equipment manufacturers?                    6      process with our customers to see if we
 7         MR. BAILEY: Objection to form.                 7      can get by those threats, real and
 8         THE WITNESS: I did. Should I expand            8      implied, from Intuitive.
 9      on that?                                          9         MR. BERHOLD: Chris, you can take
10   BY MR. BERHOLD:                                     10      down Exhibit 2, please.
11      Q. Please do.                                    11         Thank you.
12      A. Historically, with just about any other       12   BY MR. BERHOLD:
13   piece of equipment, whether it's stainless steel    13      Q. And Mr. Posdal, do you have any prior
14   instrumentation or rigid endoscopes or flexible     14   experience in observing what happens to pricing for
15   endoscopes or video equipment, any of the items     15   the original equipment when third parties begin to
16   that we'd worked with prior to this, the customer   16   repair those devices?
17   always had a choice. They could switch              17      A. Sure.
18   manufacturers.                                      18         MR. BAILEY: Objection to form.
19         For the most part, things like rigid          19         THE WITNESS: Sorry. I didn't wait.
20   endoscopes are interchangeable. They do have some 20           Yes.
21   specific ancillary equipment and locking systems    21   BY MR. BERHOLD:
22   that you need to mate up, but the customer could    22      Q. What's been your experience in that regard
23   always say, look, I'll just, I'll change from       23   as far as the effect of third-party servicing on
24   Stryker to Storz or Storz to Wolf if you're going   24   the pricing of the new instrument or device?
25   to give me this -- if you're going to, you know,    25         MR. BAILEY: Continuing objection to
                                                Page 23                                                    Page 25
 1 push this.                                           1    this line of questioning based upon the
 2       With Intuitive and the EndoWrist it's          2    original improper questioning. Objection
 3 different, obviously, because they attach to the     3    to form.
 4 robot, and the customer simply has no choice but to  4        THE WITNESS: Typical of any
 5 continue -- let me rephrase that.                    5    industry, the pricing generally decreases
 6       The threats are that either Intuitive          6    over time with more competition.
 7 would stop selling them the instrumentation they     7 BY MR. BERHOLD:
 8 need, the additional instrumentation, or that they   8    Q. Let me check real quick to see if I need
 9 could possibly and potentially stop servicing their  9 to introduce one more exhibit.
10 robot systems themselves, which would obviously     10        MR. BERHOLD: Chris, can we introduce
11 shut down the robotics program at that facility.    11    SIS 167, please?
12 There just simply aren't any other options.         12        THE CONCIERGE: Sure. Please stand
13    Q. At some point did S.I.S. stop offering        13    by.
14 repair services for the da Vinci instruments?       14               (Whereupon, Posdal Exhibit 3
15       MR. BAILEY: Objection to form.                15                was marked for
16       THE WITNESS: We never stopped                 16                identification.)
17    offering, but we were waiting for this           17        THE CONCIERGE: SIS 167 has been
18    potentially to play itself out, for some         18    introduced as Posdal Exhibit 3 and is now
19    hospital to step forward and really push         19    on the screen. And I can rotate this page
20    the issue with Intuitive.                        20    if need be.
21       And there were several, not customers         21        MR. BERHOLD: Sure. Let's do that
22    of ours, but several that did push it and        22    and make it easier on everyone. And is it
23    got their service cut off. And so we are         23    possible to zoom?
24    cognizant and aware of that and didn't           24 BY MR. BERHOLD:
25    want to put our customers in a position          25    Q. Mr. Posdal, do you recognize Exhibit 3?
                                                                                              7 (Pages 22 - 25)
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                             EXHIBIT 6

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · MIDDLE DISTRICT OF FLORIDA

·3· · · · · · · · · · · TAMPA DIVISION

·4· REBOTIX REPAIR LLC,· · · · · · · ·)
· · · · · · · · · · · · · · · · · · · )
·5· · · · · · · ·Plaintiff,· · · · · ·)
· · · · · · · · · · · · · · · · · · · )
·6· · · · · ·vs.· · · · · · · · · · · ) Case No.
· · · · · · · · · · · · · · · · · · · ) 8:20-cv-02274
·7· INTUITIVE SURGICAL, INC.,· · · · ·)
· · · · · · · · · · · · · · · · · · · )
·8· · · · · · · ·Defendant.· · · · · ·)
· · __________________________________)
·9

10

11· · · ·VIDEO DEPOSITION OF PULLMAN REGIONAL HOSPITAL

12· · · ·BY AND THROUGH ITS DESIGNATED REPRESENTATIVE

13· · · · · · · · · · ·EDWARD W. HARRICH

14· · · · · · · · · · · ·MAY 24, 2021

15· · · · · CONDUCTED REMOTELY VIA VIDEOCONFERENCE

16

17

18

19

20

21

22

23· Reported by Cynthia J. Vega

24· RMR, RDR, CA CSR 6640, WA CSR 21001436, CCRR 95

25· Job No.· 194419


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·1                                                                  ·1· · · · · · · · · · REMOTE APPEARANCES
·2                                                                  ·2· For the Plaintiff:
·3                                                                  ·3· DOVEL & LUNER
·4· · · · · · · · · · May 24, 2021                                  ·4· By:· Richard Lyon, III, Esq.
·5· · · · · · · · · · 10:11 a.m. Pacific Daylight Time              ·5· 201 Santa Monica Boulevard
·6                                                                  ·6· Santa Monica, California· 90401
·7                                                                  ·7
·8                                                                  ·8
·9· · · · · ·The remote video deposition of Pullman                 ·9
10· Regional Hospital through its designated                        10· For the Defendant:
11· representative Edward W. Harrich, a Witness herein,             11· SKADDEN, ARPS, SLATE, MEAGHER & FLOM
12· located in the City of Pullman, State of Washington,            12· By:· Michael Menitove, Esq.
13· taken on behalf of Plaintiff, reported remotely before          13· · · ·Griff Almy, Esq.
14· Cynthia J. Vega, California Certified Shorthand                 14· One Manhattan West
15· Reporter 6640, Washington Certified Shorthand Reporter          15· New York, New York· 10001
16· 21001436, Registered Merit Reporter, Registered                 16
17· Diplomate Reporter, California Certified Realtime               17
18· Reporter 95, located in the City of Carlsbad, County            18
19· of San Diego, State of California.                              19
20                                                                  20· For Pullman Regional Hospital and the Witness:
21                                                                  21· IRWIN, MYKLEBUST, SAVAGE & BROWN
22                                                                  22· By:· Robert Rembert, Esq.
23                                                                  23· 1230 SE Bishop Boulevard
24                                                                  24· Pullman, Washington· 99163
25                                                                  25


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·3                                                                  ·3· Edward W. Harrich
·4· The Videographer:                                               ·4
·5· Manuel Garcia                                                   ·5· EXAMINATION· · · · · · · · · · · · · · · · · · · ·PAGE
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·1· this area.                                                ·1· other than they have a chip on them that only allow
·2· · · Q.· ·Based on the hospitals you know, it is           ·2· you ten uses.· At the end of the tenth use, it becomes
·3· standard procedure to repair and reuse traditional        ·3· a disposable.· I was glad to see that we could stop
·4· laparoscopic devices that are similar to the EndoWrist    ·4· after nine uses --
·5· used in da Vinci surgeries; is that right?                ·5· · · · · ·(Reporter clarification.)
·6· · · · · ·MR. MENITOVE:· Object to the form.               ·6· · · A.· ·So I was pleased to see that we could use the
·7· · · · · ·THE WITNESS:· That's correct.                    ·7· instruments for a longer duration and have them
·8· BY MR. LYON:                                              ·8· reprogrammed with a cost savings.
·9· · · Q.· ·Are you familiar with Rebotix Repair?            ·9· · · Q.· ·You stated that you believed EndoWrists had
10· · · A.· ·Yes.                                             10· additional lives on them before you had to dispose of
11· · · Q.· ·When did you first learn of Rebotix Repair?      11· them when they reached their maximum use restrictions;
12· · · A.· ·Probably about two years ago.                    12· is that right?
13· · · Q.· ·And how did you learn of Rebotix Repair?         13· · · A.· ·That's correct.
14· · · A.· ·A rep for Rebotix gave me a call, told me        14· · · Q.· ·Why did you believe that EndoWrists had
15· about Rebotix, asked if he could set up a meeting. I      15· additional lives on them?
16· scheduled a meeting with him.· We sat down and chatted    16· · · A.· ·Well, on the end of the tenth life, it wasn't
17· for a couple of hours and then proceeded forward from     17· working any different than it had been on the first
18· there.                                                    18· life.· There was no complaints by the physicians.· If
19· · · Q.· ·When you first learned that there was a          19· there were any, we'd take the instrument out of
20· company performing repairs for EndoWrists, what was       20· service or send it back in to Intuitive for repair if
21· your reaction?                                            21· it still had lives left on it.
22· · · A.· ·I was pleased.                                   22· · · · · ·So if it's a grasper, it's a grasper.· Is it
23· · · Q.· ·Why?                                             23· grabbing the tissue like you think it should?· As the
24· · · A.· ·Well, for years, I thought the robot -- the      24· physician says, it's feeling that tactile touch.· You
25· robotic instrument arms had additional lives on them,     25· can't actually feel the touch, but on a console.
                                                    Page 36                                                       Page 37
·1· · · · · ·But it's grabbing the tissue.· They're liking    ·1· · · Q.· ·What did you do to test or try out
·2· what they're seeing.· They're liking what they're         ·2· Rebotix-repaired EndoWrists?
·3· feeling.· So the instrument can still continue to be      ·3· · · A.· ·We had three or four samples that we were
·4· used.                                                     ·4· given by Rebotix, and informed the physician that it
·5· · · Q.· ·Is that how you determine whether a              ·5· was a reprocessed robotic instrument for the cases,
·6· traditional laparoscopic device should continue to be     ·6· made everybody in the room aware that it was a
·7· used as well?                                             ·7· reprocessed instrument, and gave it a whirl.
·8· · · A.· ·Yes, the functionality of it.                    ·8· · · · · ·There were no complaints.· Everybody said
·9· · · Q.· ·Is your hospital aware of any other companies    ·9· they worked just fine.· There was no difference than
10· other than Rebotix Repair that repairs and services       10· the non-reprocessed instruments.· So we did -- we made
11· EndoWrists?                                               11· some purchases.· And then when we made our first
12· · · A.· ·I'm not aware of anybody else.                   12· purchases -- you had to get down to one life left
13· · · Q.· ·Is your hospital aware of any companies other    13· before you could send them in.· So once we got some
14· than Rebotix Repair that can reset the usage counter      14· instruments and we were able to send them in, got them
15· on EndoWrists beyond the limit imposed by Intuitive?      15· back from Rebotix.
16· · · A.· ·I'm not aware of anybody else.                   16· · · · · ·Myself and my assistant director, Steve
17· · · Q.· ·Would your hospital have agreed to use           17· Cromer, the only two that knew that those were the
18· EndoWrists repaired by Rebotix if the repaired            18· reprocessed instruments that came back in, we used
19· EndoWrists were unsafe?                                   19· them in a case.· I asked the first assist, the
20· · · A.· ·No, never.                                       20· surgeon, and the scrub tech in the room if there were
21· · · · · ·MR. MENITOVE:· Object to the form.               21· any issues, complications, or problems about the
22· BY MR. LYON:                                              22· instruments, and there were no issues.· They --
23· · · Q.· ·Did you do any testing or trials of              23· actually, one of them on one of the cases says the
24· Rebotix-repaired EndoWrists?                              24· scissors seemed extremely sharp.
25· · · A.· ·We did.                                          25· · · · · ·So we didn't have any issues and we were

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·1· going to continue to proceed forward using them.          ·1· Rebotix?
·2· · · Q.· ·There is a lot there.· I'm going to try to --    ·2· · · · · ·MR. MENITOVE:· Same objection.
·3· · · A.· ·Yes.                                             ·3· · · · · ·THE WITNESS:· No.
·4· · · Q.· ·-- break down and unpackage that as well.        ·4· BY MR. LYON:
·5· · · · · ·When you tested out the EndoWrists, was it       ·5· · · Q.· ·Other than the first assists, the surgeons,
·6· during an actual surgery with a patient?                  ·6· and the scrub assists, did anyone else test or
·7· · · A.· ·Yes.                                             ·7· perceive the Rebotix-repaired EndoWrists in use?
·8· · · Q.· ·In the -- withdrawn.                             ·8· · · · · ·MR. MENITOVE:· Object to the form.
·9· · · · · ·Were the surgeons who used the                   ·9· · · · · ·THE WITNESS:· No.
10· Rebotix-repaired EndoWrists able to discern any           10· BY MR. LYON:
11· difference between those EndoWrists and EndoWrists        11· · · Q.· ·What is a first assist?
12· that had not been repaired or serviced by Rebotix?        12· · · A.· ·A first assist is the surgeon's assistant.
13· · · A.· ·No.                                              13· They stay at the patient's bedside the entire time
14· · · · · ·MR. MENITOVE:· Objection.· Foundation.           14· when the surgeon goes to the console.· The first
15· BY MR. LYON:                                              15· assist will help guide the instruments in, use the
16· · · Q.· ·Were the first assists able to discern any       16· suction, an extra set of hands.· They have their own
17· differences between the Rebotix-repaired EndoWrists       17· laparoscopic equipment.
18· and the EndoWrists that had not been repaired or          18· · · Q.· ·What is a scrub assist?
19· serviced by Rebotix?                                      19· · · A.· ·Scrub assist is -- they will be responsible
20· · · · · ·MR. MENITOVE:· Same objection.                   20· for the instrumentations, loading the clips, or
21· · · · · ·THE WITNESS:· No.                                21· handing the instruments off to the first assist and
22· BY MR. LYON:                                              22· load it in the da Vinci.· The scrub may also load the
23· · · Q.· ·Were the scrub assists able to discern any       23· instrument themselves.
24· difference between the Rebotix-repaired EndoWrists and    24· · · Q.· ·Did you personally interview the surgeons and
25· EndoWrists that had not been repaired or serviced by      25· the technicians who were involved in the surgery --
                                                    Page 40                                                       Page 41
·1· withdrawn.                                                ·1· · · Q.· ·Are traditional laparoscopic instruments used
·2· · · · · ·Did you personally interview the surgeons and    ·2· in nonrobotic surgeries inspected in the same way as
·3· the technicians who were involved in the trial of the     ·3· the EndoWrists are?
·4· Rebotix-repaired EndoWrists?                              ·4· · · A.· ·Yeah, there is a little bit of different
·5· · · A.· ·Yes.                                             ·5· process.· Some of the robotic instruments are a little
·6· · · Q.· ·What did you learn from those interviews?        ·6· bit more complicated with their flushing ports or how
·7· · · A.· ·That the instruments still worked just like      ·7· they're loaded, but, yes, all of our instruments are
·8· the nonrepaired ones.· There was no difference.           ·8· inspected.
·9· · · Q.· ·Does your hospital undertake any inspection      ·9· · · Q.· ·Do the EndoWrists sometimes fail the
10· efforts of an EndoWrist before it's used in a surgery?    10· inspection?
11· · · A.· ·Absolutely.                                      11· · · A.· ·Yes.
12· · · Q.· ·What process does your hospital undertake to     12· · · Q.· ·Does Pullman Regional sometimes use
13· inspect an EndoWrist from Intuitive before it's used      13· EndoWrists for less than a maximum number of uses?
14· in a surgery?                                             14· · · A.· ·Yes.
15· · · A.· ·So the inspection process will start in          15· · · Q.· ·Do EndoWrists sometimes fail before they
16· central sterile processing.· There is multiple steps      16· reach their maximum usage limit?
17· on processing and packaging those instrumentations,       17· · · A.· ·Yes.
18· protecting the tips on them.                              18· · · Q.· ·What are some of the ways an EndoWrist might
19· · · · · ·Once they're packaged, sent through sterile      19· fail before it reaches its maximum number of uses?
20· processing, they come into the room.· The scrub tech,     20· · · A.· ·So -- okay.· So they -- the teeth might
21· when they open the trays, will examine them on the        21· misalign.· They'll get shifted so that they don't
22· field, make sure that the jaws are open and close,        22· close completely lined up.· They'll get a little bit
23· that the -- you know, everything is clean, that there     23· offset.
24· is no dried blood, that the ports are working.            24· · · · · ·The -- there is like wires, the bands.· They
25· · · · · ·And then the first assist will do that also.     25· fray, so there may be a frayed wire on them.

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·1· · · · · ·They roll on a roller, a track, and that         ·1· · · A.· ·No.
·2· track may get chipped or the wire may come over the       ·2· · · Q.· ·Had any of these rejected EndoWrists been
·3· top of the roller.· It's like a pulley.· Or the           ·3· serviced by Rebotix?
·4· scissors are dull and so they'll gnaw through the         ·4· · · A.· ·No.
·5· tissue instead of making a clean cut.                     ·5· · · Q.· ·Did your hospital or your surgeons ever
·6· · · Q.· ·Has your hospital ever rejected an EndoWrist     ·6· reject a Rebotix-repaired EndoWrist because of
·7· because the surgeon perceived it to have dull or          ·7· perceived unintuitive motion?
·8· damaged scissor plates?                                   ·8· · · A.· ·No.
·9· · · A.· ·Yes.                                             ·9· · · Q.· ·Did your hospital or surgeons ever reject a
10· · · Q.· ·Has your hospital ever rejected an EndoWrist     10· Rebotix-repaired EndoWrist because of perceived dull
11· because a surgeon perceived it to have unintuitive        11· or damaged scissor blades?
12· motion?                                                   12· · · A.· ·No.
13· · · A.· ·Yes.                                             13· · · Q.· ·Did your hospital or your surgeons ever
14· · · Q.· ·Has your hospital ever rejected an EndoWrist     14· reject a Rebotix-repaired EndoWrist because of
15· because a surgeon perceived it to have insufficient       15· insufficient grip force?
16· grip force?                                               16· · · A.· ·No.
17· · · A.· ·Yes.                                             17· · · Q.· ·Did your hospital or surgeons ever reject a
18· · · Q.· ·Has your hospital ever rejected an EndoWrist     18· Rebotix-repaired EndoWrist for any reason?
19· because the wires were frayed?                            19· · · A.· ·No.
20· · · A.· ·Yes.                                             20· · · Q.· ·In the instances where one of Intuitive's
21· · · Q.· ·In any of these instances where you rejected     21· EndoWrists did not perform properly, for example,
22· an EndoWrist, for example, for unintuitive motion,        22· unintuitive motion, insufficient grip force, or dull
23· dull or damaged scissors, insufficient grip force, or     23· blades, was the patient's safety put at risk?
24· any other reason, had the EndoWrist been used beyond      24· · · · · ·MR. MENITOVE:· Object to the form.
25· the maximum number of uses imposed by Intuitive?          25· · · · · ·THE WITNESS:· No.· We -- when we're
                                                    Page 44                                                       Page 45
·1· experiencing problems like that -- I think only once      ·1· · · A.· ·Yes.
·2· we've had it where actually the teeth on a grasper        ·2· · · Q.· ·Are traditional, nonrobotic laparoscopic
·3· were locked on some tissue.· But prior to that, other     ·3· instruments sometimes rejected by surgeons because of
·4· than that one incident, no.· If the instrument is not     ·4· insufficient grip force?
·5· operating as it is supposed to, it's taken out and        ·5· · · A.· ·Yes.
·6· it's replaced.                                            ·6· · · Q.· ·Are traditional, nonrobotic laparoscopic
·7· BY MR. LYON:                                              ·7· instruments sometimes rejected by surgeons because of
·8· · · Q.· ·When an EndoWrist is not performing properly,    ·8· unintuitive motion?
·9· for example -- withdrawn.                                 ·9· · · A.· ·Yes.
10· · · · · ·If an EndoWrist is not performing properly,      10· · · Q.· ·When a traditional instrument is rejected,
11· for example, it's showing unintuitive motion,             11· does your hospital repair or hire a service to repair
12· insufficient grip force, or dull blades, is it your       12· the instrument?
13· hospital's practice to simply replace that EndoWrist?     13· · · A.· ·I do have a company that comes in, and we'll
14· · · A.· ·Yes.                                             14· put them aside.· If you're talking on a laparoscopic
15· · · Q.· ·Similarly, if a traditional nonrobotic           15· instrument, most of the time he can do the repairs
16· laparoscopic instrument is not performing properly, is    16· on-site.· Sometimes we'll have to send it out to his
17· it your hospital's practice to simply replace that        17· repair facility.
18· instrument?                                               18· · · Q.· ·Can you sharpen the scissors of a traditional
19· · · A.· ·Yes.                                             19· laparoscopic device if they're dull?
20· · · Q.· ·Are traditional, nonrobotic laparoscopic         20· · · A.· ·Yes.
21· instruments also sometimes rejected by surgeons?          21· · · · · ·MR. MENITOVE:· Object to the form.
22· · · A.· ·Yes.                                             22· BY MR. LYON:
23· · · Q.· ·Are traditional, nonrobotic laparoscopic         23· · · Q.· ·Are you permitted to sharpen the scissors of
24· instruments sometimes rejected by surgeons because of     24· an EndoWrist if they're dull?
25· dull or damaged scissor blades?                           25· · · · · ·MR. MENITOVE:· Object to the form.

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                             EXHIBIT 7

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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   From:          Woody Groves [Woody.Groves@intusurg.com]
   Sent:          9/14/2019 9:22:33 AM
   To:            Matt Heick [Matt.Heick@intusurg.com]
   CC:            AJ lnacay [aj.inacay@intusurg.com]; Jennifer Scott [Jennifer.scott@intusurg.com]
   Subject:       Re: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)


   Thanks Matt. AJ, call me on Monday if you get a minute.

   Sent from my iPhone
   Woody Groves

   On Sep 14, 2019, at 10:14 AM, Matt Heick <Matt.Heick(@intusurg.com> wrote:

   AJ,

   Can you provide my team with assistance on dealing with SIS. They are attempting to reprocess instruments at UF
   Shands.

   Thank you,

   Matt Heick




   Mattheick@intusurg.com




   <image002.jpg>


   From: Woody Groves <Woody.Groves@lintusurg.com>
   Sent: Friday, September 13, 2019 6:09 PM
   To: Matt Heick <Matt.Heick(wintusurgxorn>
   Subject: Re: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)

   Thanks Matt. Who do I need to talk to? I'm on vacation next week.

   Sent from my iPhone
   Woody Groves

   On Sep 13, 2019, at 5:46 PM, Matt Heick <MatLHeick@intusurg.r;.Q__[J_\> wrote:

   Woody,

   Thanks for brining to my attention. We have a formal internal process for these situations. Let me know if you have
   further issues after connecting with our internal folks or if you see this surface in other accounts.

   This would void their current warranty and creates patient safety issues. Happy to discuss next week upon my return
   from vacation ..,




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                Case 3:21-cv-03496-AMO           Document 408          Filed 01/08/25       Page 89 of 1000
   Matt Heick




   Matt.heick@intusurg.com




   <i m age003 .j pg>


   From: Woody Groves <Woodv,Grnves@Jintusurg.com>
   Sent: Friday, September 13, 2019 8:04 AM
   To: Anna Samples <Anna.Sarnples@intusurg.corn>; Jennifer Scott <Jennifer.scott@)intusurg,com>; Matt Heick
   <MattHeick@intusurg.com>
   Subject: Fwd: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)

   FYI.   I'm researching our answer and response now.

   Sent from my iPhone
   Woody Groves

   Begin forwarded message:

   From: "Watkins, Dawn E." <WATKID@)shands,ufLedu>
   Date: September 12, 2019 at 6:25:19 PM EDT
   To: Woody Groves <Woody.Grnves@intusurg.com>
   Cc: "Wigglesworth, Susan J." <wiggsi@shands.ufl.edu>
   Subject: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity {MS4788 - Surgical Instrument Repair)

   Hi Woody,

   Who needs a sales force when you're on a GPO contract?

   Can you help us confirm if the use of a refurbished Endo Wrist would have a negative impact on our warranty?

   A quick response would be great, At this rate, we'll be asked again by Monday.

   Best regards,
   Dawn

   Dawn Watkins, MBA, CMRP
   Director of Strategic Sourcing
   UF Health Shands
   watkid (@ sha nds. ufl .edu
   Cell: 352-246-2500


   From: Cassidy,Manuela <rnanuela.cassidy([;Jvizientinc.co111>
   Sent: Thursday, September 12, 2019 4:37 PM
   To: Carroll-Mazeli, Andy <Andy.Carroll-Mazeli@iax.ufl.edu>; Wigglesworth, Susan J. <wiggsi@shands.ufLedu>
   Cc: Alltop, Shirley <alltos(wshands.ufl.edu>; Watkins, Dawn E. <WATKIO(wshands.ufl.edu>; Mele, Christopher
   <Christopher.Mele@) iax.ufLedu>; Story, Vicky <Vicky.Story(wvizientinccom >; Price,John <iohn, price@)vizienti nccom>
   Subject: RE: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)




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      CAUTION! This email came from outside UF or UF Health. Exercise extra caution clicking links
                         and opening attachments from any and all senders.



   Hi Andy and Susan,

   Julie Birdsong, Implementation Services, Senior Director would like to know if you have any inter·est in setting--up a call
   with SIS to learn more about his categor·y? She is looking at setting-up a time for next week. Can you please provide me
   your feedback?

   Many thanks,
   Manuela


   From: Cassidy,Manuela
   Sent: Monday, September 9, 2019 3:47 PM
   To: 'Carroll-Mazeli, Andy' <Andy.Carroll--1\4azdii@iax.ufl.edu>; Wigglesworth, Susan J. <:,:y_[gg_~l_&nshands.ufl.edu>
   Cc: 'Alltop, Shirley' <alltos(dlshands.ufLedu>; 'Watkins, Dawn E.' <WATKID(@shands.ufLedu>; Mele, Christopher
   <Christopher. M ele@iax.ufl.edu>; Story, Vicky <Vicky.Story(dlvizientinc.com >; Price,John <iohn. price@)vizienti nccom>
   Subject: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)

   Andy and Susan,

   Two of our· members, Kaiser Per·manente and Legacy Health System ar·e capturing savings by using Intuitive Surgical
   Endowrist refurbishment products. Surgical Instrument Service Company (SIS) is now the only supplier providing
   r·efurbishrnent to Intuitive Surgical's da Vinci EndoWrist. SIS offer·s a refurbished da Vinci EndoWrist at approximately 40%
   savings.

   Since Intuitive Surgical is an off contr·act vendor, there's incremental GPO volume associated with moving that spend to
   SIS frH refur·bishment in addition to over 40% on line itern savings.

   Please see attached initial proposed savings. Please let me know if I can schedule an onsite presentation to learn rnor·e
   about this category and clar·ify additional questions.

   Thanks,

   Manuela Ca:,siclv MBA
   Enterprise Client Mana9er
   M (904) 608~ 7831




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   cooperation.




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   Bealer! for 1budulen! enwils that spoofinlernal ''(a}intusnrg.com" email addresses. Report lhese or olher securily threats !o:
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                             EXHIBIT 8

                                 to

       PAUL D. BRACHMAN DECLARATION IN SUPPORT
         OF DEFENDANT’S MOTION IN LIMINE NO. 1
          TO EXCLUDE OUT-OF-COURT HOSPITAL
                     STATEMENTS
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      Surgery > General Surgery

      Op-Ed: Addressing Our Da Vinci Addiction
      — A call to action for everyone in healthcare

      by Eve Cunningham, MD, MBA
      October 17, 2020




      It's no secret that financial analysis comparing the costs
      of surgery performed via different approaches has shown
      that robotic surgery is more expensive. Some healthcare
      systems even report a net negative margin for robotic
      procedures when compared with open and laparoscopic
      approaches. While we expect to have winners and losers
      in the world of healthcare economics, the prospect of
      losing money on a surgical approach that continues to
      increase in volume and popularity is unsustainable.
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      My background as aDocument 408 Filed 01/08/25 Page 94 of 1000
                         gynecologist turns my focus to use in
      hysterectomy, the second most common gynecologic
      surgical procedure.

      My initial reaction is to question the data comparing the
      costs of surgery by approach.

      Robotic gynecologic surgeons anecdotally report that
      they are being funneled more challenging cases from their
      non-robotic surgeon colleagues. As a former high-volume
      robotic gyn surgeon myself, I can attest to being on the
      receiving end of referrals from my non-robotic surgeon
      colleagues to operate on patients with high body mass
      index, large uterine size, severe endometriosis, and history
      of multiple abdominal surgeries -- all characteristics that
      can lead to longer case times and higher costs.

      My second reaction is one of fear.

      Mass exodus of surgeons or recruitment challenges are a
      risk if robots are restricted or removed from facilities. A
      2011 study from the Journal of Minimally Invasive
      Gynecology demonstrated that 58% of ob-gyn residency
      programs were training their residents in robotics. As a
      physician leader tasked with hiring a physician workforce,
      my observation is that new surgeon graduates are making
      career choices based on their ability to access the tool, a
      situation also reported in this 2014 article.

      Trying to "force" the existing active robotic surgeons to
      use an alternative approach to hysterectomy wouldn't go
      over well, either, especially when many of our active
      robotic surgeons now lack the confidence and skills to
      perform complex hysterectomy via alternative
      approaches.

      I can attest to that evolution. Fresh out of training, I
      performed all my hysterectomies laparoscopically and
      vaginally, because that was how I was trained. Living the
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      "straight stick" life was fun for a few years.

      Eventually, I demoed the Intuitive Surgical da Vinci robot
      console. Ten minutes into my demo and the Intuitive rep
      had me booked for a training session in Sunnyvale,
      California. There I got my chops operating on a pig, and I
      never looked back.

      Medical News from Around the Web
      USA TODAY

      This FDA-approved drug promises a new way to treat
      schizophrenia
      CBS NEWS

      Free COVID tests are back. But there are more accurate
      tests for sale.
      BECKER'S HOSPITAL REVIEW

      MRIs cut overdiagnosis in prostate cancer screening: Study

      Laparoscopic surgery was a gateway drug. Robotic surgery
      was hardcore. Four years later, my advanced laparoscopic
      and vaginal surgery skills had atrophied and were rusty, at
      best.

      My story is typical. I have a distinct memory circa 2014 of
      sitting in the surgeon lounge with a group of my other
      gyn-robotic colleagues and listening to them marvel
      about the robot.

      One surgeon reported that the robot extended her career
      as her back and hip no longer bother her as they did with
      laparoscopic cases, a finding that was validated in this
      study.

      Another surgeon shared how she was able to operate up
      to her due date for her current pregnancy, all because of
      the robot. A third surgeon compared the robot to driving
      a Ferrari versus the laparoscopic '57 Chevy.
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      Here we are in 2020,Document 408 Filed 01/08/25 Page 96 of 1000
                           and an entire generation of gyn
      surgeons have adopted and trained on the da Vinci.
      Robotic surgery now generates an annual $3 billion dollars
      in revenue and is expected to grow by 15% per year until
      2022.

      The deeper question for health systems is how to address
      the economics of the situation.

      Below is a stakeholder assessment and proposed
      contributions to forge a path to a high-value
      hysterectomy clinical pathway.

      Healthcare Systems and Surgeons

      Healthcare systems are bearing the brunt of the economic
      loss and expense related to the explosion of robotic
      surgery. Surgeons often lack awareness and
      understanding of what we can do to reduce costs.

      I recall a dialogue with my colleagues several years ago in
      which we compared the costs of various hemostatic
      agents we routinely used in the operating room. We were
      surprised to learn that the cost varied from $13 to $250
      per case. This discussion pushed us to create an
      equipment and supply scorecard that compared our
      supply chain patterns with a focus on value, best
      practices, and evidence-based medicine.

      The concept of a surgeon scorecard is not unique and has
      been well documented as an effective intervention in a
      recent JAMA article in which a 7.4% cost reduction was
      realized.

      Another article highlighting a similar intervention for
      orthopedic procedures demonstrated an 8.7% reduction in
      cost when surgeons were given a monthly "Surgeon Value
      Scorecard" over a 9-month period.
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      In order to support Document 408 Filed 01/08/25 Page 97 of 1000
                          opportunities like these, health
      systems need to invest in technology and analytic
      solutions to engage and influence physician behaviors
      that offer real-time feedback and empower physician
      leaders with the tools and resources they need to make
      value-based choices in the operating room.

      Approaching a high-value hysterectomy clinical pathway
      by focusing on four areas of opportunity in a continuous
      fashion -- supply costs, length of stay, surgeon efficiency,
      and route selection -- is a great starting point. Individual
      surgeon and institutional scorecards that drill down into
      these factors can be leveraged to identify mentorship
      opportunities, potential behavior changes, and most
      importantly, best practices.

      Intuitive Surgical and Device Manufacturers

      Aligned incentives between medical device
      representatives is critical to our success. As we introduce
      technology solutions into our healthcare systems, we
      need to ensure that a value prospect is included in the
      contracting process.

      In my experience, the Intuitive reps often encourage
      trainees to switch out instruments and select higher-cost
      instruments as they are incentivized to maximize surgeon
      utilization.

      A 2010 ACOG Green Journal article identified disposable
      equipment cost opportunities in robotic surgery.
      Healthcare systems and training programs should demand
      that device manufacturers develop the highest value
      training program for adoption of their device and respect
      the clinical pathways and best practices within an
      institution for utilization of the device.

      Residency Training Programs
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      Non-academic health systems should work collaboratively
      with graduate medical education programs, sharing their
      challenges, and influencing curriculum and training that
      promotes value in surgeon development. A 2013 AJOG
      article emphasized the importance of surgeon efficiency
      in robotic surgery cost management.

      Integrating an efficiency assessment and cost
      management into surgical training is described in this
      article as part of the robotic credentialing pathway.

      Academies and Society Consensus Statements

      In 2009, ACOG reinforced their recommendation that
      vaginal hysterectomy was the preferred route of
      hysterectomy via a Committee Opinion, yet despite this
      statement, vaginal hysterectomy rates continued to
      decline. This is a testament to the fact that an academy,
      college, or society statement alone cannot influence the
      tide of change.

      That being said, they can lead the charge in engaging the
      above stakeholders to develop high-value clinical
      pathways that incorporate emerging technologies.

      In conclusion, the impact of the COVID-19 global
      pandemic has placed significant financial pressure on
      healthcare systems, making opportunities to identify
      value in care delivery ever more relevant and urgent.

      The use of a high-value hysterectomy clinical pathway
      that provides real-time and transparent feedback to
      surgeons is an approach that can address factors related
      to cost and quality and integrate value into surgical care.

      Eve Cunningham, MD, is the chief medical officer of
      Providence Medical Group.


                              2 Comments
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    Recommended For You

                                Public Health & Policy

                                COVID Drug Recall;
                                Update on Nurse Struck by
                                Lightning; Surrogates'
                                Pregnancy Risks
                                Infectious Disease

                                Pope's Illness; Docs
                                Against Trump; Another
                                Contact of Missouri H5N1
                                Case Fell Ill
                                Endocrinology

                                One-Year CGM Cleared;
                                Osteoporosis Lawsuits
                                Revived; Chemicals and
                                Early Puberty
                                Infectious Disease

                                COVID Czar's 'Sex Parties';
                                Nationwide Drug Recall;
                                Steward CEO Held in
                                Contempt
                                Public Health & Policy

                                EPA Scientists Say They
                                Were Pressured to
                                Downplay Health Harms
                                From Chemicals
                                Infectious Disease

                                'Sex Party' COVID Czar
                                Fired; Undiagnosed Iron
                                Deficiency; Many Papers
                                Partly Fake?
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                        Medical News From Around the Web

                        USA TODAY
                        This FDA-approved drug promises a new way to treat schizophrenia

                        CBS NEWS
                        Free COVID tests are back. But there are more accurate tests for sale.

                        BECKER'S HOSPITAL REVIEW
                        MRIs cut overdiagnosis in prostate cancer screening: Study

                        CLINICAL ADVISOR
                        Sleep and Nighttime Agitation in Older Adults with Cognitive Decline

                        CIRCULATION
                        Sacubitril/Valsartan in Pediatric Heart Failure (PANORAMA-HF): A
                        Randomized, Multicenter, Double-Blind Trial.

                        BRAIN
                        Plasma metabolomic signature of healthy lifestyle, structural brain
                        reserve and risk of dementia.




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                             EXHIBIT 9

                                  to

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                             EXHIBIT 10

                                  to

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          OF DEFENDANT’S MOTION IN LIMINE NO. 1
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9/24/24, 4:35 PM Case 3:21-cv-03496-AMOTechnology
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                                                  Widens Care       Filed
                                                              Options       01/08/25
                                                                      for Rural Hospitals - ThePage   104 of 1000
                                                                                               Rural Monitor




       Feb 12, 2014


       Technology Widens Care Options for Rural Hospitals
       by Candi Helseth (htt12.s://www.ruralhealthinfo.org/rural-monitor/author/candi-helsethl

       Rapidly advancing technological developments are helping rural
       hospitals save patients-and themselves. Throughout the country,
       hospital leaders are looking at ways they can strengthen their bottom
       line using technologies that better serve their communities and keep
       patients closer to home.

       In Michigan, urban surgeons perform complex procedures at small
       Critical Access Hospitals (CAHs). Robotic surgery expands physician and
       hospital capabilities in Minnesota. And in Washington, medical robots
       place remote physician specialists at the bedside of critically ill patients.

       "Ten years ago, what we're doing wouldn't have been possible," asserts
       Michigan Rural Healthcare Preservation (MRHP) CEO Ethan Lipkind.
       "There have been astronomical strides in medical technology that have
       improved engineering, and advancements that have made it possible to
       provide sophisticated procedures in settings that were previously
       impossible. And we can do all of it in an exceptionally safe environment
       that benefits both patient and hospital."

       Today's patients are smart and savvy, and they request best practice
       options such as robotic surgery, according to Joy Johnson, chief
       operating officer at Sanford Bemidji Medical Center
       .(htti:;is://www.sanfordhealth.org/locations/sanford-bemidji-medical-
       centerl (SBMC) in Bemidji, Minn. Patients want to stay close to home            In Washington state, medical
       for care but they will travel long distances for best practice surgical         robots place remote physician
       options, Johnson said, adding that rural hospitals must be proactive            specialists at the bedside of
                                                                                       critically ill patients. Here
       technologically to maintain a solid bottom line.                                "Hawkeye" the robot is set to visit
                                                                                       a patient in his room at Lincoln
       "The old paradigm was that a hospital's purpose was to aggregate all            Hospital in Davenport, Wash.
       the professionals in one place and bring patients there," says Tom
       Martin, CEO at Lincoln Hosi:;iital (htti:;is://www.lincolnhosi:;iital.orgL)_ in
       Davenport, Wash. "Now that ability is changing to us bringing the professionals to where the patients are."


       Increasing Treatment Access
       Lipkind knows of no organization similar to MRHP, a nonprofit network created in 2010 to help remote rural
       hospitals remain operational by developing environments that offer patients the advantages of the latest
       technologies. MRHP collaborates with CAHs in Deckerville (htti:;is://asi:;iirerhs.org/locations/deckerville-
       communitv.-hosi:;iital/). and West Branch to operate a surgical program where four urban surgeons travel to
       the CAHs to do neurosurgery, complex urology, spine and orthopedic surgeries, fusion procedures and
       advanced pain care management.

       "The traveling surgeons are the lifeline of this arrangement," Lipkind commented. "Patient outcomes have
       been stellar. In these small rural hospitals, the focus is on one individual patient at a time. So these patients
       get more individualized care."




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                                                                           Mary Ann*, a patient with a lumbar disk injury, terms
                                                                           her surgical experience "fantastic," Dr, Gerald Schell, a
                                                                           board certified neurosurgeon with Michigan Clinic
                                                                           Neurosurgeey_(httQs://schellsQinal.com/)_ in Saginaw,
                                                                           performed Mary Ann's multilevel spinal fusion in the
                                                                           Operating Room of the 15-bed Deckerville Community
                                                                           Hospital (DCH).

                                                                           "I was treated like family from walking in the door until
                                                                           being discharged," Mary Ann said. "The staff went
                                                                           above and beyond the call of duty."

                                                                           According to DCH Chief Financial Officer Valerie Bryant,
        Dr. Gerald Schell, a board certified neurosurgeon, is              the surgical program has stabilized DCH financially,
        one of four urban surgeons who travel to Critical                  improved employee morale and been embraced by
        Access Hospitals in Michigan, offering patients the                patients. DCH's upfront investments included
        option of local care.
                                                                           equipment upgrades and staff training.

                                                             "It takes additional nursing and clinical staff because
       we need all hands on deck the days these surgeons come in," Bryant said. "We have to take care of our
       patients in the hospital and put more staff in the OR. But the benefit has definitely outweighed our
       additional expenses."

       MRHP is expanding surgical options at these network hospitals and has begun working with two more rural
       hospitals to develop programs specific to their needs. Lipkind said MRHP is also affiliated with physician
       offices, the Field Neurosciences Institute (httQs://www.fni.orgD. and Central Michigan UniversitY. College of
       Medicine (httQs://www.cmich.edu/academics/colleges/college-of-medicine)..


       Robotic Surgery Offers New Options for Rural Patients
       Sanford Bemidji Medical Center
       fhttQs://www.sanfordhealth.org/locations/sanford-
       bemidii-medical-center). in Bemidji and Essentia Health-
       St. JoseQh's Medical Center
       .(httQs://www.essentiahealth.org/find-
       facilitylQrofile/essentia-health-st-joseQhs-medical-
       center-brainerd/) in Brainerd are two rural Minnesota
       hospitals that have installed the da Vinci Surgical
       System, the first robotic surgical system approved in
       2000 by the FDA. The system has a camera that
       provides a multi-dimensional view inside the patient's
       body and a minimally invasive robotic arm with a
       pivoting wrist that can manipulate microscopic                             Dr. Benjamin Roy, a board certified general surgeon
       instruments in tiny areas inside the body. The surgeon                     trained in robotic surgery at Sanford Bemidji Medical
       navigates all aspects of the surgery from an exterior                      Center in Bemidji, Minn., shows a potential patient
                                                                                  how the robotic system gives a view inside the body.
       panel.

       Currently, both hospitals are offering robotic procedures
       in the areas of general surgery, urology and gynecology. Difficult surgeries that couldn't have been done in
       the past at Essentia Health have become common procedures because of the minimally invasive technology
       using the robot, according to Essentia Health Urologist Dr. Scott Wheeler.

       "Robotics take the minimally invasive world one step further," commented Dr. Hal Leland, an Essentia Health
       obstetrician/gynecologist who performs robotic surgery.

       "Robotic surgery is significantly less invasive with less trauma to the body than there is even with minimally
       invasive surgeries," Johnson concurred. "Patients want robotic surgery because it means shorter hospital
       stays and faster recoveries for them. New physician surgical grads are trained in robotic surgery and they
       want to use those skills. If patient retention and physician recruitment are negatively impacted, that can
       impact a hospital's bottom line."
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       SBMC, which has 90 acute care beds, is at least 150 miles from the nearest tertiary centers so patients were
       traveling or being transferred long distances for critical services. Four years ago the board of directors
       adopted a strategic plan to improve patient care and safety by developing SBMC as a regional referral
       center. In addition to the robotic program, other high-tech improvements since then include a new cardiac
       program with 24-hour STEM! U:1tt12s://www.heart.orglfillL12rofessional/aualitY.-imQrovement/mission-
       lifeline/sv.stems-of-care-overview-and-imQlementation-strategies). service, and a cardiac catheterization
       laboratory and a chronic wound program that includes hyperbaric oxygen therapy and advanced wound
       care.


       "Hawkeye" the Robot Brings Specialty Care to Local Hospitals
       According to the Washington State HosQital Association (httQs://www.wsha.org/our-members/rural-
       hosQitals/), the state's 38 CAHs are the healthcare cornerstone in rural communities, and their viability is
       threatened. Among the CAHs implementing innovative approaches to stabilize their operations is Lincoln
       HosQital U:1tt12s://www.lincolnhos12ital.orgD., the first Washington CAH to use a robot
       .(httQs://vimeo.com/69120526) to manage care for patients who have had strokes. Lincoln soon extended
       the program to include hospitalist management for all complex care patients. Within the first year of Lincoln
       Hospital adding the robot (which they call "Hawkeye") to its staff in 2010, patient transfers decreased by 24
       percent and admissions increased by 21 percent, representing a $1 million increase in revenue . Martin said
       other benefits include shorter patient hospital stays, fewer patient hospital readmissions and improved post-
       discharge patient management.

       Contrary to the administration's fears that patients and staff might react negatively to a robot, Hawkeye was
       an immediate hit. "It's really amazing to watch Hawkeye at work," Martin commented. "These remote
       specialists basically see everything in the patient that a doctor in our hospital does. And the stethoscope
       quality is so good that there isn't any deterioration transmitting heart and lung sounds."

       A 25-bed critical access hospital in a CMS-designated frontier location, Lincoln Hospital simply didn't have
       high enough patient volumes to justify hiring a full-time critical care specialist. But an outside review
       indicated that 38 percent of patients transferred to Spokane over a six-month period could have remained at
       Lincoln if critical care management was available.

                                                                           "Our doctors are very competent but they weren't
                                                                           getting that inpatient exposure and skills usage that
                                                                           urban specialty doctors do, so they didn't always feel
                                                                           comfortable keeping complex patients here," Martin
                                                                           explained. "As they started using Hawkeye, they agreed
                                                                           it was extremely beneficial to have another set of eyes
                                                                           on their patients. With this additional clinical support,
                                                                           they have the ability to care for more patients here."

                                                              Currently, 14 rural hospitals in Washington state use
                                                              TeleStroke, and three are developing TeleHospitalist.
                                                              Critical care specialists or hospitalists at Providence
                                                              Health Care (htt12s://www.12rovidence.org/locations?
                                                              12ostal=99207&Iatlng =47 .674,-117 .375&radius= 1500&
        A remote physician talks to a patient in his room via
                                                              Qage=ll (PHC) in Spokane provide 24-hour support to
        a medical robot at Lincoln Hospital.
                                                              the rural physicians and hospitals. According to PHC
                                                              Telehealth Program Coordinator Denny Lordan, PHC is
       developing TelePediatrics, TeleMental Health and TeleCritical Care. PHC also assists the rural hospitals with
       implementation to assure adherence to standard practice guidelines.

       "Having subspecialists that we can make available to partner hospitals in the region elevates the level of
       care that rural patients receive in their own communities and helps to keep care local," Lordan said. "When
       we keep appropriate patients in their own communities, we also free up higher acuity beds at Providence for
       patients that need that level of care."




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       While these administrators are enthusiastic about high-tech solutions, they also agree that success won't
       happen without community education and support, a financial investment, and willingness to partner or
       network with other healthcare providers.

       "I think as rural hospitals we have to realize if we are going to grow and use our facilities to the fullest
       extent, it's essential that we bring specialists into that mix," Martin said . "Newer technologies offer
       opportunities that rural hospitals should be evaluating . Clearly, we have to be willing to become part of a
       system of care where integrating clinically with large systems using this technology affords us the ability to
       remain independent. Technology affords us a new perspective. We've stopped looking at our feet and started
       looking at the sky."

       * To ensure patient privacy, the Rural Monitor only uses patients' first names.


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       This article was posted in Features (htt12s ://www.ruralhealthinfo.org/rural-monitor/catego[Y/features). and tagged
        Cardiovascular disease (https ://www.ruralhealthinfo.org/rural-monitor/topics/cardiovascular-disease). • Critical Access
        Hos12itals (htt12s ://www.ruralhealthinfo.org/rural-monitor/to12ics/critical-access-hos12itals) • Health conditions
       !htt12s://www.ruralhealthinfo.org/rural-monitor/to12ics/health-conditions). • Hos12itals
       .(htt12s ://www.ruralhealthinfo.org/rural-monitor/to12ics/hos12itals). • Michigs.!l..U:!llP-s://www.ruralhealthinfo.orq/rural-
        monitor/states/michigan). • Minnesota (htt12s ://www.ruralhealthinfo.orq/rural-monitor/states/minnesota). • Service
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        monitor/to12ics/technolog_Y.-for-health-and-hu man-services). • Telehealth ( htt12s: //www.ruralhealthinfo.org/rural-
        monitor/to12ics/telehealth l · WashinillQ!L(htt12s ://www.ruralhealthinfo.org/rural-monitor/states/washington).



       a     Previous Article: Patient Simulators Shar12en                                              Next Article: Winter 2014
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             Skills of Rural Practitioners
                                                                               _(htt12s://www.ruralhealthinfo.org/rural-
       .(htt12s ://www.ruralhealthinfo.org/rural-                               monitor/winter-2014)
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                             EXHIBIT 11

                                  to

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          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
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                             EXHIBIT 12

                                  to

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       Sachs     Research                                                                              15 November 2018 | 4:59AM EST


The following is a redacted version of the original report. See inside for details.


       Americas Healthcare: Medical Technology

       Digital Health: Robotic Surgery and the OR of the Future

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          Digital Health                                                                                 Goldman Sachs & Co. LLC

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                                                                                                         Goldman Sachs International
       We are initiating a new series of reports that cover the convergence of Healthcare
       and Technology, a topic we label Digital Health. To bring focus to this expansive topic,          Akinori Ueda, Ph.D.
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                                                                                                         Goldman Sachs Japan Co., Ltd.
       these reports will aim to identify speciﬁc areas where the convergence is tangible,
       signiﬁcant, and actionable for investors. We start by exploring the future of robotic             Ziyi Chen
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                                                                                                         Goldman Sachs (Asia) L.L.C.
       surgery. Future reports will address topics that include genomics, wearables, and
       digital therapeutics.                                                                             Jack O’Connell
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       Introducing Digital Health                                                                        +1(212)357-3292 |
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                                                                                                         Frits Jonker
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       Introducing Digital Health. With this report, we are initiating a new series that                 Goldman Sachs & Co. LLC

       covers the convergence of Healthcare and Technology – a topic we label Digital
       Health. The implications of this megatrend are vast as we estimate 26% of the
       market cap in the S&P is somehow exposed. In addition, the landscape between
       incumbents and disruptors is rapidly evolving as 32% of VC dollars in Healthcare
       was allocated to Digital Health companies in 2018 (vs 15% ﬁve years ago).

       Why is this important to investors? Global demand for Healthcare continues to
       rise thanks to demographics, economic growth and innovation. At the same time,
       current Healthcare systems increasingly look inefﬁcient and unsustainable. As these
       systems reach new tipping points, we think disruptive forces will be increasingly
       driven by technology-driven advances (i.e., compute power, storage, mobility) that
       have already swept across other major industries such as retail, transportation and
       manufacturing. We also see the potential for newer emerging technologies
       (blockchain, 3D printing and augmented reality) to play a disruptive role in
       Healthcare. Taken together, we think these secular forces and disruptive
       technologies will have a meaningful impact to existing proﬁt pools and earnings
       growth for incumbents.




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                             Our goal with these reports. To bring focus to this expansive topic, this report series
                             will aim to identify speciﬁc areas where the convergence is tangible, signiﬁcant, and
                             actionable for investors. These areas include genomics (diagnostic testing, gene
                             therapy), wearables (patient monitoring), imaging (MRIs, pathology), and digital
                             therapeutics (software-based treatment of disease).

                             Our approach. In this report series, we will evaluate disruptive technologies from both
                             public and private companies, track regulatory catalysts, apply a global perspective
                             when relevant, and be opportunistic in the topics we cover.

                             Deep dive on robotic surgery. In this report, we attempt to frame the outlook for the
                             next decade in robotic surgery. We evaluate the competitive landscape, consider new
                             therapeutic markets where robotic surgery is taking off, and discuss key trends with a
                             handful of key opinion leaders (KOLs).




                Note: The following is a redacted version of “Digital Health: Robotic Surgery and the OR of the Future”
                originally published Nov. 15, 2018 [30pgs]. All company references in this note are for illustrative purposes
                only and should not be interpreted as investment recommendations.




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Our Report in Pictures
Exhibit 1: Digital Health touches roughly 26% of the S&P                                  Exhibit 2: VC funding for Digital Health is rapidly increasing
% of S&P 500 Market Cap Impacted by Digital Health                                        $13bn+ in FY18, >30% of all Healthcare deals

                                                                                           $50bn
                                                                                           $45bn
                                                                                           $40bn                                                                                                     11%

                                                                                           $35bn                                                                                                     13%
                                                  Impacted by
                                                 Digital Health,                           $30bn
                                                      26%                                  $25bn                                                                                         14%         44%
                                                                                           $20bn                                                             15%                         18%
                                                                                                                                                16%                         16%
                                                                                                                                                             19%
                                     74%                                                   $15bn                                                24%                         17%
                                                                                                                                    14%                                                  47%
                                                                                           $10bn          11%           14%         29%                      46%
                                                                                                          35%           32%                     39%                         44%
                                                                                                                                                                                                     32%
                                                                                            $5bn                        42%         42%
                                                                                                          43%                                                20%            22%          21%
                                                                                                                        13%         15%         21%
                                                                                            $0bn          11%
                                                                                                         FY11           FY12        FY13        FY14         FY15           FY16         FY17       FY18E

                                                                                                   ■   Digital Health    ■   Pharma & Biotech   ■   HC Devices & Supplies      ■   HC Services & Systems



Impacted ﬁrms are deﬁned as companies in the Healthcare sector and large cap Technology   Source: National Venture Capital Association, Rock Health, Goldman Sachs Global Investment
companies with substantial investments in Digital Health.
                                                                                          Research
Source: Company data, Goldman Sachs Global Investment Research




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Robotic Surgery Is a Global Theme

                   Europe

                   The developed markets are the areas at the forefront of focus for robotic surgery
                   entrants. Though markets within the continent have idiosyncrasies, an obstacle we
                   believe worth noting is the push by surgeon societies, and not manufacturers, to
                   administer training. Conversely, any momentum towards outpatient care should be
                   constructive for robotic surgery. Having said that, companies like CMR Surgical have
                   noted they are intent on capitalizing on home ﬁeld advantage and incremental
                   improvements such as mobility to penetrate a virtually untapped market in Europe.

                   China

                   China, a less developed market, is seeing a spike in interest among patients in the ﬁeld
                   of robotic surgery. Based on our conversations with industry participants, there is a real
                   market for afﬂuent Chinese patients who wish to pay out-of-pocket for robotic
                   procedures. Having said that, the market is less accessible than it otherwise could be
                   due to political factors. In recent weeks, China’s National Health Commission
                   announced a new quota allowing for the placement of an incremental 154 surgical
                   robots at state hospitals through the end of CY20. The move comes several years after
                   the previous quota was ﬁlled and expired in 2015, leading to several years of pent-up
                   demand in the Chinese market.

                   We believe the current general trade environment to be disadvantageous to those
                   seeking to grow the use of surgical robots in Chinese markets. Chinese surgeons often
                   have cited cost as a major constraint, as reimbursement for robotics is not as
                   established as it is in the United States. Surgeons therefore are more likely to perform a
                   higher volume of surgeries and be part of system in which the large capital outlay of a
                   robot could be justiﬁed by a steady ﬂow of well-to-do patients.

                   Exhibit 3: China largely untapped, nearly as big as the US
                   China Tier 3 hospitals vs US short-term acute care hospitals

                         3500
                                                                                              •Hospitals
                         3000                                                                 •Installed base
                         2500

                         2000

                         1500

                         1000

                          500

                            0
                                                US                                  China



                   Source: American Hospital Directory, National Health and Family Planning Commission, Company
                   data, Goldman Sachs Global Investment Research

                   Another dynamic to keep in view is the push within China to develop robotic surgery
                   supply from the country as part of the “Made in China 2025” initiative announced in

                                                                                                                                                       4
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                   2015. As part of a broader push to modernize China’s manufacturing capabilities to
                   allow for the production of higher value goods, the government plans to support
                   research into medical robotics, both in design and manufacturing capabilities. A number
                   of smaller players within the country are developing platforms to bring to market
                   bolstered by this program, though few are close to commercialization.


Conversations with KOLs

                   General Surgery
                   In the past decade, robotics have begun to supplant open and some laparoscopic
                   procedures. Robot assisted surgery has proven itself to be a challenger to both open
                   and laparoscopic procedures, displacing open procedures in colectomy, cholcystectomy,
                   and bariatric surgery; conversely, it has challenged laparoscopic methods for procedures
                   like inguinal hernia repair and ventral hernia repair. Several general surgeries have seen
                   considerable uptake in robotics in the past decade.




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                                                              An interview with Dr. Jay Redan of Celebration Health
                                             To provide more color, we documentourconversation with Dr. Jay Redan of Celebration Health.

                                             Q. What is Celebration Health, what is your role and what role do surgical robotics currently play
                                             at your institution?
                                             A. I am the Chief of Surgery at Florida Hospital-Celebration Health and serve as President of the Society of
                                           Laparoendoscopic Surgeons. Celebration Health is a "Living Laboratory· that brings the best technology to not
                                           only Central Florida, but to the world. Of the 8,000+ surgical procedures we perform in our 11 Operating Rooms
                                           annually, approximately 1/3 involve surgical robotics. We use this technology in a variety of categories that
                                           include orthopedics, head and neck surgery, general surgery, thoracic, colorectal, GYN, and
                    urology. We have 5 surgical robots and 1 orthopaedic robot

                    Q. What are the biggest benefits of using surgical robotics today?
                    A. The benefit to the doctor and patient is better visualization, more precise surgery and fewer complications that can hopefully be
                    better outcomes lyet to be proven). The benefits of being an early adopter of successful technology is a benefit to the hospital.

                    Q. How do you see these benefits evolving over the next 5 years?
                    A. There are a number of new features and technologies that could enhance the utility of robotic surgery in the coming years. For
                    example, integration of artificial Intelligence, image guided surgery, and sensor technology that can be built into the robot will
                    lead to more robotic surgical autonomy and leave the human factors out of surgical skills and level the playing field. As you know, there
                    are good mechanics and bad ones, good plumbers and bad ones, good doctors and bad ones. Hopefully, robotic technology will assist in
                    preventing errors by preventing injury to normal organs while removing disease.

                    a. Imaging and sensor technologies still play a limited role in robotic surgery- how will that change?
                    A. A few examples include the potential to adjust energy levels depending on tissue density, evaluating the margins of cancer in a
                    patient's body by scientifically ·seeing" where the tumor ends and normal tissue begins. The latter will help to avoid over-excising
                    normal tissue in order to eradicate cancerous tissue.

                    Q. What about 3D printing, is there a role there to customize treatment for the individual?
                    A. Absolutely!! Being able to "print" your own customized replacement parts will definitely occur. Orthopedics, Dental,
                    Craniofacial replacements are already being done. Meshes for hernia repair and possibly organ replacement are already in development.

                    Q. How about artificial intelligence, do you see a future where surgeries can be semi-autonomous or even fully
                    autonomous in some cases?
                    A. Absolutely tool As images are able to be imported into the robot, the surgeon of the future will essentially be a computer
                    programmer. He/she will program the robot to excise the disease and replace the diseased part with a 3D printed replacement and the
                    robot with excise and replace with fewer errors, more precision, and faster OR times than any human could ever dol!!! Sorry
                    Medical Schools and training programs ...have you ever heard of cars being assembled by robots???

                    Q. The market is currently dominated by one big player - how do you see the competitive landscape evolving over the
                    next 5 years?
                    A. Over the next 5 years there will probably be 10 players in the surgical robotics market Once this happens and the price of robotic
                    surgery will equal laparoscopy Laparoscopy will go away and become a thing of the past for historians only performing lectures on
                    the "History of Minimally Invasive Surgery."




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                   Orthopaedics
                   In the realm of orthopaedics, robotic technology has gained traction in recent years, as
                   surgeons are using robots in some of the most common surgeries among the U.S.
                   patient population – knee and hip replacements. We have previously highlighted that we
                   see a compelling value proposition for robotics in the hip and knee replacement
                   markets: in a number of clinical studies, robotic orthopaedic procedures have been
                   shown to allow for shorter postoperative stays and improved alignment vs. conventional
                   approaches (see our deep-dive for more information). While this has not yet been
                   demonstrated to deliver signiﬁcant long-term functional improvements, we believe that
                   there is sufﬁcient evidence to suggest that robotic orthopaedic surgery will likely deliver
                   reduced hospitalization costs and reduced post-surgery complications in the medium
                   term.


                                                                                                 An interview with Dr. Michael Mont
                                              For expert opinion on orthopaedics, we spoke with Dr. Michael Mont.

                                              0. Thank you for joining us, Michael. Why don't you start off by telling us about your background?
                                              A. Thank you for having me. I am an orthopaedic surgeon and was Chairman of the Cleveland Clinic up until April
                                              last year and still participate with them in a research role as Associate Staff I am currently at Lenox Hill
                                              Hospital in New York City and System Chief of Joint Replaceme nt and Vice Chair of Strategic Operations of
                                              Orthopedics at Northwe ll Health.

                                              0. Can you tell us a bit about your involvement and general perspectives regarding orthopaedic
                    robotics?
                    A. I was the Principal Investigator of the Cleveland Clinic arm of a multicenter prospective study of knee replacements, which so far has
                    had extremely positive early resu lts. In addition, I have been involved in multiple basic science (cadaver) and human clinical studies
                    utilizing robotics for both hip and knee replacements. I believe robotic surgery is presently enhancing the field and has mu ch more
                    tremendous potential. It can help with pre-operative planning of cases, allow the performance of more accurate surgery, and aid
                    surgeons in achieving more accurate radiographic alignment. By pre-operative help, I mean using x-rays and CT sca ns that help
                    individualize surgery, and establish haptic boundaries intra-operative ly, that the robotic-assistive device I use allows; the bone-cutting
                    blades are contained and, in my opinion, this reduces error and allows for safer surgery In addition, not to be minimized, these
                    robotically-assisted surgerie s are great research and educational tools .

                    0. With all this progress, where do you think technological applications in surgery will be in 5 years?
                    A. I think procedures will be more individualized than they already are. At this pace, it is feasible to believe that technologies like
                    artificial intelligence, further advanced imaging, and 3D printing will start taking off in orthopaedics in the next 2 or 3 years , and
                    by 5 years from now, we will certainly be in a land scape that is very different from wha t we are seeing today. We will see Al in
                    diagnostics, better feedback, cost-efficient 3D printing, among other advancements.

                    0. What will be the key competitive factors that separate winners from losers?
                    A. It all comes down to tile leve l of evidence we have supporting quality The robots that ca n build a strong case for their superiority for
                    patients, surgeons, and hospitals wi ll win out.

                    0. How should we think about the role robotics can play in driving orthopaedic procedures from hospitals to outpatient
                    settings?
                    A. Outpatient surgery is an existing and in creasing trend in hip and knee replacement surgery-robotics will only help that. This
                    technology is simply making things more reliable, efficient, reproducible, and easier.

                    0. What would it take for a hospital administrator to overrule a physician's aversion to robotics in the decision to buy a
                    robot?
                    A. At the end of the day, higher quality, improved outcomes- which will lead to lower costs, will win out Things can change rapidly
                    in healthcare and I believe that improved patient-outcomes wi ll always drive the acquisition of new technologies




                   We estimate that there are approximately 700-800 orthopaedic robotic systems globally.
                   We believe that robotics account for c.20% of all partial knee replacement procedures in
                   the US, up from c.16% in 2015; however, penetration in total knee and total hip
                   replacements still remains low – likely in the low-single digits – though we expect it to


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                                          increase over the next 5-7 years, in particular as more companies bring solutions to
                                          market, and as the industry expands the range of procedures available on the robot.

Exhibit 4: US and Global orthopedics markets are likely candidates                 Exhibit 5: Hip and knee replacements are poised to beneﬁt from an
for signiﬁcant displacement by robotic surgery                                     aging US population
US and Global Orthopaedics Market Sizes (Billions)                                 % of US Procedures by Age Range

                                                                                    60%
         $16

         $14
                                                                                    50%
         $12

         $10                                                                        40%

         $8
                                                   $8.3    ■   Knee Replacement     30%                                                                                   ■   Hip
         $6                            $7.3                ■   Hip Replacement                                                                                            ■   Knee
         $4      $4.5        $5.1                                                   20%

         $2
                 $3.1        $3.4      $5.5        $6.2                             10%
          $-
                 2018        2024e     2018        2024e
                        US                    Global                                    0%
                                                                                             65-84 yrs old   45-64 yrs old   >85 yrs old   18-44 yrs old   1-17 yrs old



Source: Company data, Goldman Sachs Global Investment Research                     Source: company data, Company data, Goldman Sachs Global Investment Research




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                   Spine
                   Current robotic surgery systems for spinal implants are very nascent with just a couple
                   of entrants with ﬁrst generation systems on the market that offer limited functionality.
                   Key beneﬁts currently include more accurate placement of pedicle screws, reduced pain
                   for the patient, and real time veriﬁcation of goals throughout the procedure. To date, the
                   accuracy related beneﬁts have been well documented but there is still insufﬁcient
                   clinical data that show the use of robotics in spinal surgery lead to improved outcomes.
                   Future opportunities include “no-ﬂy-zones” for surgeons, motion sensors, follower
                   robots, and automation of simpler procedures.


                                                                                               An interview with Dr. Kade Huntsman
                                              To /eam more about spine and robo tics, we invoke the insights of Dr. Kade Huntsman.

                                              0. Tell us about your practice and what role surgical robotics currently play at your institution?
                                              A. My practice is a Private practice, all orthopaedic surgeon partners and a few physiatrists, 16 MD's total,
                                              including 2 spine surgeons We have about 5 surgeons working in the hospital that perform spinal surgery. 3 of
                                              us use robotics and or guidance when instrumenting St Marks is an HCA facility, part of the MountainStar
                                              system in Utah, Idaho and Alaska.

                    0. What are the biggest benefits of using surgical robotics for spine today?
                    A. I have used stealth occasionally for many years, then the hospital purchased me a Globus Excelsius GPS system in October of 2017,
                    and I have completed about 125 surgeries using this system. I trialed the Mazor around the time Medtronic made their first big
                    investment in Mazor. Was not impressed because the Mazor product did not include navigation, ie stealth, and Medtronic has been
                    attempting to get the 2 to communicate for the past 18 months.

                    I recently completed a study looking at speed and accuracy of me using fluoroscopy alone versus Excelsius. 1was more
                    accurate and averaged 7 minutes faster with Excelsius.

                    Biggest benefit is accuracy, particularly in my practice where I do a lot of single position lateral surgery cases. It is beneficial in almost
                    all pedicle screw cases.

                    0. How do you see these benefits evolving over the next 5 years?
                    A. In the next 5 years we should be able to advance the technology to place inter body cages, remove bone and soft tissue, and assist in
                    all areas of spinal surgery, not just pedicle screw placement. I have reviewed tile Nuvasive Pulse platform and will be moving from Glob us
                    to Pulse due to the ability to incorporate the Siemens Cios and neuromonitoring all into one platform I love the concept, I also think they
                    will be the leader in this area very soon, due to the software developments in Pulse that allow neuromonitoring, navigation,
                    robotics (coming soon), and preoperative and intraooperative spinal alignment, all in a single platform.

                    0. How do you see the competitive landscape evolving over the next 5 years?
                    A. Globus is a great system, and is the current leader, but is limited in the ability to move forward with procedures that are more complex
                    than simple screw placement. Table mounted systems have serious limitations that cannot be overcome. The simplest is the table
                    maximum weight is about 500 pounds, with obese patients using the 250 plus pounds of that, not much technology nor rigidity can be
                    built into that system They will all have to convert to floor mounted systems soon in order to maintain rigidity and increases the
                    complexity of the procedures they can do.




Background

                   Background: Successful treatment was often dependent on selection of a “good
                   surgeon” which is a highly qualitative and subjective process. With the advent of robotic
                   surgery, surgical procedures have become more minimally invasive, more closely linked
                   to technological advances in imaging/novel design of end effectors, and seen improved
                   precision and patient outcomes. As a result, robotic surgery has begun to
                   democratize patient outcomes particularly in routine categories such as
                   prostatectomy and hysterectomy. While the magnitude of patient beneﬁt and


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                                          cost-effectiveness remains a hotly debated topic, we think these technologies will only
                                          improve over time both in terms of performance and cost-effectiveness.

                                          Equally important, robotic surgery has become a very effective marketing tool for
                                          hospitals who adopt the technology. Many surgical procedures are important proﬁt
                                          centers to a hospital which in turn created an incentive for early adopters to advertise
                                          these capabilities directly to patients in an attempt to portray the institution as a leading
                                          center of excellence for complex illnesses such as cancer.

                                          We therefore believe the continued adoption of these technologies will have far-reaching
                                          implications for the business model around general surgery. For hospitals, general
                                          surgery procedures are likely to remain key proﬁt centers, making capital spending
                                          for value-add technologies a continued priority. For physicians, the rise of robotics
                                          has signiﬁcant implications for hospital recruitment of new physicians as training on
                                          these technologies now begins in medical school. For Med Tech companies, increased
                                          market adoption of robotics also puts pressure on legacy business models that are
                                          based on manual laparosopic devices and commodity implants (knees/spine). These
                                          products are high margin and historically not linked to capital equipment. Robotic
                                          surgery systems generally have “razor/razorblade” based business models that threaten
                                          to capture these annuity streams.

                                          Where we are today:

Exhibit 6: Robotics have penetrated just 3% of procedures in the US                 Exhibit 7: Opportunities for new US placements are still vast
                                                                                    Roughly 10,000 US hospitals do not have a surgical robot


                                                              Robotic,
                                                             0.7mn, 3%
         Open, 17.3mn,                                                                                     1,000
             60%

                                                                                                                                                    •U.S. Ambulatory Surgery
                                                                                                                                                     Centers
                                  US 2018e General
                                      Surgery                                                                                                       •U.S. Hospitals
                                    Procedures:                                                                               5,500
                                       28.8mn
                                                                                                4,500
                                                                                                                                                    •da Vinci placements


                                                        Laparoscopic,
                                                        10.8mn, 37%



Source: US Census Bureau, Company data, Goldman Sachs Global Investment Research,   Source: Titan Medical, American Hospital Association, Advanced Surgical Care, Goldman Sachs
National Center for Health Statistics                                               Global Investment Research




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Exhibit 8: Robotic Surgery Penetration in General Surgery

 35%

                                                                          29.4%
 30%

 25%
                                                                     19.9%
 20%

 15%
                                                                                          •2008
                                                                                          •2015
 10%                                                       8.0%
                                               5.4%
  5%                          2.9%
               1.8%
           0.2%           0.2%            0.6%         0.4%
  0%
       Cholecystectomy Ventral Hernia      Bariatric   Colectomy    Inguinal Hernia
                          Repair                                        Repair



Source: Company data, Goldman Sachs Global Investment Research, National Center for
Biotechnology Information, University of Nebraska Medical Center




Appendix
Exhibit 9: Many of the largest Tech companies have expressed or launched Digital Health initiatives
Sample of high proﬁle announcements from major Tech companies
 Company                        Product/Service                              Launched?                                            Description
                                                                                                  Includes FDA-approved electrocardiogram apps that allow for irregular
    AAPL                             Apple Watch                                      Y
                                                                                                  heart rhythms that may not show up in a traditional medical exam.
                                                                                                  AWS offers an ecosystem for genomic data that allows for storage,
   AMZN                      Genomics in the Cloud                                    Y           collaboration, and analytics.
                                                                                                  Renders anatomy of patients using virtual reality formatting for the goal of
    INTC                                Echopixel                                     Y           increased clinical knowledge and faster operations.
                                                                                                  According to a study recently published in the Nature Biomedical
  GOOGL                   Verily Life Science Algorithm                               N           Engineering Journal, a Google AI algorithm has predictive capability for
                                                                                                  cardiac events.
                                                                                          A strategic partnership to advance surgical robotics to benefit patients,
                                                                                          surgeons, and healthcare systems. JNJ has emphasized that this launch
  GOOGL                 Verb Surgical (JNJ Collaboration)               N (Expected 2020)
                                                                                          will be as much about "digital surgery" as robotics, distinguishing the terms
                                                                                          as cognitive versus physical.
                                                                                          Designed to help healthcare teams parse patient data, regulatory
     IBM                   IBM Watson Care Manager                             Y          requirements, and create individualized healthcare plans.

   MSFT               Airband Initiatve (Radwin Partnership)            N (Expected 2019) Initiative designed to address the "broadband gap" in rural communities,
                                                                                          largely motivated by the desire to administer healthcare using telemedicine.
                                                                                          Software that uses industry intelligence and clinical knowledge to optimize
   ORCL                     Clear Trial Coud Service                           Y          clinical study planning, sourcing, and deployment for R&D.

Source: Company data, Goldman Sachs Global Investment Research




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                   Exhibit 10: VC deal size and frequency are increasing in Digital
                   Health
                   Roughly 600 deals, nearly $20mn on average

                                       700

                                       600
                                                                                                           ♦    FY18E
                                       500




                     Number of Deals
                                       400
                                                                                     FY16 FY15
                                                                                         ♦ ♦           ♦ FY17
                                       300                                                 ♦
                                                                                                FY14
                                       200                                    ♦   FY13
                                                                             ♦    FY12
                                       100                                           ♦   FY11


                                         $0mn   $2mn   $4mn   $6mn   $8mn $10mn $12mn $14mn $16mn $18mn $20mn
                                                                      Average Deal Size




                   Source: Rock Health




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stocks, only ROE), with a higher percentile indicating a company with higher financial returns. Multiple is based on a stock’s forward-looking P/E, P/B,
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  Intuitive Surg ical Inc. (ISRG)                                                          Stock Price Currency : U.S. Dollar
                                     Goldman Sachs raUrg and stock price t arget history
       800
                                                                                                                         2,900


                                                                                                     .. •
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                               224.67                             333.33                        VM.,;,r",;               2,700



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                          221.33



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                                                                                                                 630
       100                                                                            425                                1,700
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                                         D Rating                              Covered by Isaac Ro,
 ♦ Jun 2, 2016 to N from B
                                         ■    Price target                     as of May 16, 2017

                                                 X    Price target at removal          Not covered by current analyst
                                                 -    S&P 500


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                             EXHIBIT 13

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
                      STATEMENTS
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                              Deposition of:
                         Michael Madewell
                              June 11, 2021


                             In the Matter of:

           Restore Robotics LLC v Intuitive
                      Surgical




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 1                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
 2                           PANAMA CITY DIVISION
 3
         RESTORE ROBOTICS LLC,
 4       RESTORE ROBOTICS REPAIRS LLC,
         and CLIF PARKER ROBOTICS LLC,
 5
               Plaintiffs,
 6                                                 CIVIL ACTION FILE
         vs.                                       NO. 5:19-cv-55-TKW-MJF
 7
 8       INTUITIVE SURGICAL, INC.,
 9           Defendant.
         *************************
10       INTUITIVE SURGICAL, INC.,
11           Counterclaimant,
12       vs.
13       RESTORE ROBOTICS LLC,
         RESTORE ROBOTICS REPAIRS LLC,
14
               Counterclaim Defendants.
15
16
17                           HIGHLY CONFIDENTIAL
18                  VIDEO DEPOSITION OF MICHAEL MADEWELL
19                    Taken by Remote Video Conference
20                              June 11, 2021
21                          1:00 P.M. Central Time
22
23                     Laura M. MacKay, CCR-B-1736, RPR
24
25

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  4 Exhibit 1 Website home page                10               4   BY MR. BAILEY                    31
  5 Exhibit 2 Web page describing robotic          11           5   BY MR. BERHOLD                     174
  6         surgery program                                     6   BY MR. BAILEY                    176
  7 Exhibit 3 Sales, License and Service         15             7
  8         Agreement                                           8
  9 Exhibit 4 Inventory of purchase            17               9
 10 Exhibit 5 Invoice for prepaid service       19             10
 11 Exhibit 6 E-mail re DaVinci, 5/16/18          22           11
 12 Exhibit 7 Warning letter                26                 12
 13 Exhibit 8 Contract termination letter       27             13
 14 Exhibit 9 E-mail chain re Contract          28             14
 15         Cancellation, 11/18/19                             15
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 20         Permit Inspection of Premises in a                 20
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 22 Exhibit 12 E-mail re DaVinci, 5/16/18          88          22
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  1         INDEX TO EXHIBITS (Con't)                    1 APPEARANCES OF COUNSEL:
  2                                                      2 On behalf of the Plaintiffs:
  3 EXHIBIT       DESCRIPTION                    PAGE 3         JEFFREY L. BERHOLD, ESQ.
  4 Exhibit 13 Letter dated 10/29/19 re        121       4      JEFFREY L. BERHOLD, P.C.
  5         termination agreement                        5      1230 Peachtree Street
  6 Exhibit 14 E-mail re Panama City Surgery,      124 6        Suite 1050
  7         11/27/19                                     7      Atlanta, Georgia 30309
  8 Exhibit 15 E-mail re Panama City Surgical      127 8        404.872.3800 (telephone)
  9         Center, 2/21/19                              9      jeff@berhold.com
 10 Exhibit 16 Proposal from Restore re servicing 140 10 On behalf of the Defendants:
 11 Exhibit 17 E-mail re da Vinci surgery       143     11      MICHAEL S. BAILEY, ESQ.
 12         follow-up for Panama City Surgical          12      TAYLOR DOW, ESQ.
 13         Center, 4/25/19                             13      SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 14 Exhibit 18 E-mail to Clif Parker re        154      14      One Manhattan West
 15         Intuitive, 8/20/19                          15      New York, NY 10001-8602
 16 Exhibit 19 Unauthorized Reprogrammed            156 16      212.735.3517
 17         Instrument FAQs                             17      michael.bailey@skadden.com
 18 Exhibit 20 E-mail re Intuitive communication, 163 18        taylor.dow@skadden.com
 19         10/18/19                                    19 On behalf of the Witness:
 20 Exhibit 21 Restore Robotics reference sheet 172 20          MICHAEL P. DICKEY, ESQ.
 21                                                     21      DUNLAP & SHIPMAN P.A.
 22                                                     22      2063 County Highway 395
 23                                                     23      Santa Rosa Beach, FL 32459
 24                                                     24      Mdickey@dunlapshipman.com
 25                                                     25

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  1     A. That's correct.                                      1     A. We couldn't afford it.
  2     Q. During -- during the almost five years of            2     Q. So you've gone to time and materials?
  3 using the robots, have the uses on those instruments        3     A. We have.
  4 ever changed?                                               4     Q. Do you have a sense of how much that Panama
  5     A. That's the uses that they -- they have not.          5 City Surgery Center is now spending on time and
  6 That's how they come from the manufacturer.                 6 materials for service for the da Vinci SI per year?
  7     Q. So let me ask it a different way. During             7     A. So we -- we spend $10,000 for the -- we
  8 your almost four years of using the da Vinci SI, has        8 have to have the PMs done twice a year, and that
  9 Intuitive ever changed the number of uses for those         9 costs us $10,000 for the technician to come out and
 10 instruments?                                               10 do the -- basically go through it and do a six-month
 11     A. Not on these, no.                                   11 inspection.
 12     Q. And has Intuitive changed the price for any         12       And then we've -- we haven't had to use
 13 of these instruments during your almost four years         13 service until just this last year. We had to have a
 14 of using the da Vinci SI?                                  14 technician come out of Tallahassee just to drive
 15     A. No not on these.                                    15 over and set up a new IP address to go through our
 16     Q. Do you have a sense of how much that Panama         16 new security system that we got. And so we were --
 17 City Surgery Center spends per year on the EndoWrist       17 we were invoiced for that.
 18 instruments?                                               18     Q. Oh, and how much did that cost?
 19     A. I don't. I would have to pull invoices.             19     A. Well, they quoted us $5,000. $995 per hour
 20 Probably 100,000.                                          20 travel time and then -- which was two hours over and
 21     Q. Other than the --                                   21 two hours back. So $4,000 for the technician to
 22     A. I would have to pull invoices. But we               22 drive over. And an estimated $995 per hour for him
 23 probably spend about $100,000 a year.                      23 to change the IP address in the system so that we
 24     Q. Other than the --                                   24 could route it through our security plan.
 25       MR. BERHOLD: Let's take down Exhibit 4,              25       Now, we negotiated that down, but that was
                                                     Page 19                                                  Page 21
  1 please, Bailey. Can we pull up the document                 1 the initial offer -- or the initial quote for the
  2 labelled "Service Invoice."                                 2 service.
  3       CONCIERGE TECH: This is Exhibit 5.                    3    Q. What was the final price?
  4       (Exhibit 5 marked.)                                   4    A. I would have to go back and look at the
  5 BY MR. BERHOLD:                                             5 invoice. It was about half that.
  6     Q. Mr. Madewell, can you see Exhibit 5 on your          6        MR. BERHOLD: Bailey, can you take down
  7 screen?                                                     7 Exhibit 5.
  8     A. I can.                                               8 BY MR. BERHOLD:
  9     Q. Do you happen to recognize Exhibit 5?                9    Q. Mr. Madewell, do you know someone by the
 10     A. I do.                                               10 name of Clif Parker?
 11     Q. What is Exhibit 5?                                  11    A. I do.
 12     A. It's an invoice for prepaid service. It's           12    Q. How long have you known Mr. Parker?
 13 like a warranty plan.                                      13    A. Six or seven years.
 14     Q. And generally speaking, what are the terms          14    Q. How did you first meet Mr. Parker?
 15 for the service plan in this invoice?                      15    A. I think I first met Mr. Parker when he --
 16     A. Well, for us, after the service on the              16 we had scheduled a meeting. He's got a 3D scope
 17 machine for the first year was covered. After that,        17 that -- that his company was working on. And he
 18 we had agreed on $100,000 per year, which would            18 brought it over to demo it for a few of our
 19 cover two annual service inspections. And then             19 physicians. I think that was the first time.
 20 certain -- certain repairs were covered under that         20    Q. Has Panama City Surgery Center had any
 21 if we had to have repairs for the machine.                 21 business dealings with Mr. Parker or any of his
 22     Q. Is Panama City Surgery Center still on a            22 companies?
 23 service plan?                                              23    A. We have.
 24     A. No, we are not.                                     24    Q. And for what have you -- for what has
 25     Q. Why not?                                            25 Panama City Surgery Center done business with

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  1 Mr. Parker or any of his companies?                     1 could reprocess or repair these instruments and save
  2     A. Primarily we have used Restore Robotics to       2 money on those, then -- much like a lot of
  3 repair the Endo instruments for the da Vinci robot.     3 instruments that we send out for reprocessing,
  4       MR. BERHOLD: Bailey, can we pull up a             4 whether they're single use or multi-use, if they can
  5 document entitled "First Repair."                       5 be reprocessed and used again at a lower cost, then
  6       CONCIERGE TECH: This is Exhibit 6.                6 we do that.
  7       (Exhibit 6 marked.)                               7       And so we do that with at a lot of our
  8 BY MR. BERHOLD:                                         8 instruments. Just like if we need instruments that
  9     Q. Mr. Madewell, can you see Exhibit 6 on your      9 need repair, we send them out for repair versus
 10 screen?                                                10 throwing them out and buying a new one. So that was
 11     A. I can.                                          11 the idea behind using Clif's company to repair or
 12     Q. Do you recognize Exhibit 6?                     12 reprocess these instruments.
 13     A. Looks like an e-mail that I sent to             13       MR. BERHOLD: Bailey, can you pull down
 14 Clif Parker.                                           14 Exhibit 6.
 15     Q. Do you have any recollection of sending the     15 BY MR. BERHOLD:
 16 e-mail?                                                16    Q. Mr. Madewell, did you consult with any of
 17     A. Yes.                                            17 the robotic surgeons before you started to repair
 18     Q. And, generally, what was the purpose of the     18 EndoWrist instruments with Restore Robotics?
 19 e-mail?                                                19    A. I did.
 20     A. To see if his company was going to be able      20    Q. Okay. And what did they tell you?
 21 to reprocess or repair this instrument.                21    A. They said if the instruments worked fine,
 22     Q. Was this the first time that you had            22 they were happy with it. My surgeons know that we
 23 requested that Mr. Parker repair one of the            23 have reprocessed instruments in the building, and
 24 EndoWrists?                                            24 their attitude has always been if the instrument
 25     A. I don't know if this was the first time.        25 works, we'll use it.
                                                 Page 23                                                  Page 25
  1 It looks like it, since I'm asking him what the      1     Q. And did the repaired EndoWrist instruments
  2 process is for sending it in.                        2 work fine?
  3     Q. And why were you considering having Panama 3        A. Yes.
  4 City Surgery Center repair EndoWrist instruments?    4       MR. BAILEY: Objection to form.
  5       MR. BAILEY: Objection to form. Misstates       5 BY MR. BERHOLD:
  6 testimony and the document.                          6     Q. Did you ever get any complaints from
  7 BY MR. BERHOLD:                                      7 doctors about the functioning of the repaired
  8     Q. You can answer the question if you            8 EndoWrist instruments?
  9 understand it, Mr. Madewell.                         9       MR. BAILEY: Objection to form.
 10     A. I understand the question. I don't           10     A. No.
 11 understand that -- what was just said.              11 BY MR. BERHOLD:
 12       But the reasons? Primarily because we had     12     Q. Are you still using -- are you still using
 13 instruments that -- you know, in our line of work,  13 Restore Robotics repairs to repair EndoWrist
 14 you don't throw out something that works perfectly 14 instruments for Panama City Surgery Center?
 15 fine. You just can't afford to.                     15     A. No.
 16       And the second thing is, as we looked at      16     Q. Why not?
 17 the viability of our da Vinci program, for the same 17     A. I was served a notice by Intuitive that I
 18 reason that we chose to go on time and materials,   18 was in violation of the licensing agreement. And if
 19 because we could not afford -- when you break down 19 I continued to do that, then they would cancel that
 20 the volume we were doing and what we get paid per 20 licensing agreement. And cancellation of the
 21 patient to do robotic surgery, we were looking at   21 licensing agreement meant no longer supporting the
 22 our margins are in the tens to hundreds of dollars, 22 software that runs the robot, which at some point
 23 not the thousands of dollars. And so we were        23 would -- the robot would not work.
 24 looking at every opportunity we could find to lower 24       MR. BERHOLD: Bailey, can we pull up a
 25 the cost of doing these surgeries. And so if we     25 document titled "Warning Letter."

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  1       CONCIERGE TECH: This is Exhibit 7.                 1 know if you recognize it?
  2       (Exhibit 7 marked.)                                2    A. I do.
  3 BY MR. BERHOLD:                                          3    Q. Can you just walk us through the sequence
  4     Q. Mr. Madewell, can you see Exhibit 7 on your       4 of e-mails here in Exhibit 9.
  5 screen?                                                  5    A. It was the communication that I had with --
  6     A. I can.                                            6 I guess I'm not sure exactly what Matt's title was,
  7     Q. Can you take a look at Exhibit 7 to see if        7 the regional guy about the cancellation letter that
  8 you recognize it?                                        8 I got reaching out to their reps and to Matt, who is
  9     A. Yeah, it looks like the letter that I was         9 the -- and say look, you guys have known our issue,
 10 sent.                                                   10 we've had -- we've used a few reprocessed
 11     Q. And who sent the letter?                         11 instruments and tiny compared to all of the new ones
 12     A. Intuitive.                                       12 we bought but we did get the letter of cancellation
 13     Q. And what was your understanding of what          13 and so I was basically saying, look, you got me over
 14 Intuitive is saying in this letter in a nutshell?       14 a barrel here. I agree to quit using it. I don't
 15     A. Stop -- stop reprocessing the instruments        15 want the machine to be turned off. We certainly
 16 or I would be in violation of the licensing             16 don't want the patients to go back to the hospital
 17 agreement and they could turn the machine off.          17 to have these cases done. And, you know, let's get
 18     Q. And did Intuitive eventually terminate its       18 a new contract in place.
 19 agreement with Panama City Surgery Center?              19        And I copied my physicians so that they
 20     A. They did.                                        20 were aware of all of these communications. Those
 21       MR. BAILEY: Object to form.                       21 are the extra names you see in the e-mails.
 22       MR. BERHOLD: Bailey, can you take down            22    Q. And did Panama City Surgery Center agree
 23 Exhibit 7 and pull up document titled "Contract         23 that it would not repair any more EndoWrist
 24 Termination."                                           24 instruments?
 25       CONCIERGE TECH: This is Exhibit 8.                25    A. We did.
                                                  Page 27                                                       Page 29
  1       (Exhibit 8 marked.)                                1    Q. And has Panama City Surgery Center abided
  2 BY MR. BERHOLD:                                          2 by that agreement with Intuitive not to repair the
  3    Q. Mr. Madewell, can you see Exhibit 8 on your        3 EndoWrist instruments?
  4 screen?                                                  4    A. We have.
  5    A. I can.                                             5       MR. BERHOLD: Bailey, can you take down the
  6    Q. Do you recognize Exhibit 8?                        6 exhibit.
  7    A. Yes.                                               7 BY MR. BERHOLD:
  8    Q. What is Exhibit 8?                                 8    Q. Mr. Madewell, did you have any
  9    A. It's the letter notifying me that our              9 understanding of how Intuitive knew that Panama City
 10 agreement with Intuitive had been terminated.           10 Surgery Center was repairing its EndoWrist
 11    Q. And what was your understanding of why            11 instruments in the first place?
 12 Intuitive had terminated the agreement?                 12    A. The robot is connected to wifi and sends
 13    A. Because I was sending off the instruments         13 out signals, or reports I guess, up to Intuitive
 14 to be reprocessed or to have the chip reset so we       14 where they monitor -- monitoring error codes. It's
 15 could use them more than ten times.                     15 also a way for them to be able to log in and
 16       MR. BERHOLD: Bailey, can you take down            16 troubleshoot the software.
 17 Exhibit 8, and can you pull up the document entitled    17       And it was through those reports that I
 18 "Dialog."                                               18 guess the serial numbers on those individual
 19       CONCIERGE TECH: This is Exhibit 9.                19 instruments, when they were in their eleventh or
 20       (Exhibit 9 marked.)                               20 twelfth use, I'm sure it raised a red flag somewhere
 21 BY MR. BERHOLD:                                         21 and that's how they found out.
 22    Q. Mr. Madewell, can you see Exhibit 9 on your       22       MR. BERHOLD: Bailey, can we pull up the
 23 screen?                                                 23 document labelled -- let me give you the Bates
 24    A. Yes.                                              24 number. It's HC_000021.
 25    Q. Can you take a look at Exhibit 9 and let me       25       CONCIERGE TECH: This is Exhibit 10.

                                                                                                  8 (Pages 26 - 29)
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                             EXHIBIT 14

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
                      STATEMENTS
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                              Deposition of:
           AEO 30(b)(6) Clifton Earl Parker
                               May 4, 2021


                             In the Matter of:

           Restore Robotics LLC v Intuitive
                      Surgical




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                           Restore Robotics LLC v Intuitive Surgical

                                                                    Page 1

                               ATTORNEYS' EYES ONLY
                                                                        1
 1                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
 2                            PANAMA CITY DIVISION
 3
 4       RESTORE ROBOTICS LLC and
         RESTORE ROBOTICS REPAIRS
 5       LLC,
                                                   CIVIL ACTION FILE
 6                          Plaintiffs,
                                                   NO. 5:19-cv-55-TKW-MJF
 7                 vs.
 8       INTUITIVE SURGICAL, INC.,
 9                     Defendant.
         ~~~~~~~~~~~~~~~~~~~~~~~~~~
10
11
                      REMOTE VIDEO 30(b)(6) DEPOSITION OF
12                           RESTORE ROBOTICS LLC
                                      and
13                       RESTORE ROBOTICS REPAIRS LLC
                                    THROUGH
14                        CLIFTON "CLIF" EARL PARKER
                                      AND
15                  CLIFTON "CLIF" EARL PARKER, INDIVIDUALLY
16
17
                                   May 4, 2021
18
                                    9:59 a.m.
19
20
                               7506 Holly Circle
21                         Panama City Beach, Florida
22
23
24                       S. Julie Friedman, CCR-B-1476
25

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               ATTORNEYS' EYES ONLY                                    1             INDEX TO EXHIBITS
                                 2
  1           APPEARANCES OF COUNSEL                                   2
  2 On behalf of the Plaintiffs:                                           Exhibit      Description         Page
  3    JEFFREY L. BERHOLD, P.C.
                                                                       3
       JEFFREY L. BERHOLD, ESQ.
  4    Suite 1050                                                         Exhibit 7 E-mail Chain Ending with 2/22/2020 244
       1230 Peachtree Street NE                                        4          7:14:49 PM E-mail, from Parker, to
  5    Atlanta, Georgia 30309
       404.872.3800
                                                                                  Cordially, Bruce McDaniel,
  6    678.868.2021 Fax                                                5          Subject: Re: Davinci Si and
       jeff@berhold.com                                                           DaVinci S services, CONFIDENTIAL,
  7
    On behalf of the Defendant:
                                                                       6          Restore-00056351
  8                                                                    7
       ALLEN RUBY LAW OFFICES                                          8     (Original Exhibits 1 through 7 have been
  9    ALLEN RUBY, ESQ.
       Suite 138                                                         attached to the original transcript.)
 10    15559 Union Avenue                                              9
       Los Gatos, California 95032
                                                                      10
 11    408.477.9690
       allen@allenruby.com                                            11
 12                                                                   12
       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 13    DOUGLAS J. DEBAUGH, ESQ.
                                                                      13
       1440 New York Ave, NW                                          14
 14    Washington, D.C. 20005                                         15
       202.371.7592
 15    202.661.0592 Fax                                               16
       douglas.debaugh@skadden.com                                    17
 16                                                                   18
 17 Also Present:
       Chris McMillan, Concierge Tech                                 19
 18    Alan Pokotilow, Videographer                                   20
 19
 20
                                                                      21
 21                                                                   22
 22                                                                   23
 23
 24
                                                                      24
 25                                                                   25
                                                             Page 3                                                      Page 5
  1           INDEX OF EXAMINATIONS
  2 WITNESS:                                                           1        THE VIDEOGRAPHER: We're on the record.
    Clifton "Clif" Earl Parker                                         2    The time is now 9:59 a.m. Today is Tuesday,
  3                                 Page
  4 CROSS-EXAMINATION                           6                      3    May 4th of 2021. We're here today at Restore
    By Mr. Ruby
  5                                                                    4    Robotics, LLC, located at 7506 Holly Circle in
  6            INDEX TO EXHIBITS
  7
                                                                       5    Panama City Beach, Florida, for the videotape
     Exhibit        Description            Page                        6    deposition of Clifton Parker, in the Matter of
  8
    Exhibit 1 6/20/2019 9:06:26 AM E-mail, from 67                     7    Restore Robotics LLC and Restore Robotics
  9         Parker, to Colletti and Sheehy,
            Subject: FAQ doc, HIGHLY                                   8    Repairs LLC versus Intuitive Surgical,
 10         CONFIDENTIAL,                                              9    Incorporated, counterclaim, Intuitive Surgical,
            Restore-00002649-2653
 11                                                                   10    Incorporated versus Restore Robotics LLC and
    Exhibit 2 11/30/2018 11:53:54 AM E-mail,      75
 12         from Parker, to Winkler, Subject:                         11    Restore Robotics Repairs LLC, Civil Case
            Restore Robotics, CONFIDENTIAL,
 13         Restore-00022922-22927
                                                                      12    No. 519-cv-55-TKW-MJF, to be heard In the United
 14 Exhibit 3 Sunday, June 23, 2019 9:11 PM      86                   13    States District Court, For the Northern District
            E-mail, from Colletti, to Parker,
 15         Czajka, Subject: Ac promo                                 14    of Florida, Panama City Division.
            2019_momentumsRobotics2.pptx,
 16         HIGHLY CONFIDENTIAL - ATTORNEYS'                          15        Our court reporter today is Julie Friedman
            EYES ONLY, 0040518-40544
 17
                                                                      16    here today on behalf of Veritext Legal
    Exhibit 4 8/11/2019 1:46:00 PM E-mail, from 147                   17    Solutions. I'm Alan Pokotilow, a legal
 18         Hansen, to Vautrot and Parker,
            Subject: Preowned EndoWrist                               18    videographer, also here today on behalf of
 19         Discrepancies, CONFIDENTIAL,
            Restore-00030210-30215
                                                                      19    Veritext Legal Solutions.
 20                                                                   20        Our court reporter will read a brief
    Exhibit 5 10/12/2018 8:28:24 AM E-mail, from 161
 21         Parker, to billing@reach3d.net,                           21    stipulation, and then swear the witness; and we
            Subject: Brochures, CONFIDENTIAL,
 22         Restore-00018745-18746                                    22    can proceed.
 23 Exhibit 6 5/14/2019 7:12:27 PM E-mail, from 189
            Parker, to Mixner, Subject:
                                                                      23        THE COURT REPORTER: Due to the need for
 24         Restore Robotics Repairs response,                        24    this deposition to take place remotely because
            CONFIDENTIAL,
 25         Restore-00005217-5219                                     25    of the Government's order for social distancing,

                                                                                                              2 (Pages 2 - 5)
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  1 requisite tests.                                          1 learned to perform preventative maintenance on a
  2     Q. And were these tests that you referred to          2 robot owned by a hospital.
  3 tests that were developed by whom?                        3    Q. Oh. In -- in -- In all the time that
  4     A. I don't know who physically developed              4 Restore Robotics and -- and its affiliated companies
  5 them.                                                     5 offered the service of preventive maintenance as set
  6     Q. Well, did you have any idea -- Well,               6 out in the slide, how much money came into your
  7 strike that.                                              7 companies as a result of that service?
  8         Did Restore Robotics develop tests for the        8    A. Just for preventive maintenance?
  9 efficacy of the software on the da Vinci surgical         9    Q. Yes.
 10 system?                                                  10    A. 600. Between 600- and $700,000.
 11     A. No.                                               11    Q. And then how much -- The next item, the
 12     Q. The tests you're referring to were tests          12 next bullet point is "Surgical robot repair."
 13 developed by Intuitive; isn't that right?                13         Did -- Did your company and affiliated
 14     A. I'm assuming so, but I -- I'm not aware           14 companies working with you actually repair some
 15 of who actually developed the test. Was it a third       15 da Vinci surgical systems?
 16 party, or was it Intuitive directly, Intuitive           16    A. We did.
 17 employees?                                               17    Q. Did you ever need spare parts in order to
 18         I don't know.                                    18 accomplish these repairs?
 19     Q. Well, did you have any belief one way or          19    A. Yes.
 20 the other whether Restore Robotics could lawfully        20    Q. Where did you get them?
 21 gain access to the testing methods developed by          21    A. Some of them, we were able to obtain
 22 Intuitive Surgical once you hired a -- a former          22 directly from the original manufacturers, so
 23 Intuitive Surgical employee?                             23 Intuitive did not manufacture every component. They
 24     A. I mean, you -- Are you asking me for a            24 purchased components from other manufacturers, and so
 25 legal conclusion, 'cause I don't think I'm prepared      25 we were able to purchase those from those companies.
                                                   Page 95                                                      Page 97
  1 to -- to do that.                                     1    Q. But not from Intuitive?
  2     Q. No. I would -- I -- I have not asked you       2    A. No.
  3 for a legal conclusion.                               3    Q. And how much money came into your company
  4     A. Okay. Can you restate the question then.       4 or companies from the surgical robot repair?
  5     Q. Sure. At the time that Restore Robotics        5    A. I don't recall the -- the amount. I would
  6 was apparently conducting some tests on the da Vinci 6 say less than a million dollars, but I don't know the
  7 surgical system using tests, testing methods          7 exact amount.
  8 developing by Intuitive, did you have in your mind    8    Q. Well, can you approximate without guessing
  9 any idea whether it was lawful for Restore to do      9 how much money came into your company or companies
 10 that?                                                10 for surgical robot repair?
 11     A. To perform tests on a robot owned by a        11    A. No. I cannot approximate without
 12 hospital that they asked us to do, yeah. That's      12 guessing. That -- I think that is a guess.
 13 totally lawful.                                      13        I would -- I would say between a hundred
 14     Q. I'm asking you about whether you had an       14 and 300,000, but I don't know.
 15 opinion. Maybe you did. Maybe you didn't. That's 15        Q. The next bullet point on here is "On-site
 16 why I'm asking.                                      16 time guarantees."
 17         Did you have an opinion at the time          17        What -- What does that mean?
 18 whether Restore Robotics could lawfully use and      18    A. A minimum amount of time before a
 19 charge for the use of testing methods developed by   19 technician will arrive on time -- on site, so
 20 Intuitive Surgical?                                  20 basically, we said, you know, we'll provide you
 21     A. Again, I think you're asking me for a         21 24-hour response or 48-hour response, that a
 22 legal conclusion. I -- I personally believe that by  22 technician will be on site within that amount of
 23 hiring those former Intuitive engineers, they were   23 time.
 24 using what they learned. I do not believe that that  24    Q. The next item is "Technical help desk."
 25 would be against the law for them to use what they   25        Do you see that?

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  1     A. Yes.                                          1 but when Intuitive started putting up severe
  2     Q. What does that refer to?                      2 roadblocks, they were unable to continue doing
  3     A. I'm sorry. Repeat the question.               3 business with us, so we were never able to continue
  4     Q. What does "Technical help desk" refer to?     4 those programs.
  5     A. Oh, the ability for the hospital to call      5     Q. And -- And who were those prospective
  6 and to speak directly with one of our field service  6 customers you say were -- were -- that were going to
  7 engineers.                                           7 sign but didn't because of something Intuitive did?
  8     Q. And what was the days and hours of access     8     A. Oh, there were lots of them. The -- The
  9 to the technical help desk that was provided by      9 first one was Baylor Scott & White. Panama City
 10 Restore?                                            10 Surgery Center.
 11     A. It depended on the contract. I'd have to     11          They were numerous, numerous. I'd have to
 12 see each individual contract. It was a negotiated   12 look at a list to -- to tell you who all they were.
 13 process.                                            13          Indiana University.
 14     Q. Did you charge for this service?             14     Q. We're not in a hurry, Mr. Parker. I'd
 15     A. Yes. We did.                                 15 like to know please the names of companies or
 16     Q. How much?                                    16 institutions, businesses which you say would have
 17     A. For -- For phone support, I believe it       17 signed up for one or more of these products or
 18 was $350 an hour. For on-site support, was $450 per 18 services from Restore or its affiliated companies
 19 hour.                                               19 if -- if Intuitive had not done something.
 20     Q. Did -- Wait. We withdraw that.               20          And we've got Baylor, et cetera, Panama
 21         Then the next section on here is "Parts     21 City, Indiana University. Who else is there?
 22 inventory."                                         22     A. There's literally dozens and dozens. I
 23         Do you see that?                            23 have to go look at a list, so I'd have to pull up a
 24     A. Yes.                                         24 list of those potential customers. I don't have that
 25     Q. What does that refer to?                     25 in front of me.
                                                 Page 99                                                       Page 101
  1     A. We maintained a number of parts in stock.        1         I can gather it, if you'd like.
  2     Q. And -- And where did you get them from?          2     Q. Well, I'd like you to answer my question.
  3     A. Some of them, we purchased directly from         3 If you tell me you can't beyond Baylor -- and I know
  4 the original equipment manufacturer. Some of them,      4 there were some other names after Baylor in that same
  5 we purchased from other hospitals.                      5 cohort -- Panama City, and Indiana University.
  6     Q. Did you purchase any of them from                6         Sitting here now, can you tell me any
  7 Intuitive?                                              7 others?
  8     A. No.                                              8     A. Pacific Coast Surgery Center.
  9     Q. The last item on here is -- is "Clinical         9         Lowell. Of --
 10 support training."                                     10         There's some in Louisiana and New Orleans.
 11         What -- What does that refer to?               11 Conway Regional Medical Center.
 12     A. Oh, basically, it's training their              12         There's one in Jackson, Tennessee. I
 13 clinical staff on the use of the -- the robot by our   13 think it's Jackson General Hospital.
 14 field service engineers. Not on -- on medical          14         West Virginia University.
 15 procedures, but on the use of the robot.               15         I have to look at a list, or I can keep
 16     Q. And -- And you charged for that service;        16 thinking about it.
 17 is that right?                                         17     Q. What product or service do you say that
 18     A. Yes.                                            18 Indiana University was likely to sign up for with
 19     Q. How -- How much money came into your            19 Restore?
 20 companies all told from your clinical support          20     A. Instrument repair, as well as robotic
 21 training?                                              21 service.
 22     A. I don't know that we ever did that.             22     Q. Instrument repair was the installation of
 23     Q. So it was -- it was a service you offered,      23 the interceptor technology?
 24 but nobody took you up on the offer; is that true?     24     A. That's correct.
 25     A. A couple were interested in that offer;         25     Q. And -- And what else did you say that

                                                                                               26 (Pages 98 - 101)
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  1 Indiana University was ready to sign up for?                 1     A. Distributors and representatives, yes.
  2    A. Robotic preventative maintenance and                   2     Q. And for purposes of the vocabulary you use
  3 service of the Si robots.                                    3 in this regard, is a distributor and a rep the same
  4    Q. And who were you dealing with at Indiana               4 thing?
  5 University?                                                  5     A. No.
  6    A. This was done through a distributor, but               6     Q. How are they different?
  7 the gentleman there was the -- I can't remember his          7     A. The rep would sell the product and service
  8 name off the top of my head. I can't remember his            8 to the hospital through Restore Robotics, so Restore
  9 name.                                                        9 Robotics would bill the end customer and pay the rep
 10    Q. What product or service do you say that               10 a commission; whereas the distributor, we would
 11 West Virginia University was ready to sign up for?          11 provide them a transfer price; and they would mark it
 12    A. I know it was instrument repair; and then,            12 up and sell directly to the customer. They would
 13 also, when they made a decision to go to Xi, they           13 bill the customer.
 14 were interested in selling us their Si instruments.         14     Q. Did Restore Robotics utilize the -- the
 15    Q. Who were you dealing with at West Virginia            15 sales and marketing services of both reps and
 16 University?                                                 16 distributors, as you've defined them?
 17    A. I didn't deal directly with West Virginia.            17     A. Yes.
 18 I dealt with a distributor, OCS.                            18     Q. Was there a -- a -- a greater number of
 19    Q. So you don't know who -- who it was at                19 one or the other; that is, did -- Were there more
 20 West Virginia University that was interested in -- in       20 reps than distributors or more distributors than rep,
 21 your offerings?                                             21 or were they about the same in terms of utilization
 22    A. No. I did not have a personal                         22 by Restore?
 23 conversation.                                               23     A. There were physically more separate rep
 24    Q. At any time that Restore Robotics was                 24 entities. The distributors, I believe there were
 25 offering the -- to install the interceptor                  25 only two of those; but they employed many
                                                     Page 103                                                   Page 105
  1 technology, did Restore Robotics have any sales              1 salespeople.
  2 personnel on its payroll?                                    2     Q. How many reps were there?
  3     A. Not as payrolled employees. No.                       3     A. Between 75 and 85.
  4     Q. No full-time salespeople employed by the              4     Q. Was that -- Did you have reps both in the
  5 company; is that right?                                      5 United States and in Europe?
  6     A. Not employees. So myself and Mills and                6     A. Well, Europe was a distributor as well --
  7 Kevin May performed some of those functions, the             7 as well as other countries, so outside the U.S. was
  8 majority of them by me; but our main focus was to            8 strictly distributors. Inside the U.S. was a
  9 bring on distributors to do the selling.                     9 combination of reps and distributors.
 10     Q. Okay. And -- And I'll be asking about                10     Q. What was the largest amount that was paid
 11 distributors; but for now, I just want to be sure I         11 for sale -- goods or services connected with the
 12 understand. There were no salespeople whose job was         12 da Vinci system to any rep?
 13 just to sell the products and services of Restore           13     A. Oh, I don't -- I don't know.
 14 Robotics on the payroll, the W-2 payroll; is that           14     Q. Was it more or less than a million
 15 right?                                                      15 dollars?
 16     A. That's correct. That's correct.                      16     A. Less.
 17     Q. Were there any sales personnel whose job             17     Q. Is it more or less than half a million
 18 it was to sell the products and services of Restore         18 dollars?
 19 Robotics or Restore Robotics Repair on the payroll of       19     A. Less. I'm sure.
 20 any affiliated company with Restore Robotics?               20     Q. Was it more or less than a hundred
 21     A. Not as employees. No.                                21 thousand dollars?
 22     Q. Okay. Was the business model that you                22     A. I don't know the answer.
 23 wanted to pursue a business model where the sales           23     Q. All told, how much were paid in
 24 effort would be carried out principally by what             24 commissions to all the reps total that were deployed
 25 you're calling reps?                                        25 by Restore and its affiliated companies to sell

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  1 products and services related to the da Vinci robotic  1 become customers; or they would lose them as a
  2 system?                                                2 protected account.
  3    A. I don't have that number handy.                  3    Q. Did the distributors have quotas?
  4    Q. Can you estimate.                                4    A. No. It was the same model of not a quota
  5    A. With -- No. I -- I just don't know.              5 per se, but here's your -- We worked together to
  6    Q. You -- You used the figure of 75 reps, I         6 come up with a protected customer list, and it's
  7 think, earlier. Were there as many as 75 reps          7 typically ones they had great relationships with.
  8 deployed by Robotics -- Robotics -- Strike that.       8 They're already communicating with, already selling
  9        Were there as many as 75 reps deployed by       9 them the products; and so they, you know, have those
 10 Restore Robotics at any one time?                     10 relationships.
 11    A. Probably.                                       11         And they had the same situation where they
 12    Q. Was it your experience that reps would          12 had to make contact with the -- with the customer,
 13 come and go? Some would sign on for a while; and 13 provide some sort of proposal, and close the sale
 14 then either because they weren't productive or for    14 within a period of time before losing them as a
 15 some other reason, would sort of drop out?            15 protected customer.
 16    A. Well, the reason we lost reps was due to        16         It doesn't mean they couldn't sell to
 17 the actions of Intuitive Surgical, which is the       17 them. They just -- They would not be dedicated to
 18 reason we're here today.                              18 them.
 19        So they would approach the hospitals. The      19    Q. Did you tell me you had -- that your
 20 hospitals would be very excited. Very interested in 20 companies had two distributors in the United States?
 21 the program. Want to pursue things.                   21    A. Correct.
 22        And then they started getting threats and      22    Q. Who were they?
 23 pushback from Intuitive, you know, telling them that 23     A. Medline and Alliance HealthCare.
 24 they would lose access to service. They would not be 24          It's technically Medline ReNewal. It's a
 25 able to buy, you know, disposables. They would not 25 division of Medline.
                                                    Page 107                                                     Page 109
  1 be able to buy instruments. They would lose, you            1    Q. And Alliance was the other one?
  2 know, surgeon training, that sort of thing.                 2    A. Correct.
  3         So when those things are piled on, that             3    Q. And -- And what were the total sales
  4 made it very difficult, if not impossible, to               4 generated by your two American United States
  5 continue sales efforts and -- And they would receive        5 distributors?
  6 threatening letters from Intuitive, both the hospital       6    A. I don't know.
  7 and sometimes the distributors would receive letters        7    Q. No idea?
  8 from Intuitive threatening them, and so that caused         8    A. I don't know off the top of my head. No.
  9 them to continue to drop off.                               9    Q. More or less than a hundred dollars?
 10     Q. Oh. Do you attribute the attrition of all           10    A. Did you say a hundred dollars or a hundred
 11 of the reps and all of the distributors who did cease      11 thousand?
 12 working on the store account to the conduct of             12    Q. Hundred dollars.
 13 Intuitive?                                                 13    A. Oh, yeah. Much -- Much more. Less than
 14     A. At least 99 percent. I haven't looked at            14 a million. I don't know if it's more than a hundred
 15 each one to see what the reason, but that is by far        15 thousand. I have to look and see.
 16 the overwhelming reason. There may be one or two for       16    Q. Somewhere between a hundred thousand and a
 17 some other reason that I don't recall at the time;         17 million dollars total sales generated by your two
 18 but by far, almost all of them were because of the         18 United States distributors -- yes?
 19 actions of Intuitive.                                      19    A. That's a fair guess.
 20     Q. Did the -- Did the reps, did they have a            20    Q. And -- And do you attribute the --
 21 quota as part of their financial arrangements              21 those -- those sales numbers to what you say are --
 22 with Restore?                                              22 that conduct by Intuitive?
 23     A. They had designated customers and                   23    A. Absolutely.
 24 timelines that they had to both make contact with          24    Q. No other cause?
 25 those hospitals, as well as a timeline to have them        25    A. I'm not aware of any at the moment. No.

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  1 that, in fact, there had been nine procedures             1 number?
  2 previously done, use -- at least nine procedures          2     A. Yes.
  3 previously done, including that instrument?               3     Q. Who gave you his phone number?
  4    A. So the hospitals track all of that data,            4     A. I think -- I think it was William
  5 so that's -- That's information that -- that a            5 Hufstetler or Matt Roberts, one of those two
  6 hospital will have access to, as well as that's --        6 gentlemen. I don't recall a hundred percent.
  7         You know, you'll have to ask the -- a             7     Q. Where were you when you -- you placed your
  8 surgeon; but, typically, in most, instruments are         8 call to Mr. Lipson?
  9 used hundreds and hundreds of times, so to have an        9     A. In the Restore Robotics office in Suwanee,
 10 instrument that's only used 9 times or 20 times or 40    10 Georgia.
 11 times is exceedingly rare in the medical device          11     Q. Why did you call him?
 12 space, other than single-use instruments, which are      12     A. Because a customer had asked me if there
 13 designed to be used one time, but still are --           13 was a way to remove the preventative -- preventive
 14 Sometimes they're used multiple times.                   14 maintenance message on the robot, and I was told that
 15         But in the multi-use arena, instruments          15 he was involved with Intuitive back when that was
 16 are used typically hundreds of times before they're      16 being developed, and he may know how it worked and if
 17 discarded; and so that's not anything unusual in the,    17 it was possible to do that.
 18 you know, laparoscopic or -- or endoscopic space.        18     Q. Who told you that?
 19    Q. Yes. But my question is: How would the             19     A. It was either Mr. Hufstetler or Mr.
 20 surgeon know how many uses -- how many uses a            20 Roberts.
 21 particular instrument had been used in once the          21     Q. Who was the customer?
 22 interceptor was installed?                               22     A. Baylor Scott & White, I think.
 23    A. They track those instruments by serial             23         It was either Baylor Scott & White or
 24 number, and they have that data in their system.         24 Heart & Health. I think it was -- it was one of
 25    Q. They being the surgeons?                           25 those two. Both of them have asked us to do that.
                                                  Page 135                                                     Page 137
  1    A. No. The hospital.                               1 I'm not sure which one preceded the -- the other.
  2    Q. So in -- in your long study of surgical         2    Q. How long did you talk with Mr. Lipson?
  3 practice and all the operating rooms you've been in,  3    A. About 15 minutes.
  4 how many times have you seen a surgeon about to       4    Q. Was there anything about the call that
  5 commence a surgery call up Hospital Records and ask 5 sticks out in your memory?
  6 them to run the serial numbers on a particular piece  6    A. Yeah. I asked him if it was, you know,
  7 of equipment to find out what its history was?        7 possible to remove the -- the message.
  8         Is that something you saw very often?         8        And short answer was no.
  9    A. I -- I can't say that I've seen that. I         9        And then he explained, you know, the
 10 can't say that I've ever seen a surgeon ask how many 10 process that you had to have access to the software
 11 times has any instrument been used ever.             11 on a laptop. It had to connect to like 11 different
 12    Q. Who is Ben Lipson?                             12 boards throughout the systems, the surgeon's console,
 13    A. He's a former Intuitive engineer.              13 and the robot. And had to check and make sure
 14    Q. A friend of yours?                             14 certain, you know, actions had taken place over a
 15    A. No.                                            15 certain period of time.
 16    Q. In -- In approximately the summer of           16        Each board would be reset, and then you
 17 2019, did you call Mr. Lipson?                       17 had to have the -- the software on the laptop go
 18    A. I did.                                         18 through and check each one of those, and then the
 19    Q. Where -- Where was he when you -- you -- 19 message would be removed if all those conditions were
 20 Well, strike that.                                   20 met.
 21         Did you reach him by telephone?              21    Q. Did you say anything in this conversation
 22    A. I did. I think it was through WhatsApp,        22 with Mr. Lipson about hacking into a system?
 23 'cause he was on the other side of the world in      23    A. Never.
 24 Macao.                                               24    Q. Did Mr. Lipson say anything about hacking?
 25    Q. And had somebody given you his phone           25    A. No.

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  1      Q. Did either of you say anything where           1 couldn't be done.
  2 somebody might have misinterpreted the use of the      2         I took it that it couldn't be done; and
  3 word "hacking," like somebody said I have a hacking 3 there was no more discussion about that, that
  4 cough, or I just went to the hardware store, and I     4 particular subject.
  5 bought a hacksaw?                                      5     Q. Did you talk about other subjects?
  6          Was there any use of the word "hack" in       6     A. We talked about the reusing of the
  7 any context in your -- your conversation?              7 instruments and resetting the counter.
  8      A. I'm not aware of that word being used at       8     Q. What did you say about that?
  9 all.                                                   9     A. I think he asked us what, you know, what
 10      Q. Did you ask Mr. Lipson if he could help       10 all were we doing.
 11 you by gaining entry to the Intuitive system?         11         And I just explained to him that we were
 12      A. No. Once he told --                           12 installing a interceptor system that prevented the
 13          MR. BERHOLD: Objection.                      13 instruments from expiring where they could be reused
 14          THE WITNESS: What?                           14 to save the hospital money.
 15          MR. BERHOLD: Sorry. Objection.               15     Q. Was there any discussion between the two
 16          MR. RUBY: What's the --                      16 of you about the difference between training
 17          THE WITNESS: Once he told us --              17 instruments and instruments that were meant to be
 18          MR. RUBY: -- objection?                      18 used in surgery with humans?
 19          What's the objection? If it's to form,       19     A. Oh, that's possible.
 20      maybe I'll rephrase. So what's the objection?    20     Q. What do you remember?
 21          MR. BERHOLD: Oh, sorry, Allen. Are you 21           A. I don't remember that, but I'm sure that's
 22      referring to the -- When you say system, are you 22 likely.
 23      referring to the da Vinci surgical system?       23     Q. What prompts you to think that that was
 24          MR. RUBY: I'm not -- I'm not answering       24 likely when you don't remember what was said?
 25      questions. I'm just trying to do my job.         25     A. Because I've had that conversation with
                                                   Page 139                                                 Page 141
  1         I asked the question. You made an                  1 other people multiple times.
  2     objection. I want to understand what the               2     Q. What did he tell you?
  3     objection is, so maybe I'll rephrase it. I             3     A. He was under the impression that the FDA
  4     don't know what I'll do, but I need -- I want          4 required -- there was an FDA mandate that the
  5     to respect you sufficiently to understand what         5 instruments only be used ten times.
  6     your objection is.                                     6     Q. Did you have any expectation one way or
  7         MR. BERHOLD: Well, let me be more blunt.           7 the other as to whether that the phone conversation
  8     The phrase -- Objection. The phrase "Intuitive         8 you had with Mr. Lipson was being recorded by
  9     system" is vague and ambiguous.                        9 anybody?
 10         MR. RUBY: I withdraw the question.                10     A. No.
 11     Q. (By Mr. Ruby) Did you ask Mr. Parker               11     Q. Did -- In this conversation, did Mr.
 12 (sic) if he would be willing to hack into whatever        12 Lipson tell you that he thought you were being
 13 computer system was responsible for this PMD -- PM        13 unethical in your approach to him?
 14 due message?                                              14     A. I don't recall that at all. No.
 15     A. You said Mr. Parker. So you want to                15     Q. Did you tell Mr. Lipson that you had a
 16 restate the question with the right --                    16 materials expert study the standard instruments and
 17     Q. Sure.                                              17 the training instruments to see whether there were
 18     A. -- name?                                           18 differences between them?
 19     Q. Sure. Did you ask Mr. Lipson if he would           19     A. Probably. Yes.
 20 help you by hacking into the system which was showing     20     Q. Do you remember?
 21 the message PM due?                                       21     A. I don't remember exactly; but, vaguely, as
 22     A. So no, at any time did the word "hack"             22 part of that same conversation, you know, dealing
 23 ever come up. And I did not even ask him for his          23 with, you know, what's the difference between a
 24 help once he described what was required, because it      24 training instrument that can be used a hundred times
 25 was it was a futile effort; and he said it -- it          25 versus a nontraining instrument? Are they made from

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  1 the same materials?                                         1 challenge, is to make sure everybody's doing the best
  2         Rebotix had a materials analysis                    2 they can to provide the right information to the
  3 completed, and they appeared to all be the same             3 right people.
  4 materials.                                                  4          Keep in mind, too, that most of the
  5    Q. Before the lunch break, I was asking you              5 salespeople and distributors either have their own
  6 about -- excuse me -- reps and distributors. Did            6 information or didn't use any at all; and in this
  7 your companies have an employee whose title was sales       7 business, the relationship is the most important
  8 manager or international sales manager or global            8 thing, so, you know, brochures and that sort of thing
  9 sales -- sales manager?                                     9 is -- is almost irrelevant. I don't think we ever
 10         Was there anybody whose job it was to              10 got any customer from a brochure or a website. It's
 11 manage overall the sales effort that was going on for      11 all about those personal relationships.
 12 the companies' products and services?                      12          You know, every sale that I made, you
 13    A. Not employees. But myself and Mills                  13 know, was because I either went to meet with them or
 14 Vautrot handled most of those duties.                      14 talked to them over the phone; and it was, you know,
 15    Q. Were you in -- in function in -- in the              15 discussions, long discussions.
 16 job that you did essentially the salesperson in chief      16          This is not something they decide to do,
 17 for the products and services of Restore Robotics and      17 you know, on a whim and -- And they vet, you know,
 18 Restore Robotics Repair?                                   18 the process. They want to see samples. They want to
 19    A. Yes.                                                 19 have, you know, some testing done. They want to do
 20    Q. And were you, as the salesperson in chief,           20 whatever they want to do.
 21 closely connected to the -- the sales efforts that         21          And, of course, we, you know, give them
 22 were going on, on behalf of the companies by both of       22 that opportunity and ability to -- to look at
 23 reps and distributors?                                     23 everything and make their decisions. I mean,
 24    A. I was familiar with most of them; but, you           24 they're -- they're the arbiters of what's safe and
 25 know, with that many, I was not in touch with all of       25 what's an acceptable risk. So the hospitals and the
                                                    Page 143                                                  Page 145
  1 them on a day-to-day basis, but on a -- an occasional       1 doctors, typically, that's a multi-pronged approach.
  2 basis; and Mills handles a lot more of the day-to-day       2 It's not just, hey, look, there's a cool brochure.
  3 interaction with those reps and distributors.               3 Let's do this. It didn't work that way.
  4    Q. Did your companies, did Restore Robotics              4         It's a -- It's a long process for them to
  5 and Restore Robotics Repair, provide sales materials        5 make that decision, and they ask a lot of questions
  6 to be used by the distributors and reps?                    6 and -- And they want to see things and make those
  7    A. Yes.                                                  7 decisions for themselves.
  8    Q. And did you mainly -- Not always, but                 8     Q. Well, for the reasons you just indicated,
  9 mainly, when you could, approve or disapprove the           9 did you try to provide information to the potential
 10 content of the sales materials that were being sent        10 decision makers in hospitals?
 11 out to the people in the field?                            11     A. Sure. If they requested, absolutely.
 12    A. Yes.                                                 12     Q. And did you try to provide information to
 13    Q. Was it very important to you at all, the             13 surgeons who might be users of the da Vinci surgical
 14 sales materials that the company furnished to the          14 system?
 15 reps and distributors were accurate?                       15     A. Yes.
 16    A. Yes.                                                 16     Q. And did you want to be sure that the
 17    Q. And then you personally would not tolerate           17 information you provided to the executives and
 18 any inaccurate information going out to the reps and       18 hospitals and -- and to doctors was accurate?
 19 distributors or to anybody if it pertained to the          19     A. Of course.
 20 goods and services offered by Restore Robotics; is         20     Q. And -- and is it a -- a -- Strike that.
 21 that true?                                                 21         Now was your company sometimes asked by
 22    A. Well, I would, obviously, love to have,              22 prospective customers and/or reps, distributors to
 23 you know, everything to be exact all the time. When        23 furnish estimates or proposals regarding the -- the
 24 you're dealing with, you know, a fast-moving               24 price, the cost of the interceptor system?
 25 organization, you know, that becomes your -- your          25     A. Certainly. So that was, you know, part of

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  1 our process, which was to, you know, start with that  1 is -- is that right?
  2 universe of, you know, here's all the robots out      2     A. Yes.
  3 there; and then it's, you know, them analyzing their  3     Q. And those were da Vinci instruments. Is
  4 existing usage of the instruments; and then we would 4 that so?
  5 generate a proposal. Sometimes written.               5     A. I don't know that they were all da Vinci
  6         Sometimes they would just tell us, hey, we    6 instruments. Probably, but I -- I don't --
  7 use about 150 instruments a year. You know, what's 7             Now I don't know where that graphic came
  8 that look like? Sometimes it's more detailed, and so  8 from.
  9 that would whittle down to the next level of, you     9     Q. Was this graphic we're looking at a -- an
 10 know, potential customer.                            10 advertising brochure for Restore Robotics?
 11         And then some of those would become          11     A. Yes.
 12 customers. Some of those did not become customers. 12       Q. Did anybody from da Vinci ever, to your
 13 Because as they started having conversations with    13 knowledge     -- Strike that.
 14 Intuitive, they would tell them, you know, things    14          Did anyone from Intuitive Surgical, to
 15 like if you do that, you know, you're -- you're      15 your knowledge, ever give permission to Restore
 16 cutting yourself off. We're not going to provide you 16 Robotics to use images of Intuitive products in
 17 any support. We're not going to train your doctors. 17 advertising brochures?
 18 We're not going to sell you any more equipment.      18     A. I'm not aware of that.
 19 We're abandoning you. We're going to, you know, try 19      Q. Did you ever ask for that permission?
 20 to convince the doctors to go to other hospitals.    20     A. I did not.
 21         So lots of tactics and techniques to try     21     Q. Did you ever instruct anyone in your
 22 to prevent people from taking that -- that next step 22 organization who asked for that permission?
 23 to -- to actually doing business with us.            23     A. I did not.
 24         MR. RUBY: Could we have please Bates Nos. 24        Q. Let's go now to Page 30213.
 25     30213 to 30215 marked as the -- an exhibit.      25          Now it says right at the top that this was
                                                 Page 147                                                  Page 149
  1        THE CONCIERGE TECH: Sure. Please stand            1 a confidential proposal.
  2    by.                                                   2         Do you see that?
  3        MR. RUBY: We got it or -- or --                   3     A. Yes.
  4        THE CONCIERGE TECH: It's in the process           4     Q. Did -- The fact that it was a
  5    of introducing now.                                   5 confidential proposal, does this tell us in and of
  6        MR. RUBY: All right.                              6 itself whether the recipient of the proposal was
  7        THE CONCIERGE TECH: I've got to put a             7 already a customer of -- of Restore Robotics or was
  8    stamp on it, though.                                  8 not a customer or you can't tell from that
  9        And, Doug, it looks like it starts with           9 designation?
 10    3 -- with number 10 on the end, the 30210.           10     A. I can't tell from that designation. I'm
 11        MR. DeBAUGH: Yeah.                               11 assuming from the word "proposal" it means they're
 12        THE CONCIERGE TECH: And it's a six-page          12 not a customer at this time.
 13    document?                                            13     Q. All right. Now would you look at the --
 14        MR. DeBAUGH: Yeah.                               14 the first paragraph that begins, "This Confidential
 15        THE CONCIERGE TECH: Okay. Just wanted to         15 Proposal..."
 16    make sure.                                           16         Did you approve this language in order to
 17        (Exhibit 4 was marked for identification.)       17 give the impression that the services of Restore
 18        THE CONCIERGE TECH: All right. And the           18 Robotics would be taking -- taking place in a
 19    document is now up.                                  19 facility that was built or owned or managed by
 20    Q. (By Mr. Ruby) All right. Let's go to              20 Restore Robotics?
 21 Page 30213.                                             21     A. That's not what that first sentence means
 22        I'm sorry. Let's -- Let's back up one to         22 at all.
 23 Page 212.                                               23         MR. RUBY: Could you go down, please.
 24        This page we're looking at now has a             24     Q. (By Mr. Ruby) Beneath that, there's some
 25 picture of some portions of some instruments on it;     25 Letters A, B, C, D and so forth. Could you look at

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  1 B, please. It says, "Sharpening of EndoWrist           1     Q. Did -- Did you get any takers? Did --
  2 Instruments."                                          2 Did any hospitals take you up on that?
  3    A. Yes.                                             3     A. I'm not sure. I don't think we had the
  4    Q. And it says, "EndoWrist scissor blades can       4 opportunity. I'm not sure the date of this, you
  5 become too dull to operate effectively before their    5 know, document; but like I said earlier, we didn't
  6 10th use." And then there's another sentence.          6 get very far into the business before everyone was,
  7        But stopping after "10th use," do you see       7 you know, shut down.
  8 that?                                                  8         I'm sure there were sharpening of
  9    A. I do.                                            9 instruments. You have to verify it with Mr. May. I
 10    Q. Who told you that?                              10 don't know if that was done as a separate service
 11    A. Surgeons --                                     11 or -- or as part of -- just as part of a resetting of
 12    Q. Did they tell you once or were --               12 the instrument during that testing and inspection
 13    A. -- and other hospital personnel.                13 process.
 14    Q. Excuse me. I didn't mean --                     14     Q. Well, was the sharpening of instruments by
 15    A. I heard that multi --                           15 Restore done in accordance with any specifications
 16    Q. Have you --                                     16 for sharpness that were associated with a particular
 17    A. I heard that multiple times.                    17 type of instrument?
 18    Q. Have -- Have you finished your answer?          18     A. That'd be a question for Mr. May.
 19    A. Yes.                                            19     Q. You don't know?
 20    Q. All right. So you've been told numerous         20     A. I believe it was, but I don't know the --
 21 times by, I -- I think you said, surgeons and         21 the exact specifications.
 22 hospital personnel that "EndoWrist scissor blades can 22     Q. Well, I didn't ask you for exact
 23 become too dull to operate effectively before their   23 specifications.
 24 10th use," closed quote.                              24         My question is: Were the sharpening of
 25        That was what you'd been told over the         25 instruments, when it happened, undertaken by Restore
                                                Page 151                                                 Page 153
  1 years many times -- yes?                              1 Robotics according to some specifications?
  2     A. Yes.                                           2    A. Yes.
  3     Q. What, if anything, were the installers of      3    Q. And whose specifications were those?
  4 the interceptor technology telling you about whether 4     A. That'd be a question for Mr. May.
  5 or not the instruments that they were installing the  5    Q. Do you know?
  6 interceptor on appeared to be too dull to operate     6    A. I do not.
  7 effectively?                                          7    Q. Now would you look please at Page 30215.
  8     A. I did not have conversations directly with     8 You see that?
  9 the employees about that subject. Kevin May would 9        A. Yes.
 10 have had those conversations.                        10    Q. Does this appear to you to be part of a
 11         MR. RUBY: You -- If you'd turn the page,     11 confidential proposal to a prospective customer?
 12     please.                                          12    A. Yes.
 13     Q. (By Mr. Ruby) It says, "PRICING AND           13    Q. Now it -- it -- Help me to understand
 14 TERMS."                                              14 this, please. Across the top, there are column
 15         Do you see that?                             15 headings -- model number, usages.
 16     A. Yes.                                          16         The model numbers were Intuitive's model
 17     Q. And the first item under that is, quote,      17 number associated with a particular instrument; is
 18 "Sharpening of EndoWrist Instrument."                18 that true?
 19         Do you see that?                             19    A. That's correct.
 20     A. Yes.                                          20    Q. And the usages were the usage limitations
 21     Q. And this offers to provide sharpening,        21 that Intuitive had established for these particular
 22 including a rigorous inspection and testing and      22 instruments. Is that so?
 23 aligning and tightening for $375 per instrument.     23    A. Correct.
 24         Do you see that?                             24    Q. And then there's something called the "Da
 25     A. Yes.                                          25 Vinci Published Price." Yes?

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  1     A. Yes, sir.                                          1 else.
  2     Q. And -- And is that what it sounds like.            2         This dollar savings is reflective of just
  3 Da Vinci had published the -- the price for               3 what it says. The da Vinci published price is 2,000.
  4 acquisition of -- the unit price for acquisition of       4 If you do a Robotic -- Restore Robotics' repair, it's
  5 these particular instruments -- yes?                      5 1500. That's -- You'll save $500, if you do the
  6     A. Yes.                                               6 repair --
  7     Q. To your knowledge, were these instruments          7     Q. Well, was the --
  8 also available in 1918, (sic) 1990 (sic) at lesser        8     A. -- through Restore Robotics.
  9 prices from other sources?                                9     Q. Excuse me. I'm sorry to interrupt you.
 10     A. I don't know that I understand the                10     A. I'm sorry.
 11 question. Are you saying did someone offer --            11     Q. Have you finished?
 12         Well, restate the question.                      12     A. Yeah. I'm finished.
 13     Q. Well, to your knowledge, weren't these            13     Q. The 25-percent figure, using the first row
 14 particular instruments available from sources other      14 in -- in this little chart, 25 percent represents the
 15 than Intuitive at a lower price?                         15 difference between what you're calling the da Vinci
 16     A. Occasionally.                                     16 published price and the Restore Robotics repair fee
 17     Q. Well, you're in the parts business now,           17 and the difference between $2,000 and $1500 is indeed
 18 aren't you?                                              18 25 percent, right?
 19     A. Yes.                                              19     A. Correct.
 20     Q. Does your company which bears your name           20     Q. If the customer decided that it wanted to
 21 sell some or all of these instruments at prices less     21 see if it could get a better price for a particular
 22 than what's on here as the da Vinci published price?     22 da Vinci procedure or a instrument and located the
 23     A. Yes. I thought you meant in -- in --              23 instrument maybe from you for the -- a price of,
 24 outside of our companies.                                24 let's say, $1900, then the percentage saving would be
 25     Q. Oh. Your -- Your companies had sources            25 less than 25 percent, wouldn't it?
                                                  Page 155                                                      Page 157
  1 and means by which you were able to offer these           1     A. But you're again conflating two different
  2 instruments, at -- at least most of them, if not all,     2 things, that one has nothing to do with the other.
  3 at a lower than da Vinci's published price; is that       3         This is strictly talking about repairs.
  4 true?                                                     4 This is not talking about how much can you save if
  5     A. Yes.                                               5 you did something totally different. This is talking
  6     Q. And -- And then the next column is                 6 about how much can you save if you did the repair
  7 "Restore Robotics Repair Fee." What -- What is            7 fee.
  8 that?                                                     8     Q. But save from what?
  9     A. That's how much Restore Robotics would             9     A. From -- Every customer thought it was
 10 charge to repair the instrument.                         10 pretty self-explanatory that that dollar savings is
 11     Q. And repair is your description of the             11 how much they would save if they use Restore Robotics
 12 installation of the interceptor technology; is that      12 Repairs versus buying a new da Vinci instrument.
 13 right?                                                   13     Q. Okay. Now percentage saved, we -- we
 14     A. Correct.                                          14 touched on that. Dollar savings, I understand what
 15     Q. And -- And then there's a column it calls         15 you're saying.
 16 dollar -- It's called "Dollar Savings"; is that          16         "Units Ordered," do you see that?
 17 right?                                                   17     A. Yes.
 18     A. Yes.                                              18     Q. What does that signify?
 19     Q. Now the dollars savings number is not an          19     A. That's the number of instruments that
 20 accurate number if you assume that the customer          20 either the salesperson put in the system or the
 21 actually will go ahead and buy an instrument from one    21 customer told them to put in the system to see how
 22 of the sources other than da Vinci, right?               22 many they potentially wanted to have done over X
 23     A. You're making a -- a leap there. This is          23 period of time, so we don't know what -- I don't
 24 talking about doing a repair, and you're conflating      24 know what that particular conversation was like.
 25 that with someone buying an instrument from somewhere    25         If they put in, you know, we're going to

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                             EXHIBIT 15

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
                      STATEMENTS
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 1                        UNITED STATES DISTRICT COURT
 2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                          SAN FRANCISCO DIVISION
 4
         IN RE: DA VINCI SURGICAL      )
 5       ROBOT ANTITRUST LITIGATION    ) Case No.:
         _____________________________ ) 3:21-cv-03825-VC
 6       THIS DOCUMENT RELATES TO:     )
         ALL CASES                     ) Pages 1 to 205
 7       _____________________________ )
         SURGICAL INSTRUMENT SERVICE   )
 8       COMPANY, INC.,                )
                                       )
 9                  Plaintiff,         )
                                       )
10             vs.                     )
                                       )
11       INTUITIVE SURGICAL, INC.,     )
                                       )
12             Defendant.              )
         ______________________________)
13
14
15                               DEPOSITION OF:
16                        CLIFTON EARL PARKER, VOLUME I
17                          TUESDAY, OCTOBER 25, 2022
18                       9:08 a.m. Eastern Daylight Time
19
20       REPORTED BY:
21       Vickie Blair
22       CSR No. 8940, RPR-CRR
23       JOB NO. 5541122
24
25       PAGES 1 - 207

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 1   Deposition of CLIFTON EARL PARKER, the witness, taken on
                                                                          1                 INDEX
 2   behalf of the Defendant, on Tuesday, October 25, 2022,
 3   9:08 a.m. Eastern Daylight Time, before VICKIE BLAIR,                2
 4   CSR No. 8940, RPR-CRR.
                                                                          3 WITNESS             EXAMINATION                    PAGE
 5
 6   APPEARANCES OF COUNSEL VIA ZOOM:                                     4   CLIFTON EARL PARKER
 7                                                                        5               (MS. WINNER)               8
 8   FOR THE WITNESS:
 9       JEFFREY L. BERHOLD, P.C.                                         6               (MR. CORRIGAN)              128
         BY JEFF L. BERHOLD, Partner                                      7               (MR. McCAULLEY)                172
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         Suite 1050                                                       8               (MS. WINNER)              175
11       Atlanta, Georgia 30309                                           9               (MR. CORRIGAN)              193
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12       jeff@berhold.com                                                10               (MS. WINNER)              197
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     SERVICE CO. INC.:
14                                                                       12                LUNCH RECESS
         HALEY GUILIANO LLP                                              13                 Page 127
15       BY RICHARD T. MCCAULLEY, Partner
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16       Suite 900                                                       15               INFORMATION REQUESTED
         San Jose, California 95113
17       +1 669 213 1071                                                 16                  None
         richard.mccaulley@hglaw.com                                     17     QUESTIONS INSTRUCTED BY COUNSEL NOT TO ANSWER
18
         HALEY GUILIANO LLP                                              18                  None
19       BY DONNY K. SAMPORNA, Associate                                 19
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20       Suite 900
         San Jose, California 95113                                      21 EXHIBIT NO. PAGE DESCRIPTION
21       +1 669 213 1080
                                                                         22 Exhibit 121     19 Email with attachments, Bates
         donny.samporna@hglaw.com
22                                                                       23               numbers Restore-00094918 through
23
                                                                         24               Restore-00094956
24
25                                                                       25
                                                                Page 2                                                                    Page 4
  1 APPEARANCES OF COUNSEL VIA ZOOM: (Continued)
  2 FOR DEFENDANT INTUITIVE SURGICAL, INC.:
                                                                          1           E X H I B I T S (Continued)
  3     COVINGTON & BURLING LLP                                           2 EXHIBIT NO. PAGE DESCRIPTION
        BY SONYA D. WINNER, Partner
  4     415 Mission Street                                                3 Exhibit 122 56 Email with attachments, Bates
        Suite 5400
  5     San Francisco, California 94105-2533                              4             numbers Restore-00094567 through
        +1 415 591 7072                                                   5             Restore-00094586
  6     swinner@cov.com
  7     COVINGTON & BURLING LLP                                           6 Exhibit 123 63 Email with attachment, Bates
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        abobrow@cov.com                                                   9 Exhibit 124 81 Email chain, Bates numbers
 10
    INTERIM CO-LEAD COUNSEL FOR THE PROPOSED CLASS:                      10             Restore-00091370 through
 11                                                                      11             Restore-00091410
        SPECTOR ROSEMAN & KODROFF, P.C.
 12     BY JEFFREY L. SPECTOR, Partner                                   12 Exhibit 125 84 Letter to Rick Ferreira from Mark
        2001 Market Street
 13     Suite 3420                                                       13             Trumbore dated September 30, 2022,
        Philadelphia, Pennsylvania 19103
 14     P: 215-496-0300
                                                                         14             with attachment titled
        jspector@srkattorneys.com                                        15             "Indications for Use"
 15
        SPECTOR ROSEMAN & KODROFF, P.C.                                  16 Exhibit 126 92 Email chain with attachments,
 16     BY JEFFREY J. CORRIGAN, Partner
        2001 Market Street
                                                                         17             Bates numbers Restore-00094344
 17     Suite 3420                                                       18             through Restore-00094351
        Philadelphia, Pennsylvania 19103
 18     P: 215-496-0300                                                  19 Exhibit 127 94 Email chain with attachments,
        jcorrigan@srkattorneys.com
 19
                                                                         20             Bates numbers Restore-00091178
    ALSO PRESENT:                                                        21             through Restore-00091184
 20
        RAMON A. PERAZA, Videographer                                    22 Exhibit 128 96 Email, Bates number
 21
 22
                                                                         23             Restore-00091362
 23                                                                      24
 24
 25                                                                      25
                                                                Page 3                                                                    Page 5

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  1         The only difference between the Si and the 11:38:34                   1 so if it includes more than just the -- the end piece       11:42:03
  2 Xi is that housing, the Xi is rotated 90 degrees. The 11:38:37                2 of the development of the Xi reader, then please             11:42:06
  3 Si instrument connects to the robot with four contact          11:38:46       3 describe that.                                11:42:09
  4 pins, whereas the Xi connects via RFID, so the only            11:38:50       4       A    Okay.                              11:42:09
  5 real difference is the difference between four pogo          11:38:58         5           MS. WINNER: Object. Object to the form.             11:42:11
  6 connector pins and RFID for communication between the               11:39:00 6 If there is a question in there.                   11:42:13
  7 counter and the robot arm.                          11:39:07                  7           MR. CORRIGAN: I said to please describe,             11:42:17
  8     Q     What, if any, affirmative actions did         11:39:10              8 so you asked me a question, you just want to talk about 11:42:18
  9 Restore take to engage in the repair of the X and Xi         11:39:14         9 the ultimate, sort of last end change development of           11:42:23
 10 EndoWrists?                                  11:39:18                        10 the Xi reader, and I'd asked you if you could, could          11:42:26
 11     A     We started in 2020, I believe. The first       11:39:18            11 you please describe the entirety of the development of 11:42:31
 12 thing we did is we hired Marcus Engineering, through             11:39:25    12 the Xi reader, including the last piece.                 11:42:35
 13 Innovative, to -- to go to a robot at a hospital and do 11:39:33             13           MS. WINNER: Object to the form.                  11:42:37
 14 an analysis to see if they were able to capture that       11:39:39          14           THE WITNESS: So basically the first step           11:42:38
 15 RFID communication between the instrument and the                  11:39:48 15 was hiring Marcus Engineering to do the analysis to see 11:42:40
 16 robot, and that was the first element, and that was        11:39:52          16 if the data could be collected between the instrument          11:42:44
 17 successful.                                11:39:53                          17 and the reader.                                11:42:51
 18         Then the -- the next project was to start       11:39:55             18           The second was there was some additional           11:42:52
 19 developing the reader to be able to read how many lives 11:40:03             19 analysis on what's the -- the best approach to go about 11:42:58
 20 and to read all the data about that instrument, which        11:40:06        20 doing that.                                   11:43:01
 21 was the model number, the serial number, the version            11:40:09     21           Then the robot, it -- the actual          11:43:02
 22 number, and how many lives it had, so we were able to            11:40:13    22 acquisition of the robot itself.                   11:43:09
 23 decrypt that data and -- and read that data, which is      11:40:19          23           And then paying for the -- the -- the         11:43:10
 24 the next step to being able to now change that data and 11:40:22             24 development of the product that we call the reader.            11:43:14
 25 put it back on the instrument.                      11:40:28                 25           And then the -- what we're calling the --       11:43:19
                                                                     Page 134                                                                        Page 136

  1     Q     How much money did it take you to develop, 11:40:31                 1 the Xi development, that's been multiple phases, so I          11:43:26
  2 and when I say "you," I meant Restore, how much money               11:40:34 2 don't have the numbers in front of me, but you're             11:43:30
  3 did it take Restore to develop the Xi reader?             11:40:37            3 talking 1.3 million, 1.4 million, in that range.           11:43:34
  4     A     Oh, gosh, I don't recall exactly, but I     11:40:42                4 BY MR. CORRIGAN:                                         11:43:38
  5 want to say greater than $50,000.                     11:40:53                5       Q    Would that include the purchase of the          11:43:39
  6     Q     I believe earlier with -- oh, I'm sorry, I 11:40:57                 6 robot?                                       11:43:41
  7 believe earlier with -- in response to Ms. Winner, you 11:41:00               7       A    Yes.                              11:43:41
  8 mentioned that you -- Restore had bought an Xi robot;           11:41:03      8           That does not include any of our personal        11:43:42
  9 is that correct?                           11:41:06                           9 time, that's just either our money out of pocket and/or 11:43:45
 10     A     Yes.                            11:41:06                           10 the -- the equity for the robot.                   11:43:51
 11     Q     Would that have been another --               11:41:06             11       Q    Why did you purchase the Xi robot?               11:43:56
 12     A     Let me rephrase that.                 11:41:10                     12       A    So we needed to be able to utilize the         11:44:00
 13         We did not outright purchase it, but in         11:41:11             13 robot for a couple things, number one, to make sure            11:44:03
 14 exchange for ownership and the value of that is in           11:41:15        14 that what we're doing actually works, and -- and works 11:44:05
 15 excess of a million dollars.                      11:41:18                   15 safely, and part of the 510K process, you have to            11:44:11
 16         Now let me get you to restate the question 11:41:25                  16 utilize the instrument on the robot, so there's a lot       11:44:19
 17 so I understand. Are you asking for the reader             11:41:28          17 of testing, utilizing the instrument on the robot          11:44:23
 18 specifically or all the develop efforts to get to the     11:41:30           18 and -- and electrical safety testing with the             11:44:29
 19 point of the reader?                          11:41:35                       19 instrument connected to the robot.                       11:44:33
 20     Q     Well, the overall theme of my question in        11:41:37          20       Q    Do you know what an Xi cap removal machine 11:44:35
 21 this area are affirmative acts that you took to enter      11:41:40          21 is?                                      11:44:38
 22 the Xi repair business, so I think that, to answer your 11:41:46             22       A    Yes.                              11:44:38
 23 question, everything that went into your -- anything           11:41:49      23       Q    What is that?                        11:44:38
 24 that went into your ability to enter the X and Xi          11:41:57          24       A    That's a -- a device that was developed to 11:44:41
 25 business, including the development of the Xi reader,          11:42:01   25 remove the outer cover or cap to be able to get access 11:44:46
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  1 to the inside.                            11:44:53                           1      A     We have lots of prospective customers that 11:47:58
  2     Q     Does Restore have one of those?              11:44:55              2 we could sign contracts with, but we have not done so                   11:48:01
  3     A     I think we have two.                     11:44:58                  3 at this point cause it's futile until we get some sort 11:48:04
  4     Q     How did you come across -- how did you              11:45:00       4 of relief from Intuitive blocking.                         11:48:07
  5 come to acquire those?                             11:45:03                  5      Q     What makes you think you could sign                    11:48:10
  6     A     Kevin was involved in that process, and I      11:45:04            6 contracts with those customers if it weren't futile?              11:48:12
  7 think that one of -- I'm not a hundred percent sure,      11:45:12           7      A     They've told us they would sign contracts              11:48:15
  8 but I think Rick's team, Alliance Healthcare, had the         11:45:19       8 with us tomorrow and do business with us tomorrow.                      11:48:17
  9 resource to have that developed.                     11:45:23                9           And some of -- some of the hospitals,                11:48:20
 10     Q     Did you secure any additional facilities      11:45:24            10 there's no -- they don't sign contracts, they just              11:48:22
 11 or space in order to repair X and Xi EndoWrists?              11:45:31      11 issue work. This is a -- it's not like you're buying a 11:48:26
 12     A     We did. We bought a building in Las            11:45:37           12 $4 million, you know, MRI machine, they say, "Hey, can 11:48:30
 13 Vegas.                                    11:45:40                          13 you repair this instrument?" It -- you know, we say                  11:48:35
 14     Q     How many square feet is that? Do you            11:45:40          14 it's $1,800 to repair this instrument, we send them an 11:48:38
 15 know?                                     11:45:42                          15 invoice, they pay us, or they send us a purchase order, 11:48:43
 16     A     I don't know, I'm going to guess 3200,        11:45:42            16 we send them an invoice, and they pay us. So it's                    11:48:49
 17 that's a guess, I don't re- -- I don't remember.        11:45:49            17 not -- there's not a need for a big long contract               11:48:51
 18     Q     Approximately how much money would you say 11:45:52 18 typically.                                                     11:48:53
 19 that you spent on developing the technology to enter           11:45:57     19           Some hospitals do want an overarching                 11:48:54
 20 the Xi -- the X and Xi repair business?                11:46:02             20 contract, if they have multiple facilities, to be able 11:48:57
 21     A     Well, if you count the building, if you       11:46:06            21 to maintain consistent pricing, which is not an issue                11:49:03
 22 count all the different components, it's going to be      11:46:08          22 with us because we have consistent pricing no matter                   11:49:07
 23 two million plus.                            11:46:16                       23 who the hospital facility is.                         11:49:11
 24     Q     Please describe -- you've already sort of     11:46:18            24      Q     And you mentioned a moment ago other types 11:49:12
 25 covered it, but please describe Restore's ability to      11:46:21      25 of contracts with other types of entities other than                  11:49:14
                                                                   Page 138                                                                               Page 140

  1 finance the business of repairing X and Xi EndoWrists. 11:46:26              1 customers; correct?                            11:49:19
  2     A     Well, all the money so far that's gone --     11:46:30             2     A     Yes.                          11:49:20
  3 gone into the development has been investment by myself 11:46:38 3                 Q     What types of contracts are those?         11:49:20
  4 and Kevin May mostly.                               11:46:42                 4     A     All we have right now is verbal agreements 11:49:21
  5          So we've purchased the building; we've         11:46:46             5 with Alliance Healthcare.                        11:49:26
  6 paid Alliance; we've paid Marcus Engineering; we've             11:46:49     6          We do have a written statement of work,       11:49:27
  7 paid attorneys to do legal analysis, both on the         11:46:53            7 SOWs with Marcus Engineering to do development work, so 11:49:34
  8 digital copyrights, we've filed for patents, paid        11:47:00            8 those are signed agreements.                      11:49:38
  9 patent attorneys, and that's been money out of pocket. 11:47:05              9          We -- we have a distribution agreement       11:49:41
 10          So we have not brought in any investors        11:47:10            10 with Medline that covers both the Si and Xi sales and        11:49:49
 11 for the cash portion of the business, so I have the       11:47:13          11 distribution.                            11:49:55
 12 funds and Kevin has the funds to do so.                 11:47:18            12     Q     Uh-huh.                         11:49:59
 13     Q     Please describe any actual prospective        11:47:20            13     A     That's currently in place right now.       11:50:01
 14 signing of contracts in connection with engaging in the 11:47:24            14     Q     How confident are you that, you being           11:50:04
 15 repair -- the X and Xi EndoWrists repair business?             11:47:29     15 Restore, and its tech partners will be able to come up 11:50:07
 16          MS. WINNER: Objection to form.                  11:47:34           16 with the technology to bypass the X and the Xi chip?         11:50:10
 17          THE WITNESS: Hmm.                            11:47:39              17     A     Extremely.                       11:50:13
 18          MS. WINNER: Vague and ambiguous.                     11:47:39      18          MS. WINNER: Objection. Form. Lack of               11:50:14
 19          THE WITNESS: Are you asking about                    11:47:40      19 foundation.                               11:50:21
 20 contracts with customers or development contracts or            11:47:43    20          THE WITNESS: I'm extremely confident, I'm 11:50:21
 21 all of the above?                           11:47:47                        21 a hundred percent confident.                      11:50:25
 22 BY MR. CORRIGAN:                                      11:47:49              22 BY MR. CORRIGAN:                                    11:50:26
 23     Q     Oh, let's start with customers, do you       11:47:50             23     Q     Where does that confidence come from?            11:50:26
 24 have any prospective customers that you can sign               11:47:51     24     A     Our partners have been in this business      11:50:29
 25 contracts with engaged in the X and Xi business?              11:47:55    25 for 20 some odd years, they've done much more                 11:50:30
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  1 complicated systems by Johnson & Johnson, Bausch +                11:50:33    1 felt that, you know, we would have easily met the --         11:53:57
  2 Lomb, Webster, and many other large companies that have 11:50:39 2 January 2022 as a -- the time frame when we would be                           11:54:05
  3 more complicated technology, and they've been able to            11:50:46     3 able to be in the market and have the chip completed         11:54:07
  4 defeat those technologies and reprocess, remanufacture 11:50:53               4 and ready to go.                              11:54:17
  5 those devices, and so --                      11:50:59                        5 BY MR. CORRIGAN:                                       11:54:18
  6         And then, secondarily, the Xi is extremely 11:51:02                   6     Q      I asked you a similar question, but this     11:54:18
  7 similar to the Si with one exception, and that's RFID        11:51:07         7 one's a little different: How much do you estimate it 11:54:20
  8 versus direct contact, so everything else is pretty      11:51:14             8 cost Restore to develop the technology to bypass the S 11:54:22
  9 simple, it's just a -- you know, taking the time,       11:51:17              9 and Si chip?                                11:54:26
 10 putting the manpower on it.                         11:51:22                 10     A      I think we're in the $1.2 million range.     11:54:27
 11         So we're extremely, extremely confident we 11:51:23                  11     Q      And is it fair to say that you would have     11:54:33
 12 can do it, and they've told us as much.               11:51:27               12 spent or you have spent an extra two plus million           11:54:35
 13     Q    When did Restore first consider repairing       11:51:30            13 dollars in addition to that to develop capabilities for 11:54:39
 14 Xi and X compatible EndoWrists, roughly?                   11:51:33          14 the X and Xi chip? Is that right?                     11:54:43
 15     A    We were first contacted by Rebotix, or         11:51:38             15         MS. WINNER: Object -- objection. Form of 11:54:44
 16 Kevin and Rebotix met, and I believe it was -- it was        11:51:44        16 the question. Leading.                          11:54:47
 17 April of 2018, and then sometime between April 2018 and 11:51:48 17                     THE WITNESS: I wouldn't say it exactly             11:54:49
 18 October '18, we had the discussions with Rebotix to be 11:51:53              18 that way because like a -- you know, we spent $400,000 11:54:55
 19 their repair center.                       11:52:01                          19 to buy a building, and that building will be used for       11:55:00
 20         So we were doing -- we started doing the        11:52:02             20 both Xi and Si. Now, I didn't count that, the            11:55:02
 21 repairs for their customers, our customers, and any        11:52:04          21 building, in the Si development costs, so that -- but      11:55:07
 22 other distributors starting in October of 2018.         11:52:09             22 easily $3 million for both Xi and Si combined.             11:55:17
 23         And then December of 2019, I think, is          11:52:14             23 BY MR. CORRIGAN:                                       11:55:24
 24 when we undertook our development efforts to develop             11:52:21 24        Q      Now, you -- you were asked this in some         11:55:25
 25 our technology. I think we got our first chips, our       11:52:25     25 respects by Ms. Winner earlier, but I'm going to try to 11:55:28
                                                                  Page 142                                                              Page 144

  1 first boards developed and completed in June -- I         11:52:35            1 ask it again: How long did it take, roughly, for          11:55:33
  2 believe June of 2020.                         11:52:39                        2 Restore to develop the technology to bypass the S and            11:55:35
  3     Q    Uh-huh.                           11:52:41                           3 Si chip?                                  11:55:41
  4         MS. WINNER: Could I ask to have that              11:52:43            4     A      A few months, so I think we started in        11:55:42
  5 question reread, please.                      11:52:44                        5 early 2022 and we were done by mid 2022.                    11:55:48
  6         MR. CORRIGAN: Why is that?                      11:52:48              6     Q      Are you planning to license your             11:55:52
  7         MS. WINNER: I -- I think you may have             11:52:50            7 technology in that respect as did Rebotix?               11:55:57
  8 misheard it, I could be wrong, but I'd like to hear it 11:52:53               8     A      Not in the same manner. So we're              11:56:01
  9 back, maybe I misheard it.                        11:52:55                    9 primarily utilizing very large distributors, so we        11:56:06
 10         MR. CORRIGAN: I guess go ahead and read                11:53:01      10 haven't finalized what that looks like yet, so we're       11:56:16
 11 the question, please, although it's already been         11:53:03            11 waiting, you know, on a number of things, what's our             11:56:21
 12 answered.                                 11:53:06                           12 actual costs, our arrangement with Alliance, et cetera, 11:56:23
 13             (Record read as follows:            11:53:06                     13 but -- but our plan is not to do like Rebotix and have 11:56:30
 14             "Q When did Restore first consider 11:53:06                      14 a lot of little mom and pops out there being             11:56:37
 15         repairing Xi and X compatible EndoWrists,         11:53:06           15 distributors.                              11:56:41
 16         roughly?")                        11:53:28                           16     Q      Who owns the technology that allows the          11:56:41
 17 BY MR. CORRIGAN:                                      11:53:28               17 EndoWrist usage counter to be reset?                    11:56:46
 18     Q    Mr. Parker, when would Restore have begun             11:53:29      18         MS. WINNER: Objection to form. Vague.                11:56:48
 19 to repair X and Xi compatible EndoWrists in a world            11:53:31      19         THE WITNESS: Restore Robotics Repair --              11:56:53
 20 without Intuitive's anticompetitive behavior?            11:53:34            20 Restore Robotics Repairs and Restore Robotics have               11:56:58
 21         MS. WINNER: Object to form and lack of             11:53:37          21 founded all those efforts. Right now, the 510K is in        11:57:01
 22 foundation.                               11:53:41                           22 the name of Iconocare, but all the development efforts, 11:57:10
 23         THE WITNESS: So we -- we started in 2020, 11:53:41                   23 at least for the Si, were all paid for by Restore        11:57:15
 24 I guess we, in a -- in a but-for world, if that's what 11:53:52              24 Robotics.                                  11:57:22
 25 you want to call it, we would have started in 2019, we 11:53:55   25 ///                                          ///
                                                             Page 143                                                                                 Page 145

                                                                                                                            37 (Pages 142 - 145)
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                             EXHIBIT 16

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
                      STATEMENTS
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 1                    UNITED STATES DISTRICT COURT
 2                   NORTHERN DISTRICT OF CALIFORNIA
 3
 4      IN RE: DA VINCI SURGICAL ROBOT ) Lead Case No.:
        ANTITRUST LITIGATION            ) 3:21-cv-03825-VC
 5      _______________________________ )
                                        )
 6      THIS DOCUMENT RELATES TO:       )
        ALL ACTIONS                     )
 7                                      )
        _______________________________ )
 8      SURGICAL INSTRUMENT SERVICE     ) Case No.
        COMPANY, INC.,                  ) 3:21-CV-03496-VC
 9                                      )
                 Plaintiff,             )
10                                      )
                 vs.                    )
11                                      )
        INTUITIVE SURGICAL, INC.,       )
12                                      )
                 Defendant.             )
13      _______________________________ )
14
15              VIRTUAL VIDEOCONFERENCE VIDEO-RECORDED
16                      DEPOSITION OF KEVIN MAY
17
18                   Thursday, November 3, 2022
19        Remotely Testifying from Yorba Linda, California
20
21
22
23      Stenographically Reported By:
24      Hanna Kim, CLR, CSR No. 13083
25      Job No. 5541214

                                                                       Page 1

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  1         UNITED STATES DISTRICT COURT                                 1     REMOTE APPEARANCES OF COUNSEL: (Continued)
  2        NORTHERN DISTRICT OF CALIFORNIA
  3                                                                      2
  4 IN RE: DA VINCI SURGICAL ROBOT ) Lead Case No.:                      3 For Hospital Plaintiffs:
    ANTITRUST LITIGATION                  ) 3:21-cv-03825-VC
                                                                         4       SPECTOR ROSEMAN & KODROFF P.C.
  5 _______________________________ )
                        )                                                5       BY: JEFFREY J. CORRIGAN, ESQ.
  6 THIS DOCUMENT RELATES TO:                  )                         6       2001 Market Street, Suite 3420
    ALL ACTIONS                   )
                                                                         7       Philadelphia, Pennsylvania 19103
  7                     )
    _______________________________ )                                    8       215.496.0300
  8 SURGICAL INSTRUMENT SERVICE ) Case No.                               9       jcorrigan@srkattorneys.com
    COMPANY, INC.,                  ) 3:21-CV-03496-VC
  9                     )                                               10
          Plaintiff,        )                                           11 For Defendant Intuitive Surgical:
 10                     )                                               12       ALLEN RUBY LAW OFFICES
          vs.             )
 11                     )                                               13       BY: ALLEN RUBY, ESQ.
    INTUITIVE SURGICAL, INC.,              )                            14       15559 Union Avenue, Suite 138
 12                     )                                               15       Los Gatos, California 95032
          Defendant.          )
 13 _______________________________ )                                   16       allen@allenruby.com
 14                                                                     17       -and-
 15        Virtual videoconference video-recorded
                                                                        18       COVINGTON & BURLING LLP
 16 deposition of KEVIN MAY remotely testifying from
 17 Yorba Linda, California, on Thursday, November 3,                   19       BY: ANDREW LAZEROW, ESQ.
 18 2022, beginning at 7:34 a.m., PDT, and concluding at                20       BY: AYANA LINDSEY, ESQ.
 19 12:35 p.m., pursuant to the stipulations of counsel
                                                                        21       Salesforce Tower
 20 thereof, before Hanna Kim, CLR, Certified Shorthand
 21 Reporter, No. 13083.                                                22       415 Mission Street, Suite 5400
 22                                                                     23       San Francisco, California 94105-2533
 23
 24                                                                     24       415.591.7020
 25                                                                     25       alazerow@cov.com
                                                               Page 2                                                            Page 4

  1   REMOTE VIDEOCONFERENCE APPEARANCES OF COUNSEL:                     1     REMOTE APPEARANCES OF COUNSEL: (Continued)
  2                                                                      2
  3 For Plaintiff Surgical Instrument Service Company,                   3 For Witness:
  4 Inc:                                                                 4       JEFFREY L. BERHOLD, P.C.
  5        HALEY GUILIANO                                                5       BY: JEFFREY BERHOLD, ESQ.
  6        BY: RICHARD T. McCAULLEY, ESQ.                                6       1230 Peachtree St., Suite 1050
  7        111 North Market Street, Suite 900                            7       Atlanta, Georgia 30309
  8        San Jose, California 95113                                    8       404.872.3800
  9        669.213.1071                                                  9       jeff@berhold.com
 10        richard.mccaulley@hglaw.com                                  10
 11                                                                     11 Also Present:
 12 For Hospital Plaintiffs:                                            12       RAMON PERAZA, Videographer
 13        HAUSFELD LLC                                                 13
 14        BY: SAMUEL MAIDA, ESQ.                                       14
 15        BY: JEANNINE KENNEY, ESQ.                                    15
 16        600 Montgomery Street, Suite 3200                            16
 17        San Francisco, California 94111                              17
 18        415.633.1908                                                 18
 19        smaida@hausfeld.com                                          19
 20        jkenney@hausfeld.com                                         20
 21                                                                     21
 22                                                                     22
 23                                                                     23
 24                                                                     24
 25                                                                     25
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  1       INDEX OF EXAMINATION                                    1       Remotely Testifying Yorba Linda, California
  2                                                               2       Thursday, November 3, 2022; 7:34 a.m., PDT
  3 WITNESS: KEVIN MAY                                            3                 --o0o--
  4 EXAMINATION                 PAGE                              4         THE VIDEOGRAPHER: Good morning. We are
  5    BY MR. RUBY:             10                                5 on the record at 7:34 a.m. on November 3rd, 2022.         07:34:54
  6    BY MR. LAZEROW:       64, 117, 147                         6         This is the video-recorded deposition of
  7    BY MR. MAIDA:          73, 144                             7 Kevin May in the matter of Surgical Instrument
  8    BY MR. McCAULLEY:            108                           8 Service Company, Inc. versus Intuitive Surgical,
  9                                                               9 Inc. This case was filed in the United States
 10                                                              10 District Court for the Northern District of          07:35:14
 11                                                              11 California. Case Number 3:21-CV-03496-VC.
 12                                                              12         Please note that this deposition is being
 13                                                              13 conducted virtually. Quality of the recording
 14                                                              14 depends on the quality of the camera and internet
 15                                                              15 connection of participants. Audio and video            07:35:33
 16                                                              16 recording will take place unless all parties have
 17                                                              17 agree to go off the record.
 18                                                              18         My name is Ramon Peraza, here with our
 19                                                              19 court reporter, Hanna Kim. We're here from Veritext
 20                                                              20 Legal Solutions at the request of counsel for the      07:35:49
 21                                                              21 Defendant.
 22                                                              22         At this time, Counsel, please identify
 23                                                              23 yourselves for the record and state whom you
 24                                                              24 represent.
 25                                                              25         MR. RUBY: My name is Allen Ruby. I               07:35:53
                                                        Page 6                                                                      Page 8

  1              INDEX OF EXHIBITS                                1 represent Intuitive Surgical.
  2                                                               2         MR. LAZEROW: Andrew Lazerow, Intuitive --
  3 MAY DEPOSITION EXHIBITS                         PAGE          3 for Covington & Burling on behalf of Intuitive
  4 Exhibit 154 E-mail dated 5/26/2022, and        42             4 Surgical with my colleague, Ayana Lindsey.
  5           attachment, "Restore Robotics                       5         MR. MAIDA: Samuel Maida on behalf of the           07:36:23
  6           Repairs Investor deck"; Bates                       6 Hospital Plaintiffs from Hausfeld LLC.
  7           nos. Restore-00094918 through                       7         MR. McCAULLEY: Richard McCaulley on
  8           '94956                                              8 behalf of Plaintiff SIS.
  9 Exhibit 155 E-mail set, with top e-mail       52              9         MR. MAIDA: I'm joined by my colleagues
 10           from Dana Gunn, 6/28/2022;                         10 Jeff Corrigan and Jeannine Kenney.                   07:36:31
 11           Bates nos. Restore-00091199                        11         THE COURT REPORTER: Mr. Berhold?
 12           through '00091202                                  12         MR. BERHOLD: Jeff Berhold for witness,
 13 Exhibit 156 E-mail set, with top e-mail to     68            13 Clif Parker [verbatim].
 14           Jitendra Virani, 7/21/2020;                        14         I understood there were other plaintiffs
 15           Bates nos. Restore-00001248                        15 in attendance on the call.                    07:36:45
 16           through '1256                                      16         THE WITNESS: For Kevin May, Jeff.
 17 Plaintiffs' E-mail from James Rowley,         93             17         THE COURT REPORTER: Excuse me.
 18 Exhibit 1 9/1/2022; Bates nos.                               18         THE VIDEOGRAPHER: The court reporter may
 19           Restore-00091362                                   19 now swear in the witness.
 20                 --o0o--                                      20         MR. BERHOLD: Well, I'm sorry.                 07:36:54
 21                                                              21         That's -- sorry. Jeff Berhold for Kevin
 22                                                              22 May.
 23                                                              23 ///
 24                                                              24 ///
 25                                                              25 ///
                                                        Page 7                                                                       Page 9

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  1     A. Yes.                                                               1        Has any entity relating to Restore,
  2     Q. Okay. So in that conversation, you told                            2 whether it's Restore Robotics or Restore Robotics
  3 her that you believed you did not need a 510(k)                           3 Repair [verbatim], sold an EndoWrist that has been
  4 because Restore did not take ownership of the                             4 reset since February 20th, 2020?
  5 instruments; is that right?                   09:38:16                    5        MR. MAIDA: Object to form.                    09:41:41
  6     A. Yes. And I told her that I've been in the                          6        THE WITNESS: Not where we've taken
  7 business of 30 -- 30-plus years of servicing medical                      7 ownership; only repairs.
  8 devices, and that I'm very familiar with what the                         8 BY MR. LAZEROW:
  9 requirements are for repair versus remanufacturing                        9     Q. And has -- since February 20th, 2020, the
 10 because I'm also -- have six 510(k)s, so I'm very        09:38:33        10 e-mail we're looking at, has any entity related to     09:41:56
 11 familiar with the reman- -- with the manufacturing                       11 Restore reset the use counter for an EndoWrist that
 12 process. And that -- I explained all that to her.                        12 it does not own?
 13        And I told her that I had extensive in- --                        13     A. No, we have not. I believe we've stopped.
 14 knowledge in the repair business. And she said that                      14 Intuitive had stopped us from repairing anything by
 15 she didn't have any experience in the repair           09:38:53          15 keeping us out of the market. So I believe we --        09:42:18
 16 business at all. She only had experience in the                          16 we'd lost most of our customers by November --
 17 robotic space for manufacturing.                                         17 October/November of 2019.
 18     Q. Okay. And so after you told her all of                            18     Q. Have you ever talked directly to Intuitive
 19 that, she wrote this e-mail where she told you that                      19 about the resetting activities that Restore has
 20 FDA believes that a 510(k) needed -- is needed           09:39:13        20 engaged in?                              09:42:45
 21 before you continue your operation; right?                               21     A. No.
 22     A. No. She stipulated that based on what was                         22     Q. Have you ever worked at FDA?
 23 said on the e- -- on the website, she -- she based                       23     A. No.
 24 her decision on what she read on the website as                          24     Q. Have you ever submitted an expert report
 25 opposed to what I told her.                    09:39:29                  25 in ligation where your expert report gave opinions       09:42:58
                                                                   Page 70                                                                    Page 72

  1     Q. And did -- has FDA ever told you -- agreed                         1 about FDA regulatory matters?
  2 with you, that -- that as long as you don't take                          2    A. No.
  3 ownership of the instruments, that you do not need a                      3       MR. LAZEROW: I'm going to pass the
  4 510(k) clearance?                                                         4 witness and reserve the rest of my time, if
  5     A. I have been informed that they refuse to        09:39:49           5 necessary, for later. Thank you. I don't have any 09:43:18
  6 make a decision on that. So they have decided not                         6 questions at this time, but I'll reserve for after
  7 to make a decision on that. And that was in                               7 the Plaintiffs, if necessary.
  8 reference to, I believe, Rebotix.                                         8       Thank you for your time.
  9     Q. Okay. I'm -- I'm asking you just, has FDA                          9       THE COURT REPORTER: May we go off the
 10 ever told you that as long as you maintain -- you        09:40:11        10 record to do an audio check, please.                09:43:30
 11 don't own the instrument, then you don't need a                          11       THE VIDEOGRAPHER: Are we closing this
 12 510(k) in order to extend the li- -- the lives of an                     12 deposition, though?
 13 EndoWrist instrument?                                                    13       MR. LAZEROW: No. No, I don't think so.
 14     A. They haven't told us, one way or another.                         14       THE VIDEOGRAPHER: No? All right.
 15 And Dr. -- Dr. An is not part of the enforcement         09:40:26        15       We're off the record at 9:43 a.m.            09:43:39
 16 division of the FDA.                                                     16       (Short recess taken.)
 17     Q. Has -- has FDA ever told you you don't                            17       THE VIDEOGRAPHER: We are back on the
 18 need a 510(k) clearance in order to extend the                           18 record at 10:07 a.m.
 19 li- -- the lives of an EndoWrist instrument?                             19               EXAMINATION
 20     A. That's not the way the FDA works, no.           09:40:44          20 BY MR. MAIDA:                                    10:07:49
 21 They've never told us, one way or another.                               21    Q. Hello, Mr. May.
 22     Q. Has Re- -- has Restore or any Restore                             22    A. Hello.
 23 entity, whether it's Restore Robotics or Restore                         23    Q. My name is Sam Maida, and I represent the
 24 Robotics Repair [verbatim] reset the EndoWrist                           24 Hospital Plaintiffs. We have a case that is
 25 instruments -- sorry, let me start over.            09:41:19             25 substantially similar to Restore's case, and I have 10:08:03
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  1 a few more questions for you. But I hope that I                          1 development for the Xi.
  2 won't take more of your time -- too much more of                         2 BY MR. MAIDA:
  3 your time.                                                               3     Q. I'd like to talk to you a bit about
  4         Do you believe Restore's business has been                       4 Restore's EndoWrist business. Can you please
  5 harmed by Intuitive?                         10:08:21                    5 describe the type of Xi EndoWrist that Restore has        10:11:14
  6         MR. LAZEROW: Objection.                                          6 been able to repair?
  7         THE WITNESS: Yes. It's been harmed                               7     A. Yes. There is -- there is a list that we
  8 significantly.                                                           8 had from Rebotix that we've been trained on, how to
  9 BY MR. MAIDA:                                                            9 repair the instruments. And there was 38 Si
 10     Q. Please tell me how did Intuitive harm         10:08:30           10 instruments that we were able to repair.              10:11:33
 11 Restore's business.                                                     11     Q. Is there a common theme linking the
 12         MR. LAZEROW: Objection.                                         12 EndoWrists that Restore has been able to repair?
 13         THE WITNESS: As soon as we were able to                         13        MR. LAZEROW: Objection. Vague.
 14 land an account, shortly thereafter, we were told by                    14        THE WITNESS: Yes. Multiuse instruments.
 15 the hospital that the Intuitive rep would come in       10:08:45        15 So instruments that are able to be used at least ten 10:11:49
 16 and tell them that they couldn't work with us.                          16 times. And I think there was a couple of them -- a
 17 BY MR. MAIDA:                                                           17 couple instruments that had higher usages. I
 18     Q. Anything else?                                                   18 believe they were clip appliers. We were able to --
 19     A. Clif is a better person to discuss that                          19 to repair all of those.
 20 with. He's had more -- he has more direct contacts       10:09:05       20 BY MR. MAIDA:                                  10:12:17
 21 with the hospitals and whatnot. There have been a                       21     Q. You -- you went into my next question a
 22 few cases, so, for instance, I was in discussion                        22 bit. But I'd like to know, can all or only a subset
 23 with some people from Memorial Care, and I asked                        23 of EndoWrist models be repaired?
 24 them -- I told them about what our service was. And                     24     A. Only a subset. So all of the Si
 25 they said that they would look into it. They looked 10:09:25     25 instruments, all -- all of the 8 millimeters, except 10:12:31
                                                             Page 74                                                                Page 76

  1 into it, and they said that it was risky for them                        1 for a few of the devices. Like we do not do the
  2 because they were really concerned that Intuitive                        2 staplers. We did not repair the -- the staplers.
  3 was going to cut off their business, and they didn't                     3 And we did not repair any of the disposable devices.
  4 want to be involved with that. That was a phone                          4    Q. Are there any EndoWrists that could not be
  5 call.                                 10:09:43                           5 repaired?                               10:12:55
  6         And then there was a company, this was                           6    A. You mean, particular reference numbers or?
  7 through our rep, Scott. He talked to Pacific,                            7    Q. Any EndoWrists, generally, that could not
  8 and -- and Pacific said that Intuitive said that                         8 be repaired.
  9 they could not use our services. So those are some                       9    A. There were EndoWrists that were the
 10 examples that I had some fairly direct contacts        10:10:02         10 reusable type that we -- we did not repair. But in 10:13:10
 11 with. So there were several instances.                                  11 the future, we could have, if we did some R&D
 12         Then there was also a cease and desist                          12 efforts.
 13 letter that we received from Intuitive Surgical.                        13    Q. Okay. You testified a bit earlier about
 14 And then I had heard that there were other cease and                    14 when Restore stopped the -- their EndoWrist repairs.
 15 desist letters to Rebotix and to other customers.      10:10:18         15        Was that in 2019?                    10:13:32
 16     Q. Thank you.                                                       16    A. Yes.
 17         Did that harm cause any delay to Restore's                      17    Q. Okay. And since 2019, Restore has not
 18 business?                                                               18 done any EndoWrist repair; is that correct?
 19         MR. LAZEROW: Objection. Speculation.                            19    A. We have done repairs that did not require
 20         THE WITNESS: Well, it absolutely caused          10:10:34       20 resetting the counter.                     10:13:52
 21 delays and harm to our business. We had been                            21    Q. Okay. Was there any repairs that required
 22 counting on the revenues that we were generating                        22 resetting the counters?
 23 from the repair business to fund being able to do                       23    A. No.
 24 additional R&D efforts, to grow the business, and to                    24    Q. Was there any repairs that Restore
 25 grow the Xi business and to do the research and         10:10:57        25 actually sent back to the hospitals for use?       10:14:10
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  1     A. No.                                                                1     Q. And what do you base that belief on?
  2     Q. And why is that?                                                   2     A. The repair aspect is very defined. And it
  3     A. Our customers were too afraid to send us                           3 has do with ownership of the device. So the device,
  4 the business.                                                             4 if it's owned by the hospital, if it comes to us as
  5     Q. Would the scope of reparable Si EndoWrists 10:14:26                5 a third party and the hospital creates a PO and         10:17:31
  6 have extended in -- overall without Intuitive's                           6 requests us to repair the device, we repair the
  7 anticompetitive conduct?                                                  7 device and return it back to the hospital.
  8         MR. LAZEROW: Objection.                                           8        We do not -- there's no change of
  9         THE WITNESS: Yes. We would have -- we                             9 ownership, so there's no labeling requirements,
 10 would have expanded few more of the 8-millimeter and 10:14:38            10 there's no remanufacturing requirements as of today. 10:17:50
 11 5-millimeter EndoWrists.                                                 11 And so, we could go through and repair all of the
 12 BY MR. MAIDA:                                                            12 instruments without having any -- any requirements
 13     Q. And go back about -- to your answer that                          13 of -- to get a 510(k) for the repair process, where
 14 customers were afraid. Why were they afraid?                             14 we do not take ownership.
 15         MR. LAZEROW: Objection.                     10:14:56             15     Q. Does your experience in the repair             10:18:06
 16         THE WITNESS: Because they received cease                         16 industry also plays [verbatim] a role in your belief
 17 and desist letters from Intuitive, was one of the                        17 that there is no necessity for 510(k) clearance to
 18 things. Another thing was is that our understanding                      18 repair EndoWrists?
 19 from the information from the hospitals was is that                      19        MR. LAZEROW: Objection.
 20 the Intuitive reps were coming in -- as soon as they 10:15:12            20        THE WITNESS: Yes. So I have been in the            10:18:23
 21 figured out that there was a particular serial                           21 medical repair device industry since 1989. So I've
 22 number that had been used more than the maximum                          22 been doing this for 33 years.
 23 number of uses on the device, the Intuitive rep                          23        And we have been doing repair, as well as
 24 would come in and tell the hospital that they were                       24 manufacturing. I currently have six 510(k)s so I'm
 25 under contract and they could not use any other        10:15:31      25 well aware of the manufacturing process, as well as           10:18:49
                                                                 Page 78                                                                      Page 80

  1 third parties.                                                            1 the repair process, and also the repair of third
  2 BY MR. MAIDA:                                                             2 parties.
  3     Q. And those hospitals told you or someone at                         3        So, for instance, where you have an
  4 Restore that; is that correct?                                            4 instrument -- let me take a -- a rigid scope, for
  5     A. Either directly or through one of our        10:15:43              5 example. You have a Karl Storz rigid scope, and           10:19:04
  6 reps.                                                                     6 then you repair it, and then -- the hospital sends
  7     Q. How long did it take for Restore to                                7 it to you. The hospital owns it. You do the
  8 develop the technology to bypass the S and Si chip?                       8 repair. And then you send it back to the hospital.
  9     A. We started work on that in January 2020, I                         9 That is a repair, and it's not regulated by the FDA.
 10 believe it was. And we had our first usage counters 10:16:11             10        I've been doing that for 33 years.          10:19:18
 11 samples by, I believe it was June of 2020. So about                      11        The devices that I've been working on for
 12 six months or so.                                                        12 the last 33 years are much more complex than the
 13     Q. Now, I'd like to talk to you a bit about                          13 current EndoWrist device. And so, based on 33 years
 14 Restore's 510(k) clearance. You testified earlier                        14 of -- of knowledge, I've been through at least four
 15 that Restore currently does have 510(k) clearance       10:16:39         15 FDA audits where the aud- -- where the FDA has                10:19:40
 16 for the Si EndoWrist remanufacturing?                                    16 audited our third-party servicing business. I've
 17         MR. LAZEROW: Objection. Mischaracterizes                         17 been through California FDB audits where they have
 18 testimony.                                                               18 audited our servicing. I've been through multiple
 19 BY MR. MAIDA:                                                            19 vendor audits such as Johnson and Johnson, Richard
 20     Q. Does Restore currently have the 510(k) --       10:16:50          20 Wolf, Medtronic.                             10:20:05
 21 510(k) clearance for EndoWrist remanufacturing?                          21        Many, many large companies have done
 22     A. We have 510(k) for the 420179 EndoWrist.                          22 audits of our facility and audited our quality
 23     Q. Okay. Does Restore believe it needs                               23 system and our practices, and we've had zero
 24 510(k) clearance to repair EndoWrists?                                   24 complaints for -- zero -- zero MAUDE events and zero
 25     A. No, we do not.                       10:17:11                     25 recalls and zero MAUDE events in the 33 years that            10:20:24
                                                                   Page 79                                                                       Page 81

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  1     A. I'm not sure I understand the question.                         1 government to come in and audit your facility. Or
  2     Q. Do I understand correctly that the Si                           2 if you want to sell your product in Korea, you have
  3 process that is used in order to reset an Si                           3 to have the Korean equivalent of the FDA come in and
  4 instrument involves Restore adding a -- a circuit                      4 audit your facility.
  5 board?                                  12:05:52                       5        And it was a -- it's a program put             12:08:18
  6     A. If we are resetting the counter or                              6 together by the FDA where it's one audit. I believe
  7 replacing the counter, yes.                                            7 it's done by the FDA. But it's one program, so that
  8     Q. Yeah. I'm -- I'm focused on the resetting                       8 once you pass it, the other countries recognize it,
  9 of the counter, for sure. So let me see if I can                       9 so they don't have to have an additional audit at
 10 ask it again.                            12:06:10                     10 your facility.                            12:08:35
 11        For the Xi process that Restore intends to                     11     Q. And remind me, is the Arizona facility
 12 use to reset the lives of an Xi instrument, does                      12 owned by Iconocare?
 13 Restore anticipate that it will be adding a circuit                   13     A. That is Innovative Health.
 14 board?                                                                14     Q. Oh, I'm sorry.
 15        MR. MAIDA: Object to form.                   12:06:25          15        The Arizona facility -- facility is owned        12:08:45
 16        THE WITNESS: We will be replacing the                          16 by Innovative Health; is that right?
 17 circuit board, so we will be removing the original                    17     A. That is correct.
 18 and replacing it with ours.                                           18     Q. Was -- do -- to your knowledge, was that
 19 BY MR. LAZEROW:                                                       19 audit -- did that audit come about as a result of
 20     Q. Okay. You're -- you're clearer than I was 12:06:34             20 the 510(k) application for the Si MCS by Iconocare?              12:08:55
 21 able to ask the question. Thank you.                                  21     A. No.
 22        You said that you have, I think you own                        22        MR. MAIDA: Object to form.
 23 six 510(k)s; is that right?                                           23 BY MR. LAZEROW:
 24     A. That's correct.                                                24     Q. So it's unrelated, to your knowledge?
 25     Q. Are those -- are any of those for         12:06:50             25     A. It's unrelated.                      12:09:05
                                                               Page 134                                                                         Page 136

  1 remanufacturing of -- of devices that were                             1     Q. Am I right that if Restore receives an
  2 originally manufactured by another entity?                             2 EndoWrist from a hospital with a purchase order to
  3     A. No.                                                             3 repair the EndoWrist, as you have described the
  4     Q. So of the six 510(k)s you have, none are                        4 repair process that you're talking about, Restore
  5 for remanufacturing; is that fair?              12:07:07               5 is -- Restore is permitted to reset the lives of        12:09:31
  6     A. That's correct.                                                 6 that EndoWrist as many -- to as many lives as it
  7     Q. Has the FDA done an audit of your Las                           7 wants; is that right?
  8 Vegas facility?                                                        8     A. The FDA does not regulate the -- the
  9     A. No.                                                             9 repairs.
 10     Q. Has the FDA done an audit of the Arizona        12:07:15       10     Q. So Restore could reset an EndoWrist                12:09:45
 11 facility?                                                             11 instead of ten more lives, it could reset it to 25;
 12     A. Yes.                                                           12 correct?
 13     Q. When was that?                                                 13     A. That's not our process. But
 14     A. They had one a couple months ago. I                            14 theoretically, it could, but that's not what we do.
 15 believe it was an NSAP audit by the FDA.              12:07:37        15     Q. Right.                             12:10:01
 16     Q. What -- did you say MSAP [verbatim]?                           16        From your perspective, you wouldn't be --
 17     A. I believe it's what it's called.                               17 you would -- you would not be violating any FDA
 18     Q. What is -- whether -- what is -- what                          18 regulations or guidelines were Restore to do that;
 19 is -- what is your understanding of what that kind                    19 is that fair?
 20 of audit is?                              12:07:43                    20     A. Well, the -- the robot wouldn't recognize          12:10:11
 21     A. So the FDA has a new program that allows                       21 it if you -- if you set it for more than ten lives,
 22 you to have a multi-jurisdictional audit. So it --                    22 so we would never do that.
 23 it's been tricky when you manufacture a device. And                   23     Q. Okay. And am I right that as long as the
 24 so, when you manufacture a device and you want to                     24 hospital continues to own it, own -- own an
 25 sell it in Canada, you then have to get the Canadian 12:08:00     25 instrument, they can send that instrument back to               12:10:22
                                                             Page 135                                                                        Page 137

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  1 Restore as many times as they want for a reset to                         1 doing; correct?
  2 ten lives?                                                                2        MR. MAIDA: Object.
  3     A. Yes, depending on what policy we establish                         3        THE WITNESS: After they've been properly
  4 as to what we decide how many times we're willing to                      4 inspected and tested, yes.
  5 reset it as a -- as a repair company.              12:10:37               5 BY MR. LAZEROW:                                       12:13:09
  6     Q. Does -- does Restore currently have such a                         6     Q. You talked, I think at the very beginning
  7 policy?                                                                   7 of -- of -- of the -- of the Plaintiffs'
  8     A. When we were doing the work for Rebotix,                           8 examination, about cease and desist letters that had
  9 the -- the policy was they had done testing up to, I                      9 been sent to hospitals. You said you had heard that
 10 believe, 29 verifications, verification and           12:10:56           10 there have been hospitals that have received cease         12:13:21
 11 validation. So that would be three -- that would be                      11 and desist letters from Intuitive.
 12 two additional resets. And then they did additional                      12        Do you remember that?
 13 cleaning and sterilization validation for at least                       13     A. Yes.
 14 50 uses.                                                                 14     Q. Have you ever actually seen the one that
 15          And so, we felt comfortable doing two.        12:11:15          15 was sent by Intuitive to a hospital?                  12:13:29
 16 But we never did enough business to where we had                         16     A. I have not seen the actual letter, no.
 17 repeat -- we had repeats, so -- repeat business. So                      17     Q. You were told that -- that -- that -- you
 18 we never did that. We never executed on any of                           18 were told by folks at hospitals that they received
 19 that.                                                                    19 such a letter?
 20     Q. What about sitting here today, does            12:11:27           20     A. Yes.                                12:13:53
 21 Restore have a policy for how many times it will                         21     Q. Which hospital told you that -- that they
 22 reset the life of a -- of an instrument -- of an                         22 had received a letter from Intuitive?
 23 En- -- EndoWrist instrument?                                             23     A. I never spoke to a hospital directly. It
 24     A. Well, currently, the decision is is that                          24 was either through a rep or it was through somebody
 25 we're going to be remanufacturing through the            12:11:39      25 else at Restore.                              12:14:19
                                                                  Page 138                                                                       Page 140

  1 facility at Scottsdale, Arizona. And the clearance                        1     Q. And then you talked about -- one of the
  2 is only for one additional reset.                                         2 hospitals that you talked about was Mem- -- Memorial
  3     Q. So were -- is -- is what you're saying,                            3 Care.
  4 were Restore to take an EndoWrist that has already                        4        Did I hear that right?
  5 been remanufactured once and do it a second time,          12:12:03       5     A. Yes.                            12:14:30
  6 that would be in violation of that -- of its 510(k)                       6     Q. Did you talk to Memorial Care directly?
  7 clearance with the FDA; is that what you're saying?                       7     A. Yes.
  8          MR. MAIDA: Object to form.                                       8     Q. Okay. Who was it at Memorial Care who you
  9          THE WITNESS: Without any additional                              9 talked to about whether they were going to use
 10 testing; correct.                         12:12:17                       10 Restore's repair business?                   12:14:43
 11 BY MR. LAZEROW:                                                          11     A. Aaron Coley.
 12     Q. And -- but -- but as long as the hospital                         12        THE COURT REPORTER: Can you say that
 13 owns a -- owns an EndoWrist, they can send it to you                     13 again, please.
 14 for as many resets as -- as Restore is willing to                        14        THE WITNESS: Aaron Coley.
 15 do?                                     12:12:31                         15 BY MR. LAZEROW:                                 12:15:00
 16     A. Theoretically, yes.                                               16     Q. And I think in sum or substance, you said
 17     Q. Well, not theoretically; actual; correct?                         17 that -- that Mr. Coley conveyed to you that it was
 18     A. Well, we haven't done any more than one                           18 risky for Memorial to do that because Intuitive
 19 reset.                                                                   19 would cut off their business. Is that fair?
 20     Q. Right. I -- I -- and I understand.          12:12:43              20     A. There was strong concern as to the         12:15:13
 21          You -- what -- but I'm based on -- based                        21 aggressiveness of Intuitive and that they would cut
 22 on what you know and all you've been talking about                       22 their business off and that would be unacceptable
 23 today, you -- Restore actually could reset them as                       23 risk to them.
 24 many times as they wanted without running afoul with                     24     Q. And did you explain to -- to Mr. Coley
 25 the FDA based on your view of -- of what you're           12:12:54       25 that Restore was engaged in repairs that it was     12:15:30
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  1 permitted to do?                                                         1 discussions?
  2    A. Yes.                                                               2        MR. MAIDA: Object to form.
  3    Q. And -- and you still were unable to                                3        THE WITNESS: Not that I can think of, no.
  4 convince him to -- to use your repair business; is                       4        MR. LAZEROW: Okay. Can we take a
  5 that right?                           12:15:42                           5 five-minute break so I can just look at my notes,           12:17:44
  6    A. He was too afraid of the repercussions                             6 and then I'm hoping I'm done.
  7 from Intuitive.                                                          7        THE VIDEOGRAPHER: We are off the record
  8    Q. Was there anyone from Intuitive present                            8 at 12:17 p.m.
  9 for that conversation?                                                   9        (Short recess taken.)
 10    A. No. It was via phone call.             12:15:51                   10        THE VIDEOGRAPHER: We are back on the                      12:31:17
 11    Q. Did you follow up with Intuitive to find                          11 record at 12:31 p.m.
 12 out if they had said anything to Memorial Care?                         12        MR. LAZEROW: Mr. May, I don't have any
 13    A. I did not.                                                        13 more questions at this time. Unfortunately for you,
 14    Q. Do you know if anyone at Restore did?                             14 I still have a little bit of time reserved. And so,
 15    A. Nobody did.                         12:16:03                      15 if the plaintiffs ask further questions, I may have        12:31:41
 16    Q. Okay. And then there was a -- there was                           16 more questions. But at this time, I am -- I will
 17 another hospital you mentioned, Pacific. Do you                         17 pass the witness.
 18 remember mentioning that one?                                           18              FURTHER EXAMINATION
 19    A. Yes.                                                              19 BY MR. MAIDA:
 20    Q. And I think you said that there was a rep 12:16:11                20     Q. Mr. May, this is Sam Maida again. I only             12:31:49
 21 by the name of Scott, who had -- who had conveyed to                    21 have a few more questions for you.
 22 folks at Restore something about Intuitive and                          22        Is it fair to say that if there was a
 23 Pacific? Did I hear --                                                  23 complaint for an EndoWrist repair by Restore, that
 24    A. Yes.                                                              24 would be on the MAUDE database?
 25    Q. -- that right?                    12:16:23                        25     A. Yes, if there was a formal complaint made            12:32:01
                                                                 Page 142                                                                       Page 144

  1         Who -- do you remember the last name of                          1 by a hospital or the manufacturer or us, it would be
  2 that person?                                                             2 on the MAUDE database.
  3     A. Lewis.                                                            3     Q. And you testified earlier that Restore
  4     Q. And is that a person who works for                                4 used to check the MAUDE database every six months;
  5 Restore?                                12:16:32                         5 is that correct?                               12:32:22
  6     A. He was an independent distributor.                                6     A. Yes, while we were doing the repair
  7     Q. And -- and he had talked to someone at                            7 business, yes.
  8 Pacific?                                                                 8     Q. Has anybody at Restore checked the MAUDE
  9     A. Yes.                                                              9 database after the end of repairs in approximately
 10     Q. Do -- do you know who?                    12:16:39               10 the end of 2019?                                12:32:33
 11     A. I can't remember the name.                                       11     A. Not that I know of.
 12     Q. And do you recall what Mr. Lewis told you                        12     Q. Are you aware of when the last time anyone
 13 that Pacific told him?                                                  13 at Restore checked the MAUDE database?
 14     A. They -- they were told that they could not                       14     A. I don't know off the top of my head. It
 15 use any third party, and I believe that was a         12:16:57          15 was usually done at the beginning of the year and            12:32:49
 16 hospital that said they received a cease and desist                     16 in, like, June.
 17 letter, but I can't be a hundred percent certain on                     17     Q. The last time that anybody at Restore
 18 that.                                                                   18 checked the MAUDE database, were there any
 19     Q. Did anyone from Restore, to your                                 19 reports --
 20 knowledge, follow up with Intuitive to find out what 12:17:15           20     A. No.                                12:33:08
 21 Intuitive had said, if anything, to Pacific?                            21     Q. -- filed for the EndoWrists repaired by
 22     A. No.                                                              22 Restore?
 23     Q. Did I miss any other hospitals that you've                       23     A. No.
 24 talked about, that Restore had heard either directly                    24     Q. In your experience, would a hospital not
 25 or through a representative about Intuitive           12:17:29        25 let Restore know if it had a problem with its                12:33:20
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  1 repaired EndoWrists?                                                        1       THE VIDEOGRAPHER: This is the end of
  2           MR. LAZEROW: Objection.                                           2 today's deposition of Mr. Kevin May. We are off the
  3           THE WITNESS: The hospitals keep control                           3 record at 12:35 p.m. The total number of media used
  4 of the serial numbers. So they would -- part of                             4 was six, and it will be retained by Veritext. Thank
  5 their process is, they would go back and they would         12:33:34        5 you.
  6 look at the last purchase order associated with the                         6       (Proceedings concluded, 12:35 p.m., PDT,
  7 serial number of a device. And they would contact                           7       on November 3, 2022.)
  8 us in normal course. That's -- that's the                                   8
  9 experience I've had in the endoscope business and                           9
 10 the other medical devices that I've been doing            12:33:49         10
 11 business with in the last 30 plus years.                                   11
 12 BY MR. MAIDA:                                                              12
 13     Q. Have you or anyone at Restore ever seen a                           13
 14 complaint at any time on the MAUDE database for the                        14
 15 EndoWrists repaired by Restore?                      12:34:04              15
 16     A. No.                                                                 16
 17     Q. You testified earlier that Restore                                  17
 18 specifically does not have 510(k); correct? Is                             18
 19 that --                                                                    19
 20     A. Its own -- it's technically registered to    12:34:18               20
 21 Iconocare currently.                                                       21
 22     Q. Okay. And is Iconocare working under the                            22
 23 direction of Restore?                                                      23
 24     A. Yes.                                                                24
 25     Q. Has Iconocare's efforts to obtain 510(k)          12:34:32          25
                                                                    Page 146                                                             Page 148

  1 been funded by Restore?                                                     1                 JURAT
  2     A. Yes.                                                                 2
  3     Q. Does Restore's repair process returns                                3        I, KEVIN MAY, do hereby certify under
  4 [verbatim] the EndoWrist to the same function --                            4 penalty of perjury that I have read the foregoing
  5 functional equivalency as new EndoWrists?                  12:34:48         5 transcript of my deposition taken remotely via
  6     A. Yes.                                                                 6 videoconference on Thursday, November 3, 2022; that
  7           MR. MAIDA: I don't have any further                               7 I have made such corrections as appear noted herein

  8 questions at this time. Thank you, Mr. May.                                 8 in ink, initialed by me; that my testimony as
                                                                                9 contained herein, as corrected, is true and correct.
  9              FURTHER EXAMINATION
                                                                               10
 10 BY MR. LAZEROW:                                     12:34:57
                                                                               11       Dated this _____ day of ___________, 2022,
 11     Q. How much has Restore paid Iconocare as
                                                                               12 at _______________________________________________.
 12 part of its effort to receive -- as part of
                                                                               13
 13 Iconocare's effort to get 510(k) clearance for the
                                                                               14
 14 Si MCS?
                                                                               15
 15     A. I believe all of the funding and payments         12:35:14
                                                                               16               ____________________________
 16 have gone to either Alliance or Innovative Health,
                                                                                                KEVIN MAY
 17 not directly to Iconocare.                                                 17
 18     Q. And how much have those payments been for                           18
 19 the effort for Iconocare to get 510(k) clearance for                       19
 20 the Si MCS?                                   12:35:38                     20
 21     A. I do not know those numbers. Clif was                               21
 22 responsible for paying them.                                               22
 23           MR. LAZEROW: Thank you for your time.                            23
 24           MR. MAIDA: I don't have anything further.                        24
 25           MR. McCAULLEY: Nothing from me.                   12:35:54    25
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                             EXHIBIT 17

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
                      STATEMENTS
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                              Deposition of:
               Highly CONF Chris Gibson
                              June 22, 2021


                             In the Matter of:

            Rebotix Repair LLC v Intuitive
                    Surgical, Inc.




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                                                                     Page 1

 1                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
 2                                TAMPA DIVISION
                        CIVIL CASE NO. 8:20-cv-2274-T-33TGW
 3
 4
           REBOTIX REPAIR LLC,
 5
                        Plaintiff,
 6
           -vs-
 7
           INTUITIVE SURGICAL, INC.,
 8
                        Defendant.
 9                                                   /
10
11         * * * * * * * * * * * * * * * * * * * * * * * * * *
                              HIGHLY CONFIDENTIAL
12
13         VIDEOTAPED
           DEPOSITION OF:            CHRIS GIBSON
14
           DATE TAKEN:               TUESDAY, JUNE 22, 2021
15
           TIME:                     10:04 A.M. - 6:15 P.M.
16
           PLACE:                    BY VIDEOCONFERENCE
17
           REPORTED BY:              CARMEN THOMAS, REGISTERED
18                                   PROFESSIONAL REPORTER AND
                                     NOTARY PUBLIC
19
20         * * * * * * * * * * * * * * * * * * * * * * * * * *
21
22
23
24
25

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                                            Rebotix Repair LLC v Intuitive Surgical, Inc.
                                                                   Page 2                                                               Page 4
  1 APPEARANCES:                                                             1 Exhibit 11 E-mail dated February 4, 2019;        137
  2   Appearing on Behalf of the Plaintiff:                                           Subject, RE: Premier Custom Contract
      ALEXANDER ERWIG, ESQUIRE                                               2        - RFP, with attachment
  3   alexander@dovel.com                                                    3 Exhibit 12 E-mail dated October 8, 2019; Subject, 149
      Dovel & Luner                                                                   Re: EndoWrist Agreement
  4   201 Santa Monica Boulevard, Suite 600                                  4
      Santa Monica, California 90401                                           Exhibit 13 E-mail dated August 22, 2019; Subject, 159
  5
                                                                             5        Agreement, with attachment
  6
                                                                             6 Exhibit 14 E-mail dated January 24, 2020;        164
      Appearing on Behalf of the Defendant:
                                                                                      Subject, FW: REB Memorandum of
  7   KAREN M. LENT, ESQUIRE
      karen.lent@skadden.com                                                 7        Understanding (002), with attachment
  8   DOUGLAS DEBAUGH, ESQUIRE                                               8 Exhibit 15 E-mail dated August 5, 2019; Subject, 168
      douglas.debaugh@skadden.com                                                     Rebotix Repair, with attachment
  9   WILLIAM DARIO, ESQUIRE                                                 9
      william.dario@skadden.com                                                Exhibit 16 Rebotix Video                   174
 10   Skadden, Arps, Slate, Meagher & Flom LLP                              10
      One Manhattan West                                                       Exhibit 17 Rebotix Comprehensive Remanufacturing 181
 11   New York, New York 10001-8602                                         11        Process
 12                                                                         12 Exhibit 18 Estimated Annual Cost document          185
      Appearing on Behalf of Restore Robotics,                              13 Exhibit 19 E-mail dated April 17, 2018; Subject, 187
 13   Restore Robotics Repairs and Clif Parker                                        Paces info, with attachment
      Robotics, LLC:                                                        14
 14   JEFFERY BERHOLD, ESQUIRE                                                 Exhibit 20 E-mail dated May 2, 2018; Subject,     195
      jeff@berhold.com                                                      15        EndoWrist Technical File Final Report
 15   Jeffrey L. Berhold, P.C.                                                        for Customer Use, with attachment
      1230 Peachtree Street, Suite 1050                                     16
 16   Atlanta, Georgia 30309
                                                                               Exhibit 21 E-mail dated May 31, 2018; Subject,     209
 17
                                                                            17        Rebotix Meeting, with attachment
      ALAN POKOTILOW, VIDEOGRAPHER
                                                                            18 Exhibit 22 E-mail dated May 1, 2019; Subject, Re: 213
 18
      CHRIS MCMILLAN, CONCIERGE                                                       Checking in, with attachment
 19                                                                         19
 20                                                                         20
 21                                                                         21
 22                                                                         22
 23                                                                         23
 24                                                                         24
 25                                                                         25

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  1              INDEX
  2                                 Page                                     1           THE VIDEOGRAPHER: We're on the record. The
  3    TESTIMONY OF CHRIS GIBSON                                             2       time is now 10:04 a.m. Today is Tuesday, June 22,
    Direct Examination by Ms. Lent                6
  4 Certificate of Reporter                   218                            3       2021.
    Certificate of Oath                     219
  5 Errata Sheet                         220                                 4           We're here today at Rebotix Repair LLC,
  6
                  EXHIBITS
                                                                             5       located in St. Petersburg, Florida, for the
  7                                                                          6       video-recorded deposition of Chris Gibson in the
    No.          Description                 Page
  8                                                                          7       matter of Rebotix Repair LLC versus Intuitive
    Exhibit 1 E-mail dated July 1, 2013; Subject,    44
  9        Killing the Robot                                                 8       Surgical, Incorporated, case number 8:20-cv-02274,
 10 Exhibit 2 E-mail dated February 8, 2013;        47
           Subject, RE: G-5 Questions
                                                                             9       to be heard before the United States District
 11                                                                         10       Court, Middle District of Florida, Tampa Division.
    Exhibit 3 E-mail dated June 14, 2013; Subject,    53
 12        FW: Software description and                                     11           I'm Alan Pokotilow, a legal videographer,
           requirement documents, with attachment
 13
                                                                            12       here today on behalf of Veritext Legal Solutions.
    Exhibit 4 E-mail dated December 24, 2013;         78                    13       Our court reporter today is Carmen Thomas, also
 14        Subject, da Vinci certification -
           confidential documents enclosed, with                            14       here today on behalf of Veritext Legal Solutions.
 15        attachment
 16 Exhibit 5 E-mail dated July 24, 2014; Subject,    83                    15           Will counsel please state your name and
           FW: Update survey, with attachment
 17
                                                                            16       affiliation for the record, after which our court
    Exhibit 6 E-mail dated August 1, 2017; Subject, 89                      17       reporter will swear the witness and we can proceed.
 18        EndoWrist counter resets, with
           attachment                                                       18           MR. ERWIG: Alexander Erwig on behalf of the
 19
    Exhibit 7 Invoice dated 9/5/2018, to BPI Medical 95                     19       Plaintiff, Rebotix Repair LLC.
 20                                                                         20           MS. LENT: Karen Lent on behalf of Defendant,
    Exhibit 8 Document Bates labeled REBOTIX143306 - 113
 21        143309                                                           21       Intuitive Surgical, from Skadden Arps.
 22 Exhibit 9 E-mail dated June 20, 2019; Subject,    121
           RE: Rebotix Repair                                               22           MR. BERHOLD: Jeff Berhold for Restore
 23
    Exhibit 10 E-mail dated June 25, 2020; Subject,    125
                                                                            23       Robotics, Restore Robotics Repairs, and Clif
 24        FW: Request for More Information on                              24       Robotics -- Clif Parker Robotics LLC.
           Rebotix Repair Repairing/Servicing
 25        Activities, with attachment                                      25           MR. DEBAUGH: Doug DeBaugh on behalf of

                                                                                                                              2 (Pages 2 - 5)
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  1   entity we were operating as at that time. And I thought   1      understanding that those conversations with STERIS and
  2   I had said Rebotix Repair, but it wouldn't have been      2      Stryker occurred in 2014 and 2015 other than Exhibit 8?
  3   Rebotix Repair. It would have been Rebotix LLC.           3         A No.
  4      Q Again, at -- at what time?                           4         Q So you -- you have no idea in your mind as to
  5      A In that 2015 time frame. At the time of that         5      when those conversations occurred, whether it was two
  6   e-mail.                                                   6      years ago or six years ago?
  7      Q Right. Are you -- I just want to make sure           7             MR. ERWIG: Objection to form.
  8   again. Are you trying to tell me that, when the           8             THE WITNESS: I'm confused by that question.
  9   conversations with STERIS and Stryker occurred, that was 9       BY MS. LENT:
 10   Rebotix LLC; is that what you're -- are you trying to go 10         Q I'm confused by -- by your answer.
 11   back to that? I just don't want to misunderstand what    11             I -- I'm -- I'm confused as to what basis you
 12   you're trying to say.                                    12      have to say that the conversations with STERIS and
 13      A Yes. Yes, that is what I mean.                      13      Stryker occurred in 2014 and 2015.
 14      Q Okay. That -- because that was not -- that          14         A Based on that e-mail date and the
 15   was separate from 8.                                     15      calculations that are on that same exhibit.
 16      A Oh, sorry.                                          16         Q Did that refresh your recollection about when
 17      Q So how did you come to understand that it was       17      they occurred?
 18   Rebotix LLC and not Rebotix Repair that was having those 18         A Yes. Based on that date, Rebotix Repair was
 19   discussions with STERIS and Stryker?                     19      not a company at that time.
 20      A Based on that e-mail date.                          20         Q No, I -- I understand the timing of Rebotix
 21      Q That e-mail date had nothing to do with             21      Repair as a company.
 22   STERIS or Stryker.                                       22             The questions that I was asking you about
 23      A No, but it said 2015, and then it had some          23      when those conversations occurred were based on what
 24   calculations on one of the pages.                        24      your recollection was of when it happened.
 25      Q Yeah. I'm not sure what that page had to do         25             So whether it was -- you know, was it -- was
                                                       Page 155                                                          Page 157
  1   with the e-mail other than it was a bunch of jumbled         1   it two years ago or six years ago, do you have any basis
  2   documents produced together.                                 2   other than Exhibit 8 to say whether they occurred two
  3          Is this something you talked about with               3   years ago or six years ago?
  4   counsel during the break?                                    4       A No.
  5          MR. ERWIG: Objection to form. Instruct the            5       Q Okay. Okay. Let's go look at the exhibit
  6      witness not to reveal any sort of communications          6   that's on-screen right now, which is Exhibit C of
  7      between --                                                7   Exhibit 11.
  8          MS. LENT: Actually, when you talk to your             8           Before we took a break, we talked about these
  9      client during the break, I am entitled to ask if          9   ten distributors.
 10      that was a cause of a change in the answer to a          10           And I wanted to ask you, other than Restore
 11      question.                                                11   Robotics, were any of these distributors listed on
 12          THE WITNESS: No. That was something I                12   Exhibit C companies that had the ability themselves to
 13      reviewed on my own.                                      13   repair and reset the usage counter on EndoWrists?
 14   BY MS. LENT:                                                14       A No.
 15      Q And so based on the two unrelated e-mails in           15       Q And other than Restore Rebotix and the
 16   Exhibit 8, you now believe that the conversations with      16   attempt to set up Baker Scott and White [sic], did
 17   STERIS and Stryker occurred in 2014 and 2015; is that       17   Rebotix Repairs provide any other company with the
 18   your testimony?                                             18   ability to repair and reset the usage counter on
 19          MR. ERWIG: Objection to form.                        19   EndoWrist?
 20          THE WITNESS: Yes.                                    20       A No.
 21   BY MS. LENT:                                                21       Q Are you familiar with a company called
 22      Q I'm sorry. The -- your answer was -- came at           22   Surgical Instrument Service, or SIS?
 23   the same time as the objection, and I couldn't hear it.     23       A Yes.
 24      A Yes.                                                   24       Q Did Rebotix Repairs use SIS as a distributor?
 25      Q Is there any other basis for your                      25       A Yes.

                                                                                                      40 (Pages 154 - 157)
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                                         Highly CONF Chris Gibson              June 22, 2021
                                 Rebotix Repair LLC v Intuitive Surgical, Inc.
                                                     Page 158                                                         Page 160
  1       Q Can you describe the business relationship           1       A We had discussed with SIS that they wanted to
  2   between Rebotix Repairs an SIS?                            2   become their own service center. And they were going to
  3       A Yes. SIS has been a longtime customer of             3   set up in Arizona a facility they were already occupying
  4   Benjamin Biomedical. And as I discussed before, that we    4   and doing repairs at because they had two very large
  5   utilized our distributor base of Benjamin Biomedical to    5   customers in Arizona.
  6   offer the repair service that Rebotix Repairs was          6       Q Was this agreement ever executed?
  7   offering, and so we engaged SIS to begin selling the       7       A No.
  8   Rebotix Repair repair process and service to their         8       Q Why not?
  9   customers, which are the end-user hospitals.               9       A So I believe because of Intuitive. Their
 10       Q Did Rebotix Repairs ever provide information        10   customer was pressured -- they -- they were open and had
 11   to SIS regarding the method for extending usage limits    11   multiple discussions with their customer and their
 12   on EndoWrists?                                            12   customer's legal team, and they determined that
 13       A I believe some information was shared, yes.         13   Intuitive was threatening them and said they would not
 14       Q What information was shared?                        14   repair their robot. They would no longer service it if
 15       A I don't know. That would have come from Stan        15   they started using SIS or Rebotix Repair for the
 16   and Greg.                                                 16   servicing of their EndoWrist. And so without their
 17       Q Do you know whether Rebotix informed SIS            17   large customers coming on board, there was no reason for
 18   about any regulatory approval sought by Rebotix for       18   them to sign the agreement.
 19   extending usage limits on EndoWrists?                     19       Q What customer are you referring to?
 20       A I don't know.                                       20       A I knew you were going to ask me that, and I
 21       Q Do you know whether Rebotix informed SIS that       21   don't remember. There was two of them out in Arizona.
 22   Rebotix had withdrawn its application for FDA approval    22   If you give me a minute to -- to think about it.
 23   to extend the usage life -- the usage limits on           23       Q Uh-huh.
 24   EndoWrists?                                               24       A I -- I'm sorry. I'm drawing a blank right
 25           MR. ERWIG: Objection to form.                     25   now. I know it will come to me. But it is two very
                                                     Page 159                                                         Page 161
  1          THE WITNESS: I don't know.                          1   large customers in Arizona.
  2          MS. LENT: Let's introduce as the next               2       Q And you learned about that through
  3      exhibit tab 45.                                         3   discussions with SIS?
  4          (Exhibit 13 was marked for identification.)         4       A I'm -- I'm sorry. Say that one more time.
  5          MR. MCMILLAN: Sure. Please stand by.                5       Q All of this information that you just
  6          Tab 45 has been introduced as Gibson                6   testified to about these two large customers in Arizona,
  7      Exhibit 13.                                             7   how did you learn that information?
  8   BY MS. LENT:                                               8       A Actually, previously to that -- to this
  9      Q Exhibit 13 is an e-mail from Chris G to Greg          9   agreement, Glenn and I had presented the repair service
 10   Posdal and David, with the subject line "Agreement,"      10   process at one of the hospital systems, and so we knew
 11   dated August 22, 2019.                                    11   it was a large system. SIS, however, had been servicing
 12          Mr. Gibson, can you take a look at this            12   this hospital system for a long time and for many years.
 13   exhibit and let me know if you recognize it?              13   For like 20 years. And so they actually had the
 14      A Sure. Just give me a minute.                         14   relationship there. And then, yes, then the
 15          Okay. I've reviewed it.                            15   conversation was then relayed to us through SIS that the
 16      Q What -- who's Greg Posdal?                           16   hospital system was not going to move forward working
 17      A Greg, is the -- I believe the president of           17   with SIS or Rebotix Repairs.
 18   SIS.                                                      18       Q Well, was -- did -- did you have an
 19      Q And who's David who's BCC'd?                         19   understanding that SIS was unhappy with Rebotix for
 20      A I assume that's probably David Mixner.               20   going after one of its customers -- longstanding
 21      Q Any idea why you BCC'd him here?                     21   customers?
 22      A Probably just so he saw that there's an              22           MR. ERWIG: Objection to form.
 23   agreement going out to SIS.                               23           THE WITNESS: No.
 24      Q And why were you sending this draft agreement        24   BY MS. LENT:
 25   to SIS?                                                   25       Q Did SIS -- do you know whether SIS knew that

                                                                                                   41 (Pages 158 - 161)
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                                                      Page 162                                                        Page 164
  1   Rebotix went and pitched one of its longstanding            1      exhibit.
  2   customers?                                                  2          (Exhibit 14 was marked for identification.)
  3           MR. ERWIG: Objection to form.                       3          MR. MCMILLAN: Please stand by.
  4           THE WITNESS: I believe they did.                    4          Tab 52 has been introduced as Gibson
  5   BY MS. LENT:                                                5      Exhibit 14.
  6       Q Did you discuss that with SIS?                        6   BY MS. LENT:
  7       A I don't know. I don't recall.                         7      Q Exhibit 14 is an e-mail from Chris G to Glenn
  8       Q Did Rebotix Repairs require any minimum               8   P on January 24, 2020. The subject is "REB Memorandum
  9   payment?                                                    9   of Understanding."
 10       A I'm sorry. I just remembered the names of            10          Can you take a look at this document and let
 11   the two hospital systems.                                  11   me know if you recognize it?
 12       Q Okay.                                                12      A Sure. Just give me a second.
 13       A It's HonorHealth and Banner Health.                  13          Okay. Yes.
 14       Q And which is the one that Rebotix pitched to?        14      Q Do you recognize this document?
 15       A Actually, we pitched to both of them. But I          15      A Yes. I've seen it before.
 16   think -- well, see, now I'm confused. I would say          16      Q And what is it?
 17   probably Banner was the one that SIS had the better        17      A It's a memorandum of understanding that
 18   relationship at.                                           18   SIS -- I believe they wrote this and sent it to us and
 19       Q In exchange for providing SIS with the               19   wanted us to agree to these terms, which we never did
 20   technology to reset the usage counter on EndoWrists, was   20   and never would.
 21   Si -- sorry -- was Rebotix Repairs requiring any minimum   21      Q And this was subsequent to the last exchange
 22   payment from SIS?                                          22   we saw about entering into a -- a servicing agreement?
 23       A I would have to look at the agreement, but           23      A I don't remember. What was the date on that
 24   typically yes, we did -- yes, I can see right here. The    24   service agreement I sent? I'm sorry. I can go back
 25   initial quantity was they had to buy, looks like, 50       25   through here and look.
                                                      Page 163                                                        Page 165
  1   Interceptor boards from us.                                 1       Q August 2019.
  2       Q And where are you looking at for that?                2       A Yeah. So this was after. The memorandum of
  3       A Under "Scope of Work."                                3   understanding came after we sent over our agreement, our
  4       Q So that was for the initial setup, that this          4   agreement. Sorry.
  5   draft agreement would require SIS to purchase 50            5       Q And why do you say that Rebotix Repairs never
  6   components; is that right?                                  6   would agree to these terms?
  7       A Correct. That's the way I'm reading it.               7       A Well, when I look at the pricing, that's not
  8       Q And each Interceptor component price,                 8   something that we would ever agree to -- where they say
  9   according to section three of the agreement, would be       9   for the first 100, it's $200, and then 350, and then
 10   not to exceed $800; is that right?                         10   450, based on steps of how many they do.
 11       A Correct.                                             11       Q So let's look at that. This is number two in
 12       Q So the initial investment for SIS would be up        12   that memorandum of understanding. The first bullet
 13   to $40,000 if they executed this agreement?                13   says, "For the first 100 (combination
 14       A I believe that would be right.                       14   Interceptors/repairs) the discount from current pricing
 15       Q Were there any other initial costs -- strike         15   per Interceptor or repair shall be $200."
 16   that.                                                      16           Do you see that?
 17          Were there any other initial amounts that           17       A Yes.
 18   Rebotix Repair was requesting to be paid by SIS in order   18       Q So does that mean it's -- they're charging
 19   to enter into a service center agreement?                  19   $200 or it's $200 off of some other price?
 20       A Not that I recall.                                   20       A The way I understand that is if they were
 21       Q And, again, your understanding is that a             21   buying boards at no more than $800, and then for the
 22   service center agreement was never executed with SIS,      22   first 100, they want a volume discount of $200 off each
 23   correct?                                                   23   $800 board. So they would be paying 600. And then as
 24       A Correct.                                             24   you go forward in the next bullet point, the next 200
 25          MS. LENT: Let's introduce tab 52 as the next        25   would be 350 off. And then the next 300, it would be

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                             EXHIBIT 18

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
                      STATEMENTS
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                              Deposition of:
       AEO John "Jake" Joseph Colletti , Jr.
                               May 7, 2021


                             In the Matter of:

           Restore Robotics LLC v Intuitive
                      Surgical




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                                                                      Page 1

 1                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
 2                           PANAMA CITY DIVISION
 3
 4
         RESTORE ROBOTICS LLC AND
 5       RESTORE ROBOTICS REPAIRS
         LLC,
 6                                                   CIVIL ACTION FILE
                             Plaintiffs,
 7                                                   NO. 5:19-cv-55-TKW-MJF
                       vs.
 8
         INTUITIVE SURGICAL, INC.,
 9
                       Defendant.
10       ~~~~~~~~~~~~~~~~~~~~~~~~~~
11
12
13                       REMOTE VIDEO DEPOSITION OF
14                   JOHN "JAKE" JOSEPH COLLETTI, JR.
15
16
                                     May 7, 2021
17
                                      1:04 p.m.
18
19
                                753 Longwood Drive
20                            Lake Forest, Illinois
21
22
23
                        S. Julie Friedman, CCR-B-1476
24
25

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  1           APPEARANCES OF COUNSEL                                     1            INDEX TO EXHIBITS
  2 On behalf of the Plaintiffs:                                         2 Exhibit      Description        Page
  3    JEFFREY L. BERHOLD, P.C.                                          3 Exhibit 5 Sunday, June 23, 2019 9:11 PM      46
       JEFFREY L. BERHOLD, ESQ.                                                    E-mail, from Colletti, to Parker,
                                                                         4         Subject: Ac promo
  4    Suite 1050
                                                                                   2019_momentumsRobotics2.pptx,
       1230 Peachtree Street NE                                          5         HIGHLY CONFIDENTIAL – ATTORNEYS’
  5    Atlanta, Georgia 30309                                                      EYES ONLY 0040518--0040544
       404.872.3800                                                      6
  6    678.868.2021 Fax                                                    Exhibit 6 E-mail Chain Ending with Tuesday, 52
       jeff@berhold.com                                                  7         October 15, 2019 4:10 PM E-mail,
  7                                                                                from cparker@restorerobotics.com,
    On behalf of the Defendant:                                          8         to Colletti, Subject: RE: Letter,
  8                                                                                HIGHLY CONFIDENTIAL – ATTORNEYS’
                                                                         9         EYES ONLY 0007161-0007162
       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                                                        10 Exhibit 7 E-mail Chain Ending with        56
  9    MICHAEL W. FOLGER, ESQ.
                                                                                   Wednesday, May 1, 2019 3:30 PM
       ANISA A. SOMANI, ESQ.                                            11         E-mail, from Greeson, to May and
 10    One Manhattan West                                                          Parker, Subject: RE: Meeting with
       New York, New York 10001-8602                                    12         Medline QA, HIGHLY CONFIDENTIAL –
 11    212.735.2157                                                                ATTORNEYS’ EYES ONLY
       917.777.2157 Fax                                                 13         0007881-0007884
 12    michael.folger@skadden.com                                       14 Exhibit 8 E-mail Chain Ending with        59
 13    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP                                    Thursday, May 9, 2019 11:11 AM
       ANISA A. SOMANI, ESQ.                                            15         E-mail, from Allegretti, to
                                                                                   Greeson, et al., Subject: RE:
 14    1440 New York Avenue, N.W.
                                                                        16         Restore Robotics Meeting, HIGHLY
       Washington, D.C. 20005                                                      CONFIDENTIAL – ATTORNEYS’ EYES
 15    202.371.7509                                                     17         ONLY 0009643-0009644
       202.661.8209                                                     18 Exhibit 9 E-mail Chain Ending with Tuesday, 61
 16    anisa.somani@skadden.com                                                    June 18, 2019 12:11 PM E-mail,
 17                                                                     19         ,from Zeman, to Parker, Subject:
    Also Present:                                                                  RE: Pre•]Submission, HIGHLY
 18    Chris McMillan, Concierge Tech                                   20         CONFIDENTIAL – ATTORNEYS’ EYES
       Alan Pokotilow, Videographer                                                ONLY 0041564-0041565
 19                                                                     21
                                                                           Exhibit 10 Thursday, June 20, 2019 9:06 AM    64
 20
                                                                        22         E-mail, from Parker, to Colletti
 21                                                                                and Sheehy, Subject: FAQ doc,
 22                                                                     23         HIGHLY CONFIDENTIAL – ATTORNEYS’
 23                                                                                EYES ONLY 0005838-0005842
 24                                                                     24
 25                                                                     25

                                                               Page 3                                                                  Page 5
  1            INDEX OF EXAMINATIONS                                     1             INDEX TO EXHIBITS
  2 WITNESS:
    John "Jake" Joseph Colletti, Jr.
                                                                         2 Exhibit       Description        Page
  3                                 Page                                 3 Exhibit 11 E-mail Chain Ending with           73
  4 CROSS-EXAMINATION                           7                                   Wednesday, May 13, 2020 10:30 AM
     By Mr. Berhold
  5
                                                                         4          E-mail, from Parker, to Colletti
     CROSS-EXAMINATION                         16                                   and Sheehy, Subject: RE: Sales
  6 By Mr. Folger                                                        5          only -DaVinci, HIGHLY
  7                                                                                 CONFIDENTIAL – ATTORNEYS’ EYES
                INDEX TO EXHIBITS
  8                                                                      6          ONLY 0005393 -0005394
     Exhibit       Description       Page                                7 Exhibit 12 Maintenance and Private Label       76
  9                                                                                 Repair Agreement, ATTORNEYS' EYES
     Exhibit 1 E-mail Chain Ending with Friday, 13
 10          January 10, 2020 3:38 PM E-mail,
                                                                         8          ONLY, Restore-00018643-00018667
             from Klinefelter, to Colletti and                           9 Exhibit 13 Tuesday, February 25, 2020 11:20 80
 11          Therrien, Subject: RE: Da Vinci                                        AM E-mail, from Parker, to
             Service contract Language, HIGHLY
 12          CONFIDENTIAL -- ATTORNEYS' EYES
                                                                        10          Colletti and Sheehy, Subject:
             ONLY 0041672-41676                                                     Restore numbers for 2019, HIGHLY
 13                                                                     11          CONFIDENTIAL – ATTORNEYS’ EYES
     Exhibit 2 Wednesday, July 8, 2020 1:26 PM    15
                                                                                    ONLY 0004329-4332
 14          E-mail, from Colletti, to Sheehy,
             et al., Subject: SI Endowrist,                             12
 15          HIGHLY CONFIDENTIAL – ATTORNEYS’                           13
             EYES ONLY, 0040639                                                (Original Exhibits 1 through 13 have been
 16
     Exhibit 3 Wednesday, May 15, 2019 8:22 AM      27                  14 attached to the original transcript.)
 17          E-mail, from                                               15
             cparker@restorerobotics.com, to                            16
 18          Czajka and Colletti
 19 Exhibit 4 Friday, June 7, 2019 10:03 AM     33
                                                                        17
             E-mail, from                                               18
 20          cparker@restorerobotics.com, to                            19
             Colletti, Subject: 008__RESTORE
                                                                        20
 21          ROBOTICS__INTRODUCTION •]
             Q1•]19.pptx, HIGHLY                                        21
 22          CONFIDENTIAL -- ATTORNEYS' EYES                            22
             ONLY 0005717-0005728                                       23
 23
 24                                                                     24
 25                                                                     25

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                               Restore Robotics LLC v Intuitive Surgical
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  1        THE VIDEOGRAPHER: We're on the record.            1     Q. What do you do?
  2   The time is now 1:04 p.m. Today is Friday,             2     A. My title is national sales director for
  3   May 7th of 2021.                                       3 Medline Industries.
  4        We're here today at the Colletti residence        4     Q. And what are your responsibilities in that
  5   located at 753 Longwood Drive in Lake Forest,          5 capacity?
  6   Illinois, for the media-recorded deposition of         6     A. I oversee the sales for our reprocessing
  7   John Joseph Colletti, Jr., in the matter of            7 division. It's a -- the sale of single-use devices
  8   Restore Robotics LLC, Restore Robotics Repairs         8 back in for healthcare use.
  9   LLC, and Clif Parker Robotics LLC versus               9     Q. Does your division also sell repaired
 10   Intuitive Surgical Incorporated; and                  10 devices?
 11   Counterclaimant Intuitive Surgical Incorporated       11     A. We do.
 12   versus Restore Robotics LLC and Restore Robotics      12     Q. Do you a sales staff?
 13   Repairs LLC, Civil Case No. 5:19-cv-55-TKW-MJF,       13     A. We do. I have six -- six regional
 14   to be heard before The United States District         14 directors, and then it's about 34 renewal sales
 15   Court, For The Northern District of Florida,          15 specialists throughout the country.
 16   Panama City Division.                                 16     Q. Does your sales staff have a sales
 17        Our court reporter today is Julie                17 approach generally?
 18   Friedman, here today on behalf of Veritext Legal      18     A. They are dedicated -- They are dedicated
 19   Solutions. I'm Alan Pokotilow, a legal                19 access to -- specifically to the division's need to
 20   videographer, also here today here on behalf of       20 sell reprocessing. We work relationships through our
 21   Veritext Legal Solutions.                             21 acute care sales force through Medline, which about
 22        Will counsel please state your name and          22 700 folks nationwide, so leveraging supply chain
 23   affiliation for the record, after which our           23 relationships we have through our distribution arm.
 24   court reporter will read a brief stipulation and      24     Q. At some point, did Medline look at
 25   then swear the witness, and we can proceed.           25 starting a relationship with Restore Robotics?
                                                   Page 7                                                    Page 9
  1       MR. BERHOLD: Jeff Berhold for Plaintiffs           1    A. Yes.
  2   Restore Robotics LLC, Restore Robotics Repairs         2    Q. Were you involved in that process?
  3   LLC, and Clif Parker Robotics LLC.                     3    A. Yes. I was involved in the initial
  4       MR. FOLGER: Folger for Defendant                   4 conversations and commitment.
  5   Intuitive Surgical on behalf of Skadden Arps.          5    Q. What is your recollection of what Medline
  6       MS. SOMANI: Anisa Somani on behalf of --           6 did in that process?
  7   behalf of -- Anisa Somani from Skadden Arps for        7    A. We actually went to their physical site in
  8   Intuitive Surgical.                                    8 Anaheim, California, visited what exactly the
  9       THE COURT REPORTER: Due to the need for            9 mechanisms they would do in order to repair an
 10   this deposition to take place remotely because        10 EndoWrist device. We also have relationships in
 11   of the Government's order for social distancing,      11 repair already in place with Restore prior to.
 12   the parties will stipulate that the court             12    Q. Did Medline undertake any assessment of
 13   reporter may swear in the witness over the            13 whether a -- it believed that a 510(k) was necessary
 14   Veritext virtual videoconference and that the         14 for selling the repaired instruments?
 15   witness has verified that he is, John Joseph          15    A. For repair, you know, due to ISO
 16   Colletti, Jr.                                         16 certification and what we were -- for what we've done
 17       JOHN "JAKE" JOSEPH COLLETTI, JR., having          17 historically, we restore, the 510(k) was not
 18   been first duly sworn, was examined and               18 necessary.
 19   testified as follows:                                 19    Q. At some point did Medline enter a
 20   CROSS-EXAMINATION                                     20 distribution agreement for buying and reselling the
 21   BY MR. BERHOLD:                                       21 repaired EndoWrist instruments?
 22   Q. Good afternoon, Mr. Colletti.                      22    A. Yes.
 23   A. Good afternoon.                                    23    Q. And did your sales staff pitch the restair
 24   Q. Are you currently employed?                        24 (ph.) -- repaired instruments to their -- your
 25   A. I am.                                              25 customers?

                                                                                                  3 (Pages 6 - 9)
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                                                   Page 10                                                   Page 12
  1     A. We did.                                            1 warranty, what it would mean to their service
  2     Q. Do you recall how many customers were              2 agreements, things of that nature.
  3 pitched on the repaired instruments?                      3    Q. And the balance -- Well, and then another
  4     A. I don't have an exact number, but I would          4 20 percent had mentioned interference from Intuitive
  5 say at least a minimum of a hundred.                      5 representatives?
  6     Q. Do you recall the response generally from          6        MR. FOLGER: Objection. Form.
  7 your customers?                                           7        THE WITNESS: A lot of times, at certain
  8         MR. FOLGER: Objection. Form.                      8    locations -- it can vary across the country --
  9     Q. (By Mr. Berhold) You can answer, Mr.               9    the sales team could be involved in actually
 10 Colletti.                                                10    case coverage, actually helping operate the
 11     A. We -- We had several customers interested         11    robot itself or managing inventory for the
 12 in the endeavor, in -- in tackling the repairs of        12    staff.
 13 EndoWrist.                                               13        When it came into play of using a repaired
 14     Q. Were there -- Did you observe different           14    device or nothing that Intuitive was making,
 15 types of responses to the sales pitch?                   15    well, made -- they made originally, anything
 16     A. We did. Yes. Responses range from                 16    that would -- involved with a repaired device,
 17 contractual obligations, contractual restrictions,       17    they would not, you know, not cover that type of
 18 interference from the -- I would say, the Intuitive      18    case.
 19 sales force and -- and some clinical objection.          19    Q. (By Mr. Berhold) And would that include
 20     Q. Do you recall generally how many of the or        20 providing field service on the robot?
 21 what percentage --                                       21        MR. FOLGER: Objection to form.
 22         Do you recall what percentage of the             22        THE WITNESS: Correct.
 23 customers pitched had clinical objections?               23    Q. (By Mr. Berhold) At some point, did
 24     A. Clinical was actually one of the smaller.         24 Medline stop pitching the repaired instruments --
 25 Probably only about 5 or 10 percent was the clinical     25    A. Yes.
                                                   Page 11                                                   Page 13
  1 objection to a repaired EndoWrist.                     1    Q. -- to the customers?
  2         The majority, vast majority was -- You         2    A. Yes.
  3 know, I would say 65, 70 percent would be the -- the 3      Q. Do you recall why?
  4 contractual piece, what any type of use of a repaired  4    A. It was due to this lawsuit.
  5 instrument would mean towards a -- a service           5    Q. Can you explain a little further what you
  6 agreement or anything already in place the customer 6 mean by due to the lawsuit.
  7 had with Intuitive.                                    7    A. We were informed by Restore Robotics that
  8     Q. And could you describe a little more about      8 they would no longer be able to repair any of the
  9 what you mean by clinical objections.                  9 EndoWrists we were -- collected or worked with our
 10     A. So what we do, what I do for -- for            10 customers, so we had to take a pause in the program.
 11 Medline is we sell remanufactured single-use devices, 11    Q. Was it your understanding that Restore
 12 so there's a lot of what historically thought of as a 12 Robotics was waiting to get some sort of relief
 13 secondhand device, so similar to a repair, thinking   13 through the lawsuit?
 14 it would be a secondhand device.                      14        MR. FOLGER: Objection to form.
 15         For the clinical folks, they're not           15        THE WITNESS: In my opinion, I know
 16 educated on what actually we go through to -- to      16    Restore Robotics was looking to see if they
 17 either repair or reprocess something.                 17    could continue to -- the practice of -- of
 18     Q. And what was the percentage of customers       18    repairing EndoWrists.
 19 pitched that had the clinical objections?             19        MR. BERHOLD: Concierge, can we get 41672.
 20     A. Yeah. I'd say probably like that 5- to         20        THE CONCIERGE TECH: Sure. Please stand
 21 10-percent range.                                     21    by.
 22     Q. And another 65 to 70 percent of customers      22        (Exhibit 1 was marked for identification.)
 23 pitched had concerns about contractual restrictions   23        THE CONCIERGE TECH: 41672 has been
 24 with Intuitive?                                       24    introduced as Colletti Exhibit 1 and is now on
 25     A. Correct. What it would mean to a               25    the screen.

                                                                                                 4 (Pages 10 - 13)
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                                                     Page 14                                                   Page 16
  1    Q. (By Mr. Berhold) Mr. Colletti, can you                1     A. It's been a long time, but sure. Yes.
  2 see Exhibit 1 on your screen?                               2     Q. And was it your impression that Restore
  3    A. I can.                                                3 Robotics was waiting for the outcome of the lawsuit
  4    Q. Would you like a minute to review it? The             4 to turn back on the repaired instrument business?
  5 concierge can -- can scroll through it, if that helps       5         MR. FOLGER: Objection to form.
  6 your recollection.                                          6         THE WITNESS: That's correct.
  7        THE WITNESS: Can you scroll to the                   7         MR. BERHOLD: Well, thank you, Mr.
  8    bottom, please.                                          8     Colletti. I don't have any further questions.
  9        THE CONCIERGE TECH: Yes. It's a                      9         Mr. Folger may have some questions for
 10    five-page document, just so you know.                   10     you.
 11        THE WITNESS: Okay.                                  11         MR. FOLGER: Yeah. I -- I will have some
 12        THE CONCIERGE TECH: Just tell me when to            12     questions.
 13    stop, if you want.                                      13         Mr. Colletti, do you want to take maybe a
 14        THE WITNESS: Yeah. Just start from the              14     five-minute break while we organize some
 15    bottom, please.                                         15     thoughts, and then we'll jump in?
 16        THE CONCIERGE TECH: Okay.                           16         Does that work for you?
 17        THE WITNESS: Can you stop there real                17         THE WITNESS: Sure.
 18    quick.                                                  18         THE VIDEOGRAPHER: The time is now
 19        Please proceed to move up.                          19     1:23 p.m. We're going off the record.
 20        You can keep going.                                 20         (Recess from 1:23 p.m. to 1:30 p.m.)
 21        You can keep going.                                 21         THE VIDEOGRAPHER: The time is now
 22        You can stop there.                                 22     1:30 p.m. We're back on the record.
 23        You can move up.                                    23         Please continue.
 24        You can stop there.                                 24     CROSS-EXAMINATION
 25    Q. (By Mr. Berhold) So Mr. -- So,                       25     BY MR. FOLGER:
                                                     Page 15                                                   Page 17
  1 Mr. Colletti, would Exhibit 1 be an example of a      1     Q. Hey, Mr. Colletti. I'm going to ask you a
  2 customer that pointed to contractual restrictions --  2 few questions now; and, you know, the same
  3    A. Yes.                                            3 instructions as -- as Jeff just gave you.
  4    Q. -- regarding --                                 4         Answer honestly.
  5        MR. FOLGER: Objection.                         5         If you don't understand my question,
  6    Q. (By Mr. Berhold) -- repaired instruments?       6 please feel free to ask me to restate it. I'll do my
  7        MR. FOLGER: Objection to form.                 7 best to get it in a way that's understandable.
  8        THE WITNESS: Yes. It would be.                 8         Does that work for you?
  9        MR. BERHOLD: Can we turn to -- Chris,          9     A. Sure.
 10    can we turn to the second exhibit in the Exhibit  10     Q. Great.
 11    Share.                                            11         And, you know, I think we did a pretty
 12        THE CONCIERGE TECH: Sure.                     12 good job of this so far; but we'll try our best not
 13        MR. BERHOLD: The 040639.                      13 to speak over each other. So I'll try and take a
 14        THE CONCIERGE TECH: Sure. Please stand 14 pause after I answer (sic) my question; and if you're
 15    by.                                               15 in the middle of answering, I'll try to make sure
 16        (Exhibit 2 was marked for identification.)    16 that you get a chance to fully answer the question
 17        THE CONCIERGE TECH: 40639 has been 17 without doing anything.
 18    introduced as Colletti Exhibit 2 and is now on    18         If I accidentally interrupt you, just let
 19    the screen.                                       19 me know; and I'll make sure you have the opportunity
 20    Q. (By Mr. Berhold) Mr. Colletti, have you        20 to finish your -- your thought.
 21 had a chance to review Exhibit 2?                    21         Is that okay?
 22    A. I'm reading it right now.                      22     A. Yeah. Thank you, Mike.
 23        I'm finished, Jeff.                           23     Q. Yeah. And then the other thing is, you
 24    Q. Thank you.                                     24 know, I think I have a little more questioning than
 25        Mr. Colletti, do you recognize Exhibit 2?     25 we just sort of had from the other side, so if at any

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  1 point you would like to take a break for any reason,       1 other device or piece of equipment in the hospital.
  2 please just let me know. We can go off the record          2 So why would it be -- be different?
  3 and grab food or water or whatever.                        3     Q. Okay. You also, I think, stated that you
  4        I just ask that if a question is pending            4 believe that there was interference from the
  5 to you, if you could answer first; and then we can         5 Intuitive sales force. Is that accurate?
  6 take a break at whatever time would work.                  6     A. That's correct.
  7        Is that okay?                                       7     Q. What specifically do you mean by
  8    A. Sounds good.                                         8 interference from the Intuitive sales force?
  9    Q. Great. Okay. So when Mr. Berhold was                 9     A. Sure. After pitching some of the programs
 10 questioning you, I -- I think you said that you had       10 to clinical and supply chain staff, their further
 11 made or Medline had made an assessment about whether      11 investigation, their return response to us was --
 12 Restore needed a 510(k); is that accurate?                12 would be, well, then our rep would not cover any
 13    A. Yes.                                                13 cases using a repaired device or a situation where
 14    Q. And who performed that assessment?                  14 the Intuitive rep actually physically manages either
 15        Did you perform it?                                15 inventory or actual -- the actual function of the
 16    A. Medline did not.                                    16 da Vinci robot during the procedure.
 17    Q. Medline did not perform an assessment on            17     Q. I'm sorry. I don't think I quite
 18 whether a 510(k) repair was needed?                       18 understood what you meant by manages the inventory.
 19    A. That's correct.                                     19 Could you just perhaps clarify that.
 20    Q. Okay. So -- So perhaps I misunderstood.             20     A. Sure. Several -- Several locations will
 21 When there was a determination made that a 510(k) was     21 have actually the Intuitive rep manage the devices
 22 not necessary, who made that determination?               22 in -- in and out of the institution, so if more of a
 23    A. A determination was made by Restore of              23 certain version of the -- an EndoWrist is needed,
 24 whether or not a 510(k) was necessary for a repair        24 they would perform the ordering, the -- the intake,
 25 product.                                                  25 stocking.
                                                    Page 19                                                       Page 21
  1     Q. Okay. And I believe that you had said               1         Those devices also are used more than
  2 that Medline had attempted to sell Restore services        2 once, so registering them if they're, you know, put
  3 to approximately 100 customers; is that correct?           3 back into a set for a -- a future case. Managing the
  4     A. At minimum, yes. We -- We pitched the               4 inventory.
  5 program for EndoWrist repair.                              5         MR. FOLGER: Okay. Can I ask the
  6     Q. Okay. So it was pitched to about a                  6    concierge to pull back up Exhibit 1 to the
  7 hundred customers, is that fair?                           7    deposition.
  8     A. At minimum.                                         8         THE CONCIERGE TECH: Sure. Please stand
  9     Q. And you said several were interested in             9    by.
 10 the services. Do you know how many?                       10         Exhibit 1 is now back on the screen.
 11     A. More than 80 percent.                              11         MR. FOLGER: Thank you.
 12     Q. Okay. And you had noted that some folks            12    Q. (By Mr. Folger) And, Mr. Colletti, you
 13 expressed clinical objections is that accurate?           13 remember looking at this a few minutes ago, correct?
 14     A. That's correct.                                    14    A. That's correct.
 15     Q. And what were those clinical objections,           15         MR. FOLGER: Can I ask to scroll, if the
 16 if you remember?                                          16    Concierge would scroll down to the page ending
 17     A. Thinking it would be a secondhand product.         17    in 41674.
 18     Q. Okay. And was it your position that                18         If you could, pause right there.
 19 this -- that the repair services were not secondhand      19    Q. (By Mr. Folger) Do you see there's an
 20 product?                                                  20 e-mail from Eric Therrien, sent to Justin Kingfeller
 21     A. That's correct.                                    21 (ph.), Christopher Sahagun, and Brian Harty on
 22     Q. So what -- how would you -- Scratch that.          22 December 6, 2019?
 23          Well, if not a secondhand product, what          23    A. I see that here. Yes.
 24 type of product would it be?                              24    Q. And are you familiar Eric Therrien?
 25     A. It -- It's just a repair service like any          25    A. Yes. Eric's on -- part of our staff.

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  1     Q. Okay. Does he report to you?                          1 Restore's services to potential customers, I believe.
  2     A. Not directly. No.                                     2 Is that accurate?
  3     Q. Okay. And do you see he writes to Justin              3     A. We did. Yes. Still do.
  4 that is correct, but we don't really replace                 4     Q. And -- And you -- you still do. So
  5 anything. Most of the repair is more of a design             5 you're still doing that today?
  6 check to see if it's operational, check cables are           6     A. Under Restore Robotics, no.
  7 not frayed, scissors are sharpened, et cetera.               7     Q. Okay.
  8 Anything too detrimental, we will not replace and            8     A. I thought you meant Restore. We do a lot
  9 offer a replacement at the repair price.                     9 of business with MediVision and Restore.
 10         Do you see that?                                    10     Q. Thanks. That's a helpful clarification.
 11     A. Yes. I do.                                           11 I appreciate that.
 12     Q. And does this comport with your                      12         What -- what did -- did -- Did Medline
 13 understanding of Restore's offerings regarding              13 provide any materials to prospective customers?
 14 EndoWrist instruments?                                      14     A. We might have had a couple of pieces of
 15     A. Their offering included, you know,                   15 collateral to explain what the program was about.
 16 cosmetic repair such as a sharpening of the scissor         16     Q. Okay. And would Medline from worked on
 17 as -- as part of the repair process.                        17 drafting those materials in any way?
 18     Q. And if you know, is it accurate that                 18     A. We would have -- Anything with a Medline
 19 Restore doesn't really replace anything on the              19 logo, we would have had gone through our division
 20 EndoWrist instrument?                                       20 before distribution. Yes.
 21     A. I've never actually seen one under repair;           21     Q. Okay. And when you say "gone through our
 22 but to my knowledge, yes.                                   22 division," what does that process entail?
 23     Q. Okay. And Mr. Therrien also writes,                  23     A. Reviewed with our internal marketing team.
 24 "Anything too detrimental, we will not replace and          24     Q. Okay. Great. Were -- Were there any
 25 offer a replacement at the repair price."                   25 specific types of hospitals that were targeted as
                                                      Page 23                                                    Page 25
  1          Do you see that?                                    1 prospective customers?
  2     A. I do.                                                 2     A. Only those that owned the da Vinci Si
  3     Q. And do you know what Mr. Therrien meant by            3 robot.
  4 that?                                                        4     Q. Okay. And was there any specific
  5     A. I can't speak for Eric.                               5 geography that Medline focused on?
  6     Q. Okay. Let me -- Let me ask differently                6     A. No.
  7 then. If a -- an EndoWrist was sent by a customer            7     Q. And who would be the -- the audience for
  8 and it was damaged in some way, do you know if               8 these materials at a hospital?
  9 Restore would offer a replacement at the repair              9     A. Typically, supply chain or -- or head of
 10 price?                                                      10 OR would be typically the folks we were trying to
 11     A. We had the ability to sell -- sell an                11 communicate with.
 12 EndoWrist that was available from -- from the market,       12     Q. Okay. Would you ever communicate with
 13 so yes.                                                     13 surgeons that use the da Vinci system?
 14     Q. Okay. So you had -- Or apologies.                    14     A. On the -- On certain situations where the
 15          Restore had an inventory of EndoWrist that         15 conversation evolved, yes.
 16 it would sell. Were these -- did -- Did Restore             16     Q. Okay. Do you remember any specific
 17 perform any servicing on these replacement                  17 hospitals that you spoke with surgeons about?
 18 EndoWrists, if you know?                                    18     A. I don't.
 19     A. I'm not sure, Mike, on that.                         19     Q. Okay. Did you have any communications
 20     Q. That's fine. Thanks.                                 20 with anyone at Restore about which hospitals to
 21          MR. FOLGER: We -- We can pull down this            21 target for these collateral materials?
 22     exhibit now.                                            22     A. No. We -- We're pretty embedded into --
 23     Q. (By Mr. Folger) Okay. I wanted to speak              23 We're pretty embedded into the healthcare system
 24 a little bit more generally.                                24 as -- as the largest med-surge distributor in the
 25          So you had said that Medline pitches               25 country, so we have pretty extensive relationships

                                                                                                    7 (Pages 22 - 25)
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                             EXHIBIT 19

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
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                             EXHIBIT 20

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
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   From:           Lindsey Otradovec [Lindsey.Otradovec@intusurg.com]
   Sent:           2/13/2019 10:44:57 AM
   To:             Chace Rawls [Chace.Rawls@intusurg.com]; Ron Bair [Ron.Bair@intusurg.com]
   CC:             Shelton Sykes [Shelton.Sykes@intusurg.com]
   Subject:        FW: Si service and Instrument reprocessing
   Attachments:    K182140.Letter.SE. FINAL_Sent001.pdf; K182140.I FU. Fl NAL_Sent001. pdf


   This tells rne .. that they are being coached by restore robotics or whoever the company is - to say ... "give me the proof
   you can't use the instruments more than x lives".
   This is why regulatory needs to be in the room to talk through why there are a specific number of lives based on testing,
   patient safety, etc..

   Thanks. LO


   From: Mario Lowe <Mario.Lowe@intusurg.com>
   Sent: Wednesday, February 13, 2019 10:31 AM
   To: Lindsey Otradovec <Lindsey.Otradovec@intusurg.com>; Mark Johnson <Mark.Johnson@intusurg.com>
   Cc: Chace Rawls <Chace.Rawls@intusurg.com>; Katie Scoville <Katie.Scoville@intusurg.com>
   Subject: RE: Si service and Instrument reprocessing

   Hi Lindsey:

   We can certainly provide the latest FDA SlO(k) Clearance letters. But this will not provide the information requested in
   Item 1 below. See attached for an example of an Xi Clearance letter.

   The request in item 1- required limitation of the number of uses per Endo-\Vrist lnstrnment

   Can you provide more clarification on what the hospital is looking for?

   Just so you know, FDA does not require nor limit the number of uses for our EW instruments. During the SlO(k)
   submission process, we provide data to FDA that supports the stated number of lives for a particular instrument that we
   state in our labeling.

   Mario

   Mario Lowe




   Mario.Lowe@intusurq.com




   1020 Kifer Rd
   Sunnyvale, CA 94086-5304 USA
   Intuitive.com




   From: Lindsey Otradovec <Lindsey.Otradovec@intusurg.com>
   Sent: Wednesday, February 13, 2019 7:26 AM




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   To: Mark Johnson <Mark.Johnson@intusurg.com>; Mario Lowe <Mario.Lowe@intusurg.com>
   Cc: Chace Rawls <Chace.Rawls@intusurg.com>; Katie Scoville <Katie.Scoville@intusurg.com>
   Subject: FW: Si service and Instrument reprocessing


   Mark and Mario,
   Can you provide me with any of the documentation for #1 below. The Baylor Health system is being very difficult as of
   late and we are trying to secure a live meeting to discuss things further. I assume you have a pdf file of the Xi and Si
   certification letters that we can send to them"? Need your guidance here.
   Any help you can provide would be helpful.

   Thank you. Lindsey



   From: Johnson, Tony <TONY.JOHNSON@BSWHEALTH.ORG>
   Sent: Tuesday, February 12, 2019 2:03 PM
   To: Chace Rawls <Chace.Rawls@intusurg.com>; Watson, Janet L <JANET.WATSON@BSWHEALTH.ORG>; Koreneff, Alan
   <ALAN.KORENEFF@BSWHEALTH.ORG>
   Cc: John Wagner <John.Wagner@intusurg.com>; Lindsey Otradovec <Lindsey.Otradovec@intusurg.com>; Shelton Sykes
   <Shelton.Sykes@intusurg.com>
   Subject: [EXTERNAL] RE: Si service and Instrument reprocessing

   Chase,

   We look forward to meeting again, however, we feel the meeting will not be productive until we receive the information
   we have repeatedly requested from Intuitive. Please provide the information below that we have been requesting and
   we will be happy to meet:


   Information requested by BSWH:
   1.     Provide documentation of the latest FDA certifications for Xi and SI robots and proving the FDA granted the
   510K based on a required limitation of the number of uses per Endo-Wrist Instrument.

   2.     Provide documentation proving an FDA requirement to perform a preventative maintenance service to remove
   the PM recommended notification light.

   3.     Provide documented scope of what is included in a preventative maintenance service and what is specifically
   excluded. BSWH does not find any transparency in past and current contracts for Service that define what is included vs
   excluded.

   4.     Request for "Distributor Toolkit". Informed by Jason Cooley, Field Service Senior Manager, that it is
   "Unavailable", although we understand it is available in Europe.

   5.      Need actual documents noted as "Documentation" in the Master Agreement terms and conditions to be
   included with the Master Agreement.

   6.      Provide data pertaining to BSWH cases including surgeon specific data, length of surgery, instruments used and
   other technical factors to allow BSWH to assess outcomes, efficiencies, etc.

   7.      Records of maintenance performed to date on all Si and Xi systems. Records should include specific description
   of preventative maintenance, corrective maintenance and/or any other maintenance performed on each unit including
   dates of service.

   Requests pertaining to Information Services Agreement:




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   8.       Provide documentation showing an express requirement by the FDA that the Si and Xi robots must be re-
   certified with a security, vulnerability or other software patch before the patch is made available to Intuitive' s
   customers or applied in a production setting

   9.      A copy of Intuitive' s latest independent audit report - (i.e., with regarding to information security on controls
   within Vendor's organization concerning the privacy, confidentiality, security, processing integrity, and availability of the
   Products and Services made pursuant to standards established by an authorized or recognized standards setting
   organization (e.g., International Auditing and Assurance Standards Board; Statement on Standards for Attestation
   Engagements (SSAE) SOC 1 report; SSAE SOC 2 report; ISO/IEC 27000 series) and prepared by a reputable independent
   auditing firm)

   10.     A detailed description and screen capture showing the complete English--language translation of the binary data
   feed from the robots to Intuitive


   Thanks ln advance for your prompt response.

   Tony W. Johnson
   Senior Vice President and Chief Supply Chain Officer
   Baylor Scott & White Health

   Office: (2.14) 820-8336
   Cell: (336) 409-6756




   From: Chace Rawls fmailto:Chace.Rawls@intusurg.com]
   Sent: Tuesday, February 12, 2019 11:31 AM
   To: Johnson, Tony <TONY.JOHNSON@BSWHEALTH.ORG>; Watson, Janet L <JANET.WATSON@BSWHEALTH.ORG>;
   Koreneff, Alan <ALAN.KORENEFF@BSWHEALTH.ORG>
   Cc: John Wagner <John.Wagner@intusurg.com>; Lindsey Otradovec <Lindsey.Otradovec@intusurg.com>; Shelton Sykes
   <Shelton.Sykes@intusurg.com>
   Subject: {EXTERNAL} Re: Si service and Instrument reprocessing

   All,

   I just wanted to follow up and see if there is a time we could meet next week with our Service leadership as
   requested below. We continue to have a lot of issues being bubbled up to our Field Service team, and I just
   want to ensure we are all aligned appropriately. Let me know if there is a date/time that works for you all.

   Thanks so much!

   Chace Rawls
   Director, Academic Key Accounts
   South Central United States
   Intuitive Surgical, Inc
   Cell: 469-223-8350
   E-mail: Chace. Raw ls(a)i ntusurg. com

   On Feb 6, 2019, at 4:33 PM, Chace Rawls <Chace.Rawls@intusurg.com> wrote:

   All,



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   I hope this e-mail finds you all doing well.

   During our meeting on Jan 15th, where we discussed the service contracts, we agreed to have some follow up
   discussions around our role in servicing your Si's. Since that time, it has also been brought to our attention that
   there have been some decisions made around reprocessing the instruments and replacing the chips that limit
   instrwnent lives.

   While we understand that there is a need to control cost as much as possible, there are also some risks that
   should be considered. This topic has also come up as we negotiate the Master Agreement as there is language
   in that agreement specific to instrument usage. Given the critical nature and potential risk implications in these
   scenarios, I wanted to see if we could schedule a meeting to bring our VP of Field Service to Baylor and talk
   through all of these issues together. At the end of the day, our goal is to ensure that all considerations are being
   factored into the decision and that BSWH isn't exposed to unforeseen risks.

   John Wagner is our VP of Field Service, based out of California. He is available to come to Dallas between Feb
   19-21. Let me know if there is a time on any of those days that you all would be available to meet, and I will
   coordinate on our end

   Thanks so much!

   Chace Rawls
   Director, Academic Key Accounts
   South Central United States
   Intuitive Surgical, Inc
   Cell: 469-223-8350
   E-mail: Chace.Rawls@intusurg.com

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                             EXHIBIT 21

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
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                             EXHIBIT 22

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
                      STATEMENTS
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   From:         Ralph Wadensweiler [Ralph.Wadensweiler@intusurg.com]
   Sent:         11/30/2018 3:12:14 PM
   To:           Grant Duque [Grant.Duque@intusurg.com]
   Subject:      FW: ISi Competition Slides


   fyi


   From: Maximillian Reese
   Sent: Friday, November 30, 2018 12:14 PM
   To: Ralph Wadensweiler; Anne Narimatsu; Ed Yeh; Lewis Isbell; Chrissy Shuh
   Subject: RE: ISI Competition Slides

   Hi Ralph,

   Very interesting, thanks for sharing the competition summary!

   You can get a bit of insight on what Verb is doing by quickly going through their job listings. Here are some things that
   come up frequently:
           "Build models which can describe scenes, actions and decisions critical to the surgical procedure.''
           "There comes a time in a commercial endeavor when you have to draw a line in order to get "Gen 1" to the
   market."
           "Work closely with Hardware Engineering and external partners to provide feedback on the design by evaluating
   the robotic instruments."
           "5+ years of proven record of SW development in one of the following areas: Robotics, Controls and Motion
   Planning, VR/AR, Physics Simulations, SLAM, Mapping and Localization or Sensor Fusion."
           "Blending robotics, imaging systems, user interface / user experience requires a talented team of engineers with
   strong system integration experience."

   From these it's pretty apparent they're doing something with VR/AR display system that has some kind of integrated
   machine learning to provide reaHime data/advice to a surgeon. Also motion planning, SLAM, localization, mapping, and
   sensor fusion are all topics that are typically associated with autonomous robotics systems (like autonomous cars) so
   that would imply that they are developing non-teleoperated use modes. The mention of a "Gen 1" product implies that
   they have moved out of R&D and into a NPD/NPI phase for releasing a system. And finally the last bullet sounds like an
   overall description of their product which includes a lot of focus on user interface and experience so I wouldn't put it
   past them to release a phone app or something gimmicky as well.

   Oh and just looking at who the/re hiring, it's basically all software and controls people so I'm guessing Ethicon is the
   complete owner for all instrument hardware development. The last quote is pulled from Ethic:on's job listings:
            "Contribute to architecting and implementing Ethicon's vision for smart/connected operating rooms, including
   digital/robotic surgery, advanced surgical instruments employing smart/adaptive algorithms to improve patient
   outcomes, and a connected loT infrastructure for data analytics and machine learning."

   -Max


   From: Ralph Wadensweiler
   Sent: Friday, November 30, 2018 11:14 AM
   To: Anne Narimatsu; Ed Yeh; Lewis Isbell; Maximillian Reese; Chrissy Shuh
   Subject: ISI Competition Slides

   Team,
   If you have 18 minutes to spare, this presentation from Riccardo Autorino (Urologist) is very interesting. Grant provided
   a link in his weekly meeting a few weeks back but here is the link again:




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   https://grandroundsinurology.com/robotic-surgical-systems-in-urology/

   In the slide presentation video, he discusses robotic surgical systems for Urological procedures. The section on the
   competition is interesting:
   •        Surgeons don't like the ISi monopoly
   •        Interesting MCS tip cover on a competitor MCS (may be similar to something Ed is considering)
   •        Amazingly similar systems and even instruments (a bipolar instrument looked like our older Ultem covered
   bipolar instruments)
   •        I didn't see anything too threatening yet but he didn't have information on Verb's system.

   -Ralph




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                             EXHIBIT 23

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   From:          Matt Heick [Matt.Heick@intusurg.com]
   Sent:          9/14/2019 9:14:22 AM
   To:            AJ lnacay [aj.inacay@intusurg.com]
   CC:            Woody Groves [Woody.Groves@intusurg.com]; Jennifer Scott [Jennifer.scott@intusurg.com]
   Subject:       FW: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)


   AJ,

   Can you provide my team with assistance on dealing with SIS. They are attempting to reprocess instruments at UF
   Shands.

   Thank you,

   Matt Heick




   Matt.heick@intusurg.com




          ◊

   lNTU!TIVE .

   From: Woody Groves <Woody.Groves@intusurg.com>
   Sent: Friday, September 13, 2019 6:09 PM
   To: Matt Heick <Matt.Heick@intusurg.com>
   Subject: Re: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)

   Thanks Matt. Who do I need to talk to? I'm on vacation next week.

   Sent from my iPhone
   Woody Groves

   On Sep 13, 2019, at 5:46 PM, Matt Heick <MatLHeick(Wintusurg.corn> wrote:

   Woody,

   Thanks for brining to my attention. We have a formal internal process for these situations. Let me know if you have
   further issues after connecting with our internal folks or if you see this surface in other accounts.

   This would void their current warranty and creates patient safety issues. Happy to discuss next week upon my return
   from vacation ..,



   Matt Heick




   Matt.heick@intusurg.com




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   <i m age003 .j pg>


   From: Woody Groves <Woody.Groves@lintusurg.com>
   Sent: Friday, September 13, 2019 8:04 AM
   To: Anna Samples <Anna.Sarnples(dlintusurg,com>; Jennifer Scott <Jennifer.scott(Wintusurg.corn>; Matt Heick
   <IVlatt.Heick@intusurg,eom>
   Subject: Fwd: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)

   FYI.   I'm researching our answer and response now.

   Sent from my iPhone
   Woody Groves

   Begin forwarded message:

   From: "Watkins, Dawn E." <WATKID@Jshands.ufl.edu>
   Date: September 12, 2019 at 6:25:19 PM EDT
   To: Woody Groves <Woody.Groves(@intusurg.corn>
   Cc: "Wigglesworth, Susan J." <y~Jm~'.?i@sha11ds.uf1.edu>
   Subject: [EXTERNAL] FW: da Vinci EndoWrist Savings Opportunity {MS4788 - Surgical Instrument Repair)

   Hi Woody,

   Who needs a sales force when you're on a GPO contract? @

   Can you help us confirm if the use of a refurbished EndoWrist would have a negative impact on our warranty?

   A quick response would be great. At this rate, we'll be asked again by Monday.

   Best regards.,
   Dawn

   Dawn Watkins, MBA, CMRP
   Director of Strategic Sourcing
   UF Health Shands
   watkid (w sha nds. ufl .edu
   Cell: 352.-246-2.500


   From: Cassidy,Manuela <rnanuela.cassidy(Wvizientinc,com>
   Sent: Thursday, September 12, 2019 4:37 PM
   To: Carroll-Mazeli, Andy <Andy.Carrnll-Mazeli@iax.ufLedu>; Wigglesworth, Susan J.<~~{_i_g_g'.?J@shands.ufl.edu>
   Cc: Alltop, Shirley <alltos@shands.ufl.edu>; Watkins, Dawn E.<WATKID@shands.ufl.edu>; Mele, Christopher
   <Christopher.Mele@iax.ufl.edu>; Story,Vicky <Vicky.Storv@vizie11tinc.com>; Price,John <iohn.price@)vizientinc.corn>
   Subject: RE: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)


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                 Case 3:21-cv-03496-AMO                 Document 408             Filed 01/08/25          Page 242 of 1000
   Hi Andy and Susan,

   Julie Birdsong, Implementation Services, Senior Director would like to know if you have any interest in setting-up a call
   with SIS to learn more about his category? She is looking at setting-up a time for next week. Can you please provide me
   your feedback?

   Many thanks,
   Manuela


   From: Cassidy,Manuela
   Sent: Monday, September 9, 2019 3:47 PM
   To: 'Carroll-Mazeli, Andy' <Andy.Carroll-Mazeli(dliax.ufLedu>; Wigglesworth, Susan J. <wiggsi(wshands.ufLedu>
   Cc: 'Alltop, Shirley' <alltos(wshands.ufLedu>; 'Watkins, Dawn E.' <WATKIO(dlshands.ufLedu>; Mele, Christopher
   <C:hristopher.Mele@iaJcufl.edu>; Story,Vicky <Vicky.Story(rvvizientinc.corn>; Price,John <.iohn.price@vizientinc.com>
   Subject: da Vinci EndoWrist Savings Opportunity (MS4788 - Surgical Instrument Repair)


   Andy and Susan,

   Two of our members, Kaiser Permanente and Legacy Health System are capturing savings by using Intuitive Surgical
   Endowr-Lst refurbishment products. Surgical lnstr-urnent Service Company (SIS) is now the only supplier providing
   reflJr"bishment to Intuitive Surgical's da Vinci Endo\/Vrist. SIS offers a refurbished da Vinci EndoVVrist at approximately 40%
   savings.

   Since Intuitive Surgical is an off contract vendor, there's incrernentai C:iPO volume associated with moving that spend to
   SIS for refurbishment in addition to over 40% on line item savings.

   Please see attached initial proposed savings. Please let rne know if I can schedule an onsite presentation to !earn more
   about this category and darify additional questions.

   Thanks,

   Manuela Cassidy, MBA
   Enterprise Oent 1111::,r.,:i,··1wi'
   M (904) 608-783 i




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                                  to

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          OF DEFENDANT’S MOTION IN LIMINE NO. 1
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                             EXHIBIT 25

                                  to

        PAUL D. BRACHMAN DECLARATION IN SUPPORT
          OF DEFENDANT’S MOTION IN LIMINE NO. 1
           TO EXCLUDE OUT-OF-COURT HOSPITAL
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               • Cl •




                        "As a final note, the capital and carrying costs are still extremely high for Intuitive
                        Surgical products. This has been tolerated (and I do not use the term lightly) in a
                        monopoly marketplace. Demonstration of value at the hospital level under our
                        current circumstances is challenging. Although the business principles of margins
                        and return to investors is "standard in the industry", as I described to you, the
                        current business model of medical technology companies is unsustainable on a
                        global scale. Our rising surgical supply costs are incompatible with the value
                        delivered or return obtained. Competition in your space will have some effect on
                        your business, and I urge you to stay ahead of the curve. There may be some pent
                        up emotional backlash reflected in future sales when competition appears. "

                        - Dr. William Mayfield - Chief of Surgery, Wellstar- November 2016
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                             EXHIBIT 26

                                  to

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          OF DEFENDANT’S MOTION IN LIMINE NO. 1
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   From:           Lindsey Otradovec [Lindsey.Otradovec@intusurg.com]
   Sent:           2/13/2019 10:44:57 AM
   To:             Chace Rawls [Chace.Rawls@intusurg.com]; Ron Bair [Ron.Bair@intusurg.com]
   CC:             Shelton Sykes [Shelton.Sykes@intusurg.com]
   Subject:        FW: Si service and Instrument reprocessing
   Attachments:    K182140.Letter.SE. FINAL_Sent001.pdf; K182140.I FU. Fl NAL_Sent001. pdf


   This tells rne .. that they are being coached by restore robotics or whoever the company is - to say ... "give me the proof
   you can't use the instruments more than x lives".
   This is why regulatory needs to be in the room to talk through why there are a specific number of lives based on testing,
   patient safety, etc..

   Thanks. LO


   From: Mario Lowe <Mario.lowe@intusurg.com>
   Sent: Wednesday, February 13, 2019 10:31 AM
   To: Lindsey Otradovec <lindsey.Otradovec@intusurg.com>; Mark Johnson <Mark.Johnson@intusurg.com>
   Cc: Chace Rawls <Chace.Rawls@intusurg.com>; Katie Scoville <Katie.Scoville@intusurg.com>
   Subject: RE: Si service and Instrument reprocessing

   Hi Lindsey:

   We can certainly provide the latest FDA 510(k) Clearance letters. But this will not provide the information requested in
   Item 1 below. See attached for an example of an Xi Clearance letter.

   The request in item 1- required limitation of the number of uses per Endo-Wrist lnstrnment

   Can you provide more clarification on what the hospital is looking for?

   Just so you know, FDA does not require nor limit the number of uses for our EW instruments. During the 510(k)
   submission process, we provide data to FDA that supports the stated number of lives for a particular instrument that we
   state in our labeling.

   Mario

   Mario Lowe




   fVlario.Lowe@intusurq.com




   1020 Kifer Rd
   Sunnyvale, CA 94086-5304 USA
   Intuitive.com




   From: Lindsey Otradovec <lindsey.Otradovec@intusurg.com>
   Sent: Wednesday, February 13, 2019 7:26 AM




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             Case 3:21-cv-03496-AMO              Document 408          Filed 01/08/25       Page 252 of 1000
   To: Mark Johnson <Mark.Johnson@intusurg.com>; Mario Lowe <Mario.lowe@intusurg.com>
   Cc: Chace Rawls <Chace.Rawls@intusurg.com>; Katie Scoville <Katie.Scoville@intusurg.com>
   Subject: FW: Si service and Instrument reprocessing

   Mark and Mario,
   Can you provide me with any of the documentation for #1 below. The Baylor Health system is being very difficult as of
   late and we are trying to secure a live meeting to discuss things further. I assume you have a pdf file of the Xi and Si
   certification letters that we can send to them"? Need your guidance here.
   Any help you can provide would be helpful.

   Thank you. Lindsey



   From: Johnson, Tony <TONY.JOHNSON@BSWHEALTH.ORG>
   Sent: Tuesday, February 12, 2019 2:03 PM
   To: Chace Rawls <Chace.Rawls@intusurg.com>; Watson, Janet L <JANET.WATSON@BSWHEALTH.ORG>; Koreneff, Alan
   <ALAN.KORENEFF@BSWHEALTH.ORG>
   Cc: John Wagner <John.Wagner@intusurg.com>; Lindsey Otradovec <Lindsey.Otradovec@intusurg.com>; Shelton Sykes
   <Shelton.Sykes@intusurg.com>
   Subject: [EXTERNAL] RE: Si service and Instrument reprocessing

   Chase,

   We look forward to meeting again, however, we feel the meeting will not be productive until we receive the information
   we have repeatedly requested from Intuitive. Please provide the information below that we have been requesting and
   we will be happy to meet:


   Information requested by BSWH:
   1.     Provide documentation of the latest FDA certifications for Xi and SI robots and proving the FDA granted the
   510K based on a required limitation of the number of uses per Endo-Wrist Instrument.

   2.     Provide documentation proving an FDA requirement to perform a preventative maintenance service to remove
   the PM recommended notification light.

   3.     Provide documented scope of what is included in a preventative maintenance service and what is specifically
   excluded. BSWH does not find any transparency in past and current contracts for Service that define what is included vs
   excluded.

   4.     Request for "Distributor Toolkit". Informed by Jason Cooley, Field Service Senior Manager, that it is
   "Unavailable", although we understand it is available in Europe.

   5.      Need actual documents noted as "Documentation" in the Master Agreement terms and conditions to be
   included with the Master Agreement.

   6.      Provide data pertaining to BSWH cases including surgeon specific data, length of surgery, instruments used and
   other technical factors to allow BSWH to assess outcomes, efficiencies, etc.

   7.      Records of maintenance performed to date on all Si and Xi systems. Records should include specific description
   of preventative maintenance, corrective maintenance and/or any other maintenance performed on each unit including
   dates of service.

   Requests pertaining to Information Services Agreement:




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   8.       Provide documentation showing an express requirement by the FDA that the Si and Xi robots must be re-
   certified with a security, vulnerability or other software patch before the patch is made available to Intuitive' s
   customers or applied in a production setting

   9.      A copy of Intuitive' s latest independent audit report - (i.e., with regarding to information security on controls
   within Vendor's organization concerning the privacy, confidentiality, security, processing integrity, and availability of the
   Products and Services made pursuant: to standards established by an authorized or recognized standards setting
   organization (e.g., International Auditing and Assurance Standards Board; Statement on Standards for Attestation
   Engagements (SSAE) SOC 1 report; SSAE SOC 2 report; ISO/IEC 27000 series) and prepared by a reputable independent
   auditing firm)

   10.     A detailed description and screen capture showing the complete English--language translation of the binary data
   feed from the robots to Intuitive


   Thanks ln advance for your prompt response.

   Tony W. Johnson
   Senior Vice President and Chief Supply Chain Officer
   Baylor Scott & White Health

   Office: (2.14) 820-8336
   Cell: (336) 409-6756




   From: Chace Rawls (mailto:Chace.Rawls@intusurg.com]
   Sent: Tuesday, February 12, 2019 11:31 AM
   To: Johnson, Tony <TONY.JOHNSON@BSWHEALTH.ORG>; Watson, Janet L <JANET.WATSON@BSWHEALTH.ORG>;
   Koreneff, Alan <ALAN.KORENEFF@BSWHEALTH.ORG>
   Cc: John Wagner <John.Wagner@intusurg.com>; Lindsey Otradovec <Lindsey.Otradovec@intusurg.com>; Shelton Sykes
   <Shelton.Sykes@intusurg.com>
   Subject: {EXTERNAL} Re: Si service and Instrument reprocessing

   All,

   I just wanted to follow up and see if there is a time we could meet next week with our Service leadership as
   requested below. We continue to have a lot of issues being bubbled up to our Field Service team, and I just
   want to ensure we are all aligned appropriately. Let me know if there is a date/time that works for you all.

   Thanks so much!

   Chace Rawls
   Director, Academic Key Accounts
   South Central United States
   Intuitive Surgical, Inc
   Cell: 469-223-8350
   E-mail: Chace.Rawls(a;,intusurg.com

   On Feb 6, 2019, at 4:33 PM, Chace Rawls <Chace.Rawls@intusurg.com> wrote:

   All,



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   I hope this e-mail finds you all doing well.

   During our meeting on Jan 15th, where we discussed the service contracts, we agreed to have some follow up
   discussions around our role in servicing your Si's. Since that time, it has also been brought to our attention that
   there have been some decisions made around reprocessing the instruments and replacing the chips that limit
   instrument lives.

   While we understand that there is a need to control cost as much as possible, there are also some risks that
   should be considered. This topic has also come up as we negotiate the Master Agreement as there is language
   in that agreement specific to instrument usage. Given the critical nature and potential risk implications in these
   scenarios, I wanted to see if we could schedule a meeting to bring our VP of Field Service to Baylor and talk
   through all of these issues together. At the end of the day, our goal is to ensure that all considerations are being
   factored into the decision and that BSWH isn't exposed to unforeseen risks.

   John Wagner is our VP of Field Service, based out of California. He is available to come to Dallas between Feb
   19-21. Let me know if there is a time on any of those days that you all would be available to meet, and I will
   coordinate on our end

   Thanks so much!

   Chace Rawls
   Director, Academic Key Accounts
   South Central United States
   Intuitive Surgical, Inc
   Cell: 469-223-8350
   E-mail: Chace.Rawls@intusurg.com

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     111             BERNSTEIN                                                                                 6 September 2019



                                                                                                               Lee Hambright
     U.S. Medical Devices                                                                                      +1-212-823-3557
                                                                                                               lee,hambright@bernstein,com


                                                                                                               John Rogers
                                                                                                               +1-212-756-4333
     Rating
                                                                                                               john,rogers@bernstein,com
     Outperform
     Target Price

            ISRG                              635.00 USD




     Intuitive Surgical: What do experts thin I< about J6fs new surgical
     robot?

     Medtronic and J&J have been pouring resources into their surgical robotics programs and are               Close Date                                     5-Sep-2019
     now within 1-2 years from market entry. We recently published a review of MOT's soft-tissue               ISRG Close Price (USO)                                508.17
     surgical robot (see link), which will be unveiled at an analyst day on September 24 th .                  Target Price (USO)                                    635.00

     Today, we perform a similar review on Verb Surgical, the joint venture between JNJ and                    Upside/(Downside)                                       25%

     Alphabet. JNJ has committed to commercialization of a general surgery robot in 2020.                      52-Weeklow                                            430,24
                                                                                                               52-Week High                                          589,32
     In this note, we take the opportunity to (1) review robot-related commentary from JNJ
                                                                                                               SPX                                               2,976,00
     management in recent years, (2) summarize of our conversations with robotics experts
     (surgeons, hospital administrators, engineers) who have first-hand experience with JNJ's                  FYE                                                      Dec

     robot, and (3) provide our key takeaways as JNJ prepares to launch the robot next year.                   Indicated Div Yield                                       NA

                                                                                                               Market Cap (USO) (M)                                  58,568
     Investment Implications                                                                                   EV(USD)(M)                                            55,939
     We rate ISRG Outperfonn with a target price of $635. Penetration of the addressable market
     for robotic surgery is very low, and we forecast robust growth. Competition is beginning to               Performance                 YTD       1M        6M      12M
     enter, but Intuitive has built a strong moat over the last 20 years. We see multiple catalysts            Absolute(%)                  6.1      3.4     (7,0)     (5,3)
     that can drive the stock in 2019, including new systems (SP and Ion), high-growth                         SPX(%)                      18,7      4.6      6,7        3,0
     geographies (Japan and China), and new technologies (augmented reality and informatics).                  Relative(%)                (12,6)    (1,2)   (13,7)     (8,3)
     For more on why Intuitive Surgical is one of our top picks, see our recent "best ideas"
     presentation, our valuation deep-dives (Part 1 and Part 2), and our 2019 recap. Model: ISRG
                                                                                                                        Analyst Page                        Financials
     We rate JNJ Market-Perform with a target price of $148. We continue to warm up to JNJ. Our
     neutral rating balances our bullish view on the Pharma business with our cautious view on                          Bernstein                           Company
     Devices and more negative view of Consumer. In spite of ongoing litigation concerns, we
     believe JNJ can be a dependable safe haven during periods of market turbulence. For more on
                                                                                                                        Events                     b~L- Page
     JNJ, see our recent thesis review, our SOC takeaways note, and our 2019 recap. Model: JNJ



      EPSReported           F18A      F19E      F20E    Financials                F18A     F19E     F20E    CAGR      Valuation Metrics            F18A      F19E    F20E

      ISRG(USD)            10,99      12,23     14,39   Operating Earnings (M)    1,537    1,691    1,985   13,6%     P/E Reported (x)             46,26    41,56    35,32

      SPX                 159,61     162,91    179,71   Net Earnings (M)          1,305    1,464    1,742   15,5%     P/E Adjusted (x)

                                                        Adj, Op, Margin(%)        41,28    38,56    38,86             PEG Adjusted (x)

                                                        ROIC(O/o)                 19,54    16,39    15,80             EV/EBITDA (x)                33,99    30,40    25,99

                                                        Organic Sales Grwth (%)   18,67    17,75    16,49             Div Yield(%)                  0,00     0,00     0,00




      See Disclosure Appendix of this report for important disclosures and analyst certifications                                www.bernsteinresearch.com




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          We recently published a review of Medtronic's soft-tissue surgical robot, which will be unveiled at an analyst day on Sept 24 th .
          We thought it would be valuable to perform a similar exercise for the general surgery robot from Verb Surgical, the joint venture
          between JNJ and Alphabet Inc's Verily Life Sciences. JNJ management has committed to commercialization in 2020.

          Mirroring our note on the MDT robot, this note includes the following three pieces:

          +     Synthesis of robot-related commentary from JNJ management over the past few years, including insights regarding
                tech/features, target procedure sets, potential commercial strategy, etc.

          +     Summary of our recent conversations with key opinion leaders who have first-hand experience operating with JNJ's robot

          +     Our key takeaways as JNJ prepares to launch the robot in some capacity next year

          Summary views
          Our ongoing discussions with key opinion leaders continue to validate the notion that customers are eager for competition in
          surgical robotics. Surgeons and hospital administrators agree that competition will be a good thing for the market. But merely
          coming to market won't be enough; to make a difference, we believe the competition needs to be compelling. Surgeons do not
          like to change if they can avoid it, and they have invested a lot of time and effort in building skills on da Vinci.

          Ultimately, we expect both MOT's and JNJ's entry into surgical robotics will be market-expanding. We believe this is a highly
          attractive market with room for a few players. With that said, we do expect to see market segmentation based largely on cost
          and procedural complexity. Our research suggests M DT's robot may have some material shortcomings relative to ISRG's da
          Vinci platform, indicating that MDT may carve out a niche specializing in more cost-sensitive hospitals/geographies and in
          relatively simple (i.e., inexpensive) procedures. On the other hand, KOLs are generally impressed with JNJ/Verb's prototype,
          which many users believe comes closer to equal footing with da Vinci.

          Recall that MOT has made a number of design trade-offs with its robot in an effort to prioritize (1) reducing cost as a barrier to
          robotics adoption (by achieving cost parody with laparoscopy), and (2) getting to market before the Verb rollout (by
          incorporating a number of off-the-shelf components into the robot's design). Meanwhile, JNJ has taken a different approach.
          Commentary from management makes it clear that the company's value proposition in robotics will be part of a broader "digital
          surgery" platform-which refers to the integration of surgical robotics, supporting software, and a smart/interconnected
          operating room. JNJ plans to "dramatically revolutionize surgery" by leveraging Alphabet's expertise in big data and Al to make
          surgery more predictable and more replicable-thereby improving patient outcomes. Meanwhile, many of the secondary and
          tertiary aspects of JNJ's strategy are similar to what we've heard from MDT, including: increased affordability, differentiated end
          effectors, a smaller footprint in the OR, etc.

          It's easy-and understandable-to get caught up in all ways that MDT and JNJ could potentially leverage their late-mover
          advantage to target Intuitive where the company is most vulnerable. But it's important to remember that ISRG is not standing
          still. Management has been preparing for competitive entry for years, so we anticipate the company has formulated competitive
          responses. We have seen some of these materialize already (e.g., shift to operating leases and usage-based arrangements), and
          we expect Intuitive has a few more tricks up their sleeves (e.g., augmented reality, machine learning, maybe a new low-cost
          system?).

          We believe that Intuitive has built strong barriers to entry during the 20 years of market leadership in robotic surgery. That said,
          we are intrigued by JNJ's digital surgery strategy. And Auris brings a strong set of assets to JNJ's program. JNJ management has
          repeatedly indicated that being "right" is more important than being "fast" in this case, and we expect management to take their
          time developing a differentiated robotic surgery platform. We see upside to JNJ numbers once more is known about the
          company's digital surgery platform.

          Whatever happens, we continue to have conviction that it will take multiple years for a legitimate competitive threat to ISRG to
          materialize. Initiating a limited commercial rollout is just the first step for MOT and JNJ, and many investors underestimate the
          time required to build out procedures, gather evidence, gain international approvals, train surgeons, etc. Intuitive has built a
          formidable competitive moat over the last two decades, and we expect the company to maintain its leadership position in the
          robotic surgery market for the foreseeable future.




          U.S. MEDICAL DEVICES                                                                                                BERNSTEIN




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          ROBOTICS TIMEUNE: FROM DISMISSAL AND Sl<EPTICISM TO STRATEGIC PRIORITIZATION
          Surgery is the largest business within JNJ's Medical Devices segment, accounting for 37% of device sales (and '12% of overall
          corporate sales) in 2018. Like MDT Covidien, JNJ Ethicon is a market leader in traditional open and laparoscopic (i.e., non-
          robotic) surgery. For both companies, entry into the soft-tissue robotics market will entail heavy cannibalization of existing
          procedure volumes. It therefore comes as little surprise that both have been late to the party. Over time, however, the
          messaging from both companies around surgical robotics has evolved from dismissal and skepticism, to limited acceptance, to
          what today can be safely described as strategic prioritization.

          During the early days of lntuitive's rise, JNJ (like MDT) largely dismissed the mainstream potential of robotics in general surgery.
          But after watching ISRG steadily take share from open surgery and laparoscopy for the better part of two decades, both
          companies eventually threw in the towel. They are now racing to catch up.

          While MDT and JNJ dithered, ISRG rolled out four generations of the da Vinci platform-and the company continues to drive
          innovation in the field and extend its lead with new instruments (e.g., stapling), robotic systems (e.g., SP, Ion), and enabling
          technologies (e.g., Iris augmented reality technology).

          JNJ management first began to acknowledge the potential viability of robotics in general surgery in the early 201 Os (Exhibit '1 ).

           EXHIBIT 1: JNJ management hinted at a potential interest in robotic surgery as far back as 2010

                            "Certainly, there are lot of new [surgical] modalities out in the marketplace today, a lot of them are very
                            early. .. [including the] next generation [of] minimally invasive surgery... We're excited by all the innovation
                            that's being done in that area, because I think it helps to grow the market faster... " - K Licitra 6/3/ 10

                            "Our focus is to really invest across the broad spectrum of the possible solutions [in minimally invasive
                            surgery]. .. We continue to look at a!! the different modalities that are out there and different technologies
                            that are out there. I'm not going to get into specific detail today in terms of exactly what we're investing in,
                            but we're certainly well aware of all of the different ones out there, and whether or not they might have a
                            play in our portfolio in the future." - K Licitra 6/3/ 10


          Source: JNJ 2010 Investor Day



          As of 30 20 '12, management was emphasizing the strategic importance of ('1) cost, (2) end effector technology, and (3) external
          partnerships (Exhibit 2).

           EXHIBIT 2: Initially, management emphasized the importance of cost, end effector technology, and external
           partnerships

                             "So, our approach [to robotics] is a three-pronged approach. So, first ... there is a natural balance around
                             where a laparoscopic versus robotics fits in ... [Robotics] enables [surgeons] to do more procedures that
                             may not have as strong laparoscopic skills, but at the same time there is more data coming out to say
                             where is it cost effective and where is it not cost effective?... Two is what we call our... end effectors
                             strategy, which is, if you think about the devices that are actually doing the tissue effect, so whether it's an
                             energy device that's doing cutting and sealing, a stapling device, or a suturing device, we feel that we can
                             do that better than the competition. .. And then third is we're looking at let's explore opportunities and
                             partnerships in robotics, because we do think that there may be some opportunities for disruptive plays."
                             - G. Pruden 9/10/12


          Source: 2012 Morgan Stanley HC Conference



          After a few years of internal development and limited robotics-related news flow, JNJ announced the formation of Verb Surgical
          Inc. in collaboration with Alphabet Inc's Verily Life Sciences in December 20'15. The announcement was a major step for JNJ,
          and it put an exclamation mark on the "partnerships" prong of the company's strategy in surgical robotics. It was also a strong
          signal to the market that management was finally serious about prioritizing the robotics program and competing with Intuitive.




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          EXHIBIT 3: The formation of Verb (in collaboration with Alphabet Inc's Verily Life Sciences) gives jNJ access to
          world-class data analytics capabilities

                          "Johnson & Johnson today announced that Ethicon, a medical device company in the Johnson &Johnson
                          family of companies, has executed a definitive agreement to enter into a strategic collaboration with
                          Google, Inc., working with the Life Sciences team on advancing surgical robotics to benefit surgeons,
                          patients and health care systems ... The companies seek to develop new robotic tools and capabilities for
                          surgeons and operating room professionals that integrate best-in-class medical device technology with
                          leading-edge robotic systems, imaging and data analytics." - JNJ press release 3/26115

                          "[Our collaboration with Google] is a continuation of what we discussed at the MO&O Business Review
                          Day a year ago ... And I think that's going to provide us some acceleration to the plans we were already
                          anticipating ... We would expect this collaboration would take I would say several years for us to come to
                          market with the new type of robotic surgery that we think will dramatically revolutionize surgery. So, I
                          think it'll take some time to do that. But we're accelerating our efforts there, and I'd say it's a couple of
                          years away." - 0. Caruso 4114115


          Source: JNJ press release archives, JNJ 1015 Earnings Call



          After the Verb announcement in 2015, JNJ management initially guided to being "a couple of years away" from launch (see
          Exhibit4).

           EXHIBIT 4: After the formation of Verb in 2015, jNJ initially guided to launching the robot in 2017-2018 ...

                             "We see [the general surgery robotics platform] as really not something to have an impact, where I would
                             say over the next six months to 12 months. This is likely more over a two- to three-year-plus time frame."
                                 -A. Gorsky7/14/15

                             "In terms of the development stage, yes, we're in the phase where we are integrating ... our technology
                             with the Google technology... from a systems-engineering perspective, and integrating informatics into
                             the design of our robot. So, we're looking, I would say.. .on the earlier side of [a 1-5 year] range ... I would
                             say it's the next couple years. We'd obviously like to accelerate that, but we want to make sure that we
                             stay true to our value proposition." - G. Pruden 10/13115
                             "[The robot is] in research and development, there's prototypes developed. I would say it's a couple years
                             away from actually hitting the market." - 0. Caruso 2/23/16

                             "With the transition from concept development to product development with the creation of Verb, we're in
                             full swing in terms of product development. We're scaling up in terms of capabilities in hiring... We have
                             an important milestone at the end of the year, when we transition from concept development to full
                             product development ... And at the end of the year, our critical milestone is to put the system together that
                             feels like, looks like, works like a prototype." - M. de/ Prado 5118/ 16
                             "We still hope to be the second robotics player in the marketplace. But more importantly [our focus is on]
                             really transforming the offering. There's not only the extension of the human hands, which is what we have
                             today. But how do we transform the marketplace to add data analytics to add decision-making tools, to be
                             able to make the surgeries more democratized, more reproducible, and better outcomes?" - M. de/ Prado
                             5/18/16
                             "Verb Surgical Inc. announced today that the company has demonstrated its first digital surgery
                             prototype ... The digital surgery platform included all elements of the company's five technology pillars:
                             robotics, visualization, advanced instrumentation, data analytics, and connectivity - developed by Verb
                             and its collaboration partners." - Verb Surgical press release 1126117




          Source: JNJ 2015 Earnings Call, JNJ 3015 Earnings Call, 2016 RBC Healthcare Conference JNJ 2016 Investor Day, Verb Surgical press release archives



          However, in 2017 JNJ's launch guidance was revised to 2020, and since then, management has been generally consistent in
          targeting an initial rollout at some point in 2020 (see Exhibit 5).




          U.S. MEDICAL DEVICES                                                                                                                     BERNSTEIN      4




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           EXHIBIT 5: ... but in 2017, jNJ's launch guidance was revised to 2020

                             "[The general surgery robot] probably won't be in your model until 2020, to be honest with you, because
                             the reality is that - that particular deployment, but we're going to be doing that work with and we will have
                             systems deployed in hospitals before then, but it won't move the needle [until 2020]" - S. Peterson
                             6/15117
                             "The working prototype was already available at the end of last year. And in fact, I know Alex [Gorksy]
                             actually tried it out. So, we're not behind there, were actually on track with that working prototype."
                             -0. Caruso 7118117

                             "Capitalizing on the unique strengths of Johnson & Johnson, of Alphabet and Verb, we are designing a
                             best-in-class differentiated at launch and we are on track to be in market by 2020." - M. def Prado
                             5/16/18
                             "2020 is, were going to be in market, in major market globally ... We're now in conversations with both the
                             FDA and the notifying bodies of Europe ... Were a/so engaging the regulatory authorities of the major
                             markets in Asia. So, we now understand 'what will it take from a clinical perspective, regulatory
                             perspective to get there' and we will be in one of those markets by 2020. " - M. def Prado 5/16/18

          Source: 2017 Goldman Sachs Healthcare Conference, JNJ 2017 Earnings Call, JNJ 2018 Investor Day



          Over the last year, JNJ management has been clear that the company is playing the "long game" in robotics, having referred to
          robotics as a "midterm play" and as just one component of a broader "digital surgery" platform that is expected to evolve over
          the course of "the next 5, 10, 15 years" (see Exhibit 6).

           EXHIBIT 5: jNj management expects the digital surgery revolution to extend through the 2020's and beyond

                            "Materiality is tough within a$27 billion business. But rather than give you a specific date of when we can
                            hang our hat on it, I think what we're doing is we're playing for the long game. So, we see this at the end of
                            the next decade. Nothing is going to take that long to be material to J&J. But that's how we're thinking
                            about this, how can you have an integrated network that's much more impactfu/ on the healthcare system
                            overall that leads to better efficacy at lower cost." -J. Wolk 12/5/18
                            "We believe we continue to be on track [with Verb] going forward. .. You're going to see continued news
                            about our robotics platform over the course of 2020 and beyond, but what's so important about this is
                            we're taking an outlook that digital surgery will be an important dynamic for the next 5, 10 and 15 years.
                            And what we want to make sure is that we get out in a timely manner but that were also out in a manner
                            that ensures we're competitive and ensures, ultimately, that we're making an even bigger difference in
                            this area as we go forward." - A. Gorksy 1122119

                            "Innovation is really the core of our plan in terms of getting to those above-market levels in 2020.
                            Robotics, we remain very excited about. I would say that's more of a midterm play. It's not as significant as
                            it relates to that 2020 [growth] objective." - C. De/Orefice 3/14/19

          Source: JNJ 4018/1019 Earnings Calls, 2019 Barclays Healthcare Conference



          More recently, we sense some expectations management from JNJ, as the company has begun to emphasize that it's not about
          getting to market fast, it's about getting to market with the right robot (see Exhibit 7). Along these lines, JNJ management have
          repeatedly mentioned ongoing work by Dr. Fred Moll to reassess broader robotic programs at JNJ and ensure the company is
          maximizing the value of the cards they are holding. Dr. Moll co-founded Intuitive and came to JNJ via the Auris acquisition. Some
          investors believe the work Fred is doing to reassess programs (e.g., to integrate concepts/technologies from Auris into the Verb
          platform) may lead to a better robot but may also delay the timeline.

          Our conversations with JNJ support this view that the 2020 timeline may slip. The company emphasizes that it "would be a
          waste not to step back and reassess" given new assets from the Auris acquisition. To questions about timeline, management
          notes that while a major-market launch in 2020 is still the "official" time line, they are "looking at this now and looking to provide
          an update later this year or early next year."




          U.S. MEDICAL DEVICES                                                                                                       BERNSTEIN




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          Though it's possible it will come sooner, we currently expect JNJ to initiate limited launch of the Verb platform beginning in 1 H
          202.1 (i.e., about a year after MDT initiates the first phase of its limited OUS rollout). We do not expect meaningful revenue
          contribution until later in 2.022.

          EXHIBIT 7: Over the past couple of months, JNJ has emphasized that getting the platform "right" is more important
          than getting to market quickly, suggesting the timeline may slip past the 2020 launch target

                             "So, as I mentioned earlier on the calf, we're real pleased with the Auris Health acquisition. It's off to a
                             great start. Not only did we get some great products there and some great technology, but we secured
                             one of the pioneers with respect to robotic surgery in Dr. Fred Moll and his team. So, they're currently
                             looking at and assessing all of our platforms. We think it's prudent of us to utilize that expertise to look at
                             not just what we're doing for the Monarch Platform in lung cancer and bronchoscopies, but also take a
                             look at Orthotaxy, as well as our partnership with Verily to see how we can make sure that it's not a matter
                             of coming  to market fast but coming       market
                                                                        to             And so, we want to make sure that we've got a
                                                                                    best




                             differentiated product, one that competes with the current product offerings that are out in the
                             marketplace for the next three, five, 10 years down the road. So, that's how we're approaching it."
                             -J. Wolk 7116/19
                             "We would be fools to not take fuf/ advantage of what Fred's mind [in terms of] getting him to look at our
                             partnership with Verily, looking at everything we're doing in orthopedics, working with our lung cancer
                             initiative. So we're in keeping all of the teams very focused on milestone attainment, and we have a very
                             small team assessing how do we create more cof/ective value together. So it's not a distraction or we're
                             progressing milestones. I mean, we just had over the past 60 days, we've had over 35 different surgeons
                             from around the world working on our Auris platform, working on our Verb Verily platform, doing end-to-
                             end procedures in general surgery, in urology, in thoracic with very positive results. We've been actively
                             engaged with the FDA authorities on both platforms. We are advancing full steam ahead on the
                             development programs... I get asked a lot of questions around 2020 right now. We're not changing from
                             that date, but  we are going through a thorough assessment         to   see how   do   we   create   the   most amount of
                             value, not just inyear one, but quite        this is
                                                                     frankly,         about   the   next   10, 20, 30    [years]-   decades of reaily
                             changingthestandardofcare." -A McEvoy, 916119


          Source: JNJ 2019 Earnings Call, 2019 Wells Fargo Healthcare Conference (emphasis added)



          Note that while the Verb collaboration was an important first step in JNJ's attempt to develop a truly differentiated robotics
          platform, it hardly guarantees success-even with a partner as capable as Alphabet. In our view, barriers to entry in robotic
          surgery are formidable given ISRG's first-mover advantage and 20-year head start. Despite JNJ's history of leadership and
          innovation in open and laparoscopic surgery, robotics is a fundamentally different arena, and one that requires fundamentally
          different expertise. In our view, MDT and JNJ have a lot of ground to make up, and both will need to work hard for the right to
          compete in this market. Intuitive has been singularly focused on soft-tissue robotic surgery for twenty years.

          Fortunately for JNJ shareholders, we believe management recognizes that the only way to take meaningful share from ISRG is to
          offer surgeons a clearly differentiated value proposition-rather than merely developing a "me too" robot to check the box. The
          trade-off, naturally, is speed to market. And MDT now looks poised to commercialize their robotics platform before JNJ.

          JNJ INTENDS TO TRANSFORM ROBOTIC SURGERY INTO DIGITAL SURGERY
          As was hinted at in the inaugural Verb press release, JNJ has bigger aspirations than simply launching a general surgery robot. In
          fact, robotics is just one facet of JNJ's ambitious plan to revolutionize surgery over the coming years and decades. Specifically,
          management believes that JNJ can offer compelling value proposition in robotics as part of a broader "digital surgery"
          platform-which refers to the integration of surgical robotics, supporting software, and a smart/interconnected operating room.




          U.S. MEDICAL DEVICES                                                                                                                    BERNSTEIN       6




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           EXHIBIT 8: In the company's Digital Surgery strategy, JNj is focused on improving surgical outcomes by leveraging
           data pre-operatively, during procedures, and post-operatively




                                               PRE-OP                                                   POST-OP
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          Source: JNJ May 2018 Investor Day




           EXHIBIT 9: Management views robotic surgery as a "bridge" between lap and "Digital Surgery"

                                         Transforming Robotics to Digital Surgery




          Source: JNJ May 2018 Investor Day



          We are intrigued by JNJ's vision of digital surgery, and we agree that leveraging Al and informatics has the potential to improve
          patient outcomes beyond what robotics alone can achieve. Some early examples of JNJ's efforts in this area include:

          (1) C-SATS (i.e., Crowd-Sourced Assessment of Technical Skill): a cloud-based, Al-enabled surgical skills assessment system
          that allows for best practice sharing among surgeons

          (2) Health Partner platform: a digital ecosystem (i.e., website, mobile app, care portal) that helps guide patients through surgical
          preparation and recovery, while also enabling real-time interaction with care providers

          (3) SPI (Surgical Process Institute): provides digital, standardized workflows and checklists for surgeons to reduce variability
          and improve patient outcomes

          JNJ has not been shy about setting high expectations for its digital surgery platform. Management have called it a "true quantum
          leap in surgery", a "superior surgical experience", and have compared its disruptive potential to the evolution from "the
          mainframe computer to mobile digital devices" (see Exhibit 10).




          U.S. MEDICAL DEVICES                                                                                                BERNSTEIN




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           EXHIBIT 10: JNJ's robotic surgery platform is part of a grander vision of "Digital Surgery"-which refers to the
           integration of surgical robotics, supporting software, and a smart/interconnected operating room

                             "We can see a future in which the surgeon is no longer isolated in the OR, but through our system, we'll be
                             able to connect to critical data, imaging and diagnostic information; information that will help the surgeon
                             make the best, most accurate decisions as and when they're needed." - G. Pruden 10/13/15

                             "We think what's available today is really the model that's more like the main frame computer 50 years
                             ago. We intend to go to the iPad version, and that's what we want to launch. With a more integrated
                             informatics [and] diagnostics.. .that are available for the surgeon around the world at a lower cost to
                             serve."- G. Pruden 10/13/15

                             "The key differentiator of our robotics platform is in fact this partnership with Google that allows the
                             robotic platform to have navigation techniques and data capture and algorithms that make the robots
                             smarter and smarter and smarter each time a surgery is performed-and the data can be shared."
                             - D. Caruso 2/23/16

                             "We believe that we understand technology better than our competitors do, because of all the work that
                             we do and how we partner with tech companies. And we believe that we actually can, therefore, do this in
                             a different way and be more successful over time." - S. Peterson 6/15117

                             "We intend to transform robotic surgery into digital surgery ... If I only have one analogy for you, I would
                             say it's like going from the mainframe computer to mobile digital devices. So, we're going.. .from simply
                             enabling surgical jobs, to building an intelligent connected operating room environment. We are poised to
                             disrupt the fast-growing robotics market. The Verb platform represents a true quantum leap in surgery."
                             - M. def Prado 5/16/18

                             "Robotics was really an extension of your human arms to be able to perform task that you could not do,
                             because of the limited spaces. However, digital is all about capturing the information that goes on in the
                             operating room, take advantage of the pre-operative information to be able to guide the procedure more
                             precisely and be able to analyze in formation after the procedure and feed it back to make surgeons
                             better, who are they on their best day and within healthcare systems a/so improve that." - M. def Prado
                             5/16/18

                             "We also have a partnership with Verily to really create kind of an unparalleled connected system that will
                             allow this image-guided, smart digital surgery platform that really changes how surgeons do pre-surgical
                             planning, intraoperative surgical planning and then post-op planning to really make the surgery safer,
                             more efficient and to really improve the experience." -A. McEvoy 2/28/19


          Source: JNJ 3015 Earnings Call, 2016 RBC Healthcare Conference, 2016 UBS Healthcare Conference, 2017 Goldman Sachs Healthcare Conference, JNJ 2018
          Investor Day, 2019 SVB Leerink Healthcare Conference



          Importantly, however, JNJ does not yet possess the requisite data to execute on this vision of digital surgery, so it will not be a
          competitive advantage right off the bat. In effect, JNJ will be asking customers to sign up for a robot so that the company can
          start the process of collecting data. However, the robot is being designed from the ground up to eventually integrate into JNJ's
          digital ecosystem. We believe this is a superior design decision than accelerating the development timeline and later retrofitting
          the robot, but we also acknowledge that this may be the difference between JNJ being the second or the third market entrant.

          Notably, Intuitive has been collecting data on procedures since it began placing robots twenty years ago, and the company has
          various amounts of data on over six million procedures. Intuitive has already begun to use data to help hospitals identify best
          practices and improve outcomes. JNJ's vision for Digital Surgery is clearly more expansive than the scope of lntuitive's current
          data-related offerings. But it remains to be seen whether JNJ can build data collection capability and useful applications that
          can overcome lntuitive's current advantage (i.e., procedure database and applications).




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           EXHIBIT 11: jNJ's data analytics capabilities won't be a competitive advantage right off the bat; the company will
           effectively be asking hospitals to sign up for a robot so they can start the data collection process

                           "Were not just creating a robot, we're creating systems integration for the future. Because if you want to
                           deliver against that capability, we have to have an integrated plan to deliver against machine learning, all
                           that information management. If you don't do that... from the beginning, you can't do that at the end."
                           - M. def Prado 5/18/16

                           "At launch, there will be limited clinical information. However, because of this digital ecosystem that we 're
                           building, our ability to capture information, be able to analyze that do real world evidence immediately, will
                           be harnessed and will move vel}' rapidly." -M. def Prado 5/16/18

                           "[Robotics] enables surgery, but I don't know that it leads to a better outcome. There's no data that
                           suggests that. We want to have platforms that generate data that suggests it's a better outcome for the
                           patient. There's better visual acuity. It becomes part of an integrated network. So, each surge!}' that's
                           performed learns and informs the next surge!}' in that network." - J. Wolk 12/5/18


          Source: JNJ 2016 Investor Day, JNJ 2018 Investor Day, Citi 2018 Healthcare Conference




          A SMALLER FOOTPRINT IS INTENDED TO INCREASE UTILIZATION-AND DECREASE PER-PROCEDURE COST
          JNJ management has repeatedly emphasized affordability as a key pillar of the company's differentiated strategy in robotic
          surgery. In fact, before the formation of Verb in late 2015 (and the resulting emphasis on digital surgery), most of JNJ's robotics
          commentary was centered around improving per-procedure economics. Management sees an opportunity to lower hospitals'
          costs "in terms of disposables as well as capital".

           EXHIBIT 12: From the beginning, jNJ has identified cost as a barrier to robotics adoption

                            "I think [robotics] is going to have to a/so be more cost-effective than it is today, because if you look kind
                            of the installed base for robotics, it's really vel}' developed market focus. I mean, I think 80% of the all the
                            installations are in both U.S. and Western Europe. And that's for a reason ... Longer term, we will be
                            looking at an opportunity to enter the market where we can create value for our shareholders."
                            - G. Pruden 1/22/13

                            "I'm not sure [robotics] is the right answer for all procedures, because we are getting into a vel}' cost-
                            effective modality right now, based on procedures. And. .. I think our customers are really asking for value,
                            which is don't just show me that you have a good outcome, show me that you add value to our system, as
                            well." - G. Pruden 1122/13
                            "I think there is still a lot of unmet need based on the current model of robotics. It has enabled minimally
                            invasive surge!}' to be done where penetration has been low, prostatectomy, hysterectomy. We believe
                            that it can enable difficult surgeries, cancer surgeries for example. But in the general surge!}' space will it
                            replace base faparoscopic surge!}' in cholecystectomy of appendectomy? I don't think the cost will justify
                            it, quite frankly." - M. def Prado 5/22/14


          Source: JNJ 2013 Investor Day, JNJ 2014 Investor Day



          It is clear that a reduced footprint in the OR will be a key component of this strategy. JNJ is betting that improvements with
          respect to ease-of-use and mobility within the OR will help increase robot utilization-thereby decreasing per procedure cost
          (as the capital equipment charge is amortized across a larger number of procedures).




          U.S. MEDICAL DEVICES                                                                                                         BERNSTEIN




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           EXHIBIT 13: A smaller footprint within the OR will be a key component of JNJ's strategy to improve per-procedure
           economics in robotic surgery

                             "I do think that there are opportunities [in robotics], not just for lower cost... but [for] improvements in
                             functionality, ease-of-use and movement within the OR, right?... The analogy that people have said to me
                             is where we are in robotics today is where we were 50 years ago with computers that took up the entire
                             room. You are going to get to a point where it's going to be a laptop size sometime in the future."
                             - G. Pruden 5/22/14

                             "We also think there is some inherent limitations to today's robotic surgery environment. When you frankly
                             look at the size and the scale of some of the existing innovation and if you look at what's happened with
                             other technology platforms, as they have become s mailer, more flexible, more mobile, and frankly, have a
                             better ability to integrate various activities around the OR, that's where we think we can really make a
                             difference." -A. Gorsky 7114/15

                             "If you look at the robotics installed base as it is today, it's very much focused on the developed markets
                             versus the emerging markets and that's because cost to serve is disproportionately out of balance. And
                             we think that there are opportunities to have a much smaller footprint in terms of a technology, a lower
                             cost to serve in terms of disposables as well as capital that we think can play across a broader range of
                             surgical procedures in a cost-effective way." - G. Pruden 10/13/15

                             "We don't believe the capital play here for our innovation is going to be $2 million per hospital. So, weTe
                             going to provide a lot more flexibility in terms of that... We have decided that the terms of our value
                             proposition, which will bea lower cost to serve, [and] a smaller footprint." - G. Pruden 10/13/15

                             "As the largest surgery business in the world and with our unique smaller footprint, more flexible design
                             than system on the market, we aim to drive greater global access to hospital operating rooms."
                             - P. Shen 5/16/18

                             "The robots of today are large. TheyTe very expensive. They take a tremendous amount of training to be
                             able to deal with them. They don't shorten the procedure; they lengthen the procedure. Clinical outcomes
                             have not been demonstrated to be better; and more importantly they're also not mobile from one
                             operating room to the other operating room." - C. Roemer 12/12/18


          Source: JNJ 2014 Investor Day, JNJ 2015 Earnings Call, JNJ 3015 Earnings Call, 2016 RBC Healthcare Conference, JNJ 2018 Investor Day, BMO 2018 Healthcare
          Conference




          JNJ'S VALUE PROPOSITION IN ROBOTICS IS HEAVILV TIED TO THE QUALITY OF ITS END EFFECTORS
          Like MDT, JNJ management has indicated that differentiated end effectors will be central to the company's value proposition in
          robotic surgery. Covidien and Eth icon are market leaders in end effector innovation, and both MDT and JNJ like to emphasize the
          barriers (e.g., years of investment, resources, know-how, etc.) faced by competitors-lSRG included-attempting to build a
          competitive end effector portfolio from the ground up. While ISRG's end effectors have improved considerably in recent years,
          da Vinci users still point to the company's end effectors as a potential area of vulnerability.




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           EXHIBIT 14: like MDT, JNJ is expected to leverage its strength in end-effector technology

                            "Our plan right now in terms of robotics is kind of two-step and twofold. So first and foremost, it's around
                            we're looking at opportunities to partner with robotics in what we do best, and where our capabilities are,
                            and where we can bring value. And that is what we call the end effectors. So, on the end of the robots, we
                            have devices that create a tissue effect. They sea/ tissue, they cut tissue, they bring tissue together. That's
                            the business that we're essentially in, in producing both staplers, endocutters, energy devices, sutures -
                            that's our world ... That is what we do best, and that's the end of the market where were going to lead and
                            we're going to drive." - G. Pruden 1/22/13

                            "One [prong of our strategy in general surgery robotics] is an end effector strategy. . .I am really interested
                            in the aspect of the tissue effects of the business-so cutting, sealing, dissecting, stapling, sewing tissue.
                             We actually have a partnership with the Intuitive team on certain aspects of that, which is really good. But
                            we're a/so going to pursue our own de novoapproach. .. " - G. Pruden 5/22/14

                            "Were already in the market for robotics ... in terms of particular procedures where our Ethicon products
                            are used at the end of the robot, at the actual procedure end of the robot. So, we'll continue to do that [as
                            we develop our own robotics program internally]." - 0. Caruso 4/14/15

                            "With our proven capability in advanced instrument, in combination with 30 HO visualization, our system is
                            being designed with aim of increasing surgical efficiency and confidence across surgical procedures."
                            -P. Shen 5/16/18

                            "[Were addressing common complains re] advanced instrumentation, because the magic moment is when
                            an endocutter is fired or an energy device is fired. And you've heard from customers that they're making
                            compromises today because of the lack of availability of advanced instrumentation. We're going to deliver
                            those as well." - M. def Prado 5/ 16/ 18


          Source: JNJ 2013 Investor Day, JNJ 2014 Investor Day, JNJ 1015 Earnings Call, JNJ 2018 Investor Day,




          ACCESS/REACH & TARGET PROCEDURES
          While JNJ has not been particularly specific about procedural targets for the robot, management commentary has touched on a
          broad array of potential procedure sets. What the initial focus looks like when the robot first launches is unclear, but we get the
          sense that JNJ's long-term goal is to be able to do any procedure that Intuitive can do.

          On one hand, JNJ's end-effector-focused strategy seems to suggest the company could create an advantage in more complex
          procedures where complex instruments are necessary (e.g., staplers, vessel sealers). On the other hand, JNJ's cost-focused
          strategy suggests the company's greatest advantage may be on simpler procedures, where Intuitive may be unlikely to match
          JNJ's lower per-procedure prices.

          We believe JNJ is more likely to focus on more complex procedures at the outset to demonstrate the capability of their system.
          But we would anticipate rapid expansion to broader sets of procedures.




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           EXHIBIT 15: JNJ's robot will provide surgeons with multi-quadrant access, and management has highlighted a wide
           range of potential target procedures

                                 "I think there is still a lot of unmet need based on the current model of robotics. It has enabled minimally
                                 invasive surgery to be done where penetration has been low-prostatectomy, hysterectomy. We believe
                                 that it can enable difficult surgeries, cancer surgeries for example. But in the general surgery space will it
                                 replace base laparoscopic surgery in cholecystectomy of appendectomy? I don't think the cost will justify
                                 it, quite frankly." - M. def Prado 5/15114

                                 'The unique workflow, advanced imaging, data analytics, [and] expanded reach to all four quadrants of the
                                 body along with an advanced instrumentation has the potential to advance robotic minimally invasive
                                 surgery with great benefit for patients." - M. Fitchet 5/18/16

                                 "We are creating a platform with the potential we can give every patient access to the outcomes of the
                                 best surgeon. Our focus will be to help drive complex surgical oncology procedures to minimally invasive
                                 approaches and to help improve and standardize the outcomes in challenging procedures, such as
                                 thoracic lobectomy, gastrectomy and low anterior resection." - M. Fitchet 5/18/16

                                 "I think the sweet spot for really transforming surgery is in areas where it's deep, it's confined, it's
                                 inaccessible like the thoracic cavity, like low anterior resection. These are two areas where the
                                 penetration of minimally invasive surgery has not been as good as the other areas. So, this is where we
                                 believe that with the better surgical platform robotics capabilities that we will be able to penetrate."
                                 - M. def Prado 5/18/16
                                 "Our system is being designed to provide multi-quadrant access to enable broader range of surgical
                                 procedures beyond the prostate surgery to colon, gastric, thoracic surgeries." - P. Shen 5/16/18

                                 "Importantly, are we able to address the unmet needs that continue to persist in the current robotic
                                 system? Firstly, reach and access, very important, multi-quadrant reach, being able to have the capability
                                 of reaching every part of the anatomy. Were going to deliver that." - M. de/ Prado 5/16/18

                                 "We recently successfully completed a series of end-to-end procedures, engaging a group of global KOLs
                                 across a subset of target specialties, including general and with hernia, colorectal and bariatrics, in
                                 gynecologic, and thoracic surgery." - P. Stoffels 7117119




          Source: JNJ 2014 Investor Day, JNJ 2016 Investor Day, JNJ 2018 Investor Day, 2018 Citi Healthcare Conference, JNJ 2019 Earnings Call




          AURIS ACQUISITION
          In January 2019, Verb CEO Scott Huennekens left the company. Less than two months later, JNJ announced the acquisition of
          Auris Health for $3.4B (with additional milestone-based payments up to $2.35B) on February '13, 20'19 (see our initial reaction
          here). The $3.4B upfront payment is largely about Auris's Monarch lung biopsy platform, but much of the contingent payment is
          based on milestones related to a pipeline of products beyond Monarch.Specifically, Auris has several patents related to the use
          of robotics in general surgery- see the 294 patent, the 371 patent, and Exhibit 16.




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           EXHIBIT 16: Image of "Surgical system with configurable rail-mounted mechanical arms" from Auris patent




          Source: US Patent Office; US 2016/0296294



          On JNJ's 1019 earnings call, management seemed to confirm the notion Auris IP could potentially be leveraged by either Verb
          or Orthotaxy at some point down the road. In our view, the Auris acquisition highlights management's desire to have a presence
          in robotics as soon as possible (and, potentially, management's dissatisfaction with the rate of progress at Verb under Mr.
          Huennekens). We also see the Auris acquisition as further validation that J&J management views surgical robotics as a
          foundational long-term growth driver.

          Ultimately, Auris is expected to contribute to JNJ's broader digital surgery strategy alongside Verb, Orthotaxy, and several
          enabling technologies. In our discussions with the company, JNJ management has talked about Auris as separate, sitting
          alongside ongoing work at Verb and Orthotaxy. While management talks about their intention to "leave Auris alone, so they can
          do what they do best", they have also hinted at the idea that Auris technology could help improve the Verb platform in some
          meaningful ways. Longer-term, management envisions synergies across multiple robotics platforms, with additional synergies
          provided by some of the enabling technologies in which J&J has invested (e.g., Health Partner, C-SATS, SPI, etc.)

           EXHIBIT 17: Auris is expected to contribute to JNJ's broader digital surgery strategy alongside Verb, Orthotaxy, and
           several enabling technologies

                            "We're very pleased to welcome Auris to the J&J family. Just spent some time with them last week at close
                            and to really welcome Dr. Fred Moll, who many of you know is a true pioneer in the field of robotics. And
                            we view the acquisition of Auris as highly complementary to our Verb program as well as our Orthopedics
                            program and Orthotaxy... We plan to take advantage of the world-class robotics expertise, advanced
                            instrumentation, our partnership with Verily of creating a connected experience and then clearly, our very
                            robust global infrastructure to have a very competitive value proposition in the field of digital surgery."
                            -A. McEvoy4/16/19

                            "We view theAuris acquisition as highly complementary to our Verb program. I was at Verb just last week,
                            and I'm very pleased with how they're knocking down risk every day. They have completed all preclinical,
                            procedural developments for several procedures. They've engaged with hundreds of surgeons. They're
                            engaging right now with notified bodies on the regulatory pathways so I would say, stay tuned. We're
                            going to take the best insight from Dr. Fred Moll and really have him and assess both of these programs
                            and make sure that we have a highly differentiated value proposition at launch." -A. McEvoy 4/16/19

          Source: JNJ 1019 Earnings Call, JNJ 2019 Earnings Call




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          Our ongoing discussions with key opinion leaders continue to validate the notion that customers are eager for competition in
          surgical robotics (Exhibit '18). Generally, surgeons and hospitals agree that competition is good for medical device markets. It
          keeps market participants honest, helps customers hold them accountable, stimulates innovation, and can lead to more
          favorable pricing.

          In our experience, some surgeons are particularly receptive to competitive pitches. For all the surgeons who love lntuitive's
          technology and testify that the da Vinci has changed their lives for the better, there are others who feel snubbed by Intuitive.
          Perhaps they have sought speaking engagements that were never granted, or their custom instrument requests were ignored.
          The TransEnterix case is interesting. Buyers of the TransEnterix robots were eager to get out from "under the thumb" of
          Intuitive. But when they realized the technology was inferior, they quickly abandoned it for the devil they knew.

           EXHIBIT 18: Surgeons and hospitals are thirsty for competition ... but that doesn't necessarily mean that new
           entrants will be successful

                             "We were excited to buy a TransEnterix robot a couple years ago after suffering under the Intuitive
                             monopoly for many years. We were excited to see a competitor, and the system looked promising. It has
                             some nice features like the eye-catching camera But it does not stack up to da Vinci - not even close. it's
                             worse than lap, and now it's in storage."


          Source: Bernstein expert interviews



          While surgeons and hospitals are excited by the prospect of competitive entry by MDT and JNJ, competition will need to be
          compelling in order to make a real difference. Surgeons do not like to change if they can avoid it, and they have invested a lot of
          effort in building skills on da Vinci.

          Based on our recent discussions with KOLs, feedback regarding JNJ's general surgery robotic has been generally quite positive.
          Most experts believe that JNJ's robotic is superior to Medtronic's, and some believe that it could become a viable competitor to
          da Vinci in the long-run. In fact, several KOLs have gone so far as to call JNJ's robot a "game-changer". Unsurprisingly, it is JNJ's
          vision for "digital surgery"-of which robotics is just one component-that has key stakeholders most excited. However, there
          are also some aspects of the robot itself that surgeons find particularly compelling-most notably the heads-up, glasses-free,
          3-D display screen.

          EXHIBIT 19: Experts are generally impressed by JNj's                    EXHIBIT 20: Most experts agree that JNj's long-term
          robotics platform, and most believe that JNj's entry                    value proposition in robotics is tied to management's
          will be market expanding                                                larger plan to digitize surgery
                       "JNJ's prototype is highly sophisticated. The                          "What's going to be particularly intriguing is the
                       company has all the requisite skills and                               Al and machine learning aspect [of JNJ's robotic
                       technology. I think it's going to be a major game                      platform]. Eventually, the robot will be able to
                       changer."                                                              recognize the anatomy and think like a surgeon. It
                                                                                              will even be able to learn the procedure and
                       "JNJ's and Medtronic's entry will be market                            perform certain steps automatically-with better
                       expanding. I expect we'll see an explosion of new                      outcomes than a surgeon. It's absolutely realistic
                       procedures as the new systems roll out."                               to expect this to be the next big step in robotics."


          Source: Bernstein expert interviews                                     Source: Bernstein expert interviews



          Below, we share a sampling of recent commentary we have heard on JNJ's tech and strategy in robotic surgery.




          TECHNOLOGY: HARDWARE
          To reiterate, experts are particularly excited about JNJ's vision of a fully integrated "digital surgery" ecosystem. Importantly,
          however, most surgeons who have already used JNJ's robot are also impressed by the robot itself. Echoing our discussions with




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          experts about MOT's surgical robot, JNJ's emphasis on differentiated end effectors, visualization, and arm architecture all
          emerged as important themes (see Exhibit 2 '1 ).

           EXHIBIT 21: JNJ/Verb's robot scores high marks with l<Ols, particularly for 1.) its differentiated 3-D display screen,
           and 2.) it's smooth and precise controls {which appear to be superior to MOT's robot and on par with da Vinci's)

                                           "End effectors are a common element of JNJ's and MOT's value proposition. Both companies will
                                           use their robot as a platform to push their instruments."
                                           "Instruments are more ofa core compefBncy for JNJ than for ISRG. Theda Vinci instrument portfolb
                                           is less than ideal. They have the old Harmonic shears, only one vessel sealer, limited advanced
                                           energy options, etc. The lack of advanced instrumentation has limited ISRG's penetration of more
                                           complex procedures."
                                           "Having wristed instruments is veiy important for a soft tissue robot And JNJ is planning to develop
                                           wristed instruments for the robot. But developing adequate quality of the movement is quite
                                           challenging. Da Vinci has very precise, smooth, fine movements. It's totally exact. If you move just
                                           0.5mm with your hands, the robot will move the same amount. The !eve/of precision with JNJ's robot
                                           is very impressive. The movements with Medfronic'srobotaren 'tas smooth."



                                           "JNJ's robot has a fantastic curved display screen, which provides a totally 3-0 impression."
                                           ''The heads up display means the surgeons can still look around the OR and communicate with their
                                           team. It's a really fantastic solution."
                                           "The Verb screen looks great. I've never seen this display technology before. Every pixel on the
                                           screen moves with your eyes. There is a small camera targeting your eyes, and pixels on screen
                                           change their position as you move. This enables continuous 3-0 vision without glasses in an open
                                           console."



                                           "The robotic arms are very small, similar to the CMR robot and slimmerthan da Vinci's arms-which
                                           allows the staff to easily access the patient and to communicate with each other in the OR."
                                           "In terms of patient access, JNJ's robot is comparable to da Vinci. Medtronic's robot has inferior
                                           accessibility, but it's still manageable."
                                           "The robotic arms are integrated into the table-they come out from under the table. It's an
                                           interesting solution, but may negatively impact the ability to reduce the time between patients. The
                                           arm architecture could be particularly problematic for European surgeons who have relatively fewer
                                           hours in the OR. But Verb is a well-managed company with a lotof resources. They'll come up with a
                                           solution."


          Source: Bernstein expert interviews



          While ISRG end effectors have improved considerably in recent years, da Vinci users still point to the company's instruments as
          a potential area of vulnerability. For the last two decades, ISRG's monopoly position has generally insulated the company from
          this relative weakness. In our view, it makes perfect sense for MDT and JNJ to draw the battle lines around the quality of their
          end effectors (an area where they have an advantage over ISRG) rather than around the quality of their robot per se (an area
          where ISRG has considerably more experience and know-how).

          The logic of this end effector strategy notwithstanding, it will be far easier said than done for both MDT and JNJ. Retrofitting an
          instrument for robotic compatibility is considerably more involved than simply taking the end effector from a laparoscopic
          instrument and sticking it onto a robotic arm. In reality, instruments will need to be reengineered to be made fully wristed, since
          the vast majority of laparoscopic instruments are straight (i.e., not wristed).

          Most notably, surgeons are very intrigued by JNJ's differentiated display screen. Like MDT and ISRG, JNJ's robot will have a 3-D
          display screen. However, unlike MDT, JNJ's 3-D technology does not require the use of 3-D glasses. And, unlike da Vinci, JNJ has
          designed a heads-up display that is less stressful on surgeons' eyes while also better enabling communication among team
          members in the OR. JNJ has employed a curved screen and eye-tracking technology to make this combination of features
          possible, and early feedback has been very positive.




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          With respect to the robotic arms, experts indicated that they will be attached to the bed and will "come out from under the bed."
          This is consistent with management commentary regarding plans to reduce the system's footprint relative to da Vinci. However,
          some European users expressed concern that the bed-mounted arm design could negatively impact their ability to optimize
          operating room utilization given pre- and post-procedure workflow differences between the U.S. and Europe.

          In terms of the size, JNJ's robotic arms are substantially smaller than M DT's robot. Surgeons seem to appreciate the improved
          patient access that this design choice affords vs. M DT's robot, which is designed with each robotic arm mounted to its own
          standalone column/cart.




          TECHNOLOGY: DIGITAL SURGERY
          JNJ management aims to offer a compelling value proposition in robotics as part of a broader "digital surgery" platform-which
          refers to the integration of surgical robotics, supporting software, and a smart/interconnected operating room. Based on our
          recent expert interviews, we believe most surgeons are both excited and optimistic about JNJ's potential for success on this
          front. We are similarly intrigued by JNJ's strategy around digital surgery, and we agree that Al and informatics have the potential
          to improve patient outcomes beyond what robotics alone can achieve.

          That said, we believe it is also important to acknowledge that JNJ will not be able to offer this capability immediately; JNJ will not
          be a meaningful competitive advantage until the company is able to collect (and analyze) a critical mass of relevant data. In
          effect, JNJ will be asking customers to sign up for a robot so that the process of data generation can begin in earnest.




           EXHIBIT 22: Experts are intrigued by JNJ's vision of "digital surgery" and are encouraged by the Alphabet
           partnership, but they acknowledge that Intuitive is also investing in this area

                            "Intuitive has a very solid and robust working system [in da Vinci]. It's like a Mercedes: extremely reliable,
                            extremely low malfunction rate, extremely intuitive and easy to use. In terms of engineering, da Vinci is
                            really good. But like a Mercedes, it is hardware engineering. There is room for the next step in surgery,
                            which is the data part of it. There hasn't been a lot of development pressure on Intuitive historicafly, and da
                            Vinci doesn't help surgeons make decisions as well as it could. The market needs to move from Mercedes
                            to Tes/a There is a big opportunity for a competitor to enter the robotic surgery market with a value
                            proposition built around digital technologies."
                            "JNJ has a very strong partner in Google. Google has experience generating data, experience with
                            machine learning, and experience with Al. I suspect they'll start with relatively low hanging fruit. It can be
                            simple stuff such as instrument utilization, feedback loops on relatively easy parameters-which
                            instruments did you use? how long did it take?-metrics to increase OR efficiency, etc. Eventually, JNJ can
                            go a long way in providing surgeons with data to improve their decision-making."
                            "Both JNJ and Intuitive are headed in very similar directions with their digital strategies. I'm convinced it
                            will be a game changer in surgery. Connecting procedural data to clinical outcomes is the big vision in the
                            end. Right now, we are capturing no data, and the surgeons just writes up a short and biased report. We
                            need to make the computer understand what's going on during surgery. Eth icon started that conversation,
                            but Intuitive was smart and quickly jumped on. The real question is: 'Who has the best resources to
                            execute on this vision? And who will be able to plug their robot into an entire software system?' That
                            company will be the long-term winner."


          Source: Bernstein expert interviews




          U.S. MEDICAL DEVICES                                                                                                       BERNSTEIN      16




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           EXHIBIT 23: One theory is that JNJ's video feed technology will enable surgeons to compare intraoperative data
           across open, laparoscopic, and robotic procedures

                            "The digitization strategy is very much a core design element. JNJ recognizes that this isn't about robotics
                            vs. laparoscopy vs. open [surgery]. Digital surgery is an umbrella for everything. That gives JNJ an
                            advantage over ISRG in the digital game. The video feed is the common denominator connecting [the
                            different modalities]. If you look at the video feed, that opens up minimally invasive and open surgery for
                            digital analysis."


          Source: Bernstein expert interviews



          Some experts we spoke to believe that JNJ may leverage its video technology - paired with Al-enabled technology akin to facial
          recognition capability - to generate intraoperative data (e.g., instrument tracking, instrument-tissue interaction, etc.) across
          robotic, laparoscopic, and open procedures (see Exhibit 23). This data would then be cross-referenced against patient
          outcomes to inform best practices, increase procedural replicability, and potentially offer intra-operative decision-making
          support.

          With its Digital Surgery strategy, JNJ is betting that it can (1) find ways to collect meaningful data across robotic, lap and open
          procedures and (2) develop applications for those data that are compelling for hospitals and surgeons. Success here could
          change the basis for competition in the market and create an advantage over ISRG by leveraging JNJ's leadership in lap and
          open procedure volumes.

          We expect JNJ's digital surgery platform to be rollout out in phases, starting with relatively low-hanging fruit (e.g., data collection
          on instrument utilization, operating time, clinical outcomes, etc.) and building towards more advanced capabilities. Eventually,
          some experts envision a world in which certain steps of a procedure are automated-though they acknowledge that this is still
          many years away from becoming a reality.

          EXHIBIT 24: JNJ's "digital surgery" platform will likely start by collecting relatively simple data, but the end-game
          could include intra-operative decision support and even autonomous completion of certain steps

                             "The ultimate goal [with digital surgery] is to make surgery safer. Take the evolution of commercial
                             aviation as an example. If you had asked a pilot 40 years ago whether autopilot technology was possible,
                             they would have all said no. They would have pointed to the number of variables that must be accounted
                             for in support of their answer. Many surgeons might say the same thing now. But surgery can be
                             standardized and made safer in a similar way. Achieving partial automation will be the goal, but ifs going
                             to take a long time to get there."


          Source: Bernstein expert interviews


          ECONOMICS & PROCEDURE FOCUS
          While it's clear that JNJ intends to make per procedure economics an important part of its value proposition in robotic surgery,
          management has been significantly less clear about the details of the economic model than MDT. However, JNJ management
          has talked enough about price over the years to give key opinion leaders confidence that the4 company's robot will be less
          expensive than da Vinci. Experts also expect JNJ to compete with ISRG on instrument affordability. If JNJ is able to significantly
          extend the useful lives of its robotic instruments (i.e., if JNJ successfully disrupts ISRG's razor-razorblade model), then per-
          procedure cost could come down meaningfully.

           EXHIBIT 25: Experts believe JNJ's economic strategy will combine a less expensive robot with instruments that
           have longer useful lives than da Vinci's

                                 "JNJ'srobot will be cheaperthan da Vinci."
                             "lntuitive's 10-use instrument life is unnecessary and arbitrary. And it presents a real opportunity [for JNJ
                             and MOT]."

          Source: Bernstein expert interviews




          U.S. MEDICAL DEVICES                                                                                                       BERNSTEIN      17




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          JNJ is playing the long game in robotic surgery, and experts do not expect management to prioritize maximizing systems
          revenue in the near-term. Like MDT, JNJ is expected to leverage its surgical robot to lock-in end effector volume-rather than
          recovering as much as possible on the capital sale. Longer-term, experts believe that JNJ's real priority is collecting surgical
          information, which is consistent with management commentary around revolutionizing digital surgery.

           EXHIBIT 25: Experts believe that JNJ is more focused on locking in end effector volume and collecting surgical
           information, rather than maximizing revenue from systems sales

                                 "End effectors are a common element of JNJ's and MOT's value proposition. Both companies will use their
                                 robot as a platform to push their instruments."

                                 "JNJ isn't so keen on selling robots. They are much more interested in collecting surgical information and
                                 data. It's not so much about selling the product, but more about how to collect information."


          Source: Bernstein expert interviews



          From a procedure standpoint, experts seemed to suggest JNJ would focus on more complex procedures initially. For example,
          one KOL called out "complex GI procedures: rectum, pancreas, esophagus."

          TIMELINE
          After the Auris acquisition in 1019, some investors worried that JNJ's launch date for the surgical robot might be pushed back.
          So far, JNJ has not moved off its 2020 commitment, and many of the experts we've spoken with believe the program remains
          on-track. Per our discussions with management and as noted above, we believe limited launch in early 2021 appears more likely
          at this point.

           EXHIBIT 27: Experts believe that JNJ will adhere to its 2020 launch guidance, and do not believe the Auris
           acquisition will result in a delay

                                 "I've already seen enough to have confidence [in the launch timeline]."

                                 "JNJ seems to be on a good path, and they're not moving the launch date. There is no indication that there
                                 is any problem with the hardware [that could delay the launch timeline]."

                                 "There is no indication that the Auris acquisition will delay JNJ's commercial timeline."

                                 "With each new robot [that comes to market], surgeons will have to reinvent each procedure. Most
                                 people-even [those] in the industry-don't understand this and often and underestimate it. It will take a
                                 long time for both JNJ and MDT [to develop these procedures]. As soon as surgeons find a way to use the
                                 robots appropriately, we will be able to use them in a similar way to da Vinci for certain procedures. But
                                 only time will tell whether we will be able to perform complex procedures with these robots."


          Source: Bernstein expert interviews




          SUMMARY VIEW FROM EXPERTS
          In short, most experts agree that JNJ's robot is superior to Medtronic's, and some believe it approaches equal footing with
          lntuitive's da Vinci platform. The surgeons we interviewed are particularly intrigued by JNJ's "digital surgery" strategy, but they
          are also encouraged by the robot's design from a hardware perspective.

          Specifically, JNJ's unique visualization solution (glasses-free, heads-up, 3-D display) could be an important source of
          differentiation during the initial phase of the robot's rollout-since the data required to execute on the "digital surgery" strategy
          will take a nontrivial amount of time to collect (to say nothing of the time needed to analyze the data and then integrate it into a
          continuous feedback loop to improve surgeon performance).

          Despite the optimism around JNJ's robotics program, experts generally agree that Intuitive will continue to be a major player in
          the long-run. This outcome is not mutually exclusive with a successful entry by JNJ. There are room for multiple players in this
          market, and most surgeons believe that competitive entry will be market expanding.




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           EXHIBIT 28: Experts generally agree that Intuitive will continue to be a major player in the long-run, and they
           expect JNJ's entry to be market expanding

                                 "Intuitive is being clever about placing as many systems as they can ahead of the competition, like the shift
                                 towards an ope rating lease model. Being the second system on the market [ and not the third] is therefore
                                 important."
                                 "Intuitive is unlikely to deviate from their platform too much just to offer a cheaper version of da Vinci. A
                                 full redesign is doubtful. It's more likely that management invests the incremental dollars in data analytics
                                 capabilities."
                                 "We could see Intuitive partner with someone on data analytics, such as Apple or IBM Watson. Data
                                 analytics capabilities are hard to develop from the ground up, and Intuitive can't expect to compete with
                                 Google without outside help."
                                 "lntuitive's long-term market share is unclear, but there's no doubt they will continue to be a major player
                                 in this market. [Share shift] is going to be highly dependent on how good the new systems are. Substantial
                                 market segmentation is the most likely long-term outcome."
                                 "As the market grows, a lot of hospitals will probably have multiple robots. But it's unclear if surgeons will
                                 be able and/or willing to jump from one to another. Will this be like driving a car, where you can easily
                                 switch between different models, or more like flying a plane, where a pilot is licensed for one specific
                                 model? In the end, the offerings will likely be fairly similar, and it will largely come down to personal
                                 preference. Hospitals will probably end up with two systems, one for the central OR, and one for the
                                 outpatient setting."

          Source: Bernstein expert interviews




          In our recently published review of M DT's soft-tissue surgical robot (see lir,I<.), we offered six key takeaways based on our review
          of management commentary and interviews with key opinion leaders, and we add three additional points here re: JNJ's robot.
          First, we recap takeaways we noted in our MDT note:

          (1) Customers are eager to see competition in surgical robotics ...
          Many surgeons love da Vinci and believe the technology has improved their lives by offering a better way to do their jobs. Others
          resent the company for perceived monopolistic behavior over the years. Where surgeons agree is in the view that competition
          will be a good thing for the surgical robotics market. Hospital administrators and CFOs are even more eager to explore
          alternatives in hopes of gaining some negotiating leverage.

          (2) ... but to make a difference, the competition needs to be compelling
          Surgeons do not like change. If a surgical approach is creating good patient outcomes, it is very difficult to convince a surgeon
          to consider a new approach. Intuitive has spent 20 years working hard to drive adoption of robotic surgery. Over that time, the
          company has placed over 5,300 robots and trained over 44,000 surgeons on the da Vinci. And surgeons have invested
          significant time and energy to learn procedures and build skills on the platform, with over 6 million procedures performed to
          date and over 14,000 peer-reviewed papers published.

          As much as surgeons may welcome an alternative to Intuitive, inertia will be an important barrier to switching. Given the time and
          energy surgeons have invested in building skills on da Vinci, many will resist considering a new, untested platform. And as much
          as administrators would love to drive costs down, they will struggle to convert ISRG programs to MDT programs without
          surgeon support. The new competition will have to be really compelling to make a difference. They will need to earn their right to
          compete.

          (3) Competition will fundamentally change the surgical robotics market over time
          Intuitive has held a monopoly position for the last two decades. MDT and JNJ are pouring resources into their programs. It's clear
          that competition is coming. Even if we are not bowled over by what we have heard about the MDT robot so far, we do believe
          MDT will find success - if not with all customers, certainly with some - and if not with its first-generation robot, certainly with




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          some iteration. When competition begins to break through, it will have an impact on Intuitive. Capital sales cycles may lengthen.
          Procedure growth rates may modulate in certain segments. There will be pressure on pricing.

          (4) We believe MDT entry will be market-expanding
          In our view, the bull case on ISRG is not dependent on maintaining the company's historic monopoly position. There is room for
          multiple participants in this market given that fewer than 5% of eligible procedures are currently penetrated by robotic surgery,
          coupled with the clear value proposition of the modality relative to both open surgery and other MIS techniques. We see this as
          an attractive growth market for many years to come.

          Medtronic's robot seems likely to increase the range of procedures that can move from open and lap approaches to robotic
          approaches. As medtech markets mature, often we see competitors carve out certain niches, and we believe that's a likely
          outcome here.

          (5) Don't forget, ISRG is not standing still
          It's easy to get lost pondering all the possible ways in which Medtronic could have impact on lntuitive's business. But it's also
          important to remember that Intuitive has been in the war room for years contemplating scenarios and formulating responses.

          Shifting capital placements to operating leases and usage-based deals, for example, has helped the company prepare for
          Medtronic's per-procedure pricing model. The SP launch helps Intuitive extend the distinctiveness of its 4 th generation platform,
          moving the goalposts for MDT and JNJ. Intuitive has experimented with multiple system designs over the years - some
          speculate the company may have a slimmed-down, less expensive robot ready to fight Medtronic for lower-priced procedures
          and ASC business. Efforts in augmented reality and machine learning have the potential to strengthen the value of ISRG's
          installed base. And the company's clean balance sheet gives ISRG some flexibility to act quickly on various competitive
          responses.

          (6) Whatever happens, it's going to take multiple years to materialize
          Even if MOT's unveiling of its prototype in September makes legitimate competition to ISRG seem imminent, we are still multiple
          years away from full-fledged competition on a meaningful scale. Management has guided to commencement of the initial phase
          of the rollout to begin in FY20 (i.e., before 4/30/20), and most investors are expecting sometime in the first half of CY20. That
          MDT has opted to launch exclusively in OUS markets at this stage seemingly indicates that the company may have work to do to
          generate the quality and volume of clinical data needed for FDA approval.

          We expect Medtronic to execute a controlled launch in 1 H 2020 in select markets outside the U.S. to help validate the
          technology and begin to build clinical evidence. We anticipate a controlled U.S. launch will be staged at least 12-18 months post
          OUS launch. Given the time required to build out procedures, train surgeons, etc., we do not expect to see material revenue
          contribution for MDT until FY23 (2H CY22).



          Having now spent some more time researching JNJ's general surgery robot, we add the following three additional takeaways:

          (7) Experts are generally more excited by JNJ's robotic surgery platform than by MOT's
          Experts generally believe that JNJ's robot is superior to Medtronic's from a tech perspective - at least, superior to the "v1" robot
          Medtronic is likely to have at launch - and some believe that it could eventually become a viable competitor to da Vinci. Multiple
          KOLs have gone so far as to call JNJ's robot a "game-changer".

          While JNJ's vision of "digital surgery" is what excited surgeons most in the long-run, JNJ also has a differentiated design with
          respect to the robot itself. Most notably, surgeons are very intrigued by JNJ's differentiated display screen. Like MDT and ISRG,
          JNJ's robot will have a 3-D display screen. However, unlike MDT, JNJ's 3-D technology does not require the use of 3-D glasses.
          And, unlike da Vinci, JNJ has designed a heads-up display that is less stressful on surgeons' eyes while also better enabling
          communication among team members in the OR. JNJ has employed a curved screen and eye-tracking technology make this
          combination of features possible, and early feedback has been very positive.

          (8) Being second to market might not be as advantageous as MDT hopes
          We believe that there are some particularly loyal Medtronic/Covidien users who will want to test the MDT robot as soon as
          possible. These surgeons won't feel the need to wait around for JNJ's launch. But there are many users who are either more loyal




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          to JNJ Ethicon than to Covidien, or who are heavy users of both surgical tools vendors. For these surgeons, it might be worth it to
          wait and see just how exciting JNJ's platform is before making a decision to purchase a JNJ robot, a MDT robot, both, or neither.

          MDT has made the strategic decision to incorporate a substantial number of off-the-shelf components into the robot's design
          with the intent to get market before JNJ. However, on the whole experts seem to be more excited about JNJ's robot, and we
          wou Id expect a large portion of users to wait to see what both MOT and JNJ has before committing to one platform or the other.

           (9) "Digital surgery" is exciting, and JNJ may have some differentiated capabilities-but it's not dear ISRG is behind
          Commentary from JNJ management makes it clear that the company's value proposition in robotics will be part of a broader
          "digital surgery" platform. JNJ plans to "dramatically revolutionize surgery" by leveraging Alphabet's expertise in big data and Al
          to make surgery more predictable and more replicable-and ultimately to improve patient outcomes. We are intrigued by JNJ's
          vision of digital surgery, and strongly believe that incorporating Al and informatics at the pre- and post-op stage has the
          potential to improve patient outcomes beyond what robotics alone can achieve.

          Our KOL interviews suggest that JNJ is developing some interesting capabilities on the digital front, but it is not clear that JNJ
          will have an advantage over Intuitive. JNJ does not yet have the data it needs to execute on its vision, and its digital capabilities
          will be quite limited until a critical mass of data has been collected. In effect, JNJ will be asking customers to sign up for a robot
          so that the process of data generation can begin in earnest. However, if JNJ management successfully finds a way to leverage
          the company's scale advantage over ISRG, that could potentially change the whole basis of competition in this market.




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           EXHIBIT 29: ISRG Financial Statements
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                             ,-! ' -

           Instruments & Accessories            1,396
                                                            f
                                                          1,637
                                                                      f
                                                                    1,962 '    2,358 '     2,790'     '
                                                                                                     3,264      '
                                                                                                               3,787      '
                                                                                                                         4,393       460'      476'    '"
                                                                                                                                                         486'     539'        552      579        581               646
           Systems                                800       928     1,127      1,306       1,509     1,720     1,909     2,119       235       277       275      341         248      344        315               400
           Services                               511       573       635        721         810       907     1,015     1,137       153       156       160      167         174      177        181               189
           Sales                                2,707     3,138     3,724      4,385       5,108     5,891     6,711     7,649       848       909       921    1,047         974    1,099      1,078             1,235
           COGS (adj)                             768       881     1,062      1,274       1,535     1,823     2,118     2,452       241       263       263      295         281      315        316               362
           Gross profit (adj)                   1,938     2,257     2,663      3,111       3,573     4,067     4,594     5,197       607       646       658      751         693      784        762               873
           SG&A (adj)                             594       682       807        991       1,129     1,279     1,450     1,653       188       185       187      247         231      233        232               296
           R&D (adj)                              186       259       319        429         459       482       529       588        73        73        81       92         100       95        109               125
           Operating income (adj)               1,158     1,316     1,537      1,691       1,985     2,307     2,614     2,957       346       389       391      412         362      455        421               453
           Interest and other income, net          36        42        80        131         160       236       298       361        13        18        22       27          28       33         32                40
           Earnings before taxes                1,194     1,358     1,618      1,822       2,145     2,543     2,912     3,318       360       407       413      439         389      488        453               492
           Taxes (adj)                            313       301       317        355         403       470       524       597        72        80        76       88          77       98         84                96
           Net income (adj)                       881     1,057     1,305      1,464       1,742     2,072     2,388     2,721       288       327       337      353         312      388        369               396

           Diluted EPS (adj)                    $7.47     $9.09    $10.99      $12.23     $14.39    $16.99    $19.50    $22.19     $2.44     $2.76     $2.83    $2.96       $2.61    $3.25      $3.08             $3.29

           Avg Diluted Shares (M)               117.9     116.3     118.8       119.8      121.0     121.9     122.5               118.0     118.5     119.2    119.2       119.6    119.3      119.8             120.3
                                                                                                                         122.6:1
           EBITDA(adj)                          1,232     1,402     1,646       1,840      2,153     2,495     2,830     3,203       370       415       418      444         393      492         460              495


           Reported Growth
            Instruments & Accessories          16.5%     17.3%     19.9%       20.2%       18.3%     17.0%     16.0%     16.0%     20.9%    19.7%     21.2%     18.0%       20.0%    21.5%    19.5%               19.8%
            Systems                            10.8%     16.1%     21.4%       15.9%       15.5%     14.0%     11.0%     11.0%     45.8%    25.5%      4.8%     19.7%        5.5%    23.9%    14.8%               17.4%
            Services                            9.9%     12.2%     10.9%       13.5%       12.3%     12.0%     12.0%     12.0%     10.7%    11.4%     10.7%     10.8%       13.9%    13.4%    13.4°;'.~           13.4%
            Total                              13.5%     16.0%     18.7%       17.7%       16.5%     15.3%     13.9%     14.0%     24.7%    19.8%     14.0%     17.3%       14.9%    20.9%    17.0%               18.0%

           EBITDA                              21.9%     13.8%     17.4%       11.8%       17.0%     15.9%     13.5%     13.2%     29.9%    23.6%     12.6%      8.0%        6.2%    18.5%    10.3%               11.7%
           EBIT (adji                          22.4%     13.6%     16.8%       10.0%       17.4%     16.2%     13.3%     13.1%     30.3%    23.4%     11.9%      6.7%        4.4%    17.1%     7.9%                9.9%
           EPS (adj)                           16.3%     21.6%     20.9%       11.3%       17.7%     18.1%     14.7%     13.8%     42.8%    38.4%      1.6%     14.1%        7.1%    17.6%     8.8%               11.1%


           Gross margin                        71.6%     71.9%     71.5%       70.9%       69.9%    69.0%      68.4%     67.9%     71.6%    71.1%     71.5%     71.8%       71.2%    71.3%    70.7%               70.7%
           SG&A                                22.0%     21.7%     21.7%       22.6%       22.1%    21.7%      21.6%     21.6%     22.2%    20.3%     20.3%     23.6%       23.7%    21.2%    21.5%               23.9%
           R&D                                  6.9%      8.3%      8.6%        9.8%        9.0%     8.2%       7.9%      7.7%      8.6%     8.0%      8.8%      8.8%       10.3%     8.7%    10.1%               10.1%
           EBITDA                              45.5%     44.7%     44.2%       42.0%       42.1%    42.3%      42.2%     41.9%     43.7%    45.6%     45.3%     42.4%       40.4%    44.7%    42.7%               40.1%
           Operating margin {adj)              42.8%     41.9%     41.3%       38.6%       38.9%    39.2%      39.0%     38.7%     40.9%    42.7%     42.4%     39.4%       37.1%    41.4%    39.1%               36.7%
           Incremental adj. operating margin   65.9%     36.6%     37.8%       23.2%       40.7%    41.1%      37.5%     36.5%     47.9%    49.0%     36.7%     16.6%       12.0%    35.1%    19.6%               21.6%
           Tax rate,% EST                      26.2%     22.2%     19.6%       19.5%       18.8%    18.5%      18.0%     18.0%     20.1%    19.7%     18.5%     20.0%       19.8%    20.0%    18.6%               19.5%
           Net income (adj)                    32.6%     33.7%     35.0%       33.4%       34.1%    35.2%      35.6%     35.6%     33.9%    36.0%     36.6%     33.8%       32.0%    35.3%    34.2%               32.1%

               .. ..                             ,,                            '•          'f                             1 X:               ,,                                                                      \:
                                                            '         ''                              f         f                                                                             '"''-'5:l5=.:   d


           FCF                                   989       953       982       1,260      1,776 '   2,206     2,399     2,740       240       187       273      283         218      234       508                299
           FCF, % sales                          37%       30%       26%         29%        35%       37%       36%       36%       28%       21%       30%      27%         22%      21%       47%                24%
           FCF:Adj. NI                          112%       90%       75%         86%       102%      106%      100%      101%       84%       57%       81%      80%         70%      60%      138%                76%
           FCF/share                            $8.39     $8.20     $8.27      $10.52     $14.68    $18.09    $19.58    $22.35     $2.03     $1.58     $2.29    $2.37       $1.83    $1.96     $4.24              $2.49

           Cash from Operations                 1,043     1,144     1,170      1,625       2,079     2,552     2,812     3.198      280       232       320      338         333       316         558             345
           Cash from Investing                 (1,279)      379    (1,050)      (627)       (303)     (346)     (413)     (458)      54       (44)     (573)    (486)       (309)     (223)        (49)            (46)
           Cash from Financing                    559    (1,913)      126       (107)       (289)     (561)     (910)   (1,371)      (8)       43        58       34         (42)     (179)         57              57
           Change in cash                         322      (391)      246        892       1,487     1,645     1,489     1,369      326       230      (195)    (115)        (18)      (85)        565             356

           Capex                                  (54)     (191)    (187)       (292)       (303)     (346)     (413)     (458)      (40)      (45)      (47)     (56)      (115)      (82)        (49)             (46)
           Buy backs                              (43)   (2,274)       0        (200)       (493)     (745)   (1,075)   (1,520)        0         0         0        0          0      (200)          0                0


            o a Assets
           Current Assets
           LT Assets
           Book Value of Equity                5,778     4,727     6,688       8,330      10,144    12,079    14,044    15,942     5,506    5,869     6,289     6,688       7,040    7,280    7,785               8,330
           To1al Liabilities                     709     1,031     1,159       1,229       1,251     1,281     1,307     1,335       920      980     1,030     1,159       1,195    1,252    1,222               1,229

           Cash                                 1,037      648       858       1,712       3,199     4,844     6,333     7,701      975     1,204     1,008      858         876      790     1,356               1,712
           Total Debt                               0        0         0           0           0         0         0         0
           Net Debt (cash)                     (1,037)    (648)     (858)     (1,712)     (3,199)   (4,844)   (6,333)   (7,701)     (975)   (1,204)   (1,008)    (858)       (876)    (790)   (1,356)         (1,712)
           Net Debt (cash): EBITDA               -0.Sx    -0.5x     -0.5x       -0.9x       -1.5x     -1.9x     -2.2x     -2.4x      0.?x      0.?x      0.6x     0.5x        0.6x     0.4x      0.?x            0.9x
           Total Debt (cash): EBITDA              0.0x     0.0x      0.0x        0.0x        0.0x      0.0x      0.0x      0.0x      0.0x      0.0x      0.0x     0.0x        0.0x     0.0x      0.0x            0.Ox
           NOPAT (All in)                         855    1,024     1,237       1,361       1,612     1,880     2,144     2,425        277       312       318      329         290      364       343             364
           ROIC (All in)                        15.9%    17.9%     19.5%       16.4%       15.8%     15.6%     15.3%     15.2%     19.3%     19.9%     19.1%    18.5%       15.3%    18.4%     17.4%           17.4%
           ROIC (Tangible)                      16.9%    19.0%     21.0%       17.6%       16.8%     16.4%     15.9%     15.7%


          Source: Company reports; Bernstein estimates & analysis




          U.S. MEDICAL DEVICES                                                                                                                                                        BERNSTEIN                     22




Confidential                                                                                                                                                                                       Intuitive-00278224
                                                                       at                                                                                            9
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          Lee Hambright +1-212-823-3557 lee.harnbright@bernstein.com                                                                                                                   6 September 2019




           EXHIBIT 30: JNJ Financial Statements
           'o   -

           Consumer
                    ~   s                     ,
                                           13,602
                                                         ' '
                                                      13,853
                                                                   ,
                                                                 13,958
                                                                               ,,
                                                                             14,383
                                                                                          '
                                                                                        14,848       '
                                                                                                   15,320       '
                                                                                                              15,808
                                                                                                                           .' .' .' . . .
                                                                                                                          3,398      3,504      3,415
                                                                                                                                                           '
                                                                                                                                                           3,536
                                                                                                                                                                 :
                                                                                                                                                                       3,318       3,544
                                                                                                                                                                                             '.
                                                                                                                                                                                                  '
                                                                                                                                                                                              3,463
                                                                                                                                                                                                        '   .3,634
           MD&D                            26,592     26,994     25.708      26,451     27,506     28,631     29,831      6,767      6,972      6,587      6,668       6,458       6,491      6,141          6,618
           Pharma                          36,256     40,734     42,005      44,879     47,496     48,064     49,498      9,844     10,354     10,346     10,190      10,244      10.529     10,497         10,735
           Sales (adj)                     76,450     81,581     81,671      85,713     89,850     92,015     95,137     20,009     20,830     20,348     20,394      20,020      20,564     20,101         20,987
           COGS (adj)                      21,729     22,521     22,991      23,963     24,941     25,451     26,220      5.416      5,768      5,481      5,856       5,462       5,784      5,656          6,089
           Gross profit (adj)              54,721     59,060     58,681      61,750     64,909     66,564     68,916     14,593     15,062     14,867     14,538      14,558      14,780     14,445         14,898
           SG&A(adj)                       21,420     22,540     21,935      22,726     23,420     23,893     24,610      5.263      5,743      5,543      5,991       5,219       5,546      5,214          5,955
           R&D (adj)                       10,554     10,775     11.210      11,421     11,703     11,894     12,202      2,404      2,639      2.508      3,224       2,858       2,666      2,578          3,108
           Operating income (adj)          22,747     25,745     25,536      27,603     29,786     30,777     32,104      6,926      6,680      6,816      5,323       6,481       6,568      6,653          5,834
           Interest expense (adj)             549        394         50         264        178        195        186        145        127          68        54           3           -5        37             15
           Other expense (income) (adj)    -2,015     -1,347     -2,751      -1,800     -1,400     -1,300     -1,200         -77      -461         -32      -777        -388      -2.043       -160           -160
           Earnings before taxes (adj)     24,212     26,698     28,237      29,139     31,008     31,881     33,118      6,858      7,014      6.780      6,046       6,866       8,616      6,776          5,979
           Taxes (adj)                      4,172      4,383      5,084       4,808      5,116      5,260      5,464      1,223      1,296      1,190        674       1,206       1,664      1,287            927
           Net income (adj)                20,040     22,315     23,153      24,331     25,891     26,621     27,654      5,635      5,718      5,590      5,372       5,660       6,952      5,488          5,053

           Diluted EPS (adj)                $7.30      $8.18      $8.62       $9.16      $9.79     $10.11     $10.55      $2.06      $2.10      $2.05      $1.97         $2.10     $2.58      $2.05          $1.89

           Avg Diluted Shares (tvl)        2,745.3    2.728.7    2,685.6    2,654.9     2,643.8    2,632.2    2,620.7    2,731.9    2,721.3    2,727.6    2,724.0     2,698.8     2,691.7    2,680.5    2,671.2

           EBITDA                          25,426     28,317     28,435      31,566     34,673     36,564     38,637      7,557      7,313      7,462      5,985         7,112     7,217      7,370          6,736


           Organic
            Consumer                        -0.5%       3.2%       1.7%        3.1%       3.2%       3.2%       3.2%       2.0%       0.9%       6.1 %      3.8%          0.7%      2.3%       1.7%          2.2%
            MD&D                             1.5%       2.6%       3.1%        3.9%       4.0%       4.1%       4.2%       1.1%       2.9%       2.9%       3.3%          4.3%      3.2%       2.1%          2.8%
            Pharma                           4.2%       8.4%       5.1%        6.9%       5.8%       1.2%       3.0%       7.5%      11.0%       8.2%       7.2%          7.9%      4.4%       2.7%          5.6%
            Total                            2.4%       5.5%       3.9%        5.3%       4.8%       2.4%       3.4%       4.3%       6.3%       6.1%       5.3%          5.5%      3.7%       2.3%          4.1%
           Currency                          0.4%       0.3%      -2.0%        0.0%       0.0%       0.0%       0.0%       4.2%       1.9%      -1.9%      -2.3%         -3.9%     -2.9%      -1.0%         -0.2%
           M&A                               3.6%       0.9%      -1.8%       -0.3%       0.0%       0.0%       0.0%       4.1%       2.4%      -0.6%      -2.0%         -1.6%     -2.1%      -2.5%         -1.0%
           Reported Growth                   6.3%       6.7%       0.1%        4.9%       4.8%       2.4%       3.4%      12.6%      10.6%       3.6%       1.0%          0.1%     -1.3%      -1.2%          2.9%

           EBITDA                            0.2%      11.4%       0.4%      11.0%        9.8%       5.5%       5.7%      16.1%       9.0%       9.4%      11.2%         -5.9%     -1.3%      -1.2%         12.6%
           Operating Income (adj)           -0.7%      13.2%      -0.8%       8.1%        7.9%       3.3%       4.3%      16.9%      10.6%      10.2%      15.9%         -6.4%     -1.7%      -2.4%          9.6%
           EPS (adj)                         8.5%      12.0%       5.4%       6.3%        6.9%       3.3%       4.3%      12.8%      14.5%       8.0%      13.1%          1.7%     22.9%      -0.1%         -4.1%




           Gross margin                       '
                                            71.6%        ' '
                                                       72.4%       '
                                                                  71.8%        ''
                                                                             72.0%        '
                                                                                         72.2%
                                                                                                     ,
                                                                                                    72.3%
                                                                                                                ,
                                                                                                               72.4%
                                                                                                                           . . .' . ' . . . .
                                                                                                                          72.9%
                                                                                                                               :
                                                                                                                                     72.3%
                                                                                                                                          :
                                                                                                                                                73.1%
                                                                                                                                                           '
                                                                                                                                                           71.3%       72.7%       71.9%      71.9%
                                                                                                                                                                                                        '
                                                                                                                                                                                                            71.0%
           SG&A                             28.0%      27.6%      26.9%      26.5%       26.1%      26.0%      25.9%      26.3%      27.6%      27.2%      29.4%       26.1%       27.0%      25.9%         28.4%
           R&D                              13.8%      13.2%      13.7%      13.3%       13.0%      12.9%      12.8%      12.0%      12.7%      12.3%      15.8%       14.3%       13.0%      12.8%         14.8%
           EBITDA                           33.3%      34.7%      34.8%      36.8%       38.6%      39.7%      40.6%      37.8%      35.1%      36.7%      29.3%       35.5%       35.1%      36.7%         32.1%
           Operating margin (adj)           29.8%      31.6%      31.3%      32.2%       33.2%      33.4%      33.7%      34.6%      32.1%      33.5%      26.1%       32.4%       31.9%      33.1%         27.8%
           Tax rate,% EBT                   17.2%      16.4%      18.0%      16.5%       16.5%      16.5%      16.5%      17.8%      18.5%      17.6%      11.1%       17.6%       19.3%      19.0%         15.5%


                                                                                                                           .' .' .' . . . . .
           Net income (adj)                 26.2%      27.4%      28.3%      28.4%       28.8%      28.9%      29.1%      28.2%      27.5%      27.5%      26.3%       28.3%       33.8%      27.3%         24.1%

                                              ,                    ,           '"'                                                                         '     :                                      '
           FCF                             17,777        ' '
                                                      18,531     20,297     29,633        '
                                                                                        32,153       '
                                                                                                   33,919       '
                                                                                                              35,716      2,948      5,204      5,453      4,926       2,887       4,829      6,686         5,895
           FCF, % sales                       23%        23%        25%        35%         36%        37%        38%        15%        25%        27%        24%         14%         23%        33%           28%
           FCF:Adj. NI                        89%        83%        88%       122%        124%       127%       129%        52%        91%        98%        92%         51%         69%       122%          117%
           FCF/share                         $6.48      $6.79      $7.56     $11.16      $12.16     $12.89     $13.63      $1.08      $1.91      $2.00      $1.81       $1.07       $1.79      $2.49         $2.21

           Cash from Operations            21,056     22,201     23,584      33,407     36,151     37,991     39,930      3,606      6,079      6,272      6,244       3,543       5,648      7,502      7,199
           Cash from Investing            (14,868)    (3,167)   (10,327)    (10,506)   (10,730)   (10,804)   (10,946)      (925)      (201)    (4,269)     2,228      (1,417)     (2,502)    (2,499)    (2,987)
           Cash from Financing             (7,673)   (18,510)   (17,919)    (18,899)   (14,715)   (14,688)   (14,538)    (5,970)    (2,674)    (3,477)    (6,389)     (5,516)     (4,528)    (4,521)    (4,362)
           Change in cash                  (1,148)       283     (4,662)      4,002     10,706     12,499     14,446     (3,185)     2,930     (1,513)     2,051      (3,373)     (1,382)       482       (150)

           Capex                           (3,279)    (3,670)    (3,595)     (3,774)    (3,998)    (4,072)    (4,214)      (658)      (875)      (819)    (1,318)       (656)       (819)      (816)    (1,304)
           Acquisitions, net              (35,151)      (899)    (6,732)     (6,732)    (6,732)    (6,732)    (6,732)       (82)      (140)      (675)         (2)    (1,683)     (1,683)    (1,683)    (1,683)


                                                                                                                           . . .' . ' . . . .
           Buy backs                       (6,358)    (5,868)    (8,824)     (9,415)    (5,380)    (5,380)    (5,380)    (1,444)      (145)      (471)    (3,808)     (2,206)     (2,206)    (2,206)    (2,206)

           ,,               --~-                                                                     ,          ,              :          :                                                             '
           Total Assets                       '
                                          157,303    152,954    '
                                                         ' ' 148,945           ''
                                                                           156,418        '
                                                                                       169,517    182,884    197,700    156,625    155,365    155,703
                                                                                                                                                           '
                                                                                                                                                         152,954     150,027     146,221    146,903    148,945
           Current Assets                  43,088     46,033     38,428     43,868      55,853     69,044     84,453     42,768     45,438     47,194     46,033      41,987      37,410     37,367     38,428
           LT Assets                      114,215    106,921    110,517    112,550     113,665    113,840    113,248    113,857    109,927    108,509    106,921     108,040     108,811    109,536    110,517
           Book Value of Equity            60,160     59,752     63,597     69,797      81,769     94,525    108,489     63,255     62,889     64,626     59.752      58,955      61,565     62,715     63,597
           Total Liabilities               97,143     93,202     85,348     86,620      87,748     88,359     89,212     93,370     92,476     91,077     93,202      91,072      84,656     84,187     85,348

           Cash + Marketable Securities    18,296     19,687     14,286     18,288      28,994     41.493     55,939     15,204     18,139     19,364     19,687      15,336      13,954     14,436     14,286
           Total Debt                      34,581     30,480     29,368     29,368      29,368     29,368     29,368     32,533     32,083     31,253     30.480      29,368      29,368     29,368     29,368
           Net Debt                        16,285     10,793     15,082     11,080         374    (12,125)   (26,571)    17,329     13,944     11,889     10,793      14,032      15,414     14,932     15,082
           Net Debt:EBITDA                    0.6x       0.4x       0.5x       0.4x        0.0x      -0.3x      -0.7x       0.6x       0.5x       0.4x       0.5x        0.5x        0.5x       0.5x       0.6x
           Total Debt:EBITDA                  1.4x       1.1x       1.0x       0.9x        0.8x       0.8x       0.8x       1.1x       1.1x       1.0x       1.3x        1.0x        1.0x       1.0x       1.1x
           NOPAT (All in)                  18,827     21,518     20,937     23,049      24,871     25,699     26,807
           ROIG (All in)                      20%        20%        19%        20%         21%        22%        23%
           ROIG (Tangible)                    68%        80%        65%        56%         52%        48%        46%


          Source: Company reports; Bernstein estimates & analysis




          U.S. MEDICAL DEVICES                                                                                                                                                        BERNSTEIN                 23




Confidential                                                                                                                                                                                      Intuitive-00278225
                                                                                  at                                                                                                        9
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          Lee Hambright +1-212-823-3557 lee.harnbright@bernstein.com                                                                                                                                             6 September 2019




           EXHIBIT 31: MDT Financial Statements
           ,,:   ,. .   ,                           ;         ,.    ;                   ;                                  ;          ,.                                 ,,                                      ;         ~=·     ,,
           Cardiac & Vascular                    10,498     11,354
                                                                           '
                                                                        11,505     11,691
                                                                                                     '
                                                                                                   12,188       '"'
                                                                                                              12,688     13,188      13,709      2,811        2,858     2,786 '     3,050'       2,790
                                                                                                                                                                                                         '    2,867
                                                                                                                                                                                                                       •of>

                                                                                                                                                                                                                         2,869
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                    3,165
           Minimally Invasive Therapies           9.919      8,716       8,478      8,794           9,178      9,547      9,932      10.333      2,052        2,047     2,124       2.255        2,100        2,127      2,212      2.355
           Restorative Therapies                  7,366      7,743       8,183      8,512           8,916      9,278      9,631       9,966      1,949        1,993     2,026       2,215        2,012        2,071      2,110      2,318
           Diabetes                               1,927      2,140       2.391      2,521           2,697      2.886      3,088       3,305        572          583       610         626          592          593        656        679
           Sales (adj)                           29,710     29,953      30,557     31,518          32,980     34,399     35,839      37,312      7,384        7,481     7,546       8,146        7,494        7,659      7,847      8,518
           COGS (adj)                             9.233      8,982       9,057      9,613          10,042     10,457     10,877      11.305      2,187        2,179     2,243       2.448        2,328        2,315      2,380      2.590
           Gross profit (adj)                    20,477     20,971      21,500     21,905          22,938     23,942     24,962      26,007      5,197        5,302     5,303       5,698        5,166        5,344      5,468      5,928
           R&D                                    2,193      2,256       2.330      2,337           2,380      2.448      2,514       2,580        585          590       561         594          582          583        568        604
           SG&A                                   9,711      9,947      10,157     10,230          10,606     11,011     11,436      11,868      2,538        2,554     2,500       2,565        2,485        2,561      2,553      2,631
           Other operating expense, net             222        444         141         56              99         82         96          95          60           73        38        -30           -18           25        24          26
           Operating income (adj)                 8,351      8,324       8,872      9,282           9,853     10,402     10,916      11,464      2,014        2,085     2,204       2,569        2,117        2,175      2,324      2,668
           Other non-opera-::ing (inc) expense                -425        -311       -377            -425       -555       -689        -827         -76          -77       -64        -94         -102           -95       -85         -95
           Net interest expense                     728      1,108         959        722             709        709        709         709        242          241       243         233          196          175        175        175
           Earnings before taxes (adj)            7.623      7,641       8,223      8,938           9,569     10,248     10,896      11.581      1,847        1,921     2,025       2.430        2,023        2,095      2,234      2.587
           Taxes (adj)                            1,229      1,108       1,133      1,431           1,483      1,558      1,634       1,737        245          261       274         353          319          340        357        414
           Net income (adj)                       6,394      6,533       7.089      7,507           8,086      8.690      9,262       9,844      1,601        1,660     1,751       2,077        1,704        1.754      1,876      2,173

           Diluted EPS {adj)                      $4.60      $4.77       $5.22         $5.58        $6.11      $6.71       $7.31      $7.95      $1.17        $1.22     $1.29       $1.54        $1.26        $1.30      $1.40      $1.62

           Avg Diluted Shares (M)                 1,391      1,368       1.358         1,346        1,322      1.294       1,266      1,238      1,365        1,361     1,353       1,351        1,352        1.348      1,344      1,340

           EBITDA                                 9.288      9,145       9,767     10,176          10,807     11,398     11,966      12.562      2,234        2,291     2,443       2.799        2,327        2,398      2,554      2.898


           Organic Growth
            Cardiac & Vascular                     3.0%       6.0%        2.9%          2.7%         4.2%       4.1%       3.9%        3.9%      5.0%          4.4%      1.6%        1.1%         1.4%         1.4%      3.6%        4.3%
            Minimally Invasive Therapies           4.0%       4.0%-,      5.8%          5.0%         4.4%       4.0%       4.0%        4.0%      4.9%          6.8%      6.6%        5.1%         4.8%-,       5.2%      4.9%        5.0%
            Restorative Therapies                  2.0%       4.0%        6.6%          4.7%         4.8%       4.1%       3.8%        3.5%      6.8%          7.8%      5.5%        6.5%         4.6%         4.6%      4.5%        5.0%
            Diabetes                               4.0%       9.0%       13.4%          6.4°;'.~     7.0%       7.0%       7.0%-,      7.0%     26.3%         27.5%      6.5%-,      0.6%         5.4%         2.8%      8.0%-,      9.0%
           Total Organic Growth                    3.0%       5.0%        5.5%          4.1 %        4.6%       4.3%       4.2%        4.1%      6.8%          7.5%      4.4%        3.6%         3.5%         3.4%      4.5%        5.0%
            FX                                    -0.1%       1.7%-,     -1.5%         -1.0%         0.0%       0.0%       0.0%        0.0%      1.1%         -1.3%     -2.0%       -3.5%        -2.0%-,      -1.0%     -0.5%       -0.5%
            M&A                                    0.2%      -5.8%       -2.0%          0.0%         0.0%       0.0%       0.0%        0.0%     -7.9%          0.0%      0.0%        0.0%         0.0%         0.0%      0.0%        0.0%
           Reported Growth                         3.0%       0.8%        2.0%          3.1 %        4.6%       4.3%       4.2%        4.1%     ~0.1%          6.1%      2.4%        0.0%         1.5%         2.4%      4.0%        4.6%

           EBITDA                                  3.0%      -1.5%-,      6.8%          4.2%         6.2%       5.5%       5.0%        5.0%      4.7%          9.5%      8.5%        4.9%         4.2%-,       4.7%       4.5%       3.5%
           EBIT (adj)                              2.8%      -0.3%        6.6%          4.6%         6.2%       5.6%       4.9%        5.0%      3.2%         11.3%      7.7%        4.8%         5.1%         4.3%       5.4%       3.8%
           EPS (adj)                               5.2%       3.9%        9.4%          6.8%         9.6%       9.8%       8.9%-,      8.7%      4.7%         14.4%     10.0%-,      8.2%         7.5%         6.7%       7.9%-,     5.5%

                                                                           ;                         ;          ;                                                        .,         .,                   ;                              ;
                  ''"'-
           Gross margin
                                                    '
                                                  68.9%      70.0%       70.4%
                                                                                        '
                                                                                       69.5%        69.6%      69.6%
                                                                                                                           '
                                                                                                                          69.7%       69.7%      70.4%        70.9%'    70.3%       69.9%        68.9%
                                                                                                                                                                                                                 '
                                                                                                                                                                                                              69.8%     69.7%       69.6%
           SG&A                                   32.7%      33.2%       33.2%         32.5%        32.2%      32.0%      31.9%       31.8%      34.4%        34.1%     33.1%       31.5%        33.2%        33.4%     32.5%       30.9%
           R&D                                     7.4%       7.5%        7.6%          7.4%         7.2%       7.1%       7.0%        6.9%       7.9%         7.9%      7.4%        7.3%         7.8%         7.6%      7.2%        7.1%
           EBITDA                                 31.3%      30.5%       32.0%         32.3%        32.8%      33.1%      33.4%       33.7%      30.2%        30.6%     32.4%       34.4%        31.0%        31.3%     32.5%       34.0%
           Operating margin (adj)                 28.1%      27.8%       29.0%         29.5%        29.9%      30.2%      30.5%       30.7%      27.3%        27.9%     29.2%       31.5%        28.2%        28.4%     29.6%       31.3%
           Incremental adj. operating margin      25.5%     -11.1%       90.7%         42.7%        39.1%      38.6%      35.7%       37.2%    -1043%         49.0%     88.7%     5850.0%          94%        50.4%     39.7%       26.5%
           Tax rate,% EBT                         16.1%      14.5%       13.8%         16.0%        15.5%      15.2%      15.0%       15.0%      13.3%        13.6%     13.5%       14.5%        15.8%        16.3%     16.0%       16.0%
           Net income (adj)                       21.5%      21.8%       23.2%         23.8%        24.5%      25.3%      25.8%       26.4%      21.7°/0      22.2%     23.2%       25.5%        22.7%        22.9%     23.9%       25.5%

                                                    ;         ,.    ;                   ;                                  ;          ,.                                 ,,                                      ;         ~=·     ,,
           FCF                                    5,626     3,616
                                                                           '
                                                                         5,873         6,938
                                                                                                     '
                                                                                                    8,264
                                                                                                                '"'
                                                                                                               8,956      9,497      10,108      S,'tn         957      1,753 '     1,752'       1,209
                                                                                                                                                                                                         '    1,609
                                                                                                                                                                                                                       •of>

                                                                                                                                                                                                                        1,835
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                    2,286
           FCF, % sales                             19%       12%          19%           22%          25%        26%        26%         27%                    13%        23%         22%          16%          21%       23%         27%
           FCF:Adj. NI                              88%       55%-,        83%           92%         102%       103%       103%        103%       88%          58%      100%          84%          71%-,        92%       98%        105%
           FCF/share                               $4.04     $2.64        $4.33         $5.15        $6.25      $6.92      $7.50       $8.16     $1.03        $0.70      $1.30       $1.30        $0.89        $1.19     $1.37       $1.71

           Cash from Operations                   6,880      4,684       7,007      8.097           9,476     10,214     10,811      11,474     1,702         1,163     2,055       2,087        1,510        1,848     2.126       2,614
           Cash from Investing                   (1,571)     5,858        (774)    (1,409)         (1,212)    (1,258)    (1,314)     (1,366)      643           121    (1,009)       (529)        (551)        (239)     (291)       (328)
           Cash from Financing                   (3,283)   (11,954)     (5,431)    (3,016)         (4,963)    (5,447)    (5,869)     (6,349)   (1,573)       (1,730)   (1,268)       (860)        (274)        (907)     (914)       (921)
           Change in cash                         2,091     (1,298)        724      3,674           3,301      3,509      3,628       3,759       711          (469)     (208)        690          687          702       921       1,365

           Capex                                 (1,254)    (1,068)     (1,134)    (1,159)         (1,212)    (1,258)    (1,314)     (1,366)     (291)         (206)     (302)       (335)        (301)        (239)      (291)      (328)
           Acquisitions, net                     (1,324)      (137)     (1,827)      (145)              0          0          0           0      (104)          (15)   (1,496)       (212)        (145)           0          0          0
           Buy backs                             (3,544)    (2,171)     (2,877)    (1,446)         (2,782)    (3,012)    (3,260)     (3,529)     (824)       (1,223)     (681)       (149)        (333)        (364)      (371)      (378)

           ,.                                                       ;                                                                                    ;                          ·•                                 ··•
           Total Assets                             '
                                                 99,816    91.393          '
                                                                        89,694
                                                                                        l:,'.":

                                                                                   94,939
                                                                                                    .H

                                                                                                   99,043       '
                                                                                                             103.234       '
                                                                                                                        107,614     112,108    89,721        88.150    88,730      89,694
                                                                                                                                                                                                   "'
                                                                                                                                                                                                91,268
                                                                                                                                                                                                        .H
                                                                                                                                                                                                                 '
                                                                                                                                                                                                             92,109    93,254           '
                                                                                                                                                                                                                                   94,939
           Current Assets                        24,873    22,980       21,967     27,545          33,169     38,884     44,782      50,793    22,460        21,653    20,877      21,967       22,705       23,982    25,515      27,545
           LT Assets                             74,943    68,413       67,727     67,395          65,874     64,350     62,832      61,315    67,261        66,497    67,853      67,727       68,563       68,127    67,739      67,395
           Book Value of Equity                  50,416    50,822       50,212     53,787          57,223     60,792     64,525      68,375    50,329        49,714    49,941      50,212       50,497       51,417    52,454      53,787
           Total Liabilities                     49,400    40,571       39,482     41,152          41,820     42,442     43,089      43,733    39,392        38,436    38,789      39,482       40,771       40,692    40,800      41,152

           Cash + Marketable Securities          13,708    11,227        9,848     15,014          20,093     25,388     30,799      36,342    11,004        10,133     9,142       9,848       10,683       11,837    13,206      15,014
           Total Debt                            33,441    25,757       25,324     26,262          26,262     26,262     26,262      26,262    25,223        25,016    25,030      25,324       26,262       26,262    26,262      26,262
           Net Debt                              19,733    14,530       15,476     11,248           6,169        874     (4,537)    (10,080)   14,219        14,883    15,888      15,476       15,579       14,425    13,056      11,248
           Net Debt:EBITDA                          2.1x      1.6x         1.6x       1.1x            0.6x       0.1x      -0.4x       -0.8x      1.6x          1.6x      1.6x        1.4x         1.7x         1.5x      1.3x        1.0x
           Total Debt:EBITDA                        3.6x      2.8x         2.6x       2.6x            2.4x       2.3x       2.2x        2.1x      2.8x          2.7x      2.6x        2.3x         2.8x         2.7x      2.6x        2.3x
           NOPAT (All in)                                   5,687        6,128                      6,823                 7,763       8,228
           ROIC (All in)                                     7.5%         8.5%                       9.5%                 11.3%       12.2%
           ROIC (Tangible)                        25.6%     52.3%        52.4%         47.3%        49.5%      51.7%      53.3%-,     55.0%


          Source: Company reports, Bernstein estimates & analysis




          U.S. MEDICAL DEVICES                                                                                                                                                                                 BERNSTEIN                24




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                                                             at                                                              9
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          Lee Hambright +1-212-823-3557 lee.harnbright@bernstein.com                                                                       6 September 2019




                                                                                                                             DISCLOSURE APPENDIX



                                                   5 Sep 2019                 TTM                  EPS Reported                       P/E Reported
                                                       Closing      Target     Rel.
           Ticker                   Rating               Price       Price    Pert           2018A     2019E       2020E      2018A      2019E       2020E
           ISRG                         0    USO       508.17       635.00   (8.3)%   USO     10.99      12.23      14.39        46.26     41.56      35.32
           JNJ                          M    USO       128.58       148.00   (8.4)%   USO      8.18       8.62       9.16        15.72     14.91      14.03
           MDT                          M    USO       107.72       114.00    9.1%    USO      5.22       5.58       6.11        20.63     19.31      17.62
           SPX                                       2,976.00                                159.61     162.91     179.71        18.65     18.27      16.56

                                                                                       0 - Outperform, M - Market-Perform, U - Underperform, N - Not Rated

          MDT base year is 2019;.




          Intuitive Surgical Inc
          ISRG: Our target price for ISRG is based on a 40.5x target P/E multiple, applied to our next twelve months' estimates, twelve
          months hence. The P/E target reflects observed absolute and relative historical multiples and our outlook for forward growth.

          Johnson & Johnson
          JNJ: Our target price for JNJ is based on a 15.5x target P/E multiple, applied to our next twelve months' estimates, twelve
          months hence. The P/E target reflects observed absolute and relative historical multiples and our outlook for forward growth.
          We also use current EV/EBITDA vs. history and DCFs as secondary inputs to our valuation.

          Medtronic PLC
          MDT: Our target price for MDT is based on a 17x target P/E multiple, applied to our next twelve months' estimates, twelve
          months hence. The P/E target reflects observed absolute and relative historical multiples and our outlook for forward growth.




          Intuitive Surgical Inc
          Downside risks include: Major product recall, earlier than expected introduction of surgical robots from major competitors,
          changes in treatment guidelines for critical procedures (prostatectomy, hysterectomy, etc.), changes to the economic
          environment that significantly reduce healthcare spending levels.

          Johnson & Johnson
          Downside risks include: A major product recall; the risk that certain important brands face generic competition earlier than we
          currently model or erosion rates are faster than anticipated; the risk that key pipeline products fail; the risk that the company will
          overpay for acquisitions to make up for sluggish revenue growth throughout the portfolio; and/ or market-wide deceleration
          across JNJ's end markets.

          Upside risks include: The risk that JNJ has more pipeline success than what we forecast (Pharma and/or Devices); faster than
          expected growth in specific large verticals (notably Surgery, Orthopedics, or consumer health); and/ or specific major product
          recalls at competitors.

          Medtronic PLC
          Downside risks include: A major product recall; the risk that key products fail to grow as expected; the risk that the company will
          overpay for acquisitions to make up for sluggish revenue growth throughout the portfolio; and/ or market-wide deceleration
          across MOT's end markets.

          Upside risks include: The risk that MOT has more success with the product pipeline than we forecast; faster than expected
          growth in specific large verticals (notably Surgery, DES, or Rhythm); and/ or specific major product recalls at competitors. We




          U.S. MEDICAL DEVICES                                                                                                            BERNSTEIN          25




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          Lee Hambright +1-212-823-3557 lee.harnbright@bernstein.com                                                  6 September 2019




          also acknowledge the risk that economic value/ bundling could become a more important factor in hospital purchasing
          decisions than we anticipate, which could benefit MDT.




          U.S. MEDICAL DEVICES                                                                                        BERNSTEIN     26




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                                                              REQUIRED REGULATORY DISCLOSURES
      •      References to "Bernstein" relate to Sanford C. Bernstein & Co., LLC, Sanford C. Bernstein Limited, Sanford C. Bernstein (Hong Kong) Limited lllH.\!i:~
             ~;f;i'~!0'§'.I, Sanford C. Bernstein (Canada) Limited, Sanford C. Bernstein (India) Private Limited (SEBI registration no. lNH000006378) and Sanford
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             acquired Autonomous Research. As a result of the acquisition, the research activities formerly conducted by Autonomous Research US LP have
             been assumed by Sanford C. Bernstein & Co., LLC, which will continue to publish research under the Autonomous Research US brand and the
             research activities formerly conducted by Autonomous Research Asia Limited have been assumed by Sanford C. Bernstein (Hong Kong) Limited 'till'
             t.\!i:~~;f;f ~!0 '§'.I, which will continue to publish research under the Autonomous Research Asia brand.

      •      References to "Autonomous" in these disclosures relate to Autonomous Research LLP and, with reference to dates prior to April 1, 2019, to
             Autonomous Research US LP and Autonomous Research Asia Limited, and, with reference to April 1, 2019 onwards, the Autonomous Research US
             unit and separate brand of Sanford C. Bernstein & Co., LLC and the Autonomous Research Asia unit and separate brand of Sanford C. Bernstein
             (Hong Kong) Limited 'till't.\!i:~~;f;i'~!0'§'.I, collectively.

      •      References to "Bernstein" or the "Firm" in these disclosures relate to Sanford C. Bernstein & Co., LLC, Sanford C. Bernstein Limited, Sanford C.
             Bernstein (Hong Kong) Limited 'till't.\!i:~~;f;f ~!0'§'.I, Sanford C. Bernstein (Canada) Limited, Sanford C. Bernstein (India) Private Limited (SEBI
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      •      Bernstein analysts are compensated based on aggregate contributions to the research franchise as measured by account penetration, productivity
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             revenues.

      •      Bernstein rates stocks based on forecasts of relative performance for the next 6-i 2 months versus the S&P 500 for stocks listed on the U.S. and
             Canadian exchanges, versus the MSCI Pan Europe Index for stocks listed on the European exchanges (except for Russian companies), versus the
             MSCI Emerging Markets Index for Russian companies and stocks listed on emerging markets exchanges outside of the Asia Pacific region, and
             versus the MSCI Asia Pacific ex-Japan Index for stocks listed on the Asian (ex-Japan) exchanges - unless otherwise specified. We have three
             categories of ratings:

                   Outperform: Stock will outpace the market index by more than i 5 pp in the year ahead.

                   Market-Perform: Stock will perform in line with the market index to within +/-15 pp in the year ahead.

                   Underperform: Stock will trail the performance of the market index by more than 15 pp in the year ahead.

                   Not Rated: The stock Rating, Target Price and/ or estimates (if any) have been suspended temporarily.

      •      As of 09/05/2019, Bernstein's ratings were distributed as follows: 285 Outperform - 49.9% (0.0% banking clients); 232 Market-Perform - 40.6%
             (0.0% banking clients); 54 Underperform - 9.5% (0.0% banking clients); 0 Not Rated - 0.0% (0.0% banking clients). The numbers in parentheses
             represent the percentage of companies in each category to whom Bernstein provided investment banking services. All figures are updated quarterly
             and represent the cumulative ratings over the previous 12 months. These ratings relate solely to the investment research ratings for companies
             covered under the Bernstein brand and do not include the investment research ratings for companies covered under the Autonomous brand. This
             information is provided in order to comply with Article 6 of the Commission Delegated Regulation (EU) 2016/958.

      •      Accounts over which Bernstein and/ or their affiliates exercise investment discretion own more than i % of the outstanding common stock of the
             following companies ISRG / Intuitive Surgical Inc, JNJ / Johnson & Johnson, MDT/ Medtronic PLC.

       12-Month Rating History as of 09/05/2019
       Ticker Rating Changes
       ISRG O (IC) 06/26/18
       JNJ    M (IC) 06/26/18
       MDT    M (IC) 06/26/18


      Rating Guide: 0 - Outperform, M - Market-Perform, U - Underperiorm, N - Not Rated
      Rating Actions: IC - Initiated Coverage, DC - Dropped Coverage, RC - Rating Change




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                                                                   OTHER IMPORTANT DISCLOSURES
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  OB-GYN Dr. Brian Retherford recently operated on a patient who traveled six hours to
  Memorial Hospital, a critical-access hospital in Douglas, Wyo., because the 25-bed facility
  offered da Vinci robotic surgery as an option for a routine hysterectomy.

  Memorial Hospital of Converse County last year purchased a $2 million da Vinci Surgical
  System, the second hospital in Wyoming to do so. Memorial executives said they expect
  their facility to perform about 100 robotic surgeries a year. That's far below the estimated
  volume experts say is needed to produce a viable financial return within six years on the
  robotic system, whose average cost ranges from $1.5 million to $2 million.

  Memorial, which reported an operating loss of $2.2 million in the first half of fiscal 2014,
  used cash reserves to buy the da Vinci system, manufactured by Sunnyvale, Calif.-based
  Intuitive Surgical. Memorial said 40% of its cost will be reimbursed by Medicare as a
  capital expense because it is a critical-access hospital.

  Ryan Smith, the hospital's CEO, said he doesn't mind if it takes awhile for the pricey new
  piece of equipment to pay off because it's already attracting patients who previously
  would have traveled to other hospitals in Colorado or Utah to get robotic surgery. Also, it
  helps his hospital recruit and retain surgeons, and is expected to reduce surgical
  complications and lengths of stay. “We did not buy the da Vinci system to get a very high
  return on investment,” Smith said. “It was the right thing to do for our patients.”

  While overall sales of da Vinci systems are on the decline, a number of small and rural
  hospitals are considering following in Memorial Hospital's footsteps, believing it will help
  them attract and retain surgeons and appeal to patients. The government system for
  financing critical-access hospitals helps underwrite some of the costs.

  But small hospitals going down that path will face the same issues now confronting major
  systems that have installed surgical robots. Some studies have raised doubts about
  whether robotic surgery offers better outcomes than standard laparoscopic procedures.
  And Intuitive Surgical faces dozens of product liability lawsuits across the country filed by
  patients who claim injuries from the device.


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     Analysts say younger surgeons want to work at hospitals that have a da Vinci, and patients may prefer a hospital that has one because they
     see it as a state-of-the-art facility.



  A recruiting tool
  Market analysts say smaller hospitals face pressure to buy the da Vinci system because
  many new surgeons in training, particularly those in urology and gynecology, receive
  robotic surgical training as residents and want to work at hospitals that have the
  technology. And patients may choose a hospital with a da Vinci system based on the
  perception that it's a state-of-the-art facility.

  More small hospitals view the da Vinci system “as a tool they need to recruit and retain
  surgeons and to stay viable,” said Liz Tiernan, a consultant in the Advisory Board Co.'s
  research and insights groups. “It is considered a standard of care .… but it's rarely
  financially viable for them.”

  Hospitals of all sizes say they are developing credentialing programs and limiting access
  to the system to the most experienced and skilled surgeons. Training and credentialing are
  a big concern because there is a steep learning curve in using the da Vinci system, with a
  risk of serious injuries to patients if surgical mistakes are made. Experts say surgeons
  need experience with 20 to 30 robot-assisted procedures before they are adequately
  trained.

  Memorial Hospital acquired a simulator to help train its surgeons. “We are not concerned
  about the proficiency of our surgeons,” a Memorial spokesman said. “We owned the robot
  for six months before any surgeries were performed. During that time, the surgeons
  trained on the simulator and traveled to other active da Vinci sites to work with surgeons.”

  But when surgeons at a smaller hospital don't reach the estimated proficiency threshold,
  that raises questions about the adequacy of their experience. “It becomes even more
  difficult to justify this decision,” Tiernan said.

  North Valley Hospital, a 25-bed critical-access hospital in Whitefish, Mont., has 11
  surgeons trained in robotic surgery, including seven surgeons recruited since the hospital
  mplemented the robotics program in 2010, according to a hospital spokeswoman. It
  performed about 250 robot c procedures last year. When it bought the system, it was the
  only hospital in northwest Montana to have a da Vinci, though Kalispell Regional
  Healthcare has since acquired two da Vincis.


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     Looking for an oasis: Large sections of rural America continue to suffer from a drought of general surgeons

     A high-tech advantage: Rural hospitals hope offering latest technology keeps patients close to home



  Consider all variables
  “If a hospital makes that decision, they need to consider all of the variables, which
   ncludes taking a look at efficacy and cost-effectiveness and really make sure they
  hammer out their training programs,” said Chris Schabowsky, senior project officer for
  health devices at the ECRI Institute.

  Meanwhile, Intuitive Surgical is facing pressure to pump up sales. In an April 8 preview of
   ts first-quarter results, company officials braced investors for a 24% decline in revenue as
  fewer hospitals invest in robotic surgery systems.

  Intuitive said it sold only 45 da Vinci systems in the U.S. in the first quarter of 2014,
  compared with 115 during the same period in 2013. Full company earnings are scheduled
  for release April 22.

  There were 240,000 robot-assisted gynecologic procedures in 2013, compared with
  222,000 in 2012 and 170,000 in 2011. Nearly 80% of prostatectomies performed in the
  U.S. now use the da Vinci system. The company attributed lower gynecological-procedure
  growth rates last year to market saturation, pressure on hospital admissions, negative
  media attention and insurers pushing for conservative treatments and more treatments in
  outpatient settings.

  This month, the company said it would book a $67 million pre-tax charge related to an
  expected product liability settlement that will resolve claims that patients suffered
  complications from its monopolar curved scissors, which were recalled in 2013, and the
  scissors' first-generation tip covers, which were withdrawn from the market in 2012.

  The American College of Obstetricians and Gynecologists issued a strongly worded
  statement last year urging women to separate “marketing hype from the reality” when
  choosing a surgical approach to hysterectomy. “There (are) no good data proving that
  robotic hysterectomy is even as good as—let alone better—than existing, and far less
  costly, minimally invasive alternatives,” ACOG President Dr. James Breeden said in a
  March 2013 statement.

  While some small hospitals see strong reasons for buying a da Vinci, it's not going to be
  viable for many others, including most critical-access hospitals, said Slabach of the
  National Rural Health Association. “I don't think we should look any time soon for da
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               he hidden great value of the Da Vinci system is in providing
              comfort, precision and excellent assistance to the operating surgeon-
               hich ultimately translate into excellent care and outcome for the
              patient.
              A Da Vinci system is not a vehicle of financial investment or
              marketing, despite possessing such potential .

               t's utilization will decrease the burden of inavailability of adequate
              operative assistance at a smaller or rural hospital. (Another
              mportant limiting factor in retaining a surgeon in smaller hospitals)

              Laparoscopic surgery is very harsh on the joints of the surgeon;
              hence the availability of the Da Vincci system will enables
              experienced surgeons to continue performing complex surgeries ,
               hich latter in term may provide better training for
              Residents being trained at smaller hospitals .

              Partially this over sight is consequence of "replace/don't fix " sociatal
              culture which prevails currrently- latter manifesting in instances as
              disregard for value of the doctors as the prime assets of the hospital.
               t should be noted - administrator of no hospital can treat the ailment
              of any patient .
              But perhaps a good administrator will negotiate higher
              reimbursement for a robotic surgery
              Than a laparoscopic procedure.
              △ ▽ • Reply • Share ›

              Paul Sherman • 7 years ago
              Another challenge mentioned above is the cost of the annual service
              contract. Intuitive provides no other service option, even though
              many hospitals have in-house staff fully capable of maintaining and
              repairing the daVinci. In house service typically costs 1/2 of a service
              contract and has a response time of minutes, rather than hours. This
               s particularly vital if the systems fails during a procedure.

              By requiring a service contract, Intuitive is focusing on their revenue
              to the detriment of the hospital and the patient.
              △ ▽ • Reply • Share ›

              Claudio Teri • 7 years ago
              Great article.
              Mr Lancey thanks for your comment. I agree on the concept of
              value for money".

              All those small hospitals that have purchased these expensive
              robots could receive funds from my company, which is supplying a
              free online service and funds non-profit, research, small healthcare
              facilities.
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  Message
  From:            cparker@restorerobotics.com [cparker@restorerobotics.com]
  Sent:            9/17/2019 11:49:47 AM
  To:              'Mills Vautrot' [mvautrot@restorerobotics.com]; 'Kmay_restorerobotics.com' [kmay@restorerobotics.com]
  Subject:         FW: 3x robotic inst


  See below. I wonder if Intuitive has done something?

  Clif Parker
  Restore Robotics
  850-832-2834


  From: Kamberov, Steven [mailto:SKamberov@medline.com]
  Sent: Tuesday, September 17, 2019 12:28 PM
  To: cparker@restorerobotics.com
  Subject: Fwd: 3x robotic inst

  Hello Clif,

  Please see below. How is this normally handled?

                      Steven Kamberov
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                      Field Sales - Michigan
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                      www.medline.com

                      (734)355-7717 (Phone)
                      SKamberov@medline.com

                      (866)866-74 77 (ReN ewal Customer Service)

  Begin forwarded message:

             From: "Barber-Walker, Stacey" <sbarberwalker@mhc.net>
             Date: September 17, 2019 at 12:19:55 PM EDT
             To: "'Kamberov, Steven"' <SKamberov@medline.com>
             Subject: RE: 3x robotic inst

             Thanks.
             On another note: Late yesterday afternoon during a Robotics case, a monopolar scissor that just
             went into service that has been repaired through this program, sn nl0190201-249 ver 22, would
             not work in the arm. Staff loaded and unloaded it multiple times and the system said 'instrument
             un-recognized'. What is the process of sending it back and getting credit?




             Stacey Barber-Walker, MM, CBSPM
             Munson, Otsego Memorial Hospital
             Periop Equipment, Inventory & Project Manager
             0.989.731.2120
             M989. 731.6154



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       sbarberwalker@mhc.net

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       From: Kamberov, Steven <SKamberov@medline.com>
       Sent: Tuesday, September 17, 2019 11:38 AM
       To: Barber-Walker, Stacey <sbarberwalker@mhc.net>
       Subject: Re: 3x robotic inst

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            (866)866-7477 (ReNewal Customer Service)

       On Sep 16, 2019, at 1:02 PM, Barber-Walker, Stacey <sbarberwalker@mhc.net> wrote:

                 Steven, another thing: I believe I asked for a list of current customers early when
                 this was presented to me in July. If you already sent it to me I apologize because I
                 can't locate it. Can you please send/resend to me a list of current customers that is
                 using this 'Renewal' process for Robotics. thanks




                 Stacey Barber-Walker, MM, CBSPM
                 Munson, Otsego Memorial Hospital
                 Periop Equipment, Inventory & Project Manager
                 0.989. 731.2120
                 M989.731.6154
                 sbarberwalker@mhc.net

                 "Wfwi 'JOU wre ent/iu,,Jia-Juc a&ut wliat 'JOU d<t, 'JOU f,eel tliiJ p(l,Jilfue etWtfflf· :Jt'6 tteJUJ
                 6imp&."



                 From: Barber-Walker, Stacey
                 Sent: Monday, September 16, 2019 10:45 AM
                 To: 'Kamberov, Steven' <SKamberov@medline.com >
                 Subject: RE: 3x robotic inst




ATTORNEYS' EYES ONLY                                                                                                      Restore-00030380
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            Yes please cancel the order and call tag.

            I was off Thur and Fri and I guess they sent a letter and called Munson main, And
            in return called OMH senior leadership. Not sure what the letter says other than
            something like the use of 3rd party repaired instruments will void any service and
            warranty to our Robot. So I guess our senior leadership is working with our legal
            team on it and for now I have been told to stop sending them



            Stacey Barber-Walker, MM, CBSPM
            Munson, Otsego Memorial Hospital
            Periop Equipment, Inventory & Project Manager
            0.989. 731.2120
            M989.731.6154
            sbarberwalker@mhc.net


            ''Wfwi y,ou wre entfm-Jia-Juc a&ut wliat y,ou d<t, y,ou f,eel tliiJ pCt6ilw.e etWtff'J· :Jt'6 tteJUJ
            6unp&."


            From: Kamberov, Steven <SKamberov@medline.com>
            Sent: Monday, September 16, 2019 10:33 AM
            To: Barber-Walker, Stacey <sbarberwalker@mhc.net>
            Subject: Re: 3x robotic inst

            **WARNING: This email originated from outside of Munson Healthcare**
            DO NOT CLICK on any links or open any attachments unless you recognize the sender
            and are expecting the message.
            NEVER provide your login or password

            Hello Stacey,

            Thank you for reaching out. Would you be able to provide me with more information on
            the backlash from Intuitive and what they stated? Anything you may be able to tell me
            would be very helpful.

            In regards to the PO below, I have the call tag ready - I wanted to clarify you wanted the
            order canceled entirely and the call tag discarded before I removed anything in the
            system.

            Best,

                                    Steven Kamberov
                                    ReNewal Program Specialist
                                    Field Sales - Michigan
                                    Medline Industries, Inc.
                                    www.medline.com

                                    (734)355-7717 (Phone)
                                    SKamberov@medline.com

                                    (866)866-74 77 (ReN ewal Customer Service)




ATTORNEYS' EYES ONLY                                                                                               Restore-00030381
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            On Sep 16, 2019, at 10:26 AM, Barber-Walker, Stacey <sbarberwalker@mhc.net> wrote:

                   <image00l.gif>
                   Steven, due to some backlash from Intuitive, senior administration
                   at this time has decided to way the pros and cons of servicing our
                   SI robotic instruments. Please continue repairing the ones that may
                   still be at the lab, but I will be cancelling the PO below and not
                   sending in any more instruments for repair at this time. Sorry for
                   this.




                   Stacey Barber-Walker, MM, CBSPM
                   Munson, Otsego Memorial Hospital
                   Periop Equipment, Inventory & Project Manager
                   0.989. 731.2120
                   M989.731.6154
                   sbarberwalker@mhc.net

                   "Wfwi tJOU wre ent/iu,,Jia-Juc a&ut wfud tJOU d<t, tJOU f,eel tliiJ p(l,Jilfue
                   CIWtfflf· :Jt' 6 lJ-C!Uf 6unp&."




                   From: Barber-Walker, Stacey
                   Sent: Monday, September 16, 2019 8:23 AM
                   To: 'Kamberov, Steven' <SKamberov@medline.com >
                   Cc: Franckowiak, Cindy <cfranckowiak@mhc.net>
                   Subject: RE: 3x robotic inst

                   Please also add: Mega suture cut NH
                   #420309        nl0180412 759 ver 06.
                                    MONO scissor,
                   cvr #420179        nl0181113 746ver22

                   Use PO#0059143




                   Stacey Barber-Walker, MM, CBSPM
                   Munson, Otsego Memorial Hospital
                   Periop Equipment, Inventory & Project Manager
                   0.989. 731.2120
                   M989.731.6154
                   sbarberwalker@mhc.net

                   "Wfwi tJOU wre ent/iu,,Jia-Juc a&ut wfud tJOU d<t, tJOU f,eel tliiJ p(l,Jilfue
                   CIWtfflf· :Jt' 6 lJ-C!Uf 6unp&."




ATTORNEYS' EYES ONLY                                                                                   Restore-00030382
        Case 3:21-cv-03496-AMO          Document 408          Filed 01/08/25     Page 305 of 1000
                 From: Kamberov, Steven <SKamberov@medline.com>
                 Sent: Thursday, September 12, 2019 10:36 AM
                 To: Barber-Walker, Stacey <sbarberwalker@mhc.net>
                 Cc: Franckowiak, Cindy <cfranckowiak@mhc.net>
                 Subject: RE: 3x robotic inst

                 **WARNING: This email originated from outside of Munson Healthcare**
                 DO NOT CLICK on any links or open any attachments unless you
                 recognize the sender and are expecting the message.
                 NEVER provide your login or password

                 Hello Stacey,

                 I just need a PO and I can get this going!


                 <image002.png>       Steven Kamberov
                                      ReNewal Program Specialist
                                      Field Sales - Michigan
                                      Medline Industries, Inc.
                                      www.medline.com

                                      (734)355-7717 (Phone)
                                      SKamberov@medline.com

                                      (866)866-7477 (ReNewal Customer Service)
                                      <image004.png>



                 From: Barber-Walker, Stacey <sbarberwalker@mhc.net>
                 Sent: Wednesday, September 11, 2019 5:10 PM
                 To: Kamberov, Steven <SKamberov@medline.com >
                 Subject: 3x robotic inst
                 Importance: High

                 Hello Steven I have 4 robotic instruments that I need an RMA to
                 send in for repair:
                    • Prograspx2               420093                 verl4 lot
                        Nl0190221 444
                                                                      Verl4 lotNl0
                         190221 454
                    • Cadier fcp               420049                 ver09 lot
                        Nl0180126 327
                    • Cautery hook             420183                 verl2 lot
                        Nl0180510 297




                 Stacey Barber-Walker, MM, CBSPM
                 Munson, Otsego Memorial Hospital
                 Periop Equipment, Inventory & Project Manager
                 0.989. 731.2120
                 M989.731.6154




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                 sbarberwalker@mhc.net

                 "Wfwi tJOU wre ent/iu,,Jia-Juc a&ut wliat tJOU d<t, tJOU f,ee£ t/iiJ p(l,Jilfue
                 CIWtfflf· :Jt'6 lJ-C!Uf 6unp&."




ATTORNEYS' EYES ONLY                                                                                  Restore-00030384
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 6   Chicago, Illinois 60601
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     Attorneys for Plaintiff and Counter-Defendant,
 8   SURGICAL INSTRUMENT SERVICE COMPANY, INC.

 9                           UNITED STATES DISTRICT COURT

10                        NORTHERN DISTRICT OF CALIFORNIA

11                                SAN FRANCISCO DIVISION

12   SURGICAL INSTRUMENT SERVICE                   CASE NO. 3:21-CV-03496-AMO
     COMPANY, INC.
13                                                 Honorable Araceli Martínez-Olguín
                      Plaintiff/Counter-
14                    Defendant,                   PLAINTIFF SIS’s OPPOSITION TO
                                                   INTUITIVE'S MOTION IN LIMINE
15               v.                                #1

16   INTUITIVE SURGICAL, INC.

17                    Defendant/Counterclaimant.

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                 SIS OPPOSITION TO INTUITIVE’S MOTION IN LIMINE #1
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 3   Federal Rules
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 4   Federal Rule of Evidence 803(3) ................................................................................... 4, 5, 6, 7
     United States Supreme Court Cases
 5   Buckeye Powder Co. v. E.I. DuPont de Nemours Powder Co.,
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 7   Callahan v. A.E.V., Inc.,
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 8   McConnell v. Wal-Mart Stores, Inc.,
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 9   Packgen v. Berry Plastics Corp.,
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10   Stelwagon Mfg. Co. v. Tarmac Roofing Systems, Inc.,
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11   United States v. Cardascia,
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12   United States v. Coplan,
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13   United States v. Oguns,
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14   United States v. Pac. Gas & Elec. Co.,
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18    No. 11- CV-7119(WJM), 2019 WL 1451105 (D.N.J. Apr. 2, 2019) ...................................... 5
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 1           Defendant, Intuitive Surgical, Inc. ("Intuitive") claims that "SIS will attempt to build its

 2   case at trial using [three] categories of inadmissible hearsay." Intuitive appears to suggest that

 3   any and all live testimony from SIS witnesses, any and all deposition testimony from non-

 4   party witnesses, and any and all documents dealing with the various out-of-court statements

 5   made by hospital customer representatives are categorically inadmissible evidence which the

 6   jury may not consider at trial. Intuitive's Motion in Limine No. 1 at p. 1:7-14 ("Mtn"). Without

 7   any rational basis, Intuitive asserts that SIS will "turn this trial into a game of telephone about

 8   what hospitals supposedly told them." Mtn. at 2:16-17. Intuitive's claims are unfounded, its

 9   suppositions are inaccurate, its legal arguments are inapplicable, and the motion should be

10   denied.

11                                             BACKGROUND

12           There is ample evidence that Intuitive’s threats were the direct cause of the complete

13   shutdown of the market for repaired EndoWrists, including for SIS customers.

14

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19           Intuitive's overall process in response to learning of a hospital refurbishing its EndoWrist

20   surgical instruments through a third-party repairer generally took a short period of time: ten

21   business days for the conversation phase, ten business days for the customer letter, and five

22   business days for account termination. 3 At some point, if hospitals didn’t accede to Intuitive’s

23   demands, they would encounter a service message on the da Vinci robot, and without Intuitive

24   providing service, that da Vinci robot would be unusable for surgery. 4 As Intuitive’s Ron Bair

25
     1
         E.g., Van Hoven Ex. 1 (Trial Exh. 560), at Intuitive-00439335.
26
                                                                                           Id.
27     E.g., id. at Intuitive-00439337, -00439345-46.
     3
28     E.g., id. at Intuitive-00439336; Van Hoven Ex. 2 (AJ Inacay Deposition) at 163:1-164:3.
     4
       E.g., Van Hoven Ex. 3 (Vavoso Deposition) at 227:13-228:18.
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 1   explained, "if Intuitive doesn't service [a da Vinci] robot and the robot fails, it means the

 2   hospital can no longer do surgeries with that robot." 5 Following through on its "cease and

 3   desist" strategy, Intuitive terminated four customer accounts who refused to comply with its

 4   demands: Conway Regional Medical Center; Pacific Coast Surgical Center; White County

 5   Medical Center; and Panama City Surgery.

 6

 7                               .6

 8          Because Intuitive’s threats were so effective, most hospitals never got to the final stage

 9   of shutdown of their robot program. Intuitive’s Glenn Vavoso testified that after receiving

10   these cease-and-desist letters from Intuitive, many hospitals stopped using third-party services

11   to repair their EndoWrist surgical instruments. 7 "Q. Is there any instance that you can

12   identify, as Intuitive's 30(b)(6) witness, where a hospital continued using Rebotix's

13   services after receiving these letters from Intuitive? A. Not -- not at this time." 8 Vavoso

14   Deposition at 226:18-22 (emphasis added). As an example, following its standard operating

15   procedure, Intuitive sent a cease and desist letter to one of SIS's EndoWrist repair customers,

16   Marin General Hospital on October 26, 2019. 9 In November 2019, executives at Intuitive were

17   concerned about the competitive threat posed by SIS based on the fact that Marin General

18   Hospital had been using SIS repaired EndoWrist instruments. 10 Erin Grinberg of Intuitive

19   noted that Marin General Hospital was "very proud of this and celebrated the cost savings."11

20   In devising a plan for how to address the ongoing competitive threat posed by SIS at Marin

21   General Hospital, Adam Clark of Intuitive noted that it was "important for MG [Marin

22   General] to understand that we will be canceling their SLSA in short order if this keeps

23   happening." 12

24   5
       Van Hoven Ex. 4 (Bair Deposition) at 136:2-5.
     6
25     Van Hoven Ex. 1 at Intuitive-00439338.
     7
       Van Hoven Ex. 3 (Vavoso Deposition) at 225:24-226:22.
26   8
        Id. at 226:18-22 (emphasis added).
     9
       Van Hoven Ex. 5 at Intuitive-00373885-00373887 (Trial Ex. 556).
27   10
         Van Hoven Ex. 6 at Intuitive-00049108-112 (Trial Ex. 489).
     11
28       Id. at Intuitive-00049112.
     12
         Van Hoven Ex. 7 (Intuitive-00110473-0478) at -0474 (Trial Ex. 511).
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 1        Intuitive's enforcement of its sales agreement succeeded in preventing rival third-party

 2   repairers/refurbishers (such as SIS) from competing effectively in the EndoWrist repair and

 3   replacement market. SIS’s Greg Posdal will testify at trial that SIS's EndoWrist refurbishment

 4   service started very well and was very well received by all the potential hospital customers

 5   that were approached. Keith Johnson will testify about his presentations to prospective hospital

 6   customers regarding SIS's EndoWrist refurbishment services, the monumental interest in that

 7   service shown by the hospitals, and the resulting sales SIS was able to achieve before Intuitive's

 8   intimidation campaign shut down SIS's business. Mr. Johnson will testify that after SIS's

 9   customers received the Intuitive cease and desist letters, SIS was not able to make any more

10   sales for the refurbishment of EndoWrist instruments. Keith Johnson will also testify that

11   decision makers at various hospitals told him that they would no longer be using or would not

12   consider using SIS to refurbish their EndoWrist instruments.

13        Intuitive has made clear that it intends to attack SIS’s claims based on the limited number

14   of SIS hospital customers who actually received repaired EndoWrists from SIS before

15   Intuitive’s complete shutdown of the market. See, e.g., Dkt. 230-7 at pp. 9-10 (public version

16   of Intuitive Opposition and Cross-Motion re Summary Judgment). Intuitive has also made

17   clear that it intends to argue that SIS should have pursued 510(k)s and sales of

18   “remanufactured” EndoWrist’s after Intuitive’s self-serving and post-discovery announcement

19   of March, 2023 that it would not enforce its contractual restrictions against 510(k) approved

20   EndoWrists. Dkt. 243-1 at pp. 4-5.

21                                             ARGUMENT

22            1. A Blanket Ruling on These Statements Is Inappropriate at this Time

23        In many instances, evidentiary rulings “should be deferred until trial, so that questions of

24   foundation, relevancy, and potential prejudice may be resolved in proper context.” United

25   States v. Pac. Gas & Elec. Co. (“PG&E”), 178 F. Supp. 3d 927, 941 (N.D. Cal. 2016). For

26   example, in order to exclude evidence on a motion in limine, “the evidence must be

27   inadmissible on all potential grounds.” McConnell v. Wal-Mart Stores, Inc., 995 F. Supp. 2d

28   1164, 1167 (D. Nev. 2014). These principles apply to many, if not all, of the issues Intuitive
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 1   has raised regarding possible deposition testimony and documentary evidence that may be

 2   offered at trial, as explained further below. Accordingly, SIS submits that ruling on such

 3   matters should be deferred until trial. While it is impossible to predict every scenario that may

 4   arise, there will certainly be instances where evidence will be profferred that relates to matters

 5   that were relayed to SIS and Intuitive by third parties (including hospitals). There are two

 6   primary reasons that the Court may decide to let such evidence into the record. First, the

 7   evidence is offered to explain, for example, SIS’s attitude toward the market (Fed. R. Evid.

 8   801(c)). Second, the evidence is admissible for the purposes of showing the customers' motives

 9   and perceptions, consumer demand, and Intuitive's coercion through its unremitting policy of

10   enforcing unlawful contract terms pursuant to Fed. R. Evid. 803(3).

11            2. Many or Most Statements Would not Be Offered For the Truth of
                 the Matter Asserted
12

13        Some of the out-of-court statements by hospital representatives are not hearsay because

14   they are “not offered in evidence to prove the truth of the matter asserted.” Fed. R. Evid. 801(c).

15   For example, if Keith Johnson testifies that all or nearly all of the hospital representatives he

16   met with told him that they “hemorrhage money to Intuitive Surgical” and were “looking for

17   ways to reduce costs”, those out-of-court statements would not be offered to prove the truth of

18   the matter being asserted. The same would be true if Johnson testifies that “customers said

19   they were concerned about moving forward [with modified EndoWrists] because of what they

20   were told by Intuitive.” These statements are admissible at trial because they would not be

21   offered to prove the matters asserted, i.e., that hospitals were in fact losing money on robotic

22   surgery or looking for ways to reduce costs, or to prove that hospitals would have purchased

23   modified EndoWrists from SIS but-for Intuitive. Rather, such statements would be offered to

24   show that the communication occurred, which is indisputably relevant to multiple issues

25   including customer demand and coercion by Intuitive, and to show why SIS did not pursue

26   EndoWrist repair after Intuitive shut down the market or after Intuitive’s self-serving

27   announcement that it would not enforce its contractual restrictions for 510(k) approved repair.

28        SIS may also testify regarding questions that hospital customers asked them. As an
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 1   example, SIS may seek to introduce an email chain where a hospital declarant asks Intuitive

 2   whether allowing SIS to modify its EndoWrist instruments would void the instrument

 3   warranty. 13 Intuitive argues that this documentary evidence is inadmissible. Mtn. 5:9-11. It is

 4   well-established, however, that questions are not hearsay because they do not assert the truth

 5   of anything. See, e.g., United States v. Coplan, 703 F.3d 46, 84 (2d Cir. 2012) (“questions are

 6   not ‘assertions' within meaning of Rule 801) (citing United States v. Oguns, 921 F.2d 442, 449

 7   (2d Cir. 1990) (“An inquiry is not an ‘assertion,’ and accordingly is not and cannot be a hearsay

 8   statement.”)).

 9              3. The Statements Are Admissible as State of Mind Evidence

10           Additionally, out-of-court statements by SIS hospital customers are relevant and

11   admissible for the purposes of showing the customers' and SIS’s motives and perceptions,

12   consumer demand, Intuitive's coercion through its unremitting policy of enforcing unlawful

13   contract terms, and others’ state of mind in response to that coercion. The out-of-court

14   statements by SIS hospital customers are admissible under Federal Rule of Evidence 803(3)

15   (excluding from hearsay rule “[a] statement of the declarant's then-existing state of mind (such

16   as motive, intent, or plan)”). See also Callahan v. A.E.V., Inc., 182 F.3d 237, 252 (3d Cir.

17   1999) (holding customers' statements concerning why they no longer purchased from

18   plaintiffs' beer distributorships were admissible to prove customers' motives for no longer

19   purchasing from plaintiffs); Marjam Supply Co. v. Firestone Bldg. Prod. Co., LLC, No. 11-

20   CV-7119(WJM), 2019 WL 1451105, at *4 (D.N.J. Apr. 2, 2019) (holding customers' out-of-

21   court statements were “admissible to evidence [plaintiff's] customers' motives for switching

22   distributors” where plaintiff “offer[ed] other admissible evidence of actual diverted sales in

23   the form of an expert report”) (citations omitted).

24           Consol. Credit Agency v. Equifax, Inc., 2005 WL 6218038, at *2 (C.D. Cal. Jan. 26,

25   2005) (cited by Intuitive) explains that the state of mind exception requires: (1) the statement

26   was made contemporaneously with the mental state to be proven; (2) circumstances do not

27   suggest a motive for the declarant to fabricate or misrepresent his or her thoughts; and (3) the

28   13
          E.g., Van Hoven Ex. 8 (Intuitive-00110255) at -0256 (Trial Ex. No. 510).
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 1   declarant's state of mind is relevant to an issue in the case. Here, those assessments can be

 2   made as evidence are presented, without a blanket preclusion of evidence that satisfies these

 3   requirements.

 4        Two cases cited by Intuitive are not pertinent to the actual issues presented in its motion.

 5   In Buckeye Powder Co. v. E.I. DuPont de Nemours Powder Co., 248 U.S. 55, 65 (1918),

 6   statements of reasons for refusing to do business with plaintiff were excluded because they

 7   were proffered for the truth of the matter. Id. In Stelwagon Mfg. Co. v. Tarmac Roofing

 8   Systems, Inc., 63 F.3d 1267 (3d Cir. 1995), the appellate court ruled that the district court's

 9   reliance on the statements admitted under Rule 803(3) as proof of actual antitrust damages, in

10   the form of lost sales, was error. Id. at 1274-75. In both cases, the statements were used for

11   purposes other than state of mind.

12        “[T]he reasons for the state of mind exception focus on the contemporaneity of the

13   statement and the unlikelihood of deliberate or conscious misrepresentation.” United States v.

14   Cardascia, 951 F.2d 474, 487 (2d Cir. 1991). What is important is the likelihood that the

15   declarants' statements are trustworthy and that the declarants were privy to or influenced the

16   customer's decision-making process. For example, in Packgen v. Berry Plastics Corp., 847

17   F.3d 80, 91 (1st Cir. 2017), the district court permitted the plaintiff's “president and its sales

18   manager to testify that decision-makers at the thirty-seven refineries had told them” that they

19   intended to purchase a certain type of container. On appeal, the First Circuit agreed that such

20   testimony was admissible because the plaintiffs' “witnesses knew the declarants and testified

21   that all declarants were decision-makers at their respective refineries.” Id. Similarly, in this

22   case, SIS will introduce testimony at trial that will establish that declarants of out-of-court

23   hospital statements were involved in the decision-making process at their respective hospitals.

24        In another case cited by Intuitive, Discover Fin. Servs. v. Visa U.S.A. Inc., 2008 WL

25   4560707, at *1 (S.D.N.Y. Oct. 9, 2008), the court ruled that testimony concerning the

26   motivation of customers for ceasing to deal with a business was admissible under the “state of

27   mind” exception, provided that there is otherwise admissible proof that business was lost. Id.

28   Intuitive's motion fails to identify how the declarants at issue here were remote from the
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 1   decision-making process such that the inclusion of their statements would not have any

 2   tendency to make it more or less probable that the hospital did not use SIS's refurbishment

 3   services because of Intuitive's threats.

 4                                              CONCLUSION

 5        SIS will proffer substantial evidence at trial sufficient to establish the actual lost sales for

 6   each hospital where it may also introduce out-of-court customer statements under Rule 803(3).

 7   It may also offer hospital statements for proper purposes such as establishing motive for these

 8   actual lost sales and rebutting claims that it should have persisted after shut down of the repair

 9   market.

10        For the foregoing reasons, SIS respectfully requests that the Court deny Intuitive's

11   Motion in Limine No. 1.

12

13   Dated: November 7, 2024                    McCAULLEY LAW GROUP LLC
                                                By:    /s/ Joshua Van Hoven
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                                                Attorneys for Plaintiff and Counter-Defendant,
21                                              SURGICAL INSTRUMENT SERVICE
                                                COMPANY, INC.
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                    SIS OPPOSITION TO INTUITIVE’S MOTION IN LIMINE #1
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 1                                  CERTIFICATE OF SERVICE

 2        I hereby certify that on November 7, 2024, I caused a copy of the foregoing

 3   PLAINTIFF SIS’s OPPOSITION TO INTUITIVE’S MOTION IN LIMINE #1, to be

 4   electronically to be served via electronic mail to counsel of record:

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                    SIS OPPOSITION TO INTUITIVE’S MOTION IN LIMINE #1
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14   Dated: November 7, 2024              By:      /s/ Joshua Van Hoven
                                                JOSHUA V. VAN HOVEN
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   Attorneys for Plaintiff and Counter-Defendant,
 8 SURGICAL INSTRUMENT SERVICE COMPANY, INC.

 9                         UNITED STATES DISTRICT COURT

10                       NORTHERN DISTRICT OF CALIFORNIA

11   SURGICAL INSTRUMENT SERVICE                   CASE NO. 3:21-CV-03496-AMO
     COMPANY, INC.
12                                                 Honorable Araceli Martínez-Olguín
                    Plaintiff/Counter-Defendant,
13                                                 DECLARATION OF JOSHUA VAN
               v.                                  HOVEN IN SUPPORT OF
14                                                 PLAINTIFF SIS’s OPPOSITION TO
     INTUITIVE SURGICAL, INC.                      INTUITIVE'S MOTION IN LIMINE
15                                                 #1
                    Defendant/Counterclaimant.
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     VAN HOVEN DECLARATION ISO SIS OPP TO INTUITIVE’S MOTION IN LIMINE #1
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 1        I, JOSHUA VAN HOVEN, declare as follows:

 2        I am an attorney at the law firm of MCCAULLEY LAW GROUP LLC, attorneys for

 3   Plaintiff SURGICAL INSTRUMENT SERVICE COMPANY, INC. (“SIS”) in this matter. I

 4   have personal knowledge of the matters set forth herein, unless otherwise noted.

 5            1. Attached as Exhibit 1 is a true and correct copy of Intuitive’s Unauthorized

 6                Remanufactured Instructions Overview, which was produced by Intuitive in this

 7                case and bates-labeled Intuitive-00439333-Intuitive-00439355.

 8            2. Attached as Exhibit 2 is a true and correct copy of excerpts of the Deposition of

 9                Antonio (AJ) Inacay, which was taken on June 8, 2021 in Rebotix Repair LLC v.

10                Intuitive Surgical, Inc., Case No. 8:20-CV-02274 (M.D. Fla).

11            3. Attached as Exhibit 3 is a true and correct copy of excerpts of the Deposition of

12                Glenn Vavoso, which was taken on May 14, 2021 in Rebotix Repair LLC v.

13                Intuitive Surgical, Inc., Case No. 8:20-CV-02274 (M.D. Fla).

14            4. Attached as Exhibit 4 is a true and correct copy of excerpts of the Deposition of

15                Ronald Lee Bair, Jr., which was taken on May 24, 2021 in Rebotix Repair LLC

16                v. Intuitive Surgical, Inc., Case No. 8:20-CV-02274 (M.D. Fla).

17            5. Attached as Exhibit 5 is a true and correct copy of an Intuitive Letter to Marin

18                General Hospital relating to refurbished EndoWrist instruments, which is dated

19                November 26, 2019, which was produced by Intuitive in this case and bates-

20                labeled Intuitive-00373885-Intuitive-00373887.

21            6. Attached as Exhibit 6 is a true and correct copy of e-mail correspondence between

22                Intuitive employees, starting on November 22, 2019, which was produced by

23                Intuitive in this case and bates-labeled Intuitive-00049108-Intuitive-00049112.

24            7. Attached as Exhibit 7 is a true and correct copy of e-mail correspondence between

25                Intuitive employees, starting on November 22, 2019, which was produced by

26                Intuitive in this case and bates-labeled Intuitive-00110473-Intuitive-00110478.

27            8. Attached as Exhibit 8 is a true and correct copy of e-mail correspondence between

28                Vizient, Inc., UF Health Shands, and Intuitive employees, starting on September
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     VAN HOVEN DECLARATION ISO SIS OPP TO INTUITIVE’S MOTION IN LIMINE #1
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 1                9, 2019, which was produced by Intuitive in this case and bates-labeled Intuitive-

 2                00110255-Intuitive-00110258.

 3

 4        I declare under the penalty of perjury under the laws of the United States that the

 5   foregoing is true and correct.

 6   Dated: November 7, 2024                McCAULLEY LAW GROUP LLC
                                            By:    /s/ Joshua Van Hoven
 7                                              JOSHUA V. VAN HOVEN

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                                            Attorneys for Plaintiff and Counter-Defendant,
14                                          SURGICAL INSTRUMENT SERVICE
                                            COMPANY, INC.
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     VAN HOVEN DECLARATION ISO SIS OPP TO INTUITIVE’S MOTION IN LIMINE #1
      Case 3:21-cv-03496-AMO           Document 408      Filed 01/08/25     Page 322 of 1000




 1                                 CERTIFICATE OF SERVICE

 2        I hereby certify that on November 7, 2024, I caused a copy of the foregoing

 3   DECLARATION OF JOSHUA VAN HOVEN IN SUPPORT OF PLAINTIFF SIS’s

 4   OPPOSITION TO INTUITIVE’S MOTION IN LIMINE #1, to be electronically to be

 5   served via electronic mail to counsel of record:

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     VAN HOVEN DECLARATION ISO SIS OPP TO INTUITIVE’S MOTION IN LIMINE #1
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14   Dated: November 7, 2024              By:      /s/ Joshua Van Hoven
                                                JOSHUA V. VAN HOVEN
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                                                                                     Page 76
∑1∑∑∑∑Q.∑Well, let's talk about the cost involved in
∑2∑∑the actual surgical procedure, maybe that will help.
∑3∑∑What's the cost for a da Vinci XI system to a
∑4∑∑hospital?
∑5∑∑∑∑A.∑The -- the -- the system itself, the
∑6∑∑up-front, it could vary depending on how that system
∑7∑∑is configured.
∑8∑∑∑∑Q.∑Well, how about a range for the XI?
∑9∑∑∑∑A.∑Could be
10∑∑depending on how many consoles are added and
11∑∑other -- other accessories that are purchased at
12∑∑that time.
13∑∑∑∑Q.∑The low end price of a da Vinci XI, that
14∑∑would be about              ; is that right?
15∑∑∑∑A.∑Again, depending on what is actually
16∑∑purchased.
17∑∑∑∑Q.∑And how about the da Vinci SI?∑What's the
18∑∑price range for a da Vinci SI?
19∑∑∑∑A.∑At the time that it was being sold?
20∑∑∑∑Q.∑Yes.
21∑∑∑∑A.∑Because currently not -- not sold.∑It --
22∑∑roughly same range at the time -- you know, at the
23∑∑time that SI was the platform.
24∑∑∑∑Q.∑So there's been some --
25∑∑∑∑A.∑Iterations to that -- innovation, yes.


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∑1∑∑∑∑Q.∑Thank you.∑Yeah, there's been some
∑2∑∑different iterations of the da Vinci robot over the
∑3∑∑years, right?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑And the SI, that was priced at around, you
∑6∑∑know,                                        ; is that
∑7∑∑right?
∑8∑∑∑∑A.∑Approximate range, yeah.
∑9∑∑∑∑Q.∑Now, the -- what's the cost for the --
10∑∑withdrawn.
11∑∑∑∑∑∑What's the cost for all of the equipment in
12∑∑a tradition laparoscopic surgery?
13∑∑∑∑∑∑MS. LENT:∑Objection.
14∑∑∑∑∑∑THE WITNESS:∑I could tell you the
15∑∑categories of costs.∑I -- I -- it would be
16∑∑difficult to pinpoint all the -- because different
17∑∑companies, different vendors, different
18∑∑applications.∑But --
19∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Sure.∑Let me ask -- let
20∑∑me ask a better question.∑What's the -- what's the
21∑∑average cost per procedure for traditional
22∑∑laparoscopic surgery?
23∑∑∑∑∑∑MS. LENT:∑Objection.
24∑∑∑∑∑∑THE WITNESS:∑Again, this is an area where
25∑∑it can vary greatly depending on what kind of


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∑1∑                             the hospital could
∑2∑∑purchase a da Vinci and use it for surgeries
∑3∑∑potentially, right?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑There's some other bundles or packages that
∑6∑∑can add on to that and that would increase the cost,
∑7∑∑right?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑Now, I'm trying to get a sense of what the
10∑∑lowest level for the TransEnterix Senhance would be
11∑∑where you could get the Senhance into a hospital.
12∑∑You can start doing a surgery with it.∑Do you have
13∑∑a sense of where that price point is?
14∑∑∑∑∑∑MS. LENT:∑Objection.
15∑∑∑∑∑∑THE WITNESS:∑I -- I don't particularly.
16∑∑Because it's -- they require other third-party
17∑∑equipment to -- in order to have a functioning
18∑∑robot.∑So I don't know what those costs are to the
19∑∑customer in trying to compare it to da Vinci, could
20∑∑be, you know, apples to orange comparison.
21∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑How about the Medrobotics
22∑∑Flex.∑Do you have a sense of how expensive that
23∑∑robots is to start it up on surgeries?
24∑∑∑∑∑∑MS. LENT:∑Object to the form.
25∑∑∑∑∑∑THE WITNESS:∑I -- I don't have an exact


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∑1∑∑figure.∑I don't know.
∑2∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Estimate?
∑3∑∑∑∑A.∑I don't have a good estimate.
∑4∑∑∑∑Q.∑Does Intuitive -- withdrawn.
∑5∑∑∑∑∑∑Does Intuitive do research on how
∑6∑∑Medrobotics and TransEnterix price their robots?
∑7∑∑∑∑A.∑We do.∑I'd have to go back and look at
∑8∑∑that research to understand specifically where it
∑9∑∑is.
10∑∑∑∑Q.∑You didn't look at that in preparation to
11∑∑testify today?
12∑∑∑∑A.∑I -- I don't recall what that number was.
13∑∑∑∑Q.∑Now, for robotic surgeries, is there some
14∑∑training that's required before a surgeon can use a
15∑∑da Vinci surgical robot?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑Can you describe that training to me?
18∑∑∑∑A.∑For the surgeon?
19∑∑∑∑Q.∑Yes.
20∑∑∑∑∑∑MS. LENT:∑Again, just one second.∑I'm not
21∑∑going to stop Mr. Vavoso from answering the
22∑∑question, but I think you're aware that we had a
23∑∑30(b)(6) witness on this topic last weekend or last
24∑∑week on Friday.∑So this testimony wouldn't be on
25∑∑behalf of the company.∑This is just his personal


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∑1∑∑testimony.
∑2∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑You can still answer it.
∑3∑∑∑∑A.∑Okay.∑You know, in general, I'll give you
∑4∑∑overview.∑Surgeons, uhm, go through a -- several
∑5∑∑different levels of their training, including
∑6∑∑on-line orientation into the system, application in
∑7∑∑terms how it's applied, what -- what -- the various
∑8∑∑ways in which it is operated.∑Once they go through
∑9∑∑that on-line training, there's a orientation
10∑∑training with the system that is at their hospital
11∑∑so they get familiarity with it.
12∑∑∑∑∑∑They then come to a training center
13∑∑separate from their hospital that would include
14∑∑either cadaver or porcine model lab environment,
15∑∑where they spend the day getting hands-on and have
16∑∑to pass a series of technical skill sets.∑And then
17∑∑once they are back to their hospital, it's up to the
18∑∑hospital credentialing requirements as to whether
19∑∑that surgeon has to be proctored in -- you know, in
20∑∑a already operating robotic surgeon would oversee
21∑∑that procedure and how many of those procedures
22∑∑might need to be proctored.∑And that's a hospital
23∑∑by hospital basis.
24∑∑∑∑Q.∑Does Intuitive invest money in this
25∑∑training of surgeons on the da Vinci surgical robot?


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑How much?
∑3∑∑∑∑A.∑I don't have a figure on what the total
∑4∑∑investment is there.
∑5∑∑∑∑Q.∑Well, how about in 2019?∑How much money
∑6∑∑did Intuitive spend to train and maintain a training
∑7∑∑program for doctors on the da Vinci surgical system?
∑8∑∑∑∑A.∑I don't know.
∑9∑∑∑∑Q.∑How about an estimate?
10∑∑∑∑A.∑I couldn't provide one.
11∑∑∑∑Q.∑You understand that you are designated on
12∑∑Topic 2, which includes Intuitive's investment in
13∑∑patent protection and Intuitive's investment to
14∑∑teach medical students and practicing doctors to use
15∑∑the da Vinci medical system, right?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑Are you unable to provide an answer as to
18∑∑Intuitive's investment to teach medical students and
19∑∑practicing doctors to use the da Vinci medical
20∑∑system?
21∑∑∑∑A.∑I would have to go back and look at what
22∑∑the facts and figures were for 2019.
23∑∑∑∑Q.∑Does Intuitive spend tens of millions each
24∑∑year on training surgeons to use the da Vinci
25∑∑robotic surgery system?


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∑1∑∑∑∑A.∑I don't know.∑I wouldn't want to guess.
∑2∑∑I'd have to go back and look at -- give you a
∑3∑∑specific answer.
∑4∑∑∑∑Q.∑Why are surgeons trained on the da Vinci
∑5∑∑surgical robot?
∑6∑∑∑∑A.∑It's a complex system that they have to
∑7∑∑integrate with in their operating room with staff.
∑8∑∑Uhm, it is an alternate technology to the other
∑9∑∑technologies that we talked about.∑So they have to
10∑∑be trained on that.∑The FDA requires that we offer
11∑∑training for that.∑But it's up to the hospital or
12∑∑the academic program whether they have to attend
13∑∑that training.
14∑∑∑∑Q.∑The training that's performed for the
15∑∑da Vinci robot, that -- that training's specific to
16∑∑the da Vinci robot, right?
17∑∑∑∑A.∑It is.
18∑∑∑∑Q.∑In other words --
19∑∑∑∑A.∑Technology itself.
20∑∑∑∑Q.∑In other words, a surgeon who has gone
21∑∑through this training process for the da Vinci robot
22∑∑can't just transfer that training and be comfortable
23∑∑using the TransEnterix Senhance, right?
24∑∑∑∑A.∑Could you restate that question, please?
25∑∑∑∑Q.∑Well, sure.∑You mentioned there's a --


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∑1∑∑there's a training process for surgeons to go
∑2∑∑through before they can use the da Vinci robot in
∑3∑∑surgeries, right?
∑4∑∑∑∑A.∑We -- we have a process that we offer for
∑5∑∑surgeons, if they choose to go through it or are
∑6∑∑required to go through it at their hospitals.
∑7∑∑∑∑Q.∑And that also involves the hospital --
∑8∑∑involves hospital credentialing whether the -- if
∑9∑∑surgeon's capable of using the da Vinci surgical
10∑∑robot, right?
11∑∑∑∑A.∑The hospital --
12∑∑∑∑∑∑MS. LENT:∑Uhm --
13∑∑∑∑∑∑THE WITNESS:∑-- does --
14∑∑∑∑∑∑MS. LENT:∑I'm going to object.∑And,
15∑∑Alexander, I just want to make sure that you
16∑∑understand the correspondence that we've sent you.
17∑∑Dr. Myriam Curet was designated for the portion of
18∑∑Topic 2 that relates to investment in training
19∑∑surgeries, not Mr. Vavoso.∑And she was deposed a
20∑∑week ago.∑Again, your -- I won't stop him from
21∑∑answering the questions, but he is not the 30(b)(6)
22∑∑deponent on this topic.
23∑∑∑∑∑∑THE WITNESS:∑Could you ask the question
24∑∑again, please?
25∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Sure.∑If a surgeon is


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∑1∑∑trained on the da Vinci surgical robot, can the
∑2∑∑surgeon just go and safely perform surgeries using
∑3∑∑the TransEnterix Senhance, or is there some another
∑4∑∑training that's required?
∑5∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑6∑∑∑∑∑∑THE WITNESS:∑You're asking about Senhance
∑7∑∑training?
∑8∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, we can -- we can
∑9∑∑make it specific to the da Vinci robot.∑If a
10∑∑surgeon goes through the profession of being trained
11∑∑on the da Vinci robot, are there any other robots
12∑∑that that surgeon is competent to perform surgeries
13∑∑on just based on that training alone?
14∑∑∑∑∑∑MS. LENT:∑Object to the form.
15∑∑∑∑∑∑THE WITNESS:∑I don't know.∑I don't know
16∑∑other companies' requirements for training or
17∑∑whether there would be an equivalency there.∑But I
18∑∑know we train our surgeons on our product, and it's
19∑∑up to someone else to decide whether that training
20∑∑translates to other products or not.
21∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑I want to talk about the
22∑∑process for entering into the market for minimally
23∑∑invasive soft tissue robotic surgery.∑And I
24∑∑understand there's some steps that a company might
25∑∑have to go through if they want to develop a --


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∑1∑∑develop a robot that might have some of the
∑2∑∑capabilities of the da Vinci; is that right?
∑3∑∑∑∑A.∑I lost the question in that.∑Sorry.
∑4∑∑∑∑Q.∑Well, sure.∑The -- can you describe for me
∑5∑∑the process by which Intuitive brought the da Vinci
∑6∑∑robot to market?
∑7∑∑∑∑A.∑I -- I can -- can you be more specific? I
∑8∑∑want to make sure I'm answering the right question.
∑9∑∑∑∑Q.∑Well, sure.∑There's a period of research
10∑∑and development, right?
11∑∑∑∑A.∑There is, yes.
12∑∑∑∑Q.∑There was -- there's some expenses that,
13∑∑you know, Intuitive spends money on that research
14∑∑and development -- spent money on that research and
15∑∑development for the da Vinci robot, right?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑And Intuitive has to -- had to fulfill
18∑∑certain regulatory requirements and obtain FDA
19∑∑approval, right?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑Is that kind of a lengthy process or is
22∑∑that short?
23∑∑∑∑∑∑MS. LENT:∑Objection.
24∑∑∑∑∑∑THE WITNESS:∑You know, what I would say is
25∑∑that the entire development process to achieving FDA


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∑1∑∑approval, then being able to market a system -- or a
∑2∑∑system could be up to, you know, a 10-year journey.
∑3∑∑So if you consider 10 years to be lengthy, uhm, that
∑4∑∑would be a lengthy process.
∑5∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑You mentioned a 10-year
∑6∑∑journey, would that be from the first stage of
∑7∑∑research and development to ultimately obtaining FDA
∑8∑∑approval?
∑9∑∑∑∑A.∑Uhm, by the time you complete all of the
10∑∑development work, which might require some research
11∑∑depending on the evolution of the system or the
12∑∑technology that is evolving, it could be clinical
13∑∑trials, which take time.∑It does entail human
14∑∑factors testing.∑So how does our system interface
15∑∑with surgeons and staff?∑And that is usually a
16∑∑requirement of the FDA process that we have to go
17∑∑through.∑That could be a large chunk of that
18∑∑lengthy process.
19∑∑∑∑∑∑And you have to submit to the FDA.∑They
20∑∑evaluate that submission.∑Uhm, there's back and
21∑∑forth and what the iterations to that and -- you
22∑∑know, over the course of that from concept all the
23∑∑way through design, to -- to marketing could be
24∑∑upwards of 10 years.
25∑∑∑∑Q.∑During that time period, there's some costs


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∑1∑∑that have to be expended, right?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑Intuitive also obtained patent protection
∑4∑∑for it's da Vinci surgical robots; is that right?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑Also invested money in training for
∑7∑∑surgeons, right?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑So a new company that wanted to enter this
10∑∑field, they would potentially face some barriers to
11∑∑entry; is that right?
12∑∑∑∑∑∑MS. LENT:∑Objection; calls for a legal
13∑∑conclusion.
14∑∑∑∑∑∑THE WITNESS:∑What do you mean barriers to
15∑∑entry?
16∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, coming up with a new
17∑∑surgical robot, that takes a lot of time, right?
18∑∑∑∑A.∑Takes a lot of knowhow and time and
19∑∑intellectual horsepower.∑And, as I said, it
20∑∑takes -- could take up to 10 years to bring it
21∑∑about.∑And presumably others that wanted to bring a
22∑∑product, they would go through a similar process.
23∑∑∑∑Q.∑One of the things --
24∑∑∑∑A.∑But no different than what that process has
25∑∑been for us.


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∑1∑∑∑∑Q.∑Well, one of the things you mentioned is
∑2∑∑a -- potentially up to a 10-year development for
∑3∑∑someone that wanted to bring a similar product to
∑4∑∑market, right?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑Another thing that might be -- might be
∑7∑∑challenging for someone trying to make a robot would
∑8∑∑be fulfilling the regulatory requirements and
∑9∑∑obtaining FDA approval, right?
10∑∑∑∑∑∑MS. LENT:∑Objection.
11∑∑∑∑∑∑THE WITNESS:∑Said it could be a challenge?
12∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Yes.
13∑∑∑∑A.∑What do you mean by challenge?∑It's a
14∑∑process you have to follow.
15∑∑∑∑Q.∑Well, it's a lengthy -- it's not just a
16∑∑simple process, right?∑There's a lot of work
17∑∑involved in submitting something to the FDA, right?
18∑∑∑∑∑∑MS. LENT:∑Objection.
19∑∑∑∑∑∑THE WITNESS:∑There's -- there's work
20∑∑involved and you have to have the technical knowhow.
21∑∑You have to do research and development.
22∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Another thing that could
23∑∑be a challenge for a company seeking to develop a
24∑∑surgical robot would be the capital expenditures for
25∑∑research and development, right?


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∑1∑∑∑∑∑∑MS. LENT:∑Objection.
∑2∑∑∑∑∑∑THE WITNESS:∑Again, I'm not sure what you
∑3∑∑mean by challenge.∑I think, yes, you have to fund
∑4∑∑all of that.∑I -- I don't -- hard to characterize
∑5∑∑it as a challenge.∑You know, it's -- there's work
∑6∑∑and investment that's involved.
∑7∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑You have to invest a lot
∑8∑∑of money to try to bring a robot that competes with
∑9∑∑a da Vinci to market, right?
10∑∑∑∑∑∑MS. LENT:∑Objection.
11∑∑∑∑∑∑THE WITNESS:∑Can you restate the question,
12∑∑please?
13∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, Intuitive had to
14∑∑invest a lot of money to bring the da Vinci to
15∑∑market, right?
16∑∑∑∑∑∑MS. LENT:∑Objection.
17∑∑∑∑∑∑THE WITNESS:∑We -- we had to -- we had to
18∑∑and have to go through that process that you
19∑∑described, and, yes, it requires investment.
20∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑And it's not a small
21∑∑investment, right?∑That's a tens or hundreds of
22∑∑millions of dollars of potential investment, right?
23∑∑∑∑∑∑MS. LENT:∑Objection.
24∑∑∑∑∑∑THE WITNESS:∑I don't know the -- I don't
25∑∑know the exact cost of what that investment looks


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∑1∑∑like.
∑2∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, do you have an
∑3∑∑estimate of the amount of money that Intuitive spent
∑4∑∑from start of the da Vinci program to getting FDA
∑5∑∑approval?
∑6∑∑∑∑A.∑I don't have an estimate.
∑7∑∑∑∑Q.∑Tens of millions?
∑8∑∑∑∑A.∑I -- I -- I couldn't guess.
∑9∑∑∑∑Q.∑Now, in today's market there's a
10∑∑significant -- well, there's -- withdrawn.
11∑∑∑∑∑∑In today's market there's somewhere between
12∑∑3500 and 4,000 installed da Vinci in hospitals
13∑∑around the U.S., right?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑And so any new entrant into that market
16∑∑would have to deal with that existing adoption of
17∑∑da Vinci robots, right?
18∑∑∑∑∑∑MS. LENT:∑Objection.
19∑∑∑∑∑∑THE WITNESS:∑What do you mean deal with
20∑∑that existing?
21∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, many hospitals have
22∑∑invested time and money into training programs for
23∑∑the da Vinci robot, right?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑Their surgeons are trained on and


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∑1∑∑comfortable with the da Vinci robot, right?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And so any new company with a new robot,
∑4∑∑they would have to -- you know, that would be an
∑5∑∑obstacle to getting their robot widely adopted,
∑6∑∑right?
∑7∑∑∑∑∑∑MS. LENT:∑Objection.
∑8∑∑∑∑∑∑THE WITNESS:∑What do you mean by obstacle?
∑9∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, a competitor
10∑∑couldn't just come in and suddenly have a robot in
11∑∑every hospital, right?
12∑∑∑∑∑∑MS. LENT:∑Objection.
13∑∑∑∑∑∑THE WITNESS:∑They -- they would go through
14∑∑the process of showing why their technology is
15∑∑better and what problems is it trying to solve.
16∑∑They would have to go through that process.
17∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑In that process, one of
18∑∑the things they would be contending with would be
19∑∑the 3500 to 4,000 already installed da Vinci robots,
20∑∑right?
21∑∑∑∑∑∑MS. LENT:∑Objection.
22∑∑∑∑∑∑THE WITNESS:∑What do you mean by
23∑∑contending?
24∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, you know, when
25∑∑they're trying to show off their product, a lot of


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∑1∑∑those hospitals already have da Vinci robots
∑2∑∑installed, right?
∑3∑∑∑∑A.∑Depends on what hospital they go to, but
∑4∑∑yeah, there could be a da Vinci installed there,
∑5∑∑right.
∑6∑∑∑∑Q.∑The surgeons at that hospital are already
∑7∑∑likely to be familiar with the da Vinci, right?
∑8∑∑∑∑A.∑Some surgeons.
∑9∑∑∑∑Q.∑Now, that company might also have to
10∑∑contend with the patent protection that Intuitive
11∑∑has for the da Vinci robot, right?
12∑∑∑∑∑∑MS. LENT:∑Objection.
13∑∑∑∑∑∑THE WITNESS:∑What do you mean by contend
14∑∑with?
15∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, a company that's
16∑∑trying to develop a new robot, they would have to be
17∑∑mindful of Intuitive's patent protection on its own
18∑∑robot, right?
19∑∑∑∑A.∑They would have to be mindful like anyone
20∑∑else would have to be mindful about encroaching on
21∑∑somebody's intellectual property, yes.
22∑∑∑∑Q.∑And hospitals that already have a da Vinci
23∑∑installed, they might be hesitant to completely
24∑∑switch over to another type of technology, right?
25∑∑∑∑∑∑MS. LENT:∑Objection.


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∑1∑∑∑∑∑∑THE WITNESS:∑What do you mean by hesitant?
∑2∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, hospital has a
∑3∑∑surgeon that's already been trained on the da Vinci
∑4∑∑for a long period of time.∑And they have a da Vinci
∑5∑∑installed and there's comfort there.∑That might be
∑6∑∑a factor in the hospital's decision of whether to
∑7∑∑choose to add a different robot, right?
∑8∑∑∑∑∑∑MS. LENT:∑Objection.
∑9∑∑∑∑∑∑THE WITNESS:∑Yeah, I -- I view it as
10∑∑the -- you know, there's 65,000 surgeons in the
11∑∑United States and maybe 20,000 have been trained on
12∑∑da Vinci.∑So just because there's a da Vinci in the
13∑∑hospital doesn't -- doesn't mean that you can't add
14∑∑other technology that brings value to their
15∑∑hospital.
16∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑You mentioned --
17∑∑∑∑A.∑In -- in several cases, they have multiple
18∑∑different ways of treating a disease within their --
19∑∑within their hospital.∑So I see it similarly.
20∑∑∑∑Q.∑You mentioned there's around 60,000
21∑∑surgeons in the United States and around 20,000 of
22∑∑those have been trained on da Vinci; is that right?
23∑∑∑∑A.∑65,000 surgeons in the United States.
24∑∑∑∑Q.∑65,000 surgeons.∑And of those 65,000,
25∑∑around 20,000 have been trained on da Vinci, right?


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∑1∑∑∑∑A.∑Approximately.
∑2∑∑∑∑Q.∑How many have received training on the
∑3∑∑TransEnterix Senhance?
∑4∑∑∑∑∑∑MS. LENT:∑Objection.
∑5∑∑∑∑∑∑THE WITNESS:∑I don't know.
∑6∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Any estimate?
∑7∑∑∑∑A.∑No.
∑8∑∑∑∑Q.∑Is it likely to be more than 30?
∑9∑∑∑∑∑∑MS. LENT:∑Objection; lack of foundation.
10∑∑∑∑∑∑THE WITNESS:∑I -- I -- I have no basis to
11∑∑know.
12∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, does Intuitive do
13∑∑any sort of market research about what sorts of
14∑∑equipment surgeons are training on?
15∑∑∑∑A.∑I'm not aware of market research around
16∑∑what technology they've been trained on.
17∑∑∑∑Q.∑Would it be important for Intuitive to keep
18∑∑tabs on what sorts of robotic instruments surgeons
19∑∑are training on?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑Why?
22∑∑∑∑A.∑We would want to know why customers or
23∑∑potential customers choose one technology over
24∑∑another and what value those customers see.∑And
25∑∑we'd like to earn that choice -- you know, to be


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∑1∑∑able to earn that right or at least to be considered
∑2∑∑a new choice.∑So to understand that would be
∑3∑∑important.
∑4∑∑∑∑Q.∑Are you familiar with the concept of a
∑5∑∑barrier to entry in general speak?
∑6∑∑∑∑∑∑MS. LENT:∑Objection.
∑7∑∑∑∑∑∑THE WITNESS:∑In -- in general speak -- or
∑8∑∑what is meant by general speech -- speak?
∑9∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, do you understand --
10∑∑what's your understanding of the words barrier to
11∑∑entry?
12∑∑∑∑A.∑That there's some challenge.∑That there's
13∑∑some process that you have to go through, and -- in
14∑∑order to bring a product to market, in general
15∑∑speak.
16∑∑∑∑Q.∑You mentioned some challenge or process.
17∑∑Can there be multiple challenges to bringing a
18∑∑product to market?
19∑∑∑∑A.∑Sure.∑There are many.
20∑∑∑∑Q.∑And those might include long development
21∑∑times, right?
22∑∑∑∑∑∑MS. LENT:∑Object to the form.
23∑∑∑∑∑∑THE WITNESS:∑What long development times,
24∑∑in what way?
25∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, that might be a


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∑1∑∑challenge in bringing a product to market, right?
∑2∑∑There's a really long development time in the
∑3∑∑development cycle of that product, right?
∑4∑∑∑∑∑∑MS. LENT:∑Objection.
∑5∑∑∑∑∑∑THE WITNESS:∑I think the long development
∑6∑∑time is an outcome of the various process points
∑7∑∑that you need to bring a medical device product to
∑8∑∑market that is safe for physicians to use with their
∑9∑∑patients.∑So I -- that's the process.
10∑∑∑∑∑∑MR. ERWIG:∑I'm going to screen share
11∑∑another exhibit.∑This will be -- well, first I'm
12∑∑going to screen share a set of notes that I've
13∑∑taken.∑Set of notes, at the top there, labeled
14∑∑barriers to entry with some challenges below that.
15∑∑∑∑∑∑(EXHIBIT 15 WAS MARKED FOR IDENTIFICATION.)
16∑∑∑∑∑∑MR. ERWIG:∑Q.∑∑Do you see that?
17∑∑∑∑A.∑I do.
18∑∑∑∑∑∑MS. LENT:∑I'm going to object to, again,
19∑∑to your continued use of your notes as exhibits.
20∑∑They are completely inappropriate and do not
21∑∑represent the sum and substance of the witness's
22∑∑testimony.
23∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Now, Mr. Vavoso, you
24∑∑mentioned your understanding of the phrase barriers
25∑∑to entry was -- included some challenges in the


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∑1∑∑development process for a product, right?
∑2∑∑∑∑∑∑MS. LENT:∑Objection; misstates his
∑3∑∑testimony.∑Incomplete.
∑4∑∑∑∑∑∑THE WITNESS:∑You didn't write the words
∑5∑∑general speak down.
∑6∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑I'm happy to.
∑7∑∑∑∑∑∑MS. LENT:∑My objection remains.
∑8∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Is that better?
∑9∑∑∑∑∑∑MS. LENT:∑I still object.
10∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Now, Mr. Vavoso, one of
11∑∑the things we discussed was that it can be up to a
12∑∑10-year development time for a new entrant into the
13∑∑surgical robot space, right?
14∑∑∑∑A.∑Says that, yes.
15∑∑∑∑∑∑MS. LENT:∑I object to you characterizing
16∑∑that as a barrier to entry, which is not what
17∑∑Mr. Vavoso testified to.
18∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑We also discussed that
19∑∑another challenge could be fulfilling regulatory
20∑∑requirements for a company seeking to bring a robot
21∑∑to market, right?
22∑∑∑∑∑∑MS. LENT:∑Objection.∑That is not what the
23∑∑witness testified to.∑That's what you wanted him to
24∑∑say and that's why you wrote it down.∑I'm objecting
25∑∑to this whole line of testimony.∑It's


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∑1∑∑inappropriate.
∑2∑∑∑∑∑∑You can answer the question, Mr. Vavoso,
∑3∑∑but it's inappropriate.
∑4∑∑∑∑∑∑THE WITNESS:∑Sorry.∑I lost the question.
∑5∑∑Could you restate it, please?
∑6∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑No problem.∑One of the
∑7∑∑challenges to bringing a robot to market, surgical
∑8∑∑robot to market, would be fulfilling regulatory
∑9∑∑requirements, right?
10∑∑∑∑∑∑MS. LENT:∑Objection; misstates his
11∑∑testimony.
12∑∑∑∑∑∑THE WITNESS:∑Fulfilling the FDA mandated
13∑∑requirements is part of the process.
14∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Now, one other thing that
15∑∑we discussed was -- well, another potential barrier
16∑∑or another -- withdrawn.
17∑∑∑∑∑∑Another potential challenge that company
18∑∑might face in bringing a surgical robot to market
19∑∑would be significant capital expenditures for
20∑∑research and development, right?
21∑∑∑∑∑∑MS. LENT:∑Objection; misstates his
22∑∑testimony.
23∑∑∑∑∑∑THE WITNESS:∑Yeah, I didn't say -- I
24∑∑didn't say that.
25∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, sure.∑I'm just


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∑1∑∑trying to get a sense if you -- if that's true.∑If,
∑2∑∑you know, company's trying to develop a new surgical
∑3∑∑robot, one of the potential challenges that they
∑4∑∑might face is that that development process costs a
∑5∑∑lot of money, right?
∑6∑∑∑∑∑∑MS. LENT:∑Can we be clear what you're
∑7∑∑trying to do is to get a list of what you're going
∑8∑∑to call barriers to entry and put words in his
∑9∑∑mouth.∑So let's ask a question that is appropriate
10∑∑as opposed to trying to force words in his mouth
11∑∑that are contrary to what he already testified to.
12∑∑∑∑∑∑MR. ERWIG:∑Ms. Lent, the speaking
13∑∑objections are inappropriate.∑If you can keep your
14∑∑objection to form, you can preserve it for the
15∑∑record.∑But anything beyond that is not appropriate
16∑∑in terms of deposition testimony, as you know.
17∑∑∑∑∑∑MS. LENT:∑What you're doing is
18∑∑inappropriate, but I will object to form and
19∑∑Mr. Vavoso can try and answer the question to the
20∑∑extent you ask an appropriate one.
21∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Great.∑Thank you.∑Now,
22∑∑Mr. Vavoso, one of the challenges that a company
23∑∑trying to develop a surgical robot might face is
24∑∑there is some significant capital expenditure that's
25∑∑required to bring a new robot to market, right?


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∑1∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑2∑∑∑∑∑∑THE WITNESS:∑There's investments that you
∑3∑∑have to make as part of this process.
∑4∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑They're not insubstantial,
∑5∑∑right?∑Those can be significant investments, right?
∑6∑∑∑∑∑∑MS. LENT:∑Objection.
∑7∑∑∑∑∑∑THE WITNESS:∑They're investments in the
∑8∑∑process, sir.∑Gauge if they're significant or
∑9∑∑non-significant is --
10∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑We also talked about how
11∑∑there's a -- an install base of 3500 to around 4,000
12∑∑of installed da Vinci robots, right?
13∑∑∑∑A.∑Not -- not relative to a challenge.∑We
14∑∑didn't talk about that.
15∑∑∑∑Q.∑We discussed that there's a current install
16∑∑base of around 3500 to 4,000 installed da Vinci
17∑∑robots in the United States, right?
18∑∑∑∑A.∑We discussed it.
19∑∑∑∑Q.∑That might be a challenge to a new company
20∑∑seeking to develop a new surgical robot, right?
21∑∑∑∑∑∑MS. LENT:∑Objection.
22∑∑∑∑∑∑THE WITNESS:∑In that context, what's
23∑∑the -- define challenge?
24∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, a lot of hospitals
25∑∑already have a surgical robot.∑They've already


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∑1∑∑invested a lot of time into a surgical robot, right?
∑2∑∑They might have some reluctance to just switch to a
∑3∑∑different one, right?
∑4∑∑∑∑∑∑MS. LENT:∑Objection; asked and answered.
∑5∑∑∑∑∑∑THE WITNESS:∑There -- there -- every day
∑6∑∑they're free to make a choice on what they invest
∑7∑∑in.∑Uhm, they can add other technologies and they
∑8∑∑do every day.
∑9∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, let's be clear.∑Is
10∑∑it your position that the install base of 3500 to
11∑∑4,000 installed da Vinci robots presents no
12∑∑challenge to a competitor seeking to enter the
13∑∑market.∑Is that your testimony?
14∑∑∑∑∑∑MS. LENT:∑Objection.
15∑∑∑∑∑∑THE WITNESS:∑What do you mean by no
16∑∑challenge?
17∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, when discussing some
18∑∑challenges that a developer of a robot might face,
19∑∑right, and I want to know if it's your testimony, on
20∑∑behalf of Intuitive, that the install base of 3500
21∑∑to 4,000 installed da Vinci robots poses no
22∑∑challenge at all to a manufacturer of a competing
23∑∑surgical robot?
24∑∑∑∑∑∑MS. LENT:∑Object.
25∑∑∑∑∑∑THE WITNESS:∑It is -- whoever is bringing


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∑1∑∑technology to market has to show that their
∑2∑∑alternative is better than the current set of
∑3∑∑alternatives out there.∑And I don't see the size of
∑4∑∑install base as being a barrier to that.
∑5∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, the current size of
∑6∑∑the install base is 3500 to 4,000 installed da Vinci
∑7∑∑robots, right?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑And there's -- whatever competitor would
10∑∑have install base of zero, right?
11∑∑∑∑∑∑MS. LENT:∑Objection.
12∑∑∑∑∑∑THE WITNESS:∑What competitor?
13∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, a new competitor
14∑∑trying to bring a new robot to the market.∑They'd
15∑∑start with an install base of zero, right?
16∑∑∑∑A.∑They would.
17∑∑∑∑Q.∑And Intuitive -- Intuitive's not starting
18∑∑from an install base of zero, right?
19∑∑∑∑∑∑MS. LENT:∑Objection.
20∑∑∑∑∑∑THE WITNESS:∑What do you mean started? I
21∑∑don't understand your question.
22∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, as of today,
23∑∑Intuitive has an install base of between 3500 and
24∑∑4,000 da Vinci surgical robots, right?
25∑∑∑∑A.∑There is 3500 to 4,000 da Vinci systems in


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∑1∑∑hospitals, yes.
∑2∑∑∑∑Q.∑For a new company entering into that space,
∑3∑∑they would have an install base of zero in
∑4∑∑hospitals, right?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑Another issue -- another potential
∑7∑∑challenge for a company might be patent protection,
∑8∑∑right?∑It's complicated --
∑9∑∑∑∑∑∑MS. LENT:∑Object --
10∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑-- intellectual property
11∑∑issues, right?
12∑∑∑∑∑∑MS. LENT:∑Objection; asked and answered.
13∑∑Compound.
14∑∑∑∑∑∑THE WITNESS:∑Say the question again,
15∑∑please?
16∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Well, for a company
17∑∑developing a new surgical robot, one challenge would
18∑∑be Intuitive's patent protection on its technology,
19∑∑right?
20∑∑∑∑∑∑MS. LENT:∑Objection; asked and answered.
21∑∑∑∑∑∑THE WITNESS:∑Company bringing new
22∑∑technology has to be mindful of the intellectual
23∑∑property that belongs to another company, yes.
24∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑And we also talked
25∑∑about -- you mentioned that there's 65,000 surgeons


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∑1∑∑and that 20,000 of those are already trained on the
∑2∑∑da Vinci surgical robot, right?
∑3∑∑∑∑A.∑Approximately.
∑4∑∑∑∑Q.∑So that might be a challenge for a new
∑5∑∑company is getting surgeons trained on their new
∑6∑∑surgical robot, right?
∑7∑∑∑∑∑∑MS. LENT:∑Objection; asked and answered.
∑8∑∑∑∑∑∑THE WITNESS:∑No.
∑9∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑It's your position that
10∑∑existing -- withdrawn.
11∑∑∑∑∑∑Is it Intuitive's position that the
12∑∑existing training of surgeons has no impact on
13∑∑potential competitors' ability to enter the market?
14∑∑∑∑∑∑MS. LENT:∑Objection; outside the scope of
15∑∑the 30(b)(6).∑You can ask him in his individual
16∑∑capacity.
17∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Sorry.∑I didn't get the
18∑∑answer?
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑Going to mark this as Exhibit 15.∑We can
21∑∑go off the record.
22∑∑∑∑∑∑VIDEOGRAPHER:∑Excuse me.
23∑∑∑∑∑∑MS. LENT:∑And I continue to object to that
24∑∑being an exhibit.
25∑∑∑∑∑∑VIDEOGRAPHER:∑Is this a good time to


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∑1∑∑change out the video?
∑2∑∑∑∑∑∑MR. ERWIG:∑I was just suggesting we take a
∑3∑∑break.
∑4∑∑∑∑∑∑VIDEOGRAPHER:∑All right.∑This is the end
∑5∑∑of Media 2.∑We're off the record at 1:02.
∑6∑∑∑∑∑∑(The deposition was in recess from 1:02 to
∑7∑∑∑∑∑∑1:35.)
∑8∑∑∑∑∑∑VIDEOGRAPHER:∑Here's the beginning of
∑9∑∑Media No. 3 in the deposition of Glenn Vavoso.∑We
10∑∑are back on the record at 1:35.
11∑∑∑∑∑∑MR. ERWIG:∑I'm going to screen share our
12∑∑next exhibit.∑This will be Exhibit 16.∑It says
13∑∑6/8/17 Mohr to Vavoso, et al.
14∑∑∑∑∑∑(EXHIBIT 16 WAS MARKED FOR IDENTIFICATION.)
15∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑Can you see this on the
16∑∑screen in front of you, Mr. Vavoso?
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑Does this appear to be -- well, withdraw.
19∑∑∑∑∑∑Do you recognize this?
20∑∑∑∑A.∑I'm just reading through it.∑All right. I
21∑∑don't recognize it.
22∑∑∑∑Q.∑Well, you notice that you're listed in the
23∑∑to column, right?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑The from column, that's from Catherine Mohr


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∑1∑∑at Intuitive surgical; is that right?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑Who is Catherine Mohr?
∑4∑∑∑∑A.∑She is president of the Intuitive
∑5∑∑Foundation.
∑6∑∑∑∑Q.∑And it says down here in the e-mail footer
∑7∑∑that she's the vice president of strategy Intuitive
∑8∑∑Surgical, Inc.∑Was that her position as of
∑9∑∑June 8th, 2017?
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑Does this appear to be an e-mail from
12∑∑Catherine Mohr to yourself and others at Intuitive
13∑∑Surgical with the subject LRM meeting?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑Looks like there's an attachment that's
16∑∑called U.S. scenarios and brainstorming.docx.∑Do
17∑∑you see that?
18∑∑∑∑A.∑I see that label, yes.
19∑∑∑∑Q.∑And Ms. Mohr writes, "The attached Word
20∑∑document has the notes from the assumptions slash
21∑∑forces and factors slash indicators record as well
22∑∑as the scenarios idea generation slash ranking and
23∑∑workshop topics."
24∑∑∑∑∑∑You see that?
25∑∑∑∑A.∑Uh-huh, yes.


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∑1∑∑∑∑∑∑MR. ERWIG:∑Stop screen sharing this
∑2∑∑exhibit.∑Our next exhibit is going to be
∑3∑∑Exhibit 6 -- Exhibit 17.∑Sorry.
∑4∑∑∑∑∑∑(EXHIBIT 17 WAS MARKED FOR IDENTIFICATION.)
∑5∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑That will be the labeled
∑6∑∑attach -- 6/8/17 Attach to Mohr to Vavoso, et al.
∑7∑∑Share this with you.∑Can you see this on the screen
∑8∑∑in front of you?
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑Do you recognize this document?
11∑∑∑∑A.∑No.
12∑∑∑∑Q.∑Any reason to believe that this isn't the
13∑∑attachment to Ms. Mohr's e-mail?
14∑∑∑∑A.∑No.




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∑7∑∑∑∑∑∑MR. ERWIG:∑Stop screen sharing this
∑8∑∑exhibit.∑Now, our next exhibit is going to be
∑9∑∑Exhibit 18.
10∑∑∑∑∑∑(EXHIBIT 18 WAS MARKED FOR IDENTIFICATION.)
11∑∑∑∑∑∑MR. ERWIG:∑∑Q.∑This will be 8/24/19
12∑∑Darling to Vavoso, et al.∑I'm going to screen share
13∑∑this with you.∑You see this on the screen in front
14∑∑of you?
15∑∑∑∑A.∑Yes.
16∑∑∑∑∑∑MR. ADAMS:∑You can't say that because
17∑∑you -- I don't know what you're asking.
18∑∑∑∑∑∑MR. ERWIG:∑You're not muted.∑Let's go off
19∑∑the record.
20∑∑∑∑∑∑MR. ADAMS:∑You want to know what's the
21∑∑bus?∑If there's less work on the bus.∑I don't
22∑∑think so.
23∑∑∑∑∑∑VIDEOGRAPHER:∑We're off record at 1:53.
24∑∑∑∑∑∑(The deposition was in recess from 1:52 to
25∑∑∑∑∑∑1:53.)


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                                                                                       Page 52
∑1∑∑financial analysis; right?
∑2∑∑∑∑A.∑∑The focus of this financial analysis was
∑3∑∑more on the cost element of it and less on
∑4∑∑profitability.
∑5∑∑∑∑Q.∑∑Well, sir, you certainly wanted to know if
∑6∑∑Intuitive would gain or would lose money when you
∑7∑∑were considering whether to refurbish EndoWrists;
∑8∑∑right?
∑9∑∑∑∑A.∑∑That is correct.
10∑∑∑∑Q.∑∑You were interested in whether it was more
11∑∑profitable to offer refurbished EndoWrists or to not
12∑∑offer a program like that at all; right?
13∑∑∑∑A.∑∑That is one element of what we were
14∑∑attempting to explore or assess.
15∑∑∑∑Q.∑∑That's specifically the element that you
16∑∑were presenting on in this PowerPoint; right?
17∑∑∑∑A.∑∑That is one of the elements that we
18∑∑explored, yes.
19∑∑∑∑Q.∑∑I'm going to move to Slide 20 with you
20∑∑where it reads "Financial Analysis."
21∑∑∑∑∑∑Do you see that?
22∑∑∑∑A.∑∑That is correct.




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22∑∑∑∑Q.∑∑I'm going to move to Slide 22 with you.
23∑∑You see that this is a slide titled "Technical
24∑∑Assessment"?
25∑∑∑∑A.∑∑Yes.


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∑1∑∑∑∑Q.∑∑And there's a summary listed.∑Do you see
∑2∑∑that?
∑3∑∑∑∑A.∑∑Yes.
∑4∑∑∑∑Q.∑∑That summary lists in the first bullet
∑5∑∑point "Confirmed feasibility of ten plus lives on
∑6∑∑FBF, LND, and ProGrasp."
∑7∑∑∑∑∑∑Do you see that?
∑8∑∑∑∑A.∑∑Yes.
∑9∑∑∑∑Q.∑∑What does "confirmed feasibility of ten
10∑∑plus lives" mean?
11∑∑∑∑A.∑∑With the proposed refurbishment of the
12∑∑instruments.∑So the deconstruction and replacement
13∑∑of wear components, retest, et cetera, if certain
14∑∑components were replaced as part of the
15∑∑remanufacturing and certain components were tested
16∑∑and reused, if deemed to be equivalent or better
17∑∑than new, that it was feasible to reuse some
18∑∑components for an additional ten lives within a
19∑∑rebuilt or refurbished instrument.
20∑∑∑∑Q.∑∑Well, this doesn't say confirmed
21∑∑feasibility of ten lives.∑This says confirmed
22∑∑feasibility of ten plus lives; right?
23∑∑∑∑A.∑∑That is correct.
24∑∑∑∑Q.∑∑So those refurbished instruments might be
25∑∑capable of being used for more than ten lives;


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∑1∑∑right?
∑2∑∑∑∑A.∑∑It may be possible, but that -- the reason
∑3∑∑I believe that ten plus lives was put in there is
∑4∑∑because there are some instruments that have longer
∑5∑∑than ten lives on their life counter that Intuitive
∑6∑∑sells.∑And then, in addition to that, it would take
∑7∑∑quite a bit of validation and verification to
∑8∑∑rebuild the instruments and test them to failure,
∑9∑∑assess those failure modes, and then discern what
10∑∑the life -- reasonably validated life limit was such
11∑∑that we had a high degree of certainty that within
12∑∑that life limit the instrument would perform
13∑∑clinically as designed and safely.
14∑∑∑∑Q.∑∑Now, the process for refurbishing
15∑∑instruments, that might differ from instrument to
16∑∑instrument; right?
17∑∑∑∑A.∑∑That is correct.
18∑∑∑∑Q.∑∑For one instrument, for example, you might
19∑∑just have to realign graspers and tighten cables for
20∑∑that instrument.∑That's one potential way you could
21∑∑refurbish an instrument; right?
22∑∑∑∑∑∑MS. LENT:∑Object to the form.
23∑∑∑∑∑∑THE WITNESS:∑As we did not complete
24∑∑refurbishment, a validation -- full validation and
25∑∑verification, I don't know that I could speak to


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∑1∑∑that.
∑2∑∑∑∑∑∑BY MR. ERWIG:
∑3∑∑∑∑Q.∑∑Well, in this technical assessment you
∑4∑∑certainly looked at whether it was feasible to
∑5∑∑refurbish instruments such that they could perform
∑6∑∑equivalent to new instruments; right?
∑7∑∑∑∑A.∑∑That is correct, but I would refer to the
∑8∑∑previous slide that we were looking at that had
∑9∑∑various levels of assessment as it related to
10∑∑component reuse ranging from 50 percent of component
11∑∑reuse to 25 percent of component reuse.∑And I do
12∑∑not believe that any element of our refurbishment
13∑∑included bending tips to realign them.
14∑∑∑∑Q.∑∑Well, at any point -- withdrawn.
15∑∑∑∑∑∑At any point during the instrument
16∑∑refurbishment feasibility study in 2017, did you
17∑∑conclude that it was not possible to repair or
18∑∑refurbish EndoWrist instruments?
19∑∑∑∑∑∑MS. LENT:∑Object to the form.∑Compound.
20∑∑∑∑∑∑MR. ERWIG:∑I'll break it down.
21∑∑∑∑∑∑BY MR. ERWIG:
22∑∑∑∑Q.∑∑Mr. Bair, at any point during the 2017
23∑∑instrument refurbishment feasibility update, did you
24∑∑conclude that it was not possible to refurbish
25∑∑EndoWrists?


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∑1∑∑∑∑A.∑∑I would speak more narrowly to the
∑2∑∑EndoWrist instruments that we examined, given that
∑3∑∑we did not test the -- or experiment as it related
∑4∑∑to the feasibility for the entire suite of
∑5∑∑instruments, but we did find as referenced, I
∑6∑∑believe, previously in this document, including in
∑7∑∑that top line, that we did confirm that there was
∑8∑∑a -- that methodologies could be undertaken to
∑9∑∑replace components and refurbish or remanufacture
10∑∑the instrument.
11∑∑∑∑Q.∑∑During this process did you test whether it
12∑∑was possible to repair the EndoWrists that you
13∑∑reclaimed from hospitals?
14∑∑∑∑A.∑∑Could you articulate?∑I know that the
15∑∑words in this space are challenging, especially as
16∑∑related to the various regulatory definitions for
17∑∑repair, refurbishment, servicing, remanufacturing,
18∑∑et cetera.
19∑∑∑∑∑∑Would you mind clarifying the scope of the
20∑∑term "repair."
21∑∑∑∑Q.∑∑Sure.∑Collecting an instrument and not
22∑∑exchanging replacement parts and servicing the
23∑∑instrument.
24∑∑∑∑A.∑∑We did not determine that it was feasible
25∑∑to -- given that definition of repair, we did not


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∑1∑∑find feasibility.
∑2∑∑∑∑Q.∑∑Did you do any studies on that at all?
∑3∑∑∑∑A.∑∑We, to my recollection, as part of the
∑4∑∑initial verification, drove -- or used instruments
∑5∑∑in excess of their ten-life count.∑And I believe in
∑6∑∑almost all instances, the instruments failed
∑7∑∑prematurely before they reached an additional ten
∑8∑∑lives.
∑9∑∑∑∑Q.∑∑When you mentioned "we used instruments in
10∑∑addition to the life count," that's using
11∑∑instruments without any sort of repair or
12∑∑refurbishment after their ten-life use count had
13∑∑expired; right?
14∑∑∑∑A.∑∑I believe there were certain servicing
15∑∑activities that were undertaken.∑For example, that
16∑∑may include maintenance that a user could perform or
17∑∑might entail lubrication or appropriate cleaning and
18∑∑sterilization, et cetera, in advance of that
19∑∑additional life testing.
20∑∑∑∑Q.∑∑Are there any documents that you could
21∑∑point to that would reflect that initial effort of
22∑∑study the continued use of EndoWrists with repairs
23∑∑or servicing?
24∑∑∑∑A.∑∑I was not engaged in the technical
25∑∑assessment details, and so I don't know that I would


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∑1∑∑have or could point to that sort of documentation.
∑2∑∑∑∑Q.∑∑Let me go to page 24 with you.∑This is a
∑3∑∑slide that reads "Technical Assessment."
∑4∑∑∑∑∑∑Do you see that?
∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑Q.∑∑And then there's a second bullet where it
∑7∑∑says RMA instruments.∑Do you see that?
∑8∑∑∑∑A.∑∑Yes.
∑9∑∑∑∑Q.∑∑What is an RMA instrument?
10∑∑∑∑A.∑∑It is a return material authorization
11∑∑instrument.∑So that would be an instrument that
12∑∑our -- one of our customers would have logged a
13∑∑complaint against and received a -- what we call an
14∑∑RMA number for us so that we could track the receipt
15∑∑of that instrument, perform failure analysis on the
16∑∑instrument to potentially replicate the complaint,
17∑∑determine if it was reportable or nonreportable, and
18∑∑notify the appropriate bodies as well as inform our
19∑∑quality and manufacturing practices if needed.
20∑∑Ultimately, that would include a credit to the
21∑∑customer if it was found to be a warranty or
22∑∑manufacturing defect that induced the failure in the
23∑∑instrument.
24∑∑∑∑∑∑MR. ERWIG:∑I'll stop screen sharing this
25∑∑exhibit.


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∑1∑∑∑∑∑∑Let's go off the record, and we'll take a
∑2∑∑quick break.
∑3∑∑∑∑∑∑THE WITNESS:∑Sure.
∑4∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 1:57 p.m.,
∑5∑∑and we are off the record.
∑6∑∑∑∑∑∑(Recess taken from 1:58 to 2:10.)
∑7∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 2:10 p.m.
∑8∑∑and we are back on the record.
∑9∑∑∑∑∑∑BY MR. ERWIG:
10∑∑∑∑Q.∑∑Now, Mr. Bair, what was your understanding
11∑∑of the purpose of studying a refurbished EndoWrist
12∑∑program?
13∑∑∑∑A.∑∑I'm aligned to the objectives that were
14∑∑previously stated within the document that we
15∑∑reviewed a moment ago.∑And there was an element of
16∑∑environmental and social responsibility as it
17∑∑relates to reusing components to reduce waste, but
18∑∑more so it was to explore if there were
19∑∑opportunities to reduce the costs associated with
20∑∑manufacturing these instruments such that we could
21∑∑potentially provide better solutions for more
22∑∑price-sensitive or cost-sensitive surgical
23∑∑procedures that may be amenable to a
24∑∑robotic-assisted surgical intervention.
25∑∑∑∑Q.∑∑Did Intuitive, in fact, bring a refurbished


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∑1∑∑EndoWrist program to market?
∑2∑∑∑∑A.∑∑We did not.
∑3∑∑∑∑Q.∑∑Why not?
∑4∑∑∑∑A.∑∑After following the feasibility assessment
∑5∑∑that we explored, we determined that that would not
∑6∑∑be a product priority at that point in time.∑And so
∑7∑∑we stopped for the time being.∑I believe that
∑8∑∑presentation was 2017.∑And we didn't pursue that as
∑9∑∑a component of the portfolio at that time.
10∑∑∑∑Q.∑∑Did Intuitive pursue that at any time
11∑∑since?
12∑∑∑∑A.∑∑We periodically and regularly reassess our
13∑∑multiyear portfolio and product road map planning,
14∑∑which is the projection of what products should we
15∑∑investigate and/or develop and try to bring to
16∑∑market at what times given that we're working with
17∑∑constrained resources.
18∑∑∑∑∑∑And so I -- I would expect that a potential
19∑∑feasibility or the subject matter has been explored
20∑∑since then.
21∑∑∑∑Q.∑∑You mentioned that refurbished instruments
22∑∑were -- I believe the term you used was product
23∑∑priority.∑Is that right?
24∑∑∑∑A.∑∑A product development priority for the
25∑∑company at the time, that is correct.


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∑1∑∑∑∑Q.∑∑What sort of factors go into determining
∑2∑∑whether something is a product development priority
∑3∑∑for Intuitive?
∑4∑∑∑∑A.∑∑I would say a pretty complex conversation
∑5∑∑that's held largely at levels far above where I am
∑6∑∑at.∑So I don't know that I could articulate or
∑7∑∑stipulate what each of those requirements would be
∑8∑∑in terms of what gets funded and what doesn't.∑But
∑9∑∑it has to do with the effective usage of our
10∑∑resources and what can most effectively help us
11∑∑achieve our objectives at the end of the day.
12∑∑∑∑Q.∑∑Sir, you understand that lower-priced
13∑∑EndoWrists would be very attractive to hospitals
14∑∑that are using da Vinci surgical robots; right?
15∑∑∑∑A.∑∑I don't know that I can speak on behalf of
16∑∑the procurement organizations for hospitals, but I
17∑∑do know that part of our objective was to achieve a
18∑∑lower cost profile so that we could pass -- then
19∑∑pass that lower cost profile on to our customers.
20∑∑∑∑Q.∑∑And the point at which the study was at had
21∑∑confirmed the title of refurbished EndoWrists;
22∑∑right?
23∑∑∑∑A.∑∑I would not say that it confirmed the
24∑∑feasibility.∑It confirmed that we didn't initially
25∑∑through our high-level, very small-scale


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∑1∑∑investigation, we explored or found that it wasn't
∑2∑∑impossible is what we concluded from that.∑But as
∑3∑∑referred to and mentioned in the financial analysis,
∑4∑∑as I noted, that there was a range of example
∑5∑∑material harvesting from instruments, and as such at
∑6∑∑that time we had not established what exactly it
∑7∑∑would take to render the instrument clinically safe
∑8∑∑and equivalent or better than new.
∑9∑∑∑∑Q.∑∑And Intuitive didn't continue with that
10∑∑process of bringing refurbished EndoWrists to
11∑∑market; right?
12∑∑∑∑A.∑∑We did not continue at that time, that is
13∑∑correct.
14∑∑∑∑Q.∑∑And at any time since; right?∑If a
15∑∑hospital wants to buy a refurbished instrument from
16∑∑Intuitive today, they can't do that; right?
17∑∑∑∑A.∑∑Not that I am aware of.
18∑∑∑∑Q.∑∑So the hospitals, they have to buy
19∑∑full-priced new instruments from Intuitive; right?
20∑∑∑∑A.∑∑I'll give you an example of a trade-off
21∑∑related to your earlier question.∑So pursuing
22∑∑various routines to reduce the cost implications of
23∑∑robotic-assisted surgery, there is a real-world
24∑∑example of the extended-life instruments that were
25∑∑recently introduced.∑And given that we were looking


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∑1∑∑to pursue what has the greatest impact, we did not
∑2∑∑pursue instrument reclamation and refurbishment at
∑3∑∑the time; however, we did launch an extended-life
∑4∑∑instrument program.
∑5∑∑∑∑Q.∑∑Sir, that's not quite my question.∑So
∑6∑∑we'll get into extended-use instruments, but right
∑7∑∑now I'm just looking at refurbished instruments or
∑8∑∑new instruments.∑So withdrawn.
∑9∑∑∑∑∑∑In today's marketplace a hospital has to
10∑∑buy a new instrument from Intuitive when its old
11∑∑instruments expire; right?∑Can't buy a refurbished
12∑∑one?
13∑∑∑∑∑∑MS. LENT:∑Object to the form.
14∑∑∑∑∑∑THE WITNESS:∑Yeah, could you -- are there
15∑∑two questions there or just one question?
16∑∑∑∑∑∑BY MR. ERWIG:
17∑∑∑∑Q.∑∑Just one question.∑Hospitals can't buy
18∑∑refurbished EndoWrists from Intuitive; true?
19∑∑∑∑A.∑∑A hospital -- that is true -- cannot buy a
20∑∑refurbished EndoWrist instrument from Intuitive, to
21∑∑my understanding.
22∑∑∑∑Q.∑∑And Intuitive hasn't invested in trying to
23∑∑bring less expensive refurbished instruments to
24∑∑market; right?
25∑∑∑∑∑∑MS. LENT:∑Object to the form.


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∑1∑∑∑∑∑∑THE WITNESS:∑I no longer have purview to
∑2∑∑our product development -- excuse me -- product
∑3∑∑development investments within that organization.
∑4∑∑And so I don't know that I can speak to that.
∑5∑∑∑∑∑∑BY MR. ERWIG:
∑6∑∑∑∑Q.∑∑Well, what's your personal knowledge of any
∑7∑∑refurbished instrument programs in development by
∑8∑∑Intuitive?
∑9∑∑∑∑A.∑∑Sure.∑So consistent with my previous
10∑∑answer as it relates to the periodic reevaluation of
11∑∑products within our projected road map or pipeline
12∑∑in align -- aligned with our strategic gains, I
13∑∑suspect that refurbishment or reclamation would
14∑∑continue to be a potential matter of discussion
15∑∑within those forums.
16∑∑∑∑Q.∑∑Well, you suspect, but my question is do
17∑∑you have any personal knowledge about any current
18∑∑initiatives being undertaken at Intuitive on the
19∑∑specifics?
20∑∑∑∑A.∑∑I'm unaware of any current initiatives. I
21∑∑am aware of the ongoing product road map
22∑∑conversations, as I mentioned.
23∑∑∑∑∑∑MR. ERWIG:∑I'm going to screen share our
24∑∑next exhibit.∑This will be Plaintiff's Exhibit 6.
25∑∑This is in Folder 2.∑This is 6'21'17 Bair to


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∑1∑∑Rozynski.∑Screen share this with you.
∑2∑∑∑∑∑∑(Marked for identification purposes,
∑3∑∑∑∑∑∑∑Exhibit 6.)
∑4∑∑∑∑∑∑BY MR. ERWIG:
∑5∑∑∑∑Q.∑∑Do you see this on the screen in front of
∑6∑∑you, Mr. Bair?
∑7∑∑∑∑A.∑∑Yes, I do.
∑8∑∑∑∑Q.∑∑Do you recognize this?
∑9∑∑∑∑A.∑∑I don't know that there's enough detail for
10∑∑me to recall it, but Summit does not ring a bell
11∑∑initially.
12∑∑∑∑Q.∑∑Does this appear to be an e-mail from
13∑∑yourself to Daniel Rozynski at Intuitive Surgical
14∑∑and Bastien Thomet at Intuitive Surgical?
15∑∑∑∑A.∑∑Yes, it does.
16∑∑∑∑Q.∑∑And the subject is Summit - Biz Case
17∑∑Competition.pptx.∑Do you see that?
18∑∑∑∑A.∑∑Yes, that is correct.
19∑∑∑∑∑∑MR. ERWIG:∑I'm going to stop screen
20∑∑sharing this exhibit.
21∑∑∑∑∑∑Our next exhibit will be the attachment to
22∑∑that e-mail.∑This is 6'21'17 Attach to Bair to
23∑∑Rozynski.∑This will be Exhibit 7.
24∑∑∑∑∑∑(Marked for identification purposes,
25∑∑∑∑∑∑∑Exhibit 7.)


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∑1∑∑∑∑∑∑BY MR. ERWIG:
∑2∑∑∑∑Q.∑∑Do you see this on the screen in front of
∑3∑∑you?
∑4∑∑∑∑A.∑∑Yes, I do.
∑5∑∑∑∑Q.∑∑Do you recognize this?
∑6∑∑∑∑A.∑∑Potentially.∑I probably -- I mean, we --
∑7∑∑we have a lot of similar cover pages.∑So if I could
∑8∑∑be allowed to review the contents, I might recognize
∑9∑∑it to a greater extent.
10∑∑∑∑Q.∑∑Sure.
11∑∑∑∑A.∑∑This is 43051, 6'21'17; is that correct?
12∑∑∑∑Q.∑∑That's correct.
13∑∑∑∑A.∑∑Yes, I do recall this.
14∑∑∑∑Q.∑∑How is it that you recall it?
15∑∑∑∑A.∑∑We were having a leader -- to the best of
16∑∑my recollection, knowing that this was several years
17∑∑ago, we did a leadership development or leadership
18∑∑training initiative within the finance team, if I
19∑∑recall correctly.∑Allow me a moment to explore a
20∑∑little further.
21∑∑∑∑∑∑Yes, my recollection is accurate.∑We did a
22∑∑business case team-building exercise where various
23∑∑teams within the finance organization were tasked to
24∑∑go and find an experimental or exploratory
25∑∑opportunity to dynamically change the business and


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∑1∑∑make a business pitch similar to what you would do
∑2∑∑in business school with a business case scenario.
∑3∑∑∑∑Q.∑∑One of the things on page 2 is a
∑4∑∑document -- withdrawn -- a slide titled "Our Pitch."
∑5∑∑∑∑∑∑Do you see that?
∑6∑∑∑∑A.∑∑That is correct.
∑7∑∑∑∑Q.∑∑You tiled this slide "Our Pitch," or did
∑8∑∑someone else title this slide?
∑9∑∑∑∑A.∑∑I don't recall.∑It was a team exercise. I
10∑∑believe we broke into four or five different teams
11∑∑as part of the training.
12∑∑∑∑Q.∑∑Did you participate as part of this team
13∑∑that developed the PowerPoint presentation?
14∑∑∑∑A.∑∑Yes, I did.
15∑∑∑∑Q.∑∑Now, one of the things that you write in
16∑∑the "Approach -- Flip the Fleet" is there's a bullet
17∑∑point labeled "Phase 1 (years 1-3)."
18∑∑∑∑∑∑Do you see that?
19∑∑∑∑A.∑∑Yes.




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16∑∑∑∑∑∑What do you mean by the word "Dragon"?
17∑∑∑∑A.∑∑So Project Dragon was the project name.∑We
18∑∑periodically have project names related to new
19∑∑products before they come to market or are assigned
20∑∑a customer-facing name.∑Project Dragon was, to my
21∑∑recollection, the general name for the project to
22∑∑explore the viability of refurbishing or exchanging
23∑∑instruments in this example.




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∑5∑∑∑∑Q.∑∑I'm going to move on to page 6 of this
∑6∑∑presentation, which is titled "Future of the
∑7∑∑Footprint."
∑8∑∑∑∑∑∑Do you see that?
∑9∑∑∑∑A.∑∑Yes.
10∑∑∑∑Q.∑∑And there's a subheading labeled
11∑∑"Investments."∑Do you see that?
12∑∑∑∑A.∑∑Sorry.∑Where is this?∑Oh, here.∑Sorry.
13∑∑I'm on the wrong future footprint slide.
14∑∑∑∑∑∑Which page are you on now?
15∑∑∑∑Q.∑∑Page 6.
16∑∑∑∑A.∑∑Sure.
17∑∑∑∑Q.∑∑Do you see the subheading titled
18∑∑"Investments"?
19∑∑∑∑A.∑∑Yes, I do.
20∑∑∑∑Q.∑∑One of the bullet points under that is
21∑∑"Remanufactured Instruments."∑Is that right?
22∑∑∑∑A.∑∑That is correct.
23∑∑∑∑Q.∑∑As of this time period, were you
24∑∑considering remanufactured instruments as a part of
25∑∑the footprint for the da Vinci surgical robots in


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∑1∑∑the future?
∑2∑∑∑∑A.∑∑One moment to recall the date of this
∑3∑∑presentation, again.∑It's not on this slide.
∑4∑∑∑∑∑∑Could you remind me of the date of that
∑5∑∑e-mail?
∑6∑∑∑∑Q.∑∑June 6th -- withdrawn.∑June 21st, 2017.
∑7∑∑∑∑A.∑∑Okay.∑Thank you.∑So mid-2017.∑At the
∑8∑∑time I do not believe we were pursuing instrument
∑9∑∑remanufacturing or refurbishment.
10∑∑∑∑∑∑And to clarify, again, this was not a
11∑∑formal business proposal.∑This was an exercise
12∑∑within the context of a training that we were doing
13∑∑in terms of thinking outside the box, putting
14∑∑together a quick business plan.∑There was a mock
15∑∑panel that this was presented to, along with maybe
16∑∑two or three or four other presentations or
17∑∑proposals from the team.∑We had a very limited
18∑∑amount of time to put it together.∑And then I
19∑∑believe the panel voted on who -- whose presentation
20∑∑they thought was the most thoughtful and made sense.
21∑∑∑∑∑∑So I don't know that I would use this as
22∑∑evidence of intentional directionality as it relates
23∑∑to decision-making within our traditional Intuitive
24∑∑decision-making frameworks, just to provide the
25∑∑appropriate color and context for this presentation.


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∑8∑∑∑∑Q.∑∑So it maintained current margins over the
∑9∑∑da Vinci surgical systems; right?
10∑∑∑∑A.∑∑It would maintain what we estimated, I
11∑∑think at the time, as the group was close to a rough
12∑∑estimate of the margins of the capital equipment.
13∑∑That is correct.
14∑∑∑∑Q.∑∑I'm going to stop screen sharing this
15∑∑document.
16∑∑∑∑∑∑Now, later on in 2017 you did some modeling
17∑∑of what refurbishment would look like as a business
18∑∑model; right?
19∑∑∑∑A.∑∑I don't recall the exact dates of that.
20∑∑∑∑∑∑MR. ERWIG:∑Let's take a look at some
21∑∑documents and see if that helps you.∑Next exhibit
22∑∑is going to be Plaintiff's Exhibit 8.
23∑∑∑∑∑∑(Marked for identification purposes,
24∑∑∑∑∑∑∑Exhibit 8.)
25∑∑∑∑∑∑MR. ERWIG:∑This will be 7'6'17 Goodson to


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∑1∑∑Bair.
∑2∑∑∑∑∑∑BY MR. ERWIG:
∑3∑∑∑∑Q.∑∑Do you see this on the screen in front of
∑4∑∑you?
∑5∑∑∑∑A.∑∑Yes, I do.
∑6∑∑∑∑Q.∑∑Do you recognize this document?
∑7∑∑∑∑A.∑∑Roughly, yes, I do recall it.
∑8∑∑∑∑Q.∑∑How do you recognize it?
∑9∑∑∑∑A.∑∑I seem to recall that at the time I was
10∑∑transitioning the financial analysis and support
11∑∑work to -- I believe he was a new employee or he was
12∑∑new to the function at the time.∑His name is Ben
13∑∑Bedore.∑He was on this e-mail.∑And so I do recall
14∑∑catching him up to speed on the work that we had
15∑∑done within the context of, as I mentioned, the
16∑∑periodic revisiting of our product development road
17∑∑map and expecting that Ben Bedore would -- as the
18∑∑financial picture changes over time, logistics
19∑∑changes over time, et cetera, that he may have to
20∑∑pick up the modeling or the analysis exercise.
21∑∑∑∑∑∑If I recall correctly, that was the context
22∑∑of this message.
23∑∑∑∑Q.∑∑You see that there's an attachment titled
24∑∑"Refurb Business Model - minimal.xlsx"?
25∑∑∑∑A.∑∑Yes.


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∑1∑∑∑∑∑∑MR. ERWIG:∑I'm going to take a look at
∑2∑∑that now.∑The next exhibit will be Plaintiff's
∑3∑∑Exhibit 9.
∑4∑∑∑∑∑∑(Marked for identification purposes,
∑5∑∑∑∑∑∑∑Exhibit 9.)
∑6∑∑∑∑∑∑MR. ERWIG:∑This will be 7'6'16 Attach to
∑7∑∑Goodson to Bair.∑We'll look at the Excel document
∑8∑∑in a moment, but I just want to show you the way
∑9∑∑this was produced.
10∑∑∑∑∑∑BY MR. ERWIG:
11∑∑∑∑Q.∑∑Do you recognize this document?
12∑∑∑∑A.∑∑It's too small for me to recognize at face
13∑∑value, but I'm about to pull it up here.
14∑∑∑∑∑∑Attach to Goodson Bair.∑Here we go.∑Yes,
15∑∑I do recall.
16∑∑∑∑Q.∑∑How do you recognize this?
17∑∑∑∑A.∑∑I was one of the contributors to this
18∑∑document.
19∑∑∑∑∑∑MR. ERWIG:∑I'm going to stop screen
20∑∑sharing this exhibit, and we'll took at the native
21∑∑version in Excel.
22∑∑∑∑∑∑This will be Plaintiff's Exhibit 10.∑This
23∑∑will be 7'6'16 Excel attached to Goodson to Bair.
24∑∑∑∑∑∑(Marked for identification purposes,
25∑∑∑∑∑∑∑Exhibit 10.)


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∑1∑∑∑∑∑∑BY MR. ERWIG:
∑2∑∑∑∑Q.∑∑I'm going to screen share this with you as
∑3∑∑well.
∑4∑∑∑∑∑∑Do you see this on the screen in front of
∑5∑∑you?
∑6∑∑∑∑A.∑∑Yes, I do.
∑7∑∑∑∑Q.∑∑Does this appear to be the same PDF we just
∑8∑∑looked at just in --
∑9∑∑∑∑∑∑(Stenographer interrupted for clarification
10∑∑∑∑∑∑∑of the record.)
11∑∑∑∑∑∑BY MR. ERWIG:
12∑∑∑∑Q.∑∑Just in Excel format.
13∑∑∑∑A.∑∑Would you mind scrolling to the very top of
14∑∑it.
15∑∑∑∑Q.∑∑This is the top of it.∑I'm sorry.∑No,
16∑∑it's not.
17∑∑∑∑A.∑∑Wow.∑I just realized this is 166 pages.
18∑∑I'm not going to scroll through all of that.
19∑∑∑∑∑∑It seems to be representative, yes, of the
20∑∑PDF that we viewed before.
21∑∑∑∑Q.∑∑There's some tabs on the bottom of this
22∑∑Excel document; right?∑Including "Consolidated
23∑∑Model," "Instrument Model Est," "Demand Plan," and
24∑∑some others; right?
25∑∑∑∑A.∑∑That is correct.


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∑1∑∑∑∑Q.∑∑What is the general information that's
∑2∑∑contained within this Excel sheet?
∑3∑∑∑∑A.∑∑Just this worksheet or all tabs within the
∑4∑∑workbook?




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∑5∑∑∑∑Q.∑∑I want to talk about a couple of these
∑6∑∑other columns.∑There's a tab labeled "SV Data."
∑7∑∑What does that mean?
∑8∑∑∑∑A.∑∑SV would stand for Sunnyvale.∑That's our
∑9∑∑vernacular for the Sunnyvale facility, and this
10∑∑is -- let me see.∑This is an estimate, I believe,
11∑∑of the volumes and potential credits and costs at a
12∑∑high level associated with a refurbishment program
13∑∑that was performed out of the Sunnyvale facilities.
14∑∑∑∑Q.∑∑And there's a column labeled "Instrument
15∑∑Return Rate."
16∑∑∑∑∑∑Do you see that?
17∑∑∑∑A.∑∑Yes.


19∑∑∑∑∑∑See that?
20∑∑∑∑A.∑∑That is correct.
21∑∑∑∑Q.∑∑What does that mean?
22∑∑∑∑A.∑∑That was a projection of -- again, I think
23∑∑this was likely a variable input based on an
24∑∑expectation that, if we entered into an arrangement
25∑∑with customers as we referred to in that business


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∑1∑∑pitch as instrument exchange, where, if they return
∑2∑∑the instrument to us, we would engage in
∑3∑∑refurbishment or remanufacturing activities and then
∑4∑∑return that instrument back to them or return an
∑5∑∑equivalent to new instrument back to them.




11∑∑∑∑Q.∑∑Then in return, the customer might have
12∑∑received a refurbished instrument as well; right?
13∑∑∑∑A.∑∑That is correct.
14∑∑∑∑Q.∑∑I'm going to move to another tab,
15∑∑"Instrument Volume Estimate."
16∑∑∑∑∑∑What is this tab showing?
17∑∑∑∑A.∑∑Would you mind, if you can zoom in.∑Can
18∑∑you first zoom into the screenshots over on the
19∑∑right and then -- those look to be SAP screenshots
20∑∑of materials, standard costs, which -- that is
21∑∑correct, from our ECC system.∑Thank you.
22∑∑∑∑∑∑And then can you scroll to the rest of the
23∑∑numbers over to the left?
24∑∑∑∑Q.∑∑I want to ask you really quick, if you
25∑∑don't mind, a couple of questions about these


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∑1∑∑materials.
∑2∑∑∑∑∑∑What do these screenshots -- what do these
∑3∑∑screenshots show?
∑4∑∑∑∑A.∑∑Sure.∑So up close to the top, just below
∑5∑∑the buttons, you can see -- let's use the top left
∑6∑∑as an example.∑Cost components for materials
∑7∑∑47006-08 -- excuse me -- 470006-08, Client 3010.∑So
∑8∑∑that reflects one of our manufacturing plants, 3010,
∑9∑∑and our business system.∑And that is a part number.
10∑∑470006-08 is the eighth revision of that part number
11∑∑within our quality system.
12∑∑∑∑∑∑And this screenshot reflects the standard
13∑∑costs that we update on a periodic basis, knowing
14∑∑that PO costs can change over time and actual labor
15∑∑costs can change over time, but standard costs are
16∑∑what we use within the accounting world to provide a
17∑∑standard margin for the products.
18∑∑∑∑∑∑And so that top line, "Raw Materials," are
19∑∑the raw components consumed, and then labor charges
20∑∑is the cost of labor that's allocated to the
21∑∑assembly.∑And I believe it includes testing,
22∑∑initial testing of those instruments.
23∑∑∑∑Q.∑∑When you mention the part, that would be an
24∑∑EndoWrist; is that right?
25∑∑∑∑A.∑∑This assessment was related to EndoWrist


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∑1∑∑instruments.∑I don't recall part numbers as it
∑2∑∑relates to the names of the components.∑But I
∑3∑∑suspect that, yes, that refers to EndoWrist.∑There
∑4∑∑may be a translation of that part number to the
∑5∑∑EndoWrist instrument name elsewhere in the document.
∑6∑∑∑∑Q.∑∑And you see there's a column labeled "Part
∑7∑∑Number," and the very first part number is 470006,
∑8∑∑and that corresponds to a large needle drive.
∑9∑∑∑∑∑∑Do you see that?
10∑∑∑∑A.∑∑That is correct, which we would refer to as
11∑∑an LND.
12∑∑∑∑Q.∑∑What do these totals represent for the
13∑∑large needle driver in the second row, Columns C, D,
14∑∑E, F, and G?
15∑∑∑∑A.∑∑Would you mind clicking on cell C2 so that
16∑∑I can see where it's generated from?∑It doesn't
17∑∑look to come from somewhere.
18∑∑∑∑∑∑There's a way to audit this sheet to see
19∑∑where this goes to.∑Let me see if I can ask you. I
20∑∑want to make sure that I appropriately answer your
21∑∑question.
22∑∑∑∑Q.∑∑Well, I just want to get a sense of what's
23∑∑generally being shown on this tab for "Instrument
24∑∑Volume Est."
25∑∑∑∑A.∑∑What I'm trying to establish for myself is


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∑1∑∑is this in the expected volume of instruments sent
∑2∑∑or the expected volume of instruments consumed or
∑3∑∑the expected volume of instruments returned?
∑4∑∑∑∑∑∑I am not equipped at this point in time to
∑5∑∑specifically answer that question given the age of
∑6∑∑this document.
∑7∑∑∑∑Q.∑∑Well, there's one figure here that says
∑8∑∑"annual total procedures" in parentheses.
∑9∑∑∑∑∑∑Do you see that?
10∑∑∑∑A.∑∑That is correct.
11∑∑∑∑Q.∑∑Then the total next to that is 210,116;
12∑∑right?
13∑∑∑∑A.∑∑Yes.∑So these would seem to indicate that
14∑∑these are procedure counts in which those EndoWrist
15∑∑instruments are used based on region within the
16∑∑United States.
17∑∑∑∑Q.∑∑You can take this exhibit down.
18∑∑∑∑∑∑I want to ask you a couple more questions
19∑∑about Project Dragon.∑Is Intuitive still
20∑∑considering Project Dragon as of May 24th, 2021?
21∑∑∑∑A.∑∑I don't know that that terminology
22∑∑continues to be used, but as mentioned before, as
23∑∑part of our product road map planning, we
24∑∑periodically assess product development
25∑∑opportunities.∑And so I would fully expect the


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∑1∑∑instrument refurbishment or reclamation would
∑2∑∑continue to be a topic that is revisited on a
∑3∑∑periodic basis.
∑4∑∑∑∑∑∑(Stenographer interrupted for clarification
∑5∑∑∑∑∑∑∑of the record.)
∑6∑∑∑∑∑∑BY MR. ERWIG:
∑7∑∑∑∑Q.∑∑Now, as part of your role at Intuitive, you
∑8∑∑evaluated three-year, five-year, and eight-year plan
∑9∑∑for the company moving forward; right?
10∑∑∑∑A.∑∑I would rearticulate that more narrowly
11∑∑within the scope of the business unit within which
12∑∑my role resides, which is the global services
13∑∑business unit, and does not include any longer
14∑∑secondary markets as a component of that business
15∑∑unit.∑So, for example, we used to manufacture the X
16∑∑system, which was a remanufactured system.∑And thus
17∑∑potential remanufacturing of instruments back in
18∑∑that 2017 time frame, when I was in that finance
19∑∑role, was a part of the business unit.∑But going
20∑∑forward, my role is more narrowly focused on
21∑∑services.∑So, for example, customer service, field
22∑∑engineering, technical support, et cetera.
23∑∑∑∑∑∑MR. ERWIG:∑I'm going to screen share our
24∑∑next exhibit.∑This is I believe Plaintiff's
25∑∑Exhibit 10.


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∑1∑∑∑∑∑∑THE STENOGRAPHER:∑I believe it's 11.
∑2∑∑∑∑∑∑(Marked for identification purposes,
∑3∑∑∑∑∑∑∑Exhibit 11.)
∑4∑∑∑∑∑∑BY MR. ERWIG:
∑5∑∑∑∑Q.∑∑Plaintiff's Exhibit 11 will be 4'19'18 Bair
∑6∑∑to Davis and Bedore.
∑7∑∑∑∑∑∑Do you see this on the screen in front of
∑8∑∑you, Mr. Bair?
∑9∑∑∑∑A.∑∑Yes, I do.
10∑∑∑∑Q.∑∑Do you recognize this?
11∑∑∑∑A.∑∑I recognize the context.∑It seems to match
12∑∑the previous response I gave as it related to
13∑∑transitioning the financial analysis, the ongoing
14∑∑periodic financial analysis to Ben Bedore, and I
15∑∑recall at the time that Heather Davis worked on Ben
16∑∑Bedore's team.
17∑∑∑∑Q.∑∑Do you recognize this as an e-mail that you
18∑∑sent to Heather Davis and Ben Bedore on April 19th,
19∑∑2018?
20∑∑∑∑A.∑∑Yes, I do.
21∑∑∑∑Q.∑∑The attachments to this e-mail --
22∑∑withdrawn.∑The attachment to this e-mail is "Refurb
23∑∑Business Model 7.24.17.xlsx."∑Right?
24∑∑∑∑A.∑∑That is correct.
25∑∑∑∑∑∑MR. ERWIG:∑Our next exhibit is going to be


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∑1∑∑Plaintiff's Exhibit 12.
∑2∑∑∑∑∑∑(Marked for identification purposes,
∑3∑∑∑∑∑∑∑Exhibit 12.)
∑4∑∑∑∑∑∑MR. ERWIG:∑This is going to be 4'19'18
∑5∑∑Attach to Bair to Davis.∑Screen share with you.
∑6∑∑∑∑∑∑BY MR. ERWIG:
∑7∑∑∑∑Q.∑∑This is another long document, and we're
∑8∑∑just going to look at the PDF form of it first.
∑9∑∑∑∑∑∑Do You see this on the screen in front of
10∑∑you.
11∑∑∑∑A.∑∑Yes.
12∑∑∑∑Q.∑∑Does this look to be the attachment to that
13∑∑e-mail that you sent to?
14∑∑∑∑A.∑∑I could certainly see that, yes, it might
15∑∑be.
16∑∑∑∑∑∑MR. ERWIG:∑I'm going to stop screen
17∑∑sharing this exhibit, and Exhibit 13 will be the
18∑∑native Excel version of that same document.∑This is
19∑∑4'19'18 EXCEL Attach to Bair to Davis.
20∑∑∑∑∑∑(Marked for identification purposes,
21∑∑∑∑∑∑∑Exhibit 13.)
22∑∑∑∑∑∑BY MR. ERWIG:
23∑∑∑∑Q.∑∑Do you see this in front of you, Mr. Bair?
24∑∑∑∑A.∑∑Yes, I do.
25∑∑∑∑Q.∑∑Do you recognize this document?


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∑1∑∑∑∑A.∑∑Allow me a moment to bring it up on my
∑2∑∑screen.
∑3∑∑∑∑∑∑Yes, I do.
∑4∑∑∑∑Q.∑∑How do you recognize it?
∑5∑∑∑∑A.∑∑I was engaged in crafting and updating
∑6∑∑parts of the document.
∑7∑∑∑∑Q.∑∑I'm going to -- withdrawn.
∑8∑∑∑∑∑∑You see one of the tabs below is
∑9∑∑"Consolidated Model"?∑Do you see that?
10∑∑∑∑A.∑∑Yes.
11∑∑∑∑Q.∑∑Another tab is "Cowbird Old."
12∑∑∑∑∑∑Do you see?
13∑∑∑∑A.∑∑Yes.∑And I'm chuckling to myself because
14∑∑I'm trying to remember why we called it Cowbird.
15∑∑∑∑Q.∑∑That was going to be my next question, is
16∑∑what are the tabs labeled "Cowbird - Old" and
17∑∑"Cowbird - New"?
18∑∑∑∑A.∑∑I'm trying to think.∑When you let finance
19∑∑people name things, normally it's neither funny nor
20∑∑applicable.∑And that may have been -- Cowbird may
21∑∑be a victim of that.∑I don't specifically recall.
22∑∑∑∑∑∑I can say that the model -- that the old
23∑∑and new indicators would show a potential pivot in
24∑∑the approach for the business model as it relates to
25∑∑refurbishment and indicating that one model is old


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∑1∑∑and one model is new, is the way that I would expect
∑2∑∑that.
∑3∑∑∑∑Q.∑∑So looking at the tab labeled "Cowbird -
∑4∑∑New," what can you tell me about what appears on
∑5∑∑this tab?
∑6∑∑∑∑A.∑∑One moment.∑The objective of this tab was
∑7∑∑to assess as it related to the volume constraints of
∑8∑∑establishing a refurbishment instrument line and
∑9∑∑what the cost curves may look like per instrument as
10∑∑it related to getting the line startup costs secured
11∑∑and established and ensuring that we understood the
12∑∑volume that could be processed on one manufacturing
13∑∑line.
14∑∑∑∑Q.∑∑There's a graphic here.∑There's a graph
15∑∑with the Y axis as fixed cost and the X axis
16∑∑instrument quantity; right?
17∑∑∑∑A.∑∑That is correct.
18∑∑∑∑Q.∑∑And it seems to indicate that the costs for
19∑∑refurbishment instruments go down the more of those
20∑∑instruments are produced by Intuitive; right?
21∑∑∑∑A.∑∑I'm sorry.∑When I hover over it, the color
22∑∑changes.∑Startup costs.∑Startup costs.
23∑∑Mature/ongoing fixed overhead and mature/ongoing
24∑∑fixed overhead.∑So what these indicate, fixed costs
25∑∑do not incorporate materials cost.


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∑1∑∑∑∑∑∑So fixed cost is one way that we look at --
∑2∑∑it's an example of the overhead that I referred to
∑3∑∑previously in the questioning that's not reflected
∑4∑∑in the contribution margin or the product margin.
∑5∑∑And so this looked more narrowly at the indirect
∑6∑∑investment.
∑7∑∑∑∑∑∑So we spoke about direct materials and
∑8∑∑direct labor previously and what those projections
∑9∑∑looked like.∑And so this simply articulates that,
10∑∑as you amortize the startup costs and the fixed
11∑∑overhead over a greater number of instruments, then
12∑∑the cost allocated per instrument declines but only
13∑∑for the fixed costs, not for the direct material and
14∑∑direct labor.
15∑∑∑∑Q.∑∑So the total cost for an EndoWrist would be
16∑∑the fixed cost in addition to the other direct costs
17∑∑that we discussed earlier; is that right?
18∑∑∑∑A.∑∑That would not be the total cost because
19∑∑there would still be elements that aren't captured
20∑∑as it relates to selling general administrative.
21∑∑For example, commissions, the actual research and
22∑∑development, the verification and validation,
23∑∑et cetera, that I would pull into the total cost of
24∑∑an instrument.



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11∑∑∑∑Q.∑∑I'm going to stop screen sharing this
12∑∑exhibit.
13∑∑∑∑∑∑Mr. Bair, are you aware that Intuitive has
14∑∑contracts with hospitals that are its customers?
15∑∑∑∑A.∑∑Yes, I am.
16∑∑∑∑Q.∑∑Can you describe to me how you're aware of
17∑∑that?
18∑∑∑∑A.∑∑I am -- during two functions ago, when I
19∑∑was the director of field service engineering for
20∑∑the western United States, I was charged with
21∑∑ensuring that my team met the service level
22∑∑agreements associated with our obligations under
23∑∑those contracts.
24∑∑∑∑Q.∑∑And how did you personally -- withdrawn.
25∑∑∑∑∑∑Did you ever personally become involved in


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∑1∑∑a -- withdrawn.
∑2∑∑∑∑∑∑In your role -- you described a role two
∑3∑∑functions ago.∑What was the exact title of that
∑4∑∑role?
∑5∑∑∑∑A.∑∑Director US field service west.
∑6∑∑∑∑Q.∑∑Is it your understanding that the contracts
∑7∑∑that Intuitive has with its hospital customers
∑8∑∑prohibits those customers from modifying or altering
∑9∑∑EndoWrists in any way?
10∑∑∑∑A.∑∑It is my understanding that the licensing
11∑∑agreement does not allow for alteration of the
12∑∑equipment, that is correct.
13∑∑∑∑Q.∑∑The sales contract that Intuitive signs
14∑∑with the hospitals, it prohibits those hospitals
15∑∑from repairing or servicing their EndoWrists as
16∑∑well; right?
17∑∑∑∑A.∑∑I could speak to the exact language. I
18∑∑don't recall the precise words that are used within
19∑∑the standard licensing agreement, but there are some
20∑∑repairs, basic repairs, or trouble shooting as
21∑∑explored in the instructions for use, or the IFU,
22∑∑sold with the robot that -- or with the product that
23∑∑customers can engage in as it relates to
24∑∑lubrication, sterilization, replacing components,
25∑∑for example, stapler inserts or clips, et cetera.


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∑1∑∑∑∑Q.∑∑It's your understanding that the sales
∑2∑∑contract prohibits hospital customers from using a
∑3∑∑third party to repair or service their EndoWrists;
∑4∑∑true?
∑5∑∑∑∑A.∑∑I am not certain that I recall the
∑6∑∑limitations associated with what a hospital may do
∑7∑∑or what a hospital may permit a third party to do,
∑8∑∑but I do recall that generally manipulation,
∑9∑∑adulteration, et cetera, of the equipment is not
10∑∑allowed under the licensing agreement.
11∑∑∑∑Q.∑∑And at a high level you certainly
12∑∑understood that Intuitive would react to hospitals
13∑∑that were using third parties to repair their
14∑∑EndoWrists; right?
15∑∑∑∑A.∑∑That is correct.
16∑∑∑∑Q.∑∑And you knew that Intuitive would
17∑∑ultimately stop serving the da Vinci surgical robots
18∑∑of those customers?
19∑∑∑∑A.∑∑If according to our practice as it related
20∑∑to engaging customers that were engaging in
21∑∑activities prohibited by the limited license
22∑∑agreement, yes, I was aware that one implication may
23∑∑be that we do not continue to service their
24∑∑equipment.
25∑∑∑∑∑∑MR. ERWIG:∑I'm going to screen share our


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∑1∑∑next exhibit.∑This will be from Folder 3. I
∑2∑∑believe this will be Exhibit 14.
∑3∑∑∑∑∑∑THE STENOGRAPHER:∑I believe so.
∑4∑∑∑∑∑∑(Marked for identification purposes,
∑5∑∑∑∑∑∑∑Exhibit 14.)
∑6∑∑∑∑∑∑MR. ERWIG:∑This will be 6'20'19 Bair to
∑7∑∑Cooley.
∑8∑∑∑∑∑∑BY MR. ERWIG:
∑9∑∑∑∑Q.∑∑Screen share this with you, Mr. Bair.∑Do
10∑∑you see this on the screen in front of you?
11∑∑∑∑A.∑∑Yes, I do.
12∑∑∑∑Q.∑∑I'll draw your attention to an e-mail a
13∑∑little bit lower on this thread.
14∑∑∑∑∑∑Do you recognize this e-mail from
15∑∑June 20th, 2019?
16∑∑∑∑A.∑∑Yes, it does ring a bell.
17∑∑∑∑Q.∑∑How do you recognize it?
18∑∑∑∑A.∑∑I authored it.
19∑∑∑∑Q.∑∑What do you mean by that?
20∑∑∑∑A.∑∑I wrote the e-mail from my e-mail address
21∑∑and sent it to a sales representative -- I believe
22∑∑Jack Groner is one of our key accounts directors --
23∑∑and Matt Pate with whom we were working with at
24∑∑USPI, or United Surgical Partners, I believe.
25∑∑∑∑Q.∑∑And down below there's an e-mail from Jack


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∑1∑∑Groner to Matt Pate, yourself, and AJ Inacay.
∑2∑∑∑∑∑∑Do you see that?
∑3∑∑∑∑A.∑∑Yes.
∑4∑∑∑∑Q.∑∑It mentions a third-party company that's
∑5∑∑placing nonapproved computer chips back into an
∑6∑∑instrument; is that right?
∑7∑∑∑∑A.∑∑That is correct.
∑8∑∑∑∑Q.∑∑Your response later up the thread is --
∑9∑∑well, withdrawn.
10∑∑∑∑∑∑Matt then sends a question to Jack Groner
11∑∑that asks "What section of the contract prohibits
12∑∑reprocessing?"
13∑∑∑∑∑∑Do you see that?
14∑∑∑∑A.∑∑Yes.
15∑∑∑∑Q.∑∑Then you reply, "Hi, Jack/Matt.∑It's
16∑∑traditionally in the second sentence of Section 3.4
17∑∑of the sales license and service agreement."
18∑∑∑∑∑∑Do you see that?
19∑∑∑∑A.∑∑Yes.
20∑∑∑∑Q.∑∑And you specifically cite something that
21∑∑you refer to as standard language in a section in
22∑∑its entirety.∑Do you see that?
23∑∑∑∑A.∑∑Yes.
24∑∑∑∑Q.∑∑That cited language is "Customer will not
25∑∑nor will customer permit any third party to modify,


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∑1∑∑disassemble, reverse-engineer, alter, or misuse the
∑2∑∑system or instruments and accessories."
∑3∑∑∑∑∑∑Do you see that?
∑4∑∑∑∑A.∑∑That is correct.
∑5∑∑∑∑Q.∑∑Is it your understanding that that's
∑6∑∑standard language in each sales contract that
∑7∑∑Intuitive has with its hospital customers?
∑8∑∑∑∑A.∑∑That is my understanding.
∑9∑∑∑∑Q.∑∑And it's your understanding that the
10∑∑standard -- withdrawn.
11∑∑∑∑∑∑It's your understanding that the sales
12∑∑license and service agreement is meant to stop the
13∑∑hospitals from engaging third parties to repair
14∑∑EndoWrists; right?
15∑∑∑∑∑∑MS. LENT:∑Object to the form.
16∑∑∑∑∑∑THE WITNESS:∑One implication of the
17∑∑limited license would include, as stated here, third
18∑∑parties engaging in activities that would modify,
19∑∑disassemble, reverse-engineer, alter, or misuse the
20∑∑system or instruments and accessories.
21∑∑∑∑∑∑BY MR. ERWIG:
22∑∑∑∑Q.∑∑And it's your understanding that, in the
23∑∑manner in which those terms are written into the
24∑∑contract, that hospitals are not permitted to
25∑∑utilize third parties to perform repairs or services


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∑1∑∑on their EndoWrists; right?
∑2∑∑∑∑A.∑∑Could you clarify what you mean, "service"?
∑3∑∑As I mentioned, there are user serviceable
∑4∑∑components, and reprocessing and sterilization --
∑5∑∑disinfection, cleaning, reprocessing, sterilization,
∑6∑∑et cetera, could all be considered permissible
∑7∑∑services under the licensing as long as they do not
∑8∑∑modify, disassemble, reverse-engineer, alter, or
∑9∑∑misuse.
10∑∑∑∑Q.∑∑Well, let's talk about disassemble.∑If a
11∑∑third party inserts a chip into the EndoWrist to
12∑∑reset the use counter, that would constitute a
13∑∑violation of Section 3.4; is that right?
14∑∑∑∑A.∑∑That is correct.
15∑∑∑∑Q.∑∑And the purpose of the sales license and
16∑∑service agreement is to stop hospitals from using
17∑∑third parties to performance those types of
18∑∑services; right?
19∑∑∑∑∑∑MS. LENT:∑Object to the form.
20∑∑∑∑∑∑THE WITNESS:∑We do not deem what you
21∑∑stated to be a service, as I stipulated in my
22∑∑previous response.
23∑∑∑∑∑∑BY MR. ERWIG:
24∑∑∑∑Q.∑∑Well, it's your understanding that the
25∑∑sales license and service agreement is designed to


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∑1∑∑prevent that activity; right?
∑2∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑3∑∑∑∑∑∑THE WITNESS:∑Among other things, it is
∑4∑∑intended to prohibit modifying an FDA-cleared device
∑5∑∑in a form or fashion that would impact its safety
∑6∑∑and impact its form and function.
∑7∑∑∑∑∑∑BY MR. ERWIG:
∑8∑∑∑∑Q.∑∑Well, sir, those words about safety and
∑9∑∑form and function, I understand that you're
10∑∑inserting those there, but if we just look at the
11∑∑language of the Section 3.4, it says, "Customer will
12∑∑not, nor will customer permit any third party to
13∑∑modify, disassemble, reverse-engineer, alter, or
14∑∑misuse the system or instruments and accessories."
15∑∑∑∑∑∑That's what the language says; right?
16∑∑∑∑A.∑∑That is correct.
17∑∑∑∑Q.∑∑So any sort of alteration would be
18∑∑prohibited under Section 3.4; right?
19∑∑∑∑∑∑MS. LENT:∑Objection.∑Asking for a legal
20∑∑conclusion.
21∑∑∑∑∑∑THE WITNESS:∑Physical alteration, I think,
22∑∑against the initial or the design of the medical
23∑∑device, yes, I agree with that.∑If one deems to be
24∑∑serving -- so, for example, lubrication as
25∑∑alteration -- then that certainly is not part of the


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∑1∑∑scope.
∑2∑∑∑∑∑∑BY MR. ERWIG:
∑3∑∑∑∑Q.∑∑I'm going to stop screen sharing this
∑4∑∑exhibit.
∑5∑∑∑∑∑∑Now, sir, it's your understanding that,
∑6∑∑when hospitals have utilized third parties, that
∑7∑∑Intuitive in many instances has terminated the sales
∑8∑∑license and service agreement; right?
∑9∑∑∑∑∑∑MS. LENT:∑Object to the form.
10∑∑∑∑∑∑THE WITNESS:∑My understanding is, when
11∑∑customers have used non-FDA approved devices on or
12∑∑in conjunction with the da Vinci system that we are
13∑∑aware of, that we have often detected that and have
14∑∑alerted customers and educated them as it relates to
15∑∑the safety of -- associated with such actions.
16∑∑∑∑∑∑BY MR. ERWIG:
17∑∑∑∑Q.∑∑We'll get to the safety, sir, but right now
18∑∑I just wanted to get a sense of the response that
19∑∑Intuitive has to those situations.∑And one of the
20∑∑responses that Intuitive has when hospitals utilize
21∑∑EndoWrists that have been altered, modified, or
22∑∑repaired by a third party is Intuitive will
23∑∑terminate the sales license and service agreement.
24∑∑∑∑A.∑∑In some cases that may be the ultimate
25∑∑outcome, but in other cases that is not accurate.


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∑1∑∑∑∑∑∑MR. ERWIG:∑I'm going to screen share our
∑2∑∑next exhibit.∑This will be Plaintiff's Exhibit 15.
∑3∑∑∑∑∑∑(Marked for identification purposes,
∑4∑∑∑∑∑∑∑Exhibit 15.)
∑5∑∑∑∑∑∑MR. ERWIG:∑This will be 7'19'19 Bair to
∑6∑∑others.
∑7∑∑∑∑∑∑BY MR. ERWIG:
∑8∑∑∑∑Q.∑∑Do you see this on the screen in front of
∑9∑∑you?
10∑∑∑∑A.∑∑Yes, I do.
11∑∑∑∑Q.∑∑I'm going to scroll down to the first
12∑∑e-mail.∑Do you see this first e-mail?
13∑∑∑∑A.∑∑One moment, please.
14∑∑∑∑∑∑Yes, I do recall.
15∑∑∑∑Q.∑∑How do you recognize this?
16∑∑∑∑A.∑∑I authored it.
17∑∑∑∑Q.∑∑Now, in the section you write -- withdrawn.
18∑∑∑∑∑∑In this e-mail -- withdrawn.
19∑∑∑∑∑∑Is this an e-mail you sent to Albert Vidal
20∑∑and others at Intuitive Surgical on July 19th, 2019?
21∑∑∑∑A.∑∑Yes.
22∑∑∑∑Q.∑∑In this e-mail you write, "Gents, we just
23∑∑terminated our first SSA today (Conway Regional) for
24∑∑material breach of the limited use licensing
25∑∑provisions."


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∑1∑∑∑∑∑∑Do you see that?
∑2∑∑∑∑A.∑∑Yes.
∑3∑∑∑∑Q.∑∑Your next sentence says, "After attempting
∑4∑∑to get them to stop reprogramming instruments over
∑5∑∑the course of about nine months, we canceled their
∑6∑∑service contract, and all I&A orders from them are
∑7∑∑blocked going forward."
∑8∑∑∑∑∑∑Do you see that?
∑9∑∑∑∑A.∑∑That is correct.
10∑∑∑∑Q.∑∑What are I&A orders?
11∑∑∑∑A.∑∑Instrument and accessory orders from
12∑∑Intuitive.
13∑∑∑∑Q.∑∑So that would include da Vinci surgical
14∑∑robots; is that right?
15∑∑∑∑A.∑∑It would not include new robots.
16∑∑∑∑Q.∑∑What does I&A orders include?
17∑∑∑∑A.∑∑EndoWrist instruments and accessories sold
18∑∑with the system.∑For example, that would include
19∑∑cannula seals, drapes, vision or endoscopic-type
20∑∑equipment, cables.∑A whole litany of accessories
21∑∑that are part of our product catalog.
22∑∑∑∑Q.∑∑Your next sentence says, "We will decline
23∑∑T&M POs as well."∑What does T&M mean?
24∑∑∑∑A.∑∑Time and material POs which indicated, if a
25∑∑customer is not covered under a service and support


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∑1∑∑contract, then they engage with us on a time and
∑2∑∑materials basis, which means they request a repair,
∑3∑∑we quote the repair, and then they provide a P&O --
∑4∑∑a PO -- excuse me -- to authorize us to conduct the
∑5∑∑repair.
∑6∑∑∑∑Q.∑∑So the result of terminating the SSA with
∑7∑∑Conway Regional was that Conway Regional can no
∑8∑∑longer purchase instruments or accessories from
∑9∑∑Intuitive; right?
10∑∑∑∑A.∑∑That is correct.
11∑∑∑∑Q.∑∑And Conway Regional could no longer obtain
12∑∑any service from Intuitive for its da Vinci robots;
13∑∑is that right?
14∑∑∑∑A.∑∑That is correct.
15∑∑∑∑Q.∑∑I'm going to stop screen sharing -- well,
16∑∑withdrawn.
17∑∑∑∑∑∑And the reason that you terminated the
18∑∑agreement with Conway Regional was because Conway
19∑∑Regional was using a third party to reprogram
20∑∑instruments over the course of about nine months;
21∑∑right?
22∑∑∑∑A.∑∑Yes.∑Conway Regional was using
23∑∑non-FDA-approved devices on the da Vinci system and,
24∑∑following our engagement with them over a period of
25∑∑time, ultimately, terminated the licensing


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∑1∑∑agreement.
∑2∑∑∑∑Q.∑∑Well, sir, the -- Conway Regional was using
∑3∑∑EndoWrists that had been repaired by a third party;
∑4∑∑right?
∑5∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑6∑∑∑∑∑∑THE WITNESS:∑We do not consider the
∑7∑∑activities that were undertaken to be repair
∑8∑∑activities.
∑9∑∑∑∑∑∑BY MR. ERWIG:
10∑∑∑∑Q.∑∑Well, sir, have you personally done any
11∑∑sort of studies on the efficacy of reprogrammed
12∑∑instruments?
13∑∑∑∑A.∑∑No, I have not.
14∑∑∑∑Q.∑∑Have you instructed any members of your
15∑∑team to do any studies on the efficacy of
16∑∑reprogrammed instruments?
17∑∑∑∑A.∑∑Not that I recall.
18∑∑∑∑Q.∑∑Before terminating the sales contract with
19∑∑Conway Regional, did you instruct anyone at
20∑∑Intuitive to investigate whether the instruments
21∑∑being used by Conway were safe and reliable?
22∑∑∑∑A.∑∑We had explored whether appropriate
23∑∑regulatory clearance had been obtained.∑For
24∑∑example, I do believe that we requested evidence of
25∑∑a 510(k) approval from the FDA in advance of this,


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∑1∑∑or the customer had from whomever they were engaging
∑2∑∑with, and in turn received the regulatory clearance
∑3∑∑to sell and market Intuitive's EndoWrist devices,
∑4∑∑which were validated and approved with a life limit
∑5∑∑of ten.
∑6∑∑∑∑Q.∑∑Well, sir, my question is a little bit more
∑7∑∑specific, which is did anyone from Intuitive ever
∑8∑∑take a reprogrammed instrument and do some testing
∑9∑∑to see how it compared to a new EndoWrist from
10∑∑Intuitive?
11∑∑∑∑A.∑∑We, in fact, had a complaint associated
12∑∑with a reprogrammed instrument and would have
13∑∑conducted failure analysis on such an instrument.
14∑∑∑∑∑∑Is that within the scope of your question?
15∑∑∑∑Q.∑∑Well, my question is the instruments
16∑∑specifically used by Conway Regional.∑Did anyone
17∑∑from Intuitive look at the reprogrammed instruments
18∑∑and compare them to brand-new EndoWrists sold by
19∑∑Intuitive?
20∑∑∑∑A.∑∑I believe that, yes, we had done comparison
21∑∑of example instruments that we had received through
22∑∑the return material authorization program, as
23∑∑previously discussed.
24∑∑∑∑Q.∑∑Describe to me that comparison.
25∑∑∑∑A.∑∑It was an analysis of the physical


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∑1∑∑characteristics of the instrument.∑And I don't have
∑2∑∑a deep understanding of that other than modification
∑3∑∑or adulteration had been detected and -- which
∑4∑∑rendered the instrument different than the
∑5∑∑instrument that had been cleared by the FDA.
∑6∑∑∑∑Q.∑∑You mentioned that modification and
∑7∑∑adulteration had been detected.∑Was there --
∑8∑∑withdrawn.
∑9∑∑∑∑∑∑You mentioned modification and
10∑∑adulteration.∑Was there a safety comparison between
11∑∑a brand-new instrument and an instrument that had a
12∑∑modification or adulteration?
13∑∑∑∑∑∑MS. LENT:∑Object to the form.
14∑∑∑∑∑∑THE WITNESS:∑I recall that, as part of our
15∑∑validation and life limit, we extended the use of
16∑∑instruments to determine at which point they failed.
17∑∑I don't recall those instruments being -- that were
18∑∑tested specifically being instruments that were
19∑∑modified by an unauthorized third party.
20∑∑∑∑∑∑BY MR. ERWIG:
21∑∑∑∑Q.∑∑Well, did you, for example -- well,
22∑∑withdrawn.
23∑∑∑∑∑∑Are you aware of anyone from Intuitive
24∑∑taking a reprogrammed instrument and testing that
25∑∑instrument to failure?


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∑1∑∑∑∑A.∑∑I do not recall an instance.
∑2∑∑∑∑Q.∑∑Are you aware of any instances where
∑3∑∑Intuitive took -- withdrawn.
∑4∑∑∑∑∑∑Are you aware of any instances where
∑5∑∑someone at Intuitive took a reprogrammed instrument
∑6∑∑and tested how it performed during a simulated
∑7∑∑surgery, for example?
∑8∑∑∑∑A.∑∑I'm aware of, if I recall correctly, some
∑9∑∑testing by customers that we were aware of for
10∑∑reprogrammed or modified instruments.∑I'm not aware
11∑∑of internal testing that we'd done with instruments
12∑∑other than our own that had been run past the ten
13∑∑life limit count, at which they failed.
14∑∑∑∑Q.∑∑So in terms of the relative performance of
15∑∑reprogrammed instruments and EndoWrists, you're not
16∑∑aware of any studies that have been done by
17∑∑Intuitive on the efficacy of reprogrammed
18∑∑instruments relative to new instruments sold by
19∑∑Intuitive; is that right?
20∑∑∑∑A.∑∑I am aware in a limited fashion of the
21∑∑results of our own internal testing as it relates to
22∑∑using instruments beyond their validated lives,
23∑∑which served as a relative proxy for us as it
24∑∑related to modification and extension of the life
25∑∑limits of third-party reprogrammed instruments.


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∑1∑∑∑∑Q.∑∑Well, let's talk about the using
∑2∑∑instruments beyond their validated lives.∑There's
∑3∑∑certain things that can happen to instruments over
∑4∑∑time; right?
∑5∑∑∑∑A.∑∑Yes.
∑6∑∑∑∑Q.∑∑One of the things that could happen is
∑7∑∑scissors, they can become dull and not able to cut
∑8∑∑very well anymore; right?
∑9∑∑∑∑A.∑∑That is accurate.
10∑∑∑∑Q.∑∑And if that happened at 11 uses, Intuitive
11∑∑would consider that a failure of that instrument;
12∑∑right?
13∑∑∑∑∑∑MS. LENT:∑Object to the form.
14∑∑∑∑∑∑THE WITNESS:∑I am not personally familiar
15∑∑with all of the various failure modes and measures.
16∑∑For example, there are grades of scissor blade
17∑∑sharpness and dullness, and I am unfamiliar with
18∑∑what constitutes the gradient between a sharp blade
19∑∑and a dull blade as such, what we would deem that
20∑∑instrument to be failed.
21∑∑∑∑∑∑BY MR. ERWIG:
22∑∑∑∑Q.∑∑Well, you understand that in some --
23∑∑withdrawn.
24∑∑∑∑∑∑You understand that at any point, when an
25∑∑instrument is considered not suitable for a given


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∑1∑∑surgery, Intuitive considers that a failure; right?
∑2∑∑∑∑A.∑∑If the instrument is not performing as
∑3∑∑designed in an intuitive and clinically safe
∑4∑∑fashion, then yes, we would deem that to be a
∑5∑∑failure.
∑6∑∑∑∑Q.∑∑Once an instrument is deemed to have
∑7∑∑failed, then there's no effort made to repair that
∑8∑∑instrument so it can continue operating by
∑9∑∑Intuitive; right?
10∑∑∑∑∑∑MS. LENT:∑Object to the form.
11∑∑∑∑∑∑THE WITNESS:∑I am not aware of efforts by
12∑∑Intuitive to repair failed instruments.
13∑∑∑∑∑∑BY MR. ERWIG:
14∑∑∑∑Q.∑∑So when an instrument fails, Intuitive
15∑∑knows that at that point there's some sort of repair
16∑∑that's needed for the instrument; right?
17∑∑∑∑∑∑MS. LENT:∑Object to the form.
18∑∑∑∑∑∑THE WITNESS:∑Could you specify your
19∑∑definition of "repair"?
20∑∑∑∑∑∑BY MR. ERWIG:
21∑∑∑∑Q.∑∑Well, sir, what I'm getting at is when
22∑∑Intuitive -- withdrawn.
23∑∑∑∑∑∑You mentioned extended-life testing earlier
24∑∑and that in extended-life testing Intuitive tested
25∑∑some instruments beyond their original use limit;


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∑1∑∑right?
∑2∑∑∑∑A.∑∑That is correct.
∑3∑∑∑∑Q.∑∑Now, when an instrument fails in that
∑4∑∑process, Intuitive records that failure and then
∑5∑∑disposes of the instrument; right?
∑6∑∑∑∑A.∑∑I'm not certain of the final disposition of
∑7∑∑the instrument as to whether we retain and store or
∑8∑∑dispose of instruments that are used in simulated
∑9∑∑use and validation testing.∑I don't know that I can
10∑∑answer that.
11∑∑∑∑Q.∑∑When Intuitive tests an instrument and that
12∑∑instrument fails, Intuitive does not make any
13∑∑efforts to repair or refurbish that instrument to
14∑∑continue its testing; right?
15∑∑∑∑A.∑∑That is correct.
16∑∑∑∑Q.∑∑And so Intuitive does not have any sort of
17∑∑testing or data about whether instruments can last
18∑∑even beyond failure with the appropriate repairs or
19∑∑refurbishment; right?
20∑∑∑∑∑∑MS. LENT:∑Object to the form.
21∑∑∑∑∑∑THE WITNESS:∑What data we may have as it
22∑∑relates to validation and verification for extended
23∑∑lives is outside of the scope of my expertise.
24∑∑∑∑∑∑MR. ERWIG:∑I'm going to stop screen
25∑∑sharing this exhibit.∑Let's go off the record, and


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∑1∑∑we'll take a break.
∑2∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 3:18 p.m.,
∑3∑∑and we are now off the record.
∑4∑∑∑∑∑∑(Recess taken from 3:18 until 3:34.)
∑5∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 3:34 p.m.,
∑6∑∑and we are back on the record.
∑7∑∑∑∑∑∑MR. ERWIG:∑Our next exhibit is going to be
∑8∑∑Plaintiff's Exhibit 16.∑This will be 10'11'19
∑9∑∑Carlson to Bair.
10∑∑∑∑∑∑(Marked for identification purposes,
11∑∑∑∑∑∑∑Exhibit 16.)
12∑∑∑∑∑∑BY MR. ERWIG:
13∑∑∑∑Q.∑∑Screen share.
14∑∑∑∑∑∑Mr. Bair, do you see this on the screen in
15∑∑front of you?
16∑∑∑∑A.∑∑Yes, I do.
17∑∑∑∑Q.∑∑I want to start on this e-mail from Eric
18∑∑Lashinsky to Grant Peterson, Andrew Coster, copying
19∑∑yourself and others from Intuitive.
20∑∑∑∑∑∑Do you see that?
21∑∑∑∑A.∑∑Yes, I do.
22∑∑∑∑Q.∑∑And Mr. Lashinsky writes, "Grant and
23∑∑Andrew, this has occurred at other facilities and it
24∑∑is not advised.∑I'm copying my director, Ron Bair,
25∑∑for his input and any documentation that may be


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∑1∑∑available for us to present to the customer."
∑2∑∑∑∑∑∑Do you see that?
∑3∑∑∑∑A.∑∑Yes.
∑4∑∑∑∑Q.∑∑And earlier down in this e-mail chain Grant
∑5∑∑Peterson --
∑6∑∑∑∑∑∑THE STENOGRAPHER:∑Hold on.∑It looks like
∑7∑∑Karen was trying to say something and it wasn't
∑8∑∑coming through.∑Do you want to go off the record?
∑9∑∑∑∑∑∑MR. ERWIG:∑Let's go off the record.
10∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 3:36 p.m.,
11∑∑and we are off the record.
12∑∑∑∑∑∑(Recess taken from 3:36 to 3:40.)
13∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 3:40 p.m.,
14∑∑and we are back on the record.
15∑∑∑∑∑∑BY MR. ERWIG:
16∑∑∑∑Q.∑∑Mr. Bair, I'll resume screen sharing.
17∑∑There's an e-mail from Grant Peterson to Andrew
18∑∑Coster down later in the e-mail thread.
19∑∑∑∑∑∑Do you see that?
20∑∑∑∑A.∑∑Yes.
21∑∑∑∑Q.∑∑In that e-mail thread, Mr. Peterson writes,
22∑∑"Apparently, the account is looking to use a third
23∑∑party to repair their system."
24∑∑∑∑∑∑Do you see that?
25∑∑∑∑A.∑∑Yes.


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∑1∑∑∑∑Q.∑∑What do you understand is meant by that?
∑2∑∑∑∑A.∑∑I understand that to mean a -- an entity
∑3∑∑that is not authorized to modify or repair the
∑4∑∑system and that the customer is looking to
∑5∑∑potentially engage that party.
∑6∑∑∑∑Q.∑∑Higher up you then write on October 11th,
∑7∑∑2019, "Eric, thanks for looping me in.∑Assuming
∑8∑∑this site is in Mesa."
∑9∑∑∑∑∑∑Do you see that?
10∑∑∑∑A.∑∑Yes.
11∑∑∑∑Q.∑∑And I want to talk with you about the
12∑∑paragraph that starts with "high level."∑Do you see
13∑∑that?
14∑∑∑∑A.∑∑Yes.
15∑∑∑∑Q.∑∑And you write, "High level - if they" --
16∑∑hospital -- "permits a third party to alter/tamper
17∑∑with the system, that's in violation of the limited
18∑∑license and we will decline to service it.∑Systems
19∑∑cannot be properly serviced without a proprietary
20∑∑software.∑So, ultimately, they will encounter an
21∑∑issue where they will need our assistance."
22∑∑∑∑∑∑Do you see that?
23∑∑∑∑A.∑∑Yes.
24∑∑∑∑Q.∑∑Is that generally consistent with the
25∑∑reaction that Intuitive would have to hospitals that


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∑1∑∑used third parties to repair or service their
∑2∑∑instruments?
∑3∑∑∑∑A.∑∑That is consistent to our response as it
∑4∑∑relates to violations of the limited licensing
∑5∑∑agreement.
∑6∑∑∑∑Q.∑∑When you say limited licensing agreement,
∑7∑∑that's the contract that Intuitive and the hospitals
∑8∑∑sign when the hospital purchases a da Vinci robotic
∑9∑∑surgery system; is that right?
10∑∑∑∑A.∑∑That is correct.
11∑∑∑∑Q.∑∑Now, lower you write, "If they also begin
12∑∑using reprogrammed instrumentation (we often see
13∑∑those go hand in hand), then we will ultimately
14∑∑terminate the license and no longer sell them and
15∑∑I&A or service their system."
16∑∑∑∑∑∑Do you see that?
17∑∑∑∑A.∑∑I do.
18∑∑∑∑Q.∑∑Is it your understanding in your role at
19∑∑Intuitive that, if a hospital used reprogrammed
20∑∑instrumentation, that Intuitive would terminate that
21∑∑hospital's sales contract and no longer sell them
22∑∑materials or service their system?
23∑∑∑∑A.∑∑That is not fully accurate.
24∑∑∑∑Q.∑∑What is inaccurate about that statement?
25∑∑∑∑A.∑∑That not each of those or every one of


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∑1∑∑those engagements does not result in termination of
∑2∑∑the limited licensing agreement.
∑3∑∑∑∑Q.∑∑Well, I understand there's some actions
∑4∑∑that Intuitive takes first, like sending a letter
∑5∑∑for example; right?
∑6∑∑∑∑A.∑∑That is correct.∑And engaging in
∑7∑∑conversation.
∑8∑∑∑∑Q.∑∑We'll talk about that later on.∑But the
∑9∑∑thing that you write here is that "we will
10∑∑ultimately terminate the license and no longer sell
11∑∑them or service their system."∑Right?
12∑∑∑∑A.∑∑It would have been more accurate for me to
13∑∑say then we may ultimately terminate the license. I
14∑∑think for the sake of brevity or another reason, I
15∑∑said we will ultimately.∑And some of these
16∑∑engagements do, ultimately, result in license
17∑∑termination but not all of them do.
18∑∑∑∑Q.∑∑Well, when you were writing this e-mail,
19∑∑you had the choice of writing "we will ultimately
20∑∑terminate" or "we may ultimately terminate"; right?
21∑∑∑∑A.∑∑That is correct.
22∑∑∑∑Q.∑∑The word that you chose here was "we will
23∑∑ultimately terminate the license and no longer sell
24∑∑them an I&A."∑Right?
25∑∑∑∑A.∑∑That is correct.


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∑1∑∑∑∑Q.∑∑In fact, the e-mail that we looked at
∑2∑∑earlier with Conway, you did, in fact, terminate the
∑3∑∑contract with Conway and no longer sold Conway
∑4∑∑instruments and accessories; right?
∑5∑∑∑∑A.∑∑Following a nine-month period of
∑6∑∑engagement, that is correct.
∑7∑∑∑∑Q.∑∑And you also no longer serviced Conway's
∑8∑∑da Vinci robot systems; right?
∑9∑∑∑∑A.∑∑That is correct.
10∑∑∑∑Q.∑∑And as per this e-mail, if a system isn't
11∑∑serviced by Intuitive without Intuitive's
12∑∑proprietary software, customer ultimately encounters
13∑∑an issue that renders that robot unusable; right?
14∑∑∑∑A.∑∑They certainly may.
15∑∑∑∑Q.∑∑Without Intuitive there to provide service,
16∑∑then the customer would no longer be able to use
17∑∑that robot for surgeries; right?
18∑∑∑∑A.∑∑It depends on the failure mode that's
19∑∑experienced by the customer, if the customer does
20∑∑experience a failure mode.
21∑∑∑∑Q.∑∑I'm going to stop screen sharing this
22∑∑exhibit.
23∑∑∑∑∑∑Are you aware, Mr. Bair, that there were
24∑∑letters sent to hospitals to enforce the contractual
25∑∑terms of the SLSA, the sales license and service


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∑1∑∑agreement?
∑2∑∑∑∑A.∑∑Yes, I am aware.
∑3∑∑∑∑∑∑MR. ERWIG:∑I'm going to screen share our
∑4∑∑next exhibit.∑This will be Plaintiff's Exhibit 17.
∑5∑∑∑∑∑∑(Marked for identification purposes,
∑6∑∑∑∑∑∑∑Exhibit 17.)
∑7∑∑∑∑∑∑MR. ERWIG:∑This will be 1'30'20 Bair to
∑8∑∑Lowe.∑Do you see this on the screen in front of
∑9∑∑you?
10∑∑∑∑∑∑THE WITNESS:∑Yes, I do.
11∑∑∑∑∑∑BY MR. ERWIG:
12∑∑∑∑Q.∑∑Do you recognize this?
13∑∑∑∑A.∑∑Yes, I do.
14∑∑∑∑Q.∑∑On the first bullet point -- withdrawn.
15∑∑∑∑∑∑How is it that you recognize it?
16∑∑∑∑A.∑∑I authored and sent the e-mail.
17∑∑∑∑Q.∑∑This is an e-mail that you sent on
18∑∑January 30th, 2020, to Josh Lowe, Lucas Docter, and
19∑∑Matt Davis at Intuitive Surgical?
20∑∑∑∑A.∑∑That is correct.
21∑∑∑∑Q.∑∑In bullet point 1 you write, "Are they
22∑∑considering" -- "they" mean Cairo -- "third-party
23∑∑service or third-party instruments or both?"
24∑∑∑∑∑∑Do you see that?
25∑∑∑∑A.∑∑I believe "they" referred to the customer


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∑1∑∑as an entity versus an individual.∑But, yes, I do
∑2∑∑see that.
∑3∑∑∑∑Q.∑∑Near the end of that paragraph you write,
∑4∑∑"There's a letter each for I&A and service, and I
∑5∑∑think they explain our position fairly well."
∑6∑∑∑∑∑∑Do you see that?
∑7∑∑∑∑A.∑∑Yes.
∑8∑∑∑∑Q.∑∑Then there's a couple of attachments to
∑9∑∑this, the Ardent Health Patient Health Implications
10∑∑Letter and the -- Part 2, and the Ardent Health
11∑∑Patient Safety Implications Letter Part 1.
12∑∑∑∑∑∑Do you see that?
13∑∑∑∑A.∑∑I do.
14∑∑∑∑∑∑MR. ERWIG:∑I'm going to stop screen
15∑∑sharing this exhibit.
16∑∑∑∑∑∑We'll screen share our next exhibit, which
17∑∑is one of the letters that's attached to this
18∑∑document.∑This will be 1'30'20 Attach to Bair to
19∑∑Lowe.∑This will be Plaintiff's Exhibit 18.
20∑∑∑∑∑∑(Marked for identification purposes,
21∑∑∑∑∑∑∑Exhibit 18.)
22∑∑∑∑∑∑BY MR. ERWIG:
23∑∑∑∑Q.∑∑Do you see this on the screen in front of
24∑∑you, Mr. Bair?
25∑∑∑∑A.∑∑Yes, I do.


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∑1∑∑∑∑Q.∑∑Do you recognize this document?
∑2∑∑∑∑A.∑∑Yes, I do.
∑3∑∑∑∑Q.∑∑How do you recognize it?
∑4∑∑∑∑A.∑∑I believe it was prepared in advance of a
∑5∑∑meeting with -- I believe Cairo and potentially one
∑6∑∑or two other representatives within Ardent.
∑7∑∑∑∑Q.∑∑You see that the letter starts with "We
∑8∑∑understand that Ardent Health Services is using or
∑9∑∑considering using refurbished EndoWrist instruments
10∑∑obtained from and/or modified by a third party for
11∑∑use beyond the programmed number of uses."
12∑∑∑∑∑∑Do you see that?
13∑∑∑∑A.∑∑Yes.
14∑∑∑∑Q.∑∑What is the purpose of sending these
15∑∑letters to hospitals?
16∑∑∑∑A.∑∑The primary purpose is to educate on the
17∑∑potential safety implications of using nonapproved
18∑∑devices in conjunction with their da Vinci products,
19∑∑and secondarily to inform or remind them of their
20∑∑obligations under the sales licensing and service
21∑∑agreement as established with the customer when they
22∑∑purchased the da Vinci system.
23∑∑∑∑Q.∑∑Now, Mr. Bair, it's your understanding that
24∑∑the letters sent to hospitals are designed to have
25∑∑the hospital stop engaging with third-party -- well,


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∑1∑∑withdrawn.
∑2∑∑∑∑∑∑Mr. Bair, it's your understanding that the
∑3∑∑letters sent to hospitals are designed to stop the
∑4∑∑hospitals from engaging with third parties for
∑5∑∑repairs of their EndoWrists; right?
∑6∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑7∑∑∑∑∑∑THE WITNESS:∑That may be one of the
∑8∑∑reasons that the letter is crafted, but I believe I
∑9∑∑stated previously the intention of the letter to
10∑∑convey the potential patient safety implications of
11∑∑engaging in such activities and reminding them of
12∑∑their agreement with Intuitive on the sale of that
13∑∑robot.
14∑∑∑∑∑∑BY MR. ERWIG:
15∑∑∑∑Q.∑∑I want to talk a little bit about the
16∑∑section of this letter labeled "Your contract with
17∑∑Intuitive."
18∑∑∑∑∑∑Do you see that?
19∑∑∑∑A.∑∑Yes.
20∑∑∑∑Q.∑∑Now, one of these sentences reads, "Using
21∑∑instruments beyond the programmed number of uses is
22∑∑a material breach of the agreement."
23∑∑∑∑∑∑Do you see that?
24∑∑∑∑A.∑∑Yes, I do.
25∑∑∑∑Q.∑∑Is it your understanding that any customer


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∑1∑∑who used an EndoWrist beyond the programmed number
∑2∑∑of uses would be in breach of the contract that it
∑3∑∑signed with Intuitive?
∑4∑∑∑∑∑∑MS. LENT:∑Objection.∑Calls for a legal
∑5∑∑conclusion.
∑6∑∑∑∑∑∑THE WITNESS:∑My understanding is, if use
∑7∑∑beyond the programmed number of uses is the result
∑8∑∑of modification or another violation of the limited
∑9∑∑licensing agreement, then yes.
10∑∑∑∑∑∑BY MR. ERWIG:
11∑∑∑∑Q.∑∑Well, it's certainly not possible to use
12∑∑instruments beyond the programmed number of uses
13∑∑without some sort of modification or alteration;
14∑∑right?
15∑∑∑∑A.∑∑I am not aware of -- of how that may be
16∑∑performed.
17∑∑∑∑Q.∑∑Now, is it your understanding that a
18∑∑hospital that utilizes a third-party repair service
19∑∑for an EndoWrist that breaks before its prescribed
20∑∑number of uses is up is also in violation of the
21∑∑contract with Intuitive?
22∑∑∑∑A.∑∑I believe --
23∑∑∑∑∑∑MS. LENT:∑Objection.∑Calls for a legal
24∑∑conclusion.
25∑∑∑∑∑∑THE WITNESS:∑My layman's understanding is


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∑1∑∑that depends on if the activities engaged in are in
∑2∑∑violation of the language within the limited
∑3∑∑licensing agreement.∑So, for example, we previously
∑4∑∑discussed servicing that can be performed by
∑5∑∑customers that is permissible and allowable, and
∑6∑∑then there are certain elements of what some would
∑7∑∑deem to be repair or refurbishment that appear to be
∑8∑∑in violation of the agreement.
∑9∑∑∑∑∑∑BY MR. ERWIG:
10∑∑∑∑Q.∑∑The exact way the text is written, it says
11∑∑that "any other use is prohibited, whether before or
12∑∑after the instrument or accessory's license
13∑∑expiration, including repair, refurbishment, or
14∑∑reconditioning not approved by Intuitive."
15∑∑∑∑∑∑Do you see that?
16∑∑∑∑A.∑∑I do.
17∑∑∑∑Q.∑∑Now, this doesn't say after the
18∑∑instrument's -- withdrawn.
19∑∑∑∑∑∑This doesn't say "only after the instrument
20∑∑or accessory's license expiration"; right?
21∑∑∑∑A.∑∑That is correct.
22∑∑∑∑Q.∑∑It mentions that any repair, refurbishment,
23∑∑or reconditioning not approved by Intuitive before
24∑∑or after the instrument or accessory's use counter
25∑∑expires is prohibited by the sales agreement; right?


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∑1∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑2∑∑∑∑∑∑THE WITNESS:∑Allow me to read the
∑3∑∑preceding sentence again.∑I am familiar with use
∑4∑∑that is out of compliance with the limited license
∑5∑∑agreement -- for example, as we discussed,
∑6∑∑modification -- which -- whether the modification
∑7∑∑occurred before or after the instrument reached its
∑8∑∑number of useful lives, I think is inconsequential.
∑9∑∑∑∑∑∑BY MR. ERWIG:
10∑∑∑∑Q.∑∑Are you aware of an entity named Rebotix
11∑∑Repair?
12∑∑∑∑A.∑∑I am modestly aware of them, yes.
13∑∑∑∑Q.∑∑How are you modestly aware of them?
14∑∑∑∑A.∑∑I had heard several years ago that they
15∑∑were an entity potentially engaging in
16∑∑modification -- unauthorized modification of our
17∑∑products.∑And then, more recently, I became aware
18∑∑that I would be deposed as part of the legal
19∑∑proceedings that Rebotix has engaged in against
20∑∑Intuitive.
21∑∑∑∑Q.∑∑Is it your understanding that Intuitive
22∑∑approves Rebotix's services to hospitals?
23∑∑∑∑∑∑MS. LENT:∑Object to the form.
24∑∑∑∑∑∑THE WITNESS:∑Sorry.∑Can you rephrase
25∑∑that?


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∑1∑∑∑∑∑∑BY MR. ERWIG:
∑2∑∑∑∑Q.∑∑Well, sure.∑This section reads, "Any other
∑3∑∑use is prohibited, whether before or after the
∑4∑∑instrument or accessory's license expiration,
∑5∑∑including repair, refurbishment, or reconditioning
∑6∑∑not approved by Intuitive."
∑7∑∑∑∑∑∑My question is, is it your understanding
∑8∑∑that the activities that Rebotix engages in are not
∑9∑∑approved by Intuitive?
10∑∑∑∑A.∑∑It is my understanding that Rebotix has not
11∑∑engaged Intuitive to seek approval and validation in
12∑∑alignment with our third-party product policy and
13∑∑practices.
14∑∑∑∑Q.∑∑And Intuitive hasn't separately approved
15∑∑Rebotix's actions; right?
16∑∑∑∑A.∑∑Not that I am aware of.
17∑∑∑∑Q.∑∑So any sort of repair, refurbishment, or
18∑∑reconditioning performed by Rebotix, that would be a
19∑∑prohibited use as you read this sentence; right?
20∑∑∑∑A.∑∑As it relates to my understanding, any
21∑∑repair, refurbishment, et cetera that is in
22∑∑violation of the terminology of the agreement is
23∑∑what is prohibited.∑So, by extension, if Rebotix
24∑∑was engaging in those activities as it related to
25∑∑modifying the approved devices, then yes, I agree.


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∑1∑∑∑∑Q.∑∑Now, sir, you understand that -- withdrawn.
∑2∑∑∑∑∑∑When a customer has an EndoWrist whose uses
∑3∑∑have expired, you understand that Intuitive wants
∑4∑∑that customer to then purchase a new instrument from
∑5∑∑Intuitive; is that right?
∑6∑∑∑∑A.∑∑If the customer is, in fact, in need of
∑7∑∑instruments, then yes, the expectation would be that
∑8∑∑they would procure FDA-approved instrumentation or
∑9∑∑devices for use in conjunction with the da Vinci or
10∑∑on or through the da Vinci.
11∑∑∑∑Q.∑∑And let's just be very clear.∑The only
12∑∑place where you can buy -- where a customer can buy
13∑∑EndoWrist, that's from Intuitive Surgical or an
14∑∑Intuitive Surgical directly approved distributor;
15∑∑right?
16∑∑∑∑A.∑∑I do not believe that to be the case.
17∑∑∑∑Q.∑∑Where else can a customer obtain an
18∑∑EndoWrist?
19∑∑∑∑A.∑∑I have seen, for example, EndoWrist
20∑∑instruments for sale on eBay, as an example, or
21∑∑potentially other medical supply trade forums.
22∑∑∑∑Q.∑∑You understand that it's Intuitive's wish
23∑∑that a customer purchase a new EndoWrist instead of
24∑∑attempting to repair existing EndoWrists that have
25∑∑expired beyond their use counter limit; right?


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∑1∑∑∑∑A.∑∑We -- that would be correct.
∑2∑∑∑∑Q.∑∑Now I want to direct your attention to the
∑3∑∑last paragraph here, which -- and one of the
∑4∑∑sentences in this last paragraph starts with "Should
∑5∑∑Intuitive or its personnel determine, after having
∑6∑∑accepted a service call or a purchase order for a
∑7∑∑service call, such as after an Intuitive field
∑8∑∑service engineer arrives at your site for a service
∑9∑∑call, that the system has been used with instruments
10∑∑refurbished or modified by an unauthorized third
11∑∑party, Intuitive may not provide service for such a
12∑∑system."
13∑∑∑∑∑∑Do you see that?
14∑∑∑∑A.∑∑Yes, I do.
15∑∑∑∑Q.∑∑Is it your understanding that, ultimately,
16∑∑if customers continued using third-party repair
17∑∑services, that Intuitive will not provide service
18∑∑for a da Vinci system?
19∑∑∑∑A.∑∑In most cases, that is accurate.∑But it
20∑∑depends on exactly what activities have been engaged
21∑∑in by the third party as to whether it constitutes a
22∑∑violation of the licensing agreement or not.∑For
23∑∑example, we mentioned and discussed repairs -- basic
24∑∑repair, maintenance, troubleshooting, et cetera,
25∑∑that people can engage in through -- or in alignment


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∑1∑∑with the IFU, or instructions for use, for the
∑2∑∑equipment.
∑3∑∑∑∑Q.∑∑Well, certainly, if a third party adds uses
∑4∑∑to an EndoWrist, that would not be an approved use;
∑5∑∑right?
∑6∑∑∑∑A.∑∑Correct.∑We would deem that to be
∑7∑∑modifying the medical device beyond the scope of
∑8∑∑what was approved by the FDA and -- so that would
∑9∑∑not be authorized.
10∑∑∑∑Q.∑∑Is it your understanding that the FDA
11∑∑requires a certain number of uses for EndoWrist
12∑∑instruments?
13∑∑∑∑A.∑∑It is not my understanding --
14∑∑∑∑∑∑MS. LENT:∑Object to the form.
15∑∑∑∑∑∑BY MR. ERWIG:
16∑∑∑∑Q.∑∑I'm sorry.∑I didn't get your answer.
17∑∑∑∑A.∑∑I said that is not my understanding.
18∑∑∑∑Q.∑∑I'm going to take down this exhibit.
19∑∑∑∑∑∑Now, ultimately, when hospitals utilize
20∑∑third parties to reset the use counter on EndoWrist
21∑∑instruments, Intuitive will take a series of actions
22∑∑against that hospital; right?
23∑∑∑∑A.∑∑We would engage in activities with that
24∑∑hospital.∑That is correct.
25∑∑∑∑Q.∑∑Well, the first thing you'd do is you'd


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∑1∑∑have a conversation with the hospital; right?
∑2∑∑∑∑A.∑∑Generally that has historically been the
∑3∑∑approach.∑That is correct.
∑4∑∑∑∑Q.∑∑You might send the hospital a letter;
∑5∑∑right?
∑6∑∑∑∑A.∑∑That is correct.
∑7∑∑∑∑Q.∑∑But then, ultimately, if the hospital
∑8∑∑continues using a third party to add lives to the
∑9∑∑use counter, then you would terminate that
10∑∑hospital's sales agreement; right?
11∑∑∑∑A.∑∑If -- that is correct.∑If we engage in the
12∑∑prior activities as you mentioned which ultimately
13∑∑don't yield an alignment with the hospital, then we
14∑∑may ultimately terminate the licensing agreement.
15∑∑∑∑Q.∑∑When you say "yield an alignment with the
16∑∑hospital," you mean that the hospital stops using
17∑∑the third party and returns to purchasing EndoWrists
18∑∑from Intuitive; right?
19∑∑∑∑A.∑∑I mean that the hospital stops using
20∑∑equipment in conjunction with the da Vinci or on the
21∑∑da Vinci that is not authorized for use on the
22∑∑da Vinci.
23∑∑∑∑Q.∑∑And that the hospital stops engaging with a
24∑∑third party that repairs those EndoWrists; right?
25∑∑∑∑∑∑MS. LENT:∑Object to the form.


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∑1∑∑∑∑∑∑THE WITNESS:∑Could you rephrase that?
∑2∑∑Because we don't prohibit our hospitals from having
∑3∑∑certain relationships or engaging in certain
∑4∑∑economic or commercial activity unless it's in
∑5∑∑violation of the licensing agreement.
∑6∑∑∑∑∑∑BY MR. ERWIG:
∑7∑∑∑∑Q.∑∑Well, sir, the sales agreement --
∑8∑∑withdrawn.
∑9∑∑∑∑∑∑Sir, the manner in which Intuitive enforces
10∑∑its sales agreements certainly does restrict its
11∑∑customers' abilities to utilize third parties to
12∑∑repair its EndoWrists; right?
13∑∑∑∑∑∑MS. LENT:∑Object to the form.
14∑∑∑∑∑∑THE WITNESS:∑The licensing agreement
15∑∑prohibits the modification of devices -- of
16∑∑Intuitive's devices that are under a limited
17∑∑license.
18∑∑∑∑∑∑BY MR. ERWIG:
19∑∑∑∑Q.∑∑Well, sir, that's not all it does; right?
20∑∑It prohibits any repair that's not authorized by
21∑∑Intuitive.∑True?
22∑∑∑∑A.∑∑Could we go back to the language?
23∑∑∑∑Q.∑∑We certainly can.
24∑∑∑∑A.∑∑I think it speaks to specifically what is
25∑∑allowed and what is not.


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∑1∑∑∑∑Q.∑∑I'll highlight this language for you again.
∑2∑∑∑∑∑∑And it reads, "Any other use is prohibited,
∑3∑∑whether before or after the instrument or
∑4∑∑accessory's license expiration, including repair,
∑5∑∑refurbishment, or reconditioning not approved by
∑6∑∑Intuitive."
∑7∑∑∑∑∑∑Do you see that?
∑8∑∑∑∑A.∑∑I do.∑The request was to go back to the
∑9∑∑licensing agreement that was signed with the
10∑∑hospital.
11∑∑∑∑Q.∑∑I don't believe we've pulled that up.
12∑∑∑∑A.∑∑There was an excerpt in the previous
13∑∑that -- it was in the Lashinsky exhibit.∑This is
14∑∑not the exact language from the sales, licensing,
15∑∑and service agreement.∑So I would have those that
16∑∑authored this letter probably speak more
17∑∑specifically to the language in that letter.
18∑∑∑∑Q.∑∑Well, sir, is it your understanding that
19∑∑Intuitive freely permits hospitals to use third
20∑∑parties to reset the use counters on EndoWrists with
21∑∑no consequence?
22∑∑∑∑A.∑∑Do I agree that we freely allow them to do
23∑∑that with no consequence?
24∑∑∑∑Q.∑∑Well, that you freely allow the hospitals
25∑∑to take that action.


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∑1∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑2∑∑∑∑∑∑THE WITNESS:∑Yeah, could we frame the
∑3∑∑question differently?
∑4∑∑∑∑∑∑Do we discourage them engaging in that
∑5∑∑activity?∑How would you reframe it?
∑6∑∑∑∑∑∑BY MR. ERWIG:
∑7∑∑∑∑Q.∑∑Well, sir, we talked about earlier that
∑8∑∑there's a series of steps that Intuitive takes when
∑9∑∑it finds out that a hospital is using reprogrammed
10∑∑EndoWrists; right?
11∑∑∑∑A.∑∑That is correct.
12∑∑∑∑Q.∑∑One of the things that Intuitive does is it
13∑∑might have a conversation with the hospital; right?
14∑∑∑∑A.∑∑That is correct.
15∑∑∑∑Q.∑∑The next thing it might do is send a
16∑∑letter; right?
17∑∑∑∑A.∑∑That is correct.
18∑∑∑∑Q.∑∑And then, ultimately, Intuitive will stop
19∑∑servicing the da Vinci robot for the hospital;
20∑∑right?
21∑∑∑∑A.∑∑If they do not stop using those devices on
22∑∑the da Vinci, that is correct.
23∑∑∑∑∑∑I do not know that we are aware of when
24∑∑they may, for example, provide instruments to a
25∑∑third party for repair.∑So if that repair isn't


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∑1∑∑something that we become aware of or that registers
∑2∑∑on a system, that's the limitation to which I think
∑3∑∑we have visibility to.∑And that, I don't know that
∑4∑∑we could practically control.
∑5∑∑∑∑Q.∑∑As soon as an EndoWrist is used on a
∑6∑∑robot -- well, withdrawn.
∑7∑∑∑∑∑∑The purpose of da Vinci robots is to
∑8∑∑perform surgeries; right?
∑9∑∑∑∑A.∑∑That is correct.
10∑∑∑∑Q.∑∑Hospitals buy those robots in order to
11∑∑perform surgeries; right?
12∑∑∑∑A.∑∑That is correct.
13∑∑∑∑Q.∑∑And they're a substantial investment in
14∑∑terms of money and training time and things like
15∑∑that as well; right?
16∑∑∑∑∑∑MS. LENT:∑Object to the form.
17∑∑∑∑∑∑THE WITNESS:∑Could you clarify what you
18∑∑mean by "a substantial investment"?
19∑∑∑∑∑∑BY MR. ERWIG:
20∑∑∑∑Q.∑∑Well, the hospital has to spend money to
21∑∑buy a da Vinci robot; right?
22∑∑∑∑A.∑∑A hospital traditionally does have to spend
23∑∑money to buy a robot, yes.
24∑∑∑∑Q.∑∑It likely has to train surgeons how to use
25∑∑that robot; right?


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∑1∑∑∑∑A.∑∑That is correct.
∑2∑∑∑∑Q.∑∑So if Intuitive doesn't service that robot
∑3∑∑and the robot fails, it means the hospital can no
∑4∑∑longer do surgeries with that robot; right?
∑5∑∑∑∑A.∑∑That is correct.
∑6∑∑∑∑Q.∑∑So if Intuitive hears that a hospital is
∑7∑∑using reprogrammed instrumentation on a da Vinci
∑8∑∑robot, ultimately, Intuitive will not service that
∑9∑∑da Vinci robot; right?
10∑∑∑∑A.∑∑Following the steps that we discussed, we
11∑∑may end up declining to service the robot.∑That is
12∑∑correct.
13∑∑∑∑Q.∑∑And, ultimately, when hospitals have
14∑∑continued to use these EndoWrists that have been
15∑∑reprogrammed by a third party, Intuitive has, in
16∑∑fact, terminated sales agreements and refused to
17∑∑service da Vinci robots; right?
18∑∑∑∑A.∑∑That is correct.
19∑∑∑∑Q.∑∑And so it's certainly not true that there's
20∑∑no consequence to a hospital that wants to use
21∑∑reprogrammed EndoWrists on its da Vinci robots;
22∑∑right?
23∑∑∑∑A.∑∑That is correct.
24∑∑∑∑Q.∑∑In fact, Intuitive aggressively enforces
25∑∑its sales contracts to ensure that hospitals don't


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∑1∑∑engage in that type of activity; right?
∑2∑∑∑∑∑∑MS. LENT:∑Object to the form.
∑3∑∑∑∑∑∑THE WITNESS:∑I would say that we
∑4∑∑aggressively pursue the terms of our agreement with
∑5∑∑our customers.∑That is correct.
∑6∑∑∑∑∑∑BY MR. ERWIG:
∑7∑∑∑∑Q.∑∑That agreement that's the sales and
∑8∑∑licensing agreement, it's a contract with a
∑9∑∑customer; right?
10∑∑∑∑A.∑∑That is correct.
11∑∑∑∑Q.∑∑And Intuitive enforces the terms of that
12∑∑contract to stop the customer from using
13∑∑reprogrammed EndoWrists; right?
14∑∑∑∑A.∑∑Among other things that we, yeah, pursue
15∑∑contract enforcement for, which may include
16∑∑nonpayment or other recourse as needed.
17∑∑∑∑Q.∑∑Now, sir, is there any proof that you can
18∑∑identify that EndoWrist cannot be used beyond the
19∑∑specified number of lives on the use counter?
20∑∑∑∑A.∑∑Did we lose Karen?
21∑∑∑∑∑∑THE STENOGRAPHER:∑It looks like it.
22∑∑∑∑∑∑MR. ERWIG:∑Yeah, we did.
23∑∑∑∑∑∑THE WITNESS:∑We'll stop and wait for her
24∑∑to rejoin?
25∑∑∑∑∑∑MR. ERWIG:∑Let's go off the record.


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∑1∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 4:07 p.m.,
∑2∑∑and we are off the record.
∑3∑∑∑∑∑∑(Recess taken from 4:08 to 4:12.)
∑4∑∑∑∑∑∑THE VIDEOGRAPHER:∑The time is 4:12 p.m.,
∑5∑∑and we are back on the record.
∑6∑∑∑∑∑∑BY MR. ERWIG:
∑7∑∑∑∑Q.∑∑Mr. Bair, is there any proof that you can
∑8∑∑point the jury to that EndoWrists cannot actually be
∑9∑∑used beyond the specified number of lives on the use
10∑∑counter?
11∑∑∑∑A.∑∑I was not involved in the validation of the
12∑∑instruments and the provision of that data to the
13∑∑FDA which predicated their decision related to its
14∑∑authorization to be marketed and sold.∑So I don't
15∑∑have access to that information.
16∑∑∑∑Q.∑∑Sir, you're aware that hospitals have
17∑∑repeatedly asked Intuitive to provide scientific
18∑∑readout indicating that EndoWrists cannot be safely
19∑∑repaired; right?
20∑∑∑∑∑∑MS. LENT:∑Object to the form.
21∑∑∑∑∑∑THE WITNESS:∑I'm aware of one instance
22∑∑where that information has been requested.
23∑∑∑∑∑∑MR. ERWIG:∑Let's look at a few.∑The next
24∑∑one -- exhibit is going to be in Folder 4.∑This
25∑∑will be 2'13'19, Otradovec to Bair and Rawls.


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∑1∑∑∑∑∑∑I'll screen share this with you.
∑2∑∑∑∑∑∑THE STENOGRAPHER:∑And this will be
∑3∑∑Exhibit 19?
∑4∑∑∑∑∑∑MR. ERWIG:∑Exhibit 19.∑Thank you, Lorrie.
∑5∑∑∑∑∑∑(Marked for identification purposes,
∑6∑∑∑∑∑∑∑Exhibit 19.)
∑7∑∑∑∑∑∑BY MR. ERWIG:
∑8∑∑∑∑Q.∑∑Mr. Bair, do you see this on the screen in
∑9∑∑front of you?
10∑∑∑∑A.∑∑Yes.
11∑∑∑∑Q.∑∑I'll scroll down to an earlier e-mail from
12∑∑Tony Johnson to Chace Rawls, others at
13∑∑bswhealth.org, copying John Wagner and Lindsey
14∑∑Otradovec at Intuitive Surgical.
15∑∑∑∑∑∑Do you see that?
16∑∑∑∑A.∑∑I do.∑You did a good job with the
17∑∑pronunciation, Otradovec, initially.∑So...
18∑∑∑∑Q.∑∑Otradovec.∑Thanks.
19∑∑∑∑∑∑Then it appears that this e-mail chain was
20∑∑ultimately forwarded on to you by Ms. Otradovec; is
21∑∑that right?
22∑∑∑∑A.∑∑Yes.∑That is correct.
23∑∑∑∑Q.∑∑Do you recognize this e-mail chain?
24∑∑∑∑A.∑∑I recognize the bottom of the e-mail chain
25∑∑because I was engaged in the response, and so the


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∑1∑∑rest of it is modestly familiar to me.
∑2∑∑∑∑Q.∑∑I want to start, actually, with this first
∑3∑∑e-mail in the e-mail chain.∑You see there's a --
∑4∑∑withdrawn.
∑5∑∑∑∑∑∑Who is Tony Johnson?
∑6∑∑∑∑A.∑∑I recall he was the senior vice president.
∑7∑∑I don't remember what the aggregated function was,
∑8∑∑but it included biomedical engineering for Baylor
∑9∑∑Scott & White.∑It may have been the -- a supply
10∑∑chain or something to that effect.
11∑∑∑∑Q.∑∑Now, I want to point to the first piece of
12∑∑information requested by BSWH in this e-mail, which
13∑∑is, "Provide documentation of the latest FDA
14∑∑certifications for Xi and SI robots, and proving the
15∑∑FDA granted the 510(k) based on a required
16∑∑limitation of the number of uses per EndoWrist
17∑∑instrument."
18∑∑∑∑∑∑Do you see that?
19∑∑∑∑A.∑∑I do.
20∑∑∑∑Q.∑∑Was Intuitive able to provide documentation
21∑∑that proved that the FDA granted a 510(k) based on a
22∑∑required limitation of the number of uses per
23∑∑EndoWrist instrument?
24∑∑∑∑A.∑∑If we could pull up the actual response, I
25∑∑would certainly be able to speak to those specifics,


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∑1∑∑but it was crafted by multiple individuals and spoke
∑2∑∑to or addressed each of those questions articulated
∑3∑∑under the information requested by BSWH.
∑4∑∑∑∑Q.∑∑Well, we'll look at the rest of the e-mail
∑5∑∑chain in a minute, sir.∑I'm interested right now in
∑6∑∑your understanding of the FDA's granting of a
∑7∑∑510(k).∑And so I want to just focus in on the
∑8∑∑specifics of that question.
∑9∑∑∑∑∑∑Is it your understanding that the FDA
10∑∑granted the EndoWrist based on a required number of
11∑∑uses?
12∑∑∑∑∑∑MS. LENT:∑Object to the form.
13∑∑∑∑∑∑THE WITNESS:∑It is not my understanding
14∑∑that the FDA specifies the actual functional
15∑∑parameters or limitations of medical devices but
16∑∑rather approves or authorizes them based on the
17∑∑manufacturer's specifications and the data generated
18∑∑and provided to the FDA to support the submission.
19∑∑∑∑∑∑BY MR. ERWIG:
20∑∑∑∑Q.∑∑I'm going to scroll up.∑In the next e-mail
21∑∑Ms. Otradovec sends an e-mail to Mark Johnson, Mario
22∑∑Lowe, copying Chace Rawls and Katie Scoville, where
23∑∑she writes, "Mark and Mario, can you provide me with
24∑∑any of the documentation for Number 1 below."∑Do
25∑∑you see that?


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∑1∑∑∑∑A.∑∑Yes.
∑2∑∑∑∑Q.∑∑Who is Mario Lowe?
∑3∑∑∑∑A.∑∑His title is on one of the -- well, at that
∑4∑∑time he appeared to be the senior director of
∑5∑∑regulatory affairs.∑I believe now he is the vice
∑6∑∑president of regulatory affairs and quality
∑7∑∑assurance.
∑8∑∑∑∑Q.∑∑Mr. Lowe replies, "Hi, Lindsey:∑We can
∑9∑∑certainly provide the latest FDA 510(k) clearance
10∑∑letters.∑But this will not provide the information
11∑∑requested in Item 1 below."
12∑∑∑∑∑∑Then -- do you see that?
13∑∑∑∑A.∑∑Yes, I do.
14∑∑∑∑Q.∑∑Mr. Lowe goes on to say, "Just so you know,
15∑∑FDA does not require nor limit the number of uses
16∑∑for our EndoWrist instruments."
17∑∑∑∑∑∑Do you see that?
18∑∑∑∑A.∑∑I do.
19∑∑∑∑Q.∑∑Is it your understanding that the FDA does
20∑∑not require nor limit the number of uses for
21∑∑Intuitive's EndoWrist instruments?
22∑∑∑∑A.∑∑That is correct.
23∑∑∑∑Q.∑∑Now I want to turn to the e-mail where
24∑∑Ms. Otradovec forwards this e-mail chain to you.
25∑∑And she writes, "This tells me that they are being


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∑1∑∑coached by restore robotics, or whoever the company
∑2∑∑is, to say, 'Give me the proof you can't use the
∑3∑∑instruments more than X lives.'"
∑4∑∑∑∑∑∑Do you see that?
∑5∑∑∑∑A.∑∑Yes, I do.
∑6∑∑∑∑Q.∑∑Is there a specific piece of proof that you
∑7∑∑can offer that instruments cannot safely be used
∑8∑∑more than a certain number of lives after
∑9∑∑appropriate repairs?
10∑∑∑∑∑∑MS. LENT:∑Object to the form.
11∑∑∑∑∑∑THE WITNESS:∑As mentioned previously, I
12∑∑have not been engaged in the validation and
13∑∑verification of products developed for submission to
14∑∑the FDA for approval, and so I don't know that I
15∑∑could speak to that.
16∑∑∑∑∑∑Also, the question is somewhat vague as it
17∑∑relates to what repair constitutes.
18∑∑∑∑∑∑BY MR. ERWIG:
19∑∑∑∑Q.∑∑Well, there's certain things that can wear
20∑∑down on EndoWrists over time; right?
21∑∑∑∑∑∑MS. LENT:∑Object to the form.
22∑∑∑∑∑∑THE WITNESS:∑In addition to other things
23∑∑that can happen to instruments over time, yes, they
24∑∑wear.
25∑∑///


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∑1∑∑∑∑∑∑BY MR. ERWIG:
∑2∑∑∑∑Q.∑∑Instruments can break; right?
∑3∑∑∑∑A.∑∑That is correct as well.
∑4∑∑∑∑Q.∑∑And you're aware that traditional
∑5∑∑laparoscopic instruments, those wear and break over
∑6∑∑time as well; right?
∑7∑∑∑∑A.∑∑I would suspect that that is true, although
∑8∑∑I don't have experience with traditional
∑9∑∑laparoscopic instruments.
10∑∑∑∑Q.∑∑And you know that traditional laparoscopic
11∑∑instruments have been repaired by hospitals for
12∑∑decades?
13∑∑∑∑∑∑MS. LENT:∑Object to the form.
14∑∑∑∑∑∑THE WITNESS:∑I am not aware of repair for
15∑∑traditional laparoscopic instruments.
16∑∑∑∑∑∑BY MR. ERWIG:
17∑∑∑∑Q.∑∑Now, has Intuitive ever performed any
18∑∑specific testing that would indicate that an
19∑∑EndoWrist that has been safely repaired or
20∑∑refurbished can operate well beyond its use counter?
21∑∑∑∑A.∑∑We went over that, I think, close to the
22∑∑beginning of this as it related to our exploration
23∑∑of the viability of refurbishment.
24∑∑∑∑∑∑Meaning, yes, we have explored if
25∑∑refurbishing -- what we deem to be refurbishment or


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∑1∑∑remanufacturing is safe and economically viable.
∑2∑∑∑∑Q.∑∑The conclusion was that it would likely be
∑3∑∑safe but would probably not be economically viable
∑4∑∑for Intuitive at the time; is that right?
∑5∑∑∑∑∑∑MS. LENT:∑Object to the form.∑Asked and
∑6∑∑answered.
∑7∑∑∑∑∑∑THE WITNESS:∑The conclusion was not
∑8∑∑necessarily that it would likely be safe, but not --
∑9∑∑we did not conclude that it was impossible to render
10∑∑the instrument after being appropriately
11∑∑remanufactured.
12∑∑∑∑∑∑BY MR. ERWIG:
13∑∑∑∑Q.∑∑But you concluded that it was not
14∑∑economically viable for Intuitive at the time;
15∑∑right?
16∑∑∑∑A.∑∑The decision as it related to economic
17∑∑viability wasn't something that I was engaged in
18∑∑making.∑I did the analysis.∑And the decision as to
19∑∑whether to pursue it or not was made based on, I
20∑∑would say, multiple factors, one of which I would
21∑∑anticipate is the economic impact of it, which is
22∑∑why I was engaged to provide that analysis.
23∑∑∑∑Q.∑∑And, sir, you certainly understand that
24∑∑it's more profitable for Intuitive to continue
25∑∑selling its customers new EndoWrists than it is to


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∑1∑∑refurbish and sell refurbished EndoWrists to
∑2∑∑customers; right?
∑3∑∑∑∑A.∑∑I do not understand that.
∑4∑∑∑∑Q.∑∑Is it your contention that -- well,
∑5∑∑withdrawn.
∑6∑∑∑∑∑∑Is it your understanding that the
∑7∑∑refurbishment program would, in fact, be more
∑8∑∑profitable to Intuitive than selling new
∑9∑∑instruments?
10∑∑∑∑A.∑∑That is not my understanding either.∑We
11∑∑did some financial modeling based on potential price
12∑∑points, but the market, the price elasticity, the
13∑∑demand elasticity, all of those things remained
14∑∑unproven from my perspective as it relates to what
15∑∑the projected economic viability is.




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12∑∑∑∑∑∑BY MR. ERWIG:
13∑∑∑∑Q.∑∑Well, sir, let's make it simpler and look
14∑∑at what's happened in the real world.
15∑∑∑∑∑∑Since 2017 Intuitive hasn't offered a
16∑∑refurbished instrument program; right?
17∑∑∑∑∑∑MS. LENT:∑Objection.∑Asked and answered.
18∑∑∑∑∑∑THE WITNESS:∑That is correct.
19∑∑∑∑∑∑BY MR. ERWIG:
20∑∑∑∑Q.∑∑Now, if that program had been wildly
21∑∑profitable for Intuitive, you would expect that
22∑∑Intuitive would have brought that to market; right?
23∑∑∑∑∑∑MS. LENT:∑Objection.
24∑∑∑∑∑∑THE WITNESS:∑I don't know that that would
25∑∑be the case.∑As I mentioned, the decision, as it


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             Exhibit 8
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1                                       FILER’S ATTESTATION

2           I, Kenneth A. Gallo, am the ECF User whose ID and password are being used to file this
3    document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the signatories
4
     identified above have concurred in this filing.
5

6     Dated: November 11, 2024                          By: /s/ Kenneth A. Gallo
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